      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 1 of 350




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



EL PUENTE, et al.,

              Plaintiffs,                 Case No.: 1:22-cv-02430-CJN

       v.

U.S. ARMY CORPS OF ENGINEERS, et al.,
              Defendants.




                  JOINT APPENDIX IN SUPPORT OF PARTIES’
            MOTIONS AND CROSS-MOTIONS FOR SUMMARY JUDGMENT

                                   VOLUME 2


Dated: May 5, 2023                        Respectfully submitted,

                                          s/ Catherine Kilduff

                                          Catherine Kilduff, DC Bar No. 1026160
                                          Julie Teel Simmonds, DC Bar No. CO0091
                                          Miyoko Sakashita, DC Bar No. CA00061
                                          CENTER FOR BIOLOGICAL DIVERSITY
                                          1212 Broadway, Suite 800
                                          Oakland, CA 94612
                                          (510) 844 - 7100
                                          ckilduff@biologicaldiversity.org
                                          jteelsimmonds@biologicaldiversity.org
                                          miyoko@biologicaldiversity.org

                                          Attorneys for Plaintiffs El Puente,
                                          CORALations, and Center for
                                          Biological Diversity
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 2 of 350



                                 INDEX
                             JOINT APPENDIX



                                 VOLUME 1

 Page Span of       Page(s) in                        Document
Original in AR      Appendix                          Description
FWS_00026–         FWS_00026–              USFWS response re: supplemental
FWS_00030          FWS_00030                EA and section 7 consultation
FWS_00047–         FWS_00047–                USFWS concurrence letter to
FWS_00051          FWS_00051               USACE re: Biological Assessment
FWS_00052–         FWS_00052–               USFWS letter and Final Fish and
FWS_00080          FWS_00080                Wildlife Coordination Act Report
FWS_00081–         FWS_00081–              Email exchange between USFWS
FWS_00085          FWS_00085                and USACE, with attachment
FWS_01345–         FWS_01345         Internal FWS email re: Biological Assessment
FWS_01348
FWS_01349–         FWS_01349–             USACE ESA Biological Assessment
FWS_01368          FWS_01368
FWS_01390–         FWS_01390–                 USFWS letter responding to
FWS_01418          FWS_01393                   USACE’s Notice of Intent
NMFS_00001–       NMFS_00001–           NMFS memo re: SJH evaluation of new
NMFS_00003        NMFS_00003              information from Cunning 2019
NMFS_00004–       NMFS_00004–              ESA Section 7 Biological Opinion
NMFS_00154        NMFS_00154
NMFS_00157–       NMFS_00157–              USACE email re: NMFS’s request
NMFS_00160        NMFS_00160               for information re: monitoring and
                                        management plan and dredge disposal site
NMFS_00169–       NMFS_00169–               NMFS letter requesting additional
NMFS_00176        NMFS_00176               information for Biological Opinion




                                    i
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 3 of 350




                                 VOLUME 2

 Page Span of       Page(s) in                           Document
Original in AR      Appendix                             Description
NMFS_00177–       NMFS_00177–         USACE letter requesting formal consultation
NMFS_00292        NMFS_00292        from NMFS and attached biological assessment
NMFS_00678–       NMFS_00678–        Cunning et al. 2019. Extensive coral mortality
NMFS_00692        NMFS_00692          and critical habitat loss following dredging
NMFS_00693–       NMFS_00693–       Fourney & Figueiredo 2017. Additive negative
NMFS_00700        NMFS_00700         effects of anthropogenic sedimentation and
                                      warming on the survival of coral recruits
NMFS_00701‐       NMFS_00701–                 Water & Air 2017. Miami Harbor
NMFS_00768        NMFS_00768                    Phase III Dredging Project
NMFS_00770‐       NMFS_00770–             Miller et al. 2016. Detecting sedimentation
NMFS_00788        NMFS_00788                 impacts to coral reefs resulting from
                                            dredging Port of Miami, Florida USA
NMFS_00789–       NMFS_00789–            NMFS letter and report re: Examination of
NMFS_00847        NMFS_00847             Sedimentation Impacts to Coral Reef Along
                                            the Port of Miami Entrance Channel
NMFS_00881‐       NMFS_00881–               Hernandez‐Delgado & Rivera. Prelim.
NMFS_00927        NMFS_00927             Determination of Acroporid Critical Habitats
NMFS_00928‐       NMFS_00928,          Fourney 2015. Natural vs. Anthropogenic
NMFS_00967       NMFS_00934–35      Sedimentation: Does Reducing a Local Stressor
                                     Increase Coral Resilience to Climate Change?
NMFS_00968‐       NMFS_00968,             Jones et al. 2015. Effects of sediments on
NMFS_00988        NMFS_00969,                 the reproductive cycle of corals
                  NMFS_00982




                                    ii
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 4 of 350




                                  VOLUME 3

 Page Span of        Page(s) in                          Document
Original in AR       Appendix                            Description
USACE_000001–     USACE_000001–                Finding of No Significant Impact
USACE_000003      USACE_000003
USACE_000004–     USACE_000004–      Chief of Engineer’s Report on Feasibility Study
USACE_000008      USACE_000008
USACE_000023–     USACE_000023–              EPA letter to USACE re: response to
USACE_000024      USACE_000024                integrated feasibility report and EA
USACE_000028–     USACE_000028–              Integrated Feasibility Report and EA
USACE_000217      USACE_000217
USACE_000761–     USACE_000761–            Feasibility Report and EA - Appendix B -
USACE_000787      USACE_000787               Dredged Material Management Plan
USACE_000788–    USACE_000788–90,                Feasibility Report and EA -
USACE_000883     USACE_000796–97,                 Appendix C - Economics
                 USACE_000803–05,
                  USACE_000827,
                  USACE_000867
USACE_000916–     USACE_000916,            Feasibility Report and EA - Appendix F -
USACE_001070     USACE_000924–25,               NMFS EFH ESA Consultation
                 USACE_001025–67




                                     iii
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 5 of 350




                                  VOLUME 4

 Page Span of        Page(s) in                          Document
Original in AR       Appendix                            Description
USACE_001110–     USACE_001110–                  Feasibility Report and EA
USACE_001124      USACE_001124                Appendix I – 404(b)(1) Evaluation
USACE_001125–    USACE_001125–83,               Feasibility Report and EA
USACE_001283     USACE_001205–06,          Appendix J – Pertinent Correspondence
                 USACE_001250–52,
                  USACE_001257,
                 USACE_001280–81
USACE_001284–     USACE_001284–                  Feasibility Report and EA
USACE_001290      USACE_001290              Appendix K – Condado Lagoon WQC
USACE_001337–     USACE_001337,                   USFS letter to USACE re:
USACE_001370      USACE_001347,                   Coordination Act Report
                 USACE_001355–56
USACE_001536–    USACE_001537–38              DNER letter and chart – Status of
USACE_001545                                   Pending Civil Works Projects
USACE_001548–     USACE_001551,             Powerpoint – Feasibility Study and EA
USACE_001573      USACE_001554,              Agency Decision Milestone Meeting
                  USACE_001558,
                  USACE_001560
USACE_001574–     USACE_001606,                Report Summary for Integrated
USACE_001630      USACE_001624                   Feasibility Report and EA
USACE_001646–     USACE_001646                   Letter to USACE re: finding
USACE_001646                                       of no historic properties
USACE_001647–    USACE_001647–49               Email exchange with USACE &
USACE_001702                                   NMFS re: additional information
USACE_001703–     USACE_001703–       Email and meeting minutes from Nov. 8, 2017
USACE_001720      USACE_001720
USACE_001721–     USACE_001721–               Internal USACE email and revised
USACE_001725      USACE_001725               document draft responses to PREPA
USACE_001937–    USACE_001938–41           Transcript – Puerto Rico Public Meeting,
USACE_001967                                             Aug. 22, 2017
USACE_001968–    USACE_001968–69      PR Power Authority letter to USACE re: LNG
USACE_001969                           Receiving, Storage & Gasification Facilities
USACE_001970–     USACE_001970,           SJH Submerged Cultural Resources Survey,
USACE_002293      USACE_002033                         Final Report
USACE_002302–     USACE_002302                 Sierra Club email to USACE re:
USACE_002302                                  Q on deadline for public comment



                                     iv
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 6 of 350



 Page Span of        Page(s) in                        Document
Original in AR       Appendix                          Description
USACE_002303–     USACE_002303                Letter to USACE re: review of
USACE_002303                               submerged cultural resources survey
USACE_002304–    USACE_002304–05               PR Power Authority letter re:
USACE_002305                                     request for information
USACE_002306–     USACE_002306,                 CBD email and comments
USACE_002318      USACE_002310,                   re: EA and FONSI
                 USACE_002313–16
USACE_002319–     USACE_002319–                   USACE News Release
USACE_002323      USACE_002323
USACE_002324–    USACE_002324–25,       Santiago email and informational documents
USACE_002457      USACE_002397,              re: LNG deliveries to Puerto Rico
                 USACE_002409–11,
                  USACE_002455
USACE_002458–     USACE_002458–          Transcript – Puerto Rico Public Meeting,
USACE_002508      USACE_002508                         Aug. 22, 2017
USACE_002514–    USACE_002514–18                USACE email to Santiago
USACE_002521                                        re: requested letters
USACE_002530–    USACE_002530–31        USACE letter to public re: draft Feasibility
USACE_002535                            Study and EA public comment opportunity
USACE_002538–     USACE_002538–              USACE email to USFW sending
USACE_002558      USACE_002558                 ESA Biological Assessment
USACE_002559–     USACE_002559,            SJH Draft Feasibility Study and EA
USACE_002789      USACE_002636,
                  USACE_002643,
                  USACE_002661,
                  USACE_002672
USACE_003450–     USACE_003450,             USACE letter to NMFS requesting
USACE_003465      USACE_003456,               consultation, with attachment
                 USACE_003469–70          (Draft Report and EA – Appendix F)
USACE_003566–     USACE_003566,                   Draft Fish and Wildlife
USACE_003597      USACE_003590                   Coordination Act Report
USACE_003822–     USACE_003822,                    404(b)(1) Evaluation
USACE_003835      USACE_003832             (Draft Report and EA – Appendix J)
USACE_003836–     USACE_003836–        Memo for Record re: NEPA determination
USACE_003844      USACE_003844            (Draft Report and EA – Appendix K)
USACE_003845–     USACE_003907      USACE letter to Coast Guard requesting review
USACE_003942                        of drawing and transmission of LNG regulations
USACE_003845–     USACE_003910              Email from Coast Guard re: review
USACE_003942                                 of drawing and LNG regulations
USACE_004017–     USACE_004036,          Powerpoint – Tentatively Selected Plan
USACE_004075     USACE_004044–54                  Milestone Presentation


                                    v
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 7 of 350




                                  VOLUME 5

 Page Span of        Page(s) in                          Document
Original in AR       Appendix                            Description
USACE_004076–    USACE_004076–78,         Email to NOAA re: ESA Consultation, with
USACE_004192      USACE_004084,            Biological Assessment and Cover Letter
                  USACE_004096,
                 USACE_004106–20,
                  USACE_004128,
                 USACE_004132–33,
                 USACE_004138–39
USACE_004220–     USACE_004220,      Report Summary for Feasibility Report and EA
USACE_004304      USACE_004240                   (revised 6-16-17)
USACE_004220–     USACE_004264,             Powerpoint – Tentatively Selected Plan
USACE_004304      USACE_004272                     Milestone Presentation
USACE_005669–     USACE_005669–               Public Notice – Cataño Oil Dock,
USACE_005672      USACE_005672                Application No. SAJ-2010-03574
USACE_005673–     USACE_005673,           Final Meeting Minutes – Team Update on
USACE_005683      USACE_005677              Preliminary Quantities/Costs Results
USACE_005753–     USACE_005753,               USACE Memo for the Record re:
USACE_005761      USACE_005759             Determination of NEPA Documentation
USACE_005762–     USACE_005762–             Public Notice – San Antonio Channel,
USACE_005765      USACE_005765                Application No. SAJ-2002-07089
USACE_005766–     USACE_005766–              Public Notice – Pier 3 Old San Juan,
USACE_005769      USACE_005769                Application No. SAJ-1997-06893
USACE_005770–     USACE_005770–              Public Notice – Pier 4 Old San Juan,
USACE_005773      USACE_005773                Application No. SAJ-2001-06025
USACE_005811–     USACE_005811,           Final Meeting Minutes – Team Update on
USACE_005822      USACE_005815                Environmental Resource Surveys
USACE_006225–     USACE_006225               USACE email re: Feasibility Study
USACE_006228                                 Design Vessels for Ship Simulation
USACE_006234–    USACE_006235–39      81 Fed. Reg. 51,694 (Aug. 4, 2016), Guidance
USACE_006265                          for Assessing Effects of Anthropogenic Sound
USACE_006501–     USACE_006501                 EPA letter to USACE re: ocean
USACE_006501                                    dredged material disposal site
USACE_006511–    USACE_006511–18                    Final Meeting Minutes
USACE_006520                                      (PREPA – LNG Terminal)
USACE_006717–     USACE_006717                 USACE letter to EPA re: MPRSA
USACE_006717                              Section 103 Sediment Testing and Analysis



                                     vi
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 8 of 350



 Page Span of       Page(s) in                          Document
Original in AR      Appendix                            Description
USACE_006722–    USACE_006722–           Final Report – SJH MPRSA Section 103
USACE_006880     USACE_006880                 Sediment Testing and Analysis
USACE_007012–    USACE_007012–13             Email to agencies re: pilots’ areas
USACE_007014                                  of concerns, with attached map
USACE_007018–     USACE_007018,            Miami Harbor Phase III Quantitative
USACE_007172     USACE_007035–36              Post-Construction Analysis
USACE_007241–    USACE_007241–               Park Service letter to USACE re:
USACE_007242     USACE_007242               comments on notice to prepare EIS
USACE_007243–    USACE_007243–               Project Fact Sheet in Spanish for
USACE_007244     USACE_007244                    Public Scoping Meeting
USACE_007577–     USACE_007577              80 Fed. Reg. 60,657 (Oct. 7, 2015),
USACE_007577                                  Notice of Intent to Prepare EIS
USACE_007578–    USACE_007579–80   USACE letter initiating scoping process for EIS
USACE_007581
USACE_007585–     USACE_007585,          Powerpoint – PR Electric Power Authority
USACE_007653      USACE_007600                  Integrated Resource Plan
USACE_008031–     USACE_008031,           Galway Energy Advisors – LNG and
USACE_008062     USACE_008041–43         Natural Gas Delivery Options Evaluation
USACE_009002–     USACE_009002,          Species of Special Conservation Concern:
USACE_009012      USACE_009008               Colonial Nesting Seabirds Guild
USACE_009293–     USACE_009294,            79 Fed. Reg. 53,852 (Sept. 10, 2014),
USACE_009565      USACE_009562                 Final Listing Determinations
USACE_010316–     USACE_010316,     Biological Assessment for Impacts Associated
USACE_010356      USACE_010336      with the Isla Grande Terminal Improvements
USACE_012229–     USACE_012229      Erftemeijer et al. 2012. Environmental Impacts
USACE_012257                         of Dredging & Other Sediment Disturbances




                                   vii
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 9 of 350




                                  VOLUME 6

 Page Span of        Page(s) in                        Document
Original in AR       Appendix                          Description
USACE_013098–     USACE_013098–              EPA Letter and Site Management
USACE_013148      USACE_013148                    and Monitoring Plan
USACE_013195–    USACE_013195–98             NOAA letter re: Site Monitoring
USACE_013204                                    and Management Plan
USACE_013664–     USACE_013664,              Recovery Plan for NW Atlantic
USACE_013988      USACE_013740             Population of Loggerhead Sea Turtle
USACE_013989–     USACE_013989             73 Fed. Reg. 72,210 (Nov. 26, 2008),
USACE_014019                         Critical Habitat for Elkhorn and Staghorn Corals
USACE_014399–     USACE_014399,            West Indian Manatee 5-Year Review
USACE_014484      USACE_014436,
                  USACE_014440
USACE_014507–    USACE_014507–631              USACE Hydraulic Design of
USACE_014718                                  Deep-Draft Navigation Projects
USACE_015048–     USACE_015048,              Atlantic Acropora Status Review
USACE_015249      USACE_015089
USACE_017459–     USACE_017459,            Kleypas 1996. Coral reef development
USACE_017473      USACE_017470               under naturally turbid conditions
USACE_019129–     USACE_019129,       Framework for Assessing Need for Seasonal
USACE_019205     USACE_019173–93     Restrictions on Dredging & Disposal Operations




                                    viii
   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 10 of 350




                                  VOLUME 7

 Page Span of        Page(s) in                         Document
Original in AR       Appendix                           Description
USACE_019590–    USACE_019590–693            Final EIS for Designation of Ocean
USACE_019693                                  Dredged Material Disposal Sites
USACE_021462–     USACE_021462,              Powerpoint – Update on Dredging
USACE_021500      USACE_021474               Impacts on Sea Turtles in SE USA
USACE_021539–    USACE_021539–40     LNG World News. New Fortress Energy breaks
USACE_021540                           ground for SJ micro fuel-handling facility
USACE_021667–     USACE_021667,                Draft Supplemental EA –
USACE_021713       USACE_21684,       Seagrass Mitigation, Additional Sand Source
                 USACE_021697–700
USACE_022631–     USACE_022631,               Final Feasibility Report and EA –
USACE_022726     USACE_22646–48,                  Appendix C – Economics
                 USACE_022696–97,
                 USACE_022715–16
USACE_022968–    USACE_023121–24          Power Authority letter re: LNG receiving,
USACE_023126                                  storage, & gasification facilities
USACE_024430–    USACE_024430–33          Finding of No Significant Impact –
USACE_024433                          Seagrass Mitigation, Additional Sand Source
USACE_024434–     USACE_024434,                Final Supplemental EA –
USACE_024693     USACE_024439–49,     Seagrass Mitigation, Additional Sand Source
                  USACE_024467,                       (Jan. 2023)
                 USACE_024470–76,
                  USACE_024477,
                  USACE_024518,
                  USACE_024636,
                 USACE_024688–93
USACE_024694–    USACE_024694–95          USACE Letter to PR Point Sources Permit
USACE_024695                               Division Re: Water Quality Certification
USACE_024709–     USACE_024709,       NMFS Letter to EPA Re: Consultation on Site
USACE_024717      USACE_024715           Management and Monitoring Plan
USACE_024893–    USACE_024893–94                DNER Letter to USACE Re:
USACE_024894                                    Water Quality Certification
USACE_025892–    USACE_025892–927       EPA Letter Re: Ocean Dredged Material
USACE_025927                         Disposal and Memo Re: Review of Compliance
USACE_025928–     USACE_025928,       Powerpoint – SJH Construction Dredging 44-
USACE_025971      USACE_025946         Foot & 36-Foot Project, Condado Lagoon
USACE_026782–     USACE_026783,       San Juan Bay Nat’l Estuary Program Email to
USACE_026790      USACE_026789        Planning Board Re: Consistency Certification

                                     ix
   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 11 of 350



 Page Span of       Page(s) in                       Document
Original in AR      Appendix                         Description
USACE_026791–    USACE_026794–96                  Response Enclosure
USACE_026799
USACE_026800–     USACE_026917,         Gerstein & Blue 2016. Underwater noise
USACE_027394      USACE_026919           and zones of masking with respect to
                                             hopper dredging and manatees
USACE_026800–     USACE_026938,            Hieb et al. 2021. In‐Water Bridge
USACE_027394     USACE_026941–44           Construction Effects on Manatees
USACE_026800–     USACE_027142                Toscano & Murena 2019.
USACE_027394                              Atmospheric ship emissions in ports
USACE_028572–    USACE_028572–79              DNER Letter to USACE Re:
USACE_028579                                   Water Quality Certificate
USACE_028611–     USACE_028611,    Santiago email to USACE with comments from
USACE_028626      USACE_28616,       El Puente et al. on Draft Supplemental EA
                   USACE_28620
USACE_028640–     USACE_028641,        Environmental Law Clinic of Univ. of PR –
USACE_028651     USACE_028648–49         comments on Draft Supplemental EA
USACE_028748–     USACE_028783,     Site Management and Monitoring Plan (Draft)
USACE_028839      USACE_028793




                                   x
   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 12 of 350




                                  VOLUME 8

 Page Span of        Page(s) in                       Document
Original in AR       Appendix                         Description
USACE_029564–    USACE_029564–695         Draft Supplemental EA and Proposed
USACE_029695                                Finding of No Significant Impact
USACE_029806–     USACE_029806               USACE letter to EPA requesting
USACE_029806                                  concurrence for ocean disposal
USACE_029807–    USACE_029807–948         Final MPRSA Section 103 Sediment
USACE_029948                              Characterization Testing and Analysis
USACE_030374–     USACE_030374       OMB letter to Army re: submission to Congress
USACE_030374




                                     xi
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 13 of 350




                                                                     NMFS_00177
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 14 of 350




                                                                     NMFS_00178
                                                                                                                                           TENTATIVELY SELECTED PLAN
               56’

                       800’       ODMDS
                                                                                                                                           WIDENING
               53’
                                                                                                                                            Widen Army Terminal Channel from
                                                                                                                                             350’ to 450’ maximum




BAR CHANNEL
               51’
                                                                                                                                           DEEPENING (counterclockwise)
                                                                                                                                            Cut 6 to 46’
                 48’                                                                                                                        Anegado Channel to 44’
                      48’                                                                                                                   Army Terminal Channel to 44’
                        42’ 46’                                                                                                             Army Terminal Turning Basin to 44’
                                                                                                     RORO
              Cut 6                                                                                                                         San Antonio Channel to 36’
                                                 U.S.                                                                                       Cruise Ship Basin East to 36’
                                               COAST
                                               COAST                36’
                                   40’         GUARD                                                                             Condado
                                         44’                                                                                      Lagoon
                                                                                                                                           COAST GUARD ANCHORAGE
                                                                                         AIRPORT
                                                                                                                                           AREA F EXPANSION
    SAN JUAN                                                                                                                                A Future Without-Project Condition
     HARBOR                                                                                                                                  that will be maintained by USACE
                                                                              ANCHORAGE
                                                                                AREA E                                                       once constructed
                                                        30’                        36’
#               DEEPENING
                                                                                                                                           CONSTRUCTION
                50’ WIDENING
                DEEPENING FOOTPRINT                                                                                      30’
                                                                                                                                            Mechanical clamshell dredge with
                                                                                                   36’                                       bottom-dump barge transport to
                                                                                                                     GRAVING DOCK
                AUTHORIZED DEPTH                                                                                     TURNING BASIN           offshore Ocean Dredged Material
                AUTHORIZED VS.                                                                                                               Disposal Site (ODMDS)
                CONSTRUCTED DEPTH                                                                                      PUERTO NUEVO
                                                                                                                       TURNING BASIN        ~ 2.1M cubic yards of material
                BUOYS                                                     40’
                                                                                                                         39’
                                                                             44’
                CONTAINER TERMINALS
                                                                                                                          RORO

                PETROLEUM TERMINALS                            SABANA
                                                              APPROACH
                                                               CHANNEL
                     LPG BY TRUCK                                      32’                                  39’
                                                                                                                                                                                  Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 15 of 350




                LNG (TRANSITION)
RORO
                RORO                                                           ARMY TERMINAL
                                                                      40’ 44’’ ARMY  TERMINAL
                                                                                 TURNING
                                                                                  TURNING                                              N
                                                                                   BASIN
                                                                                   BASIN
                CRUISE
                BULK                                                                                              Not to Scale                                   NMFS_00179
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 16 of 350




    BIOLOGICAL ASSESSMENT - SAN JUAN HARBOR IMPROVEMENT STUDY

Prepared for:
U.S. Army Corps of Engineers
Jacksonville District
701 San Marco Blvd
Jacksonville, FL 32207

Prepared by:
Terri Jordan-Sellers;
Senior Biologist
July 13, 2017




                               Page 1 of 69


                                                                         NMFS_00180
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 17 of 350




Background/History
This Biological Assessment (BA) evaluates the potential effects to federally listed
threatened and endangered species from the proposed Navigation Improvement Study
for San Juan Harbor, Puerto Rico (SJH); as required by Section 7(a)(2) of the Endangered
Species Act (ESA) of 1973, as amended. The U.S. Army Corps of Engineers, Jacksonville
District (Corps) proposes to expand and deepen the channels and turning basins of SJH.
The Corps has prepared a Draft Integrated Feasibility Report and Environmental
Assessment for the project (http://www.saj.usace.army.mil/Missions/Civil-
Works/Navigation/Navigation-Projects/San-Juan-Harbor/).

SJH has been in use since the discovery of the Island by the Christopher Columbus in
November 1493. Recent Federal improvements began in 1917 with the authorization of
inner harbor and San Antonio channel dredging. Federal navigation improvements have
continued into the 2000's when the last authorized modifications included deepening
the bar channel (Cuts 1-3) to project depths of 56-51 feet1, the Entrance Channel (Cuts
4-6) to 48-42 feet, Anegado Channel to 40 feet, Army Terminal and Turning Basin to 40
feet, Puerto Nuevo Channel to 39 feet, Graving Dock Channel to 36 feet, Graving Dock
Turning Basin to 30 feet, Anchorage Area E to 36 feet, Anchorage Area F to 30 feet, San
Antonio Channels to 35 feet, Cruise Ship Basins to 36 and 30 feet, and the San Antonio
Extension to 30 feet. Table 1 provides a history of the gradual deepening of SJH.
Federal interest started with the inner harbor area and establishing the San Antonio
Channel with a 30-foot depth in 1917. Additional modifications deepened the Entrance
Channel and extended the Federal system of channels to provide access to the Army
Terminal, Puerto Nuevo, and Graving Dock landside facilities as shown in Figure 1.





1
 All navigation channel water depths cited throughout this assessment are Mean Low Low Water
(MLLW).

                                                    Page 2 of 69


                                                                                               NMFS_00181
     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 18 of 350



Table 1: Federal Authorizations for Work in San Juan Harbor
    Acts                         Work Authorized                            Documents
             Anchorage (inner harbor) area of 206 acres and San Antonio     House
    8 Aug
             Channel to 30-foot.                                            Document
    1917
                                                                            865/63/2
             Substitution of a 68-acre area 30 feet deep, along south-
    22 Sep   easterly side of anchorage area, for one 25 acres in extent    Specified in
     1922    and of same depth extending easterly from eastern end of       Act
             the San Antonio project channel.
                                                                            House
    3 Jul
             Modified conditions of local cooperation.                      Document
    1930
                                                                            45/71/2
             Entrance channel across outer bar 38 feet deep and 800 feet    Rivers &
             wide, and thence across bay to Harbors anchorage area          Harbors
    30 Aug
             (Anegado Reach Channel) 30 feet deep and 700 feet wide         Comm. Doc.
     1935
             and increasing anchorage area to 239 acres to a 30-foot        38/74/1
             depth.
                                                                            Rivers &
    26 Aug   Widening Anegado Reach Channel and increasing anchorage        Harbors
     1937    area to 329 acres.                                             Comm. Doc.
                                                                            42/75/1
             Removal to 8-foot depth of Anegado, Largo, and Capitanejo      House
    17 Oct
             Shoals, and dredging to a 30-foot depth the entrance channel   Document
     1940
             and turning basin to the Graving Dock.                         364/76/1
    2 Mar    Maintenance of the 30-foot depth entrance channel and          Specified in
    1945     turning basin to the Army Terminal.                            Act
             Deepening portions of the entrance, the approach channels,
                                                                            House
    3 Jul    and basins to Army Terminal and San Antonio Pier area to 35-
                                                                            Document
    1958     45 feet; new 32-foot depth Puerto Nuevo Channel; and new
                                                                            38/85/1
             36-foot depth anchorage.
             Centerline shifted 350 feet west and Bar Channel deepened
             to 48 feet over maximum width of 800 feet; deepened
             Anegado Channel to 46, 43, and 40 feet from the Bar Channel
             over a bottom width of 800 feet; deepen Army Terminal and
             Puerto Nuevo Channels to 40 feet and widen to 450 feet;
    17 Nov   Deepen Graving Dock Channel to 36 feet and widen to 450        Public Law 99-
     1986    feet; extend San Antonio Channel 1500 feet and deepen to       662
             36 feet over minimum width of 500 feet; deepen Cruise Ship
             Basin to 36 feet; provide Sabana Approach Channel with
             depth of 32 feet over width of 250 feet; deepen Anchorage
             Area E to 38 feet and provide six mooring dolphins; provide
             22 acres of shallow bay bottom for mitigation.





                                              Page 3 of 69


                                                                                             NMFS_00182
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 19 of 350




                            Figure 1 - Existing Project Components

Transportation inefficiencies occur when existing channels and maneuvering areas
cannot efficiently accommodate the existing vessels using the harbor. The existing fleet
is constrained by channel depths, under-sized turning areas and strong wind and wave
conditions at the harbor entrance. This requires many of the ships to light load,
preventing them from using the full capacity of the vessel and thus increasing the
number of vessel calls into the harbor. Navigation concerns include three main types of
problems: difficult wind and wave conditions, limited channel and turning basin widths,
and insufficient Federal channel depths.

SJH is known to have many groundings, allisions and collisions. Some of these
groundings have occurred at the mouth of the entrance channel where there is the
potential for hardbottom resources to be present (Figure 2 and Figure 3). The entrance
channel also presents significant navigational challenges including bar channel winds
and waves causing ships to roll and heel and winds, waves and currents in the entrance
channel cause ships to alter their speed resulting in squat and sinkage. Changes in the
entrance channel proposed by this project will help to improve these conditions for
vessels transiting the entrance channel.


                                      Page 4 of 69


                                                                                      NMFS_00183
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 20 of 350




                                                                                            
          Figure 2 - M/V Sergo Zakariadze Grounding – November 1999 (U.S. Coast Guard)




                                                                                                
        Figure 3 - Unknown Ship Grounding Northwest side of Entrance Channel October 2003

Project Location
SJH is located on the northeast coast of the Commonwealth of Puerto Rico (Figure 4).
The Commonwealth's cruise ships, containerized cargo, dry bulk grains, general cargo
including automobiles, and petroleum products pass through SJH. The entrance channel
accesses the Atlantic Ocean to the north between Isla de Cabras and Old San Juan.



                                        Page 5 of 69


                                                                                                    NMFS_00184
  Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 21 of 350




The study area includes the entrance channel, Ocean Dredged Material Disposal Site
(ODMDS), the Federal inner harbor channels, and any extension of these water bodies
and shorelines that would be affected by channel enlargement alternatives or any
potential associated landside infrastructure changes.




                                                                                          
                            Figure 4 - Location of San Juan Harbor

Description of the Proposed Action
The Corps analyzed several alternatives within the Draft Integrated Feasibility Report
and Environmental Assessment and identified a Tentatively Selected Plan (TSP). The
Project will require the removal of approximately 2.1 million cubic yards of dredged
material. Features of the current TSP (Figure 5), include:

   x   Deepen Cut-6 to 46 feet.
   x   Deepen Anegado Channel to 44 feet.
   x   Deepen Army Terminal Channel to 44 feet and widen by 100 feet.
   x   Deepen Army Terminal Turning Basin to 44 feet.
   x   Deepen San Antonio Channel and Cruise Ship Basin East to 36 feet.
   x   Placement of dredged material in the San Juan Harbor ODMDS or the Condado Lagoon
       Section 204 beneficial use of dredged material/seagrass restoration project.




                                      Page 6 of 69


                                                                                          NMFS_00185
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 22 of 350




                            Figure 5 - Tentatively Selected Plan

The Corps expects the construction to be performed using a variety of dredging
methods including a cutterhead, clamshell, hopper or backhoe. Disposal of dredged
material will be in the San Juan Harbor ODMDS or within the Condado Lagoon beneficial
use of dredged material/seagrass restoration project footprint. The San Juan Harbor
ODMDS is an approximately 1 square mile site, located 2.2 nautical miles north-
northwest of the entrance to SJH, in an average water depth of 965 feet (292 meters),
which was designated by the U.S. Environmental Protection Agency (EPA) on April 22,
1988. Detailed information concerning this site is located on EPA’s Ocean Dumping
homepage located at https://www.epa.gov/ocean-dumping/site-management-and-
monitoring-plan-smmp-san-juan-harbor-ocean-dredged-material.

Overview of Dredging Methods
Geotechnical evaluations indicate minimal rock that will not require blasting. Five
separate dredging methodologies may be utilized in the deepening and expansion of the
port’s channels and basins. Each one will be evaluated separately since they rely on
differing equipment, and thus different effects may occur. Construction methodology of
the project will be determined by the contractor selected by the Corps during the bid
process. However, certain assumptions can be made regarding various techniques that
may be needed to complete construction; those assumptions are the basis for this
consultation. If an alternative construction methodology, not included in this

                                     Page 7 of 69


                                                                                    NMFS_00186
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 23 of 350




consultation is proposed by the selected contractor that result in effects to the species
under National Marine Fisheries Service (NMFS) jurisdiction that are different than
those analyzed here, then the Corps will reinitiate consultation.

Dredging equipment is classified as either hydraulic or mechanical based upon the
means of transporting the dredged material from the channel bottom. Hydraulic
dredges use water to pump the dredged material as slurry to the surface and
mechanical dredges use some form of bucket to excavate and raise the material from
the channel bottom. The most common hydraulic dredges include cutter-suction and
hopper dredges and the most common mechanical dredges include clamshells and
backhoes (also referred to as marine excavator or dipper dredges). In addition to
clamshell and backhoe dredges, mechanical dredges also include bucket ladder dredges,
however, U.S. law requires that dredges working on federally funded projects have U.S.
built hulls and no large scale bucket ladder dredges capable of conducting rock dredging
are currently available for U.S. work. Various project elements influence the selection of
the dredge type and size. These factors include the type of material (rock, clay, sand,
silt, or combination); the water depth; the dredge cut thickness, length, and width; the
sea or wave conditions, vessel traffic conditions, environmental restrictions, other
operating restrictions; and the required completion time. All of these factors effect
dredge production and as a result costs. Multiple dredges of the same or different types
may be used on projects where conditions vary between dredging locations or to
expedite the work.

The following discussion of dredges and their associated effects will be limited to
potential dredging equipment suitable for the SJH deepening project. The key project
elements for this deepening project include:

       Based on geotechnical investigation, the material to be dredged is primarily silts
       and clay historically and currently transported from upland areas by rivers and
       streams and deposited into SJH. More specifically the material is soft clay and
       stiff plastic clay. Sand and gravel mixes with some limestone and sandstone
       were also encountered.
         !    ( (      ,  
       project as documented by National Oceanic and Atmospheric Administration
       (NOAA) staff during the November 2015 project planning charrette.
       6 , ( & in a channelized environment.

Dredging may occur with any type of dredge and disposal of all dredged material would
be in the ODMDS and/or the Condado Lagoon beneficial use of dredged material/seagrass
restoration site. Potential equipment must be able to excavate up to 60 feet in depth (to
include overdepth), depending upon wave and tide conditions as well as excavate large
material volume.



                                     Page 8 of 69


                                                                                        NMFS_00187
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 24 of 350




Hydraulic Dredges
Hydraulic dredges are characterized by their use of a pump to dredge sediment and
transport slurry of dredged material and water to identified discharge areas. The ratio
of water to sediment within the slurry mixture is controlled to maximize efficiency. The
main types of hydraulic dredges are pipeline and hopper dredges.

Pipeline Dredges - Cutterhead Suction Dredge
Pipeline dredges are designed to handle a wide range of materials including clay,
hardpan, silts, sands, gravel, and some types of rock formations without blasting. They
are used for new work and maintenance in projects where suitable placement/disposal
areas are available and operate in an almost continuous dredging cycle resulting in
maximum production, economy, and efficiency. Limitations of pipeline dredges include
relative lack of mobility, long mobilization and demobilization, inability to work in high
wave action and currents, and are impractical in high traffic areas.

Pipeline dredges are rarely self-propelled and; therefore, must be transported to and
from the dredge site. Pipeline dredge size is based on the inside diameter of the
discharge pipe which commonly ranges from 6” to 48.” They require an extensive array
of support equipment including pipeline (floating, shore, and submerged), boats (crew,
work, survey), barges, and pipe handling equipment. Most pipeline dredges have a
cutterhead on the suction end. A cutterhead is a mechanical device that has rotating
teeth to break up or loosen the bottom material so that it can be sucked through a pipe
to the dredge (Figure 6).




                                     Page 9 of 69


                                                                                        NMFS_00188
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 25 of 350




    Figure 6 - Cutterhead pipeline dredge schematic and representative close-up photographs. (Video of
             cutterhead dredge: http://el.erdc.usace.army.mil/dots/doer/anima/cutterside.avi)

Large cutter-suction dredges, or cutterhead dredges, are mounted on barges. The key
parts of a cutter-suction dredge include:
    x The cutter-suction head that resembles an egg beater with teeth that break up
        the dredged material as it rotates. The broken material is hydraulically moved
        into the suction pipe for transport.
    x The cutter suction head is located at the end of a ladder structure that raises and
        lowers it to and from the bottom surface.
    x The discharge pipeline connects the cutter suction dredge to the disposal
        location. The dredged material is hydraulically pumped from the bottom,
        through the dredge, and through the discharge pipeline to the disposal location.
    x Dredge pumps are located on the barge with additional pump(s) often located
        on the ladder, especially for deep water dredging projects such as SJH. Booster
        pumps can also be added along the discharge pipeline to move the material
        greater distances.

                                           Page 10 of 69


                                                                                                         NMFS_00189
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 26 of 350




Depending upon their design, cutterhead dredges can be used to remove consolidated
rock and unconsolidated material. During the dredging operation a cutterhead suction
dredge is held in position by two spuds at the stern of the dredge, only one of which can
be on the bottom while the dredge swings. There are two swing anchors some distance
from either side of the dredge, which are connected by wire rope to the swing wenches.
The dredge swings to port and starboard alternately, passing the cutter through the
bottom material until the proper depth is achieved. The dredge advances by “walking”
itself forward on the spuds. This is accomplished by swinging the dredge to the port,
using the port spud and appropriate distance, then the starboard spud is dropped and
the port spud is raised. The dredge is then swung an equal distance to the starboard
and the port spud is dropped and the starboard spud is raised.

A large cutterhead dredge could be used for the entire SJH project. Disposal options
include transport by barges to the ODMDS or placement of dredged in previously
dredged holes as part of the Condado Lagoon beneficial use of dredged material/seagrass
restoration project. When the material will be taken to the ODMDS, the material may be
loaded into scows using a barge known as a spider barge. This barge allows for one
scow to be loaded and a second to begin loading immediately after the first is complete,
ensuring more efficient dredging due to lessened down time waiting for scows to return
from the ODMDS (Figure 7).




                                                                                                   
    Figure 7 - A spider barge loading material into two scows from the cutterhead dredge, Texas, during
                                     Miami Harbor Phase II 2005-2006.

Hopper Dredge.
The hopper dredge, or trailing suction dredge, is a self-propelled ocean-going vessel
with a section of the hull compartmented into one or more sediment containment
chambers called hoppers. Fitted with powerful pumps, the dredges suck sediment from
the channel bottom through long intake pipes, called drag arms, and store it in the
hopper(s). Normal hopper dredge configuration has two dragarms, one on each side of
the vessel. A dragarm is a pipe suspended over the side of the vessel with a suction

                                            Page 11 of 69


                                                                                                          NMFS_00190
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 27 of 350




opening called a draghead for contact with the bottom (Figure 8). Depending on the
hopper dredge, a slurry of water and sediment is generated from the plowing of the
draghead “teeth,” the use of high pressure water jets, and the suction velocity of the
pumps. The dredged slurry is distributed within the vessels hopper allowing for solids to
settle out and the water portion of the slurry to be discharged from the vessel during
operations through its overflow system. When the hopper attains a full load, dredging
stops, the dragarms are lifted off the bottom and the ship travels to an in-water disposal
site, where the dredged material is discharged through the bottom of the ship by
splitting the hull, or opening doors located in the bottom of each hopper.




     Figure 8 - Hopper dredge and dragarm being lowered into the water (Video of hopper dredge -
                       http://el.erdc.usace.army.mil/dots/doer/anima/turtle.avi)

Hopper dredges are well suited to dredging heavy sands and unconfined material. They
can maintain operations safely, effectively, and economically in relatively rough seas
and because they are mobile, they can be used in high-traffic areas. They are often used
at ocean entrances and offshore, but cannot be used in confined or shallow areas.
Hopper dredges also have several limitations. Considering their normal operating
conditions, hopper dredges cannot dredge continuously. The precision of hopper
dredging is less than other types of dredges; therefore, they have difficulty dredging
steep side banks and cannot effectively dredge around structures or in corners.

The Corps will incorporate the Terms and Conditions in NMFS’ 1997 South Atlantic
Regional Biological Opinion (SARBO) on Hopper Dredging along the South Atlantic Coast
into the project specifications, or any subsequent SARBO issued for hopper dredging.

                                         Page 12 of 69


                                                                                                   NMFS_00191
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 28 of 350




Although the SARBO does not include new harbor deepening projects in the project
description, the Corps expects that that protective measures of the SARBO are sufficient
to protect sea turtles in SJH.

The Corps has confirmed that two hopper dredges were used simultaneously in the SJH
deepening project in 1999-2000 and included the standard hopper dredge protective
conditions that were in place in the 1995 and 1997 SARBOs. There are no reports of sea
turtle take available for review associated with that deepening project. Discussions with
the project engineer (S. Conger pers comm July 2017), confirmed no recollection of any
sea turtle take being reported during construction. However, based on other tropical
harbors (Miami, Fort Lauderdale, Key West), sea turtle take is not expected since water
temperatures are warm and sea turtles are not expected to ruminate in the bottom of
the channel, the location where entrainment by draghead is most likely to occur.
Operations and maintenance (O&M) dredging utilizing a hopper dredge has not been
conducted in SJH since 1995 (when the 1995 SARBO was put in place). Projects in Puerto
Rico and the U.S. Virgin Islands (USVI) were not included in the 1995 SARBO ESA
consultation. The 2008 and 2017 South Atlantic Regional Biological Assessment include
both of these locations for maintenance dredging with a hopper dredge). The 1997
SARBO incorporates (by reference) NMFS’ 1995 Biological Opinion on hopper dredging
of channels and beach nourishment activities in the southeastern U.S. from North
Carolina through Florida East Coast. As previously stated, the Corps’ specifications will
require their contractor(s) to follow the Terms and Conditions in the 1997 and 1995
Biological Opinions mentioned above (or any subsequent SARBO, when issued), with the
exception of the conditions related to the southeast United States’ North Atlantic Right
Whale calving area, because the proposed project is not located in or near the calving
area. The Corps will also incorporate the protective measures of NMFS’ March 23, 2006,
Sea Turtle and Smalltooth Sawfish Construction Conditions into the project plans and
specifications. Additionally any take associated with the use of a hopper dredge shall be
reported via the Operations and Dredging Endangered Species System (ODESS), a
publically accessible and searchable database for reporting take of ESA listed species in
Corps’ construction projects (http://dqm.usace.army.mil/odess/#/home).

In addition to hopper dredges, relocation trawling may occur inside SJH, since the
northernmost cut of the proposed project is Cut 6, located to the south of the harbor
entrance and the jetties (Figure 1). This means that all trawling will occur within the
confines of San Juan Bay.




                                    Page 13 of 69


                                                                                       NMFS_00192
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 29 of 350




Mechanical Dredges
Mechanical dredges are characterized by the use of some form of bucket to excavate
and raise the bottom material (Figure 9). They remove material by scooping it from the
bottom and then placing it onto a waiting barge/scow or directly into a
placement/disposal area. Mechanical dredges work best in consolidated, or hard-
packed, materials and can be used to clear rocks and debris. Dredging buckets have
difficulty retaining loose, fine materials, which can be washed from the bucket as it is
raised. Special buckets have been designed for controlling the flow of water and
material from buckets and are used when dredging contaminated sediments.
Mechanical dredges are rugged and can work in tightly confined areas. They are
mounted on a large barge and are towed to the dredging site and secured in place by
anchors or spuds. They are often used in harbors, around docks and piers, and in
relatively protected channels, but are not suited for areas of high traffic or rough seas.




Figure 9 - Mechanical dredges (clamshell bucket/back-hoe dredge and barge). (Video of clamshell dredge
                    - http://el.erdc.usace.army.mil/dots/doer/anima/clamshel.avi.)

Backhoe dredges and clamshell dredges, named for the scooping buckets they employ,
are the two most common types. For clamshell dredges, a bucket dredge begins the
digging operation by dropping the bucket in an open position from a point above the

                                          Page 14 of 69


                                                                                                     NMFS_00193
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 30 of 350




sediment. The bucket falls through the water and penetrates into the bottom material.
The sides of the bucket are then closed and material is sheared from the bottom and
contained in the bucket compartment. The bucket is raised above the water surface,
swung to a point over the barge, and then released into the barge by opening the sides of
the bucket. Usually two or more disposal barges, called dump scows, are used in
conjunction with the mechanical dredge. While one barge is being filled, another is being
towed to the disposal site by a tug and emptied. If an upland disposal area is used, the
material must be unloaded using mechanical or hydraulic equipment. Using numerous
barges, work can proceed continuously, only interrupted by changing scows or moving the
dredge. This makes mechanical dredges particularly well suited for dredging projects
where the disposal site is many miles away.

The backhoe dredge is essentially a power shovel mounted on a barge. The backhoe digs
toward the machine with the bucket penetrating from the top of the cut face. The
operation cycle is similar to the clamshell dredge, as are the factors affecting
production. Backhoe marine excavators have accurate positioning ability and are able
to excavate firm or consolidated materials. However, they are susceptible to swells and
have low to moderate production. Backhoe marine excavators could be used to
excavate unconsolidated overburden, fractured rock, and possibly some unfractured
rock.

Bed Leveling
A “bed-leveler” is considered to be any type of dragged device used to smooth sediment
bottom irregularities left by a dredge (Figure 10). It is also referred to as a “mechanical
leveling device or drag bar”. In various parts of the U.S. this process is known as
“barring” or “knockdown” (Hales et al. 2003). In certain cases, bed-levelers are used to
redistribute sediments to maintain navigable depths rather than removing them by
dredging with conventional methods. Dredge types using bed-levelers include clamshell
(excavator), bucket, hydraulic cutterhead, and hopper dredges. Bed levelers do not use
suction and redistribute sediments, rather than removing them. Plows, I-beams or
other seabed leveling mechanical dredging devices are often used to lower high spots
left in channel bottoms and dredged material deposition areas by hopper dredges or
other types of dredges.





                                     Page 15 of 69


                                                                                         NMFS_00194
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 31 of 350




Figure 10 - Example bed levelers and associated operating conditions (photographs courtesy Bean
Dredging Company and Weeks Marine Incorporated)

Dredged Material Disposal
As previously described, the first disposal option is placement of dredged material in the
EPA designated ODMDS. NMFS has previously consulted on disposal operations at the
ODMDS under the Environmental Impact Statement (EIS) for designation of the ODMDS
with EPA in 1988, and in subsequent Site Management and Monitoring Plans for the
project in 2000 and 2010 (Appendix A). In 2010, NMFS determined:

       NMFS believes that the proposed action may affect but is not likely to adversely
       affect listed whales and sea turtles. Listed whales and sea turtles in the water
       could be affected by vessel transit to and from the ODMDS. However, EPA and
       COE have included NMFS Southeast Region Vessel Strike Avoidance Measures
       and Reporting for Mariners as a requirement for barges transiting to and from
       the ODMDS. EPA and COE have also included a requirement that, upon arrival at
       the ODMDS, the dredging inspector maintain a watch for listed marine mammals
       and sea turtles to ensure that no disposal activities take place while animals are
       present. Further, based on information from a consultation with the U.S. Coast
       Guard for their Marine Events Program in the U.S. Caribbean, and information
       from the U.S. Fish and Wildlife Service, the only reported collisions with marine
       mammals in this area occurred inside the San Juan Bay in the Puerto Nuevo area
       when a vessel collided with five manatees. We have no records of collisions with
       marine mammals or sea turtles associated with the operation of the ODMDS site.
       Therefore, NMFS believes that impacts to listed whales and sea turtles due to
       collisions with vessels during transit to and from the ODMDS will be discountable.
The Corps agrees with this determination and incorporates it be reference (Appendix A).
Evaluation of the effects of transport to the ODMDS on newly listed corals, Nassau
Grouper and proposed giant manta ray is evaluated later in this document.

The second option is to use the dredged material to fill previously dredged holes in
Condado lagoon for beneficial use of dredged material/seagrass restoration (Appendix A).

                                          Page 16 of 69


                                                                                                  NMFS_00195
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 32 of 350




NMFS has previously consulted on this action, making a determination that the
restoration “may affect, but is not likely to adversely affect” listed species under NMFS
jurisdiction in the project area (NMFS 2014c). The Corps incorporates this determination
into this consultation and no additional analysis regarding this aspect of the project will be
included with this Biological Assessment.

Transportation Methodology – Hopper Dredges, Tugs/Scows, and Barges
Depending on the dredging and disposal site conditions, as a component of hydraulic and
mechanical dredging operations, accompanying equipment such as tugs and barges
(hopper, scow, spider barge, etc.) may be used in association with dredging activity in
order to transport the dredged material to the pre-determined disposal sites. Methods of
transporting dredged material to disposal sites include self-propelled transport via hopper
dredges or towing/pushing of loaded barges to disposal sites via tugboats. Tugboats are a
component of all dredging operations and may be used to move immobile equipment into
place as well as towing loaded barges to the disposal sites. Hopper dredges or bucket and
barge operations are often used when disposal areas are beyond the pumping distance of
pipeline dredges considering that hopper dredges and barges can transport material over
long distances to the placement/disposal sites. Depending on a myriad of factors such as
the type of dredged material, cubic yardage to be dredged, barge capacity, overflow
capability, distance of the placement/disposal site, weather, etc., there may be types of
dredges that consistently rotate from the dredge site to the placement/disposal site to
achieve maximum efficiency and productivity. The number of hopper loads or barges
towed, the transport interval, and the speed to the placement/disposal site will vary
depending on these factors.

Hopper/scow locations are monitored at all times via the Dredging Quality Management
(DQM) system and the contractor can be penalized for violating the specifications. The
ullage (loaded draft) of each scow is recorded approximately every 30-seconds to
determine if there is any loss of material from the scow during transit. This data is
reviewed after each load by the contractor and the Corps/EPA and if a barge has a net
loss of more than one foot in draft between the dredge site and disposal site(s)
(averaged between the bow and stern monitoring locations), this serves as a “red flag”
to conduct an investigation as to why the draft loss occurred. If the draft loss can be
determined due to high seas and sloshing of material, no other action is required.
However, if the loss is not as a result of high seas and sloshing, the barge is temporarily
removed from the rotation and has the seals tested and repaired (if necessary). If a
particular barge demonstrates a trend of material loss that does not resolve itself after
seal testing and repair, the barge is removed from the dredging operation. One-foot of
loss has been determined by Corps and EPA to be a good threshold for notification,
because all barges have some amount of draft loss through leakage or water sloshing
out of the barge due to sea conditions and weather, although the amount is typically
minimal.



                                      Page 17 of 69


                                                                                            NMFS_00196
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 33 of 350




Hopper dredge and scows will be loaded with dredged material and taken to the
ODMDS or approved Condado Lagoon beneficial use of dredged material/seagrass
restoration site at the end of the San Antonio Channel and then pumped into the Lagoon
via pipeline. As part of the Corps’ standard environmental protection specifications
(cited below), the vessels are required to remain in the marked channel until passing the
outer buoy to prevent any accidental release of material from the scow/hopper that
might settle on adjacent reef habitats.

    “Due to the presence of hardbottom reefs adjacent to the channel, the Contractor
    shall stay within the marked entrance channel while in transit from the dredging area
    to the ODMDS, and on the return trip, until past the last channel marker.”

Hopper dredge and disposal tug/scow transit tracks will be recorded by the Contractor
and reviewed within 24-hours of the transit to the disposal site to ensure the vessel
remained in the marked channel or approved corridor to the Condado Lagoon beneficial
use of dredged material/seagrass restoration site. If the dredge/tug and scow leaves the
channel or approved corridor, the location will be marked and recorded in a Geographic
Information System database, water depths of the location will be determined by
reviewing existing surveys and, draft of the vessel will be determined by the DQM
system. If it is determined that the potential exists for an effect to have occurred as a
result of the vessel leaving the channel or approved corridor, a survey team will be
deployed to assess any effect that may have occurred and conduct immediate
remediation. Remediation work will be conducted immediately after the survey by the
survey crew. Remediation activities may follow the guidelines developed by the state of
Florida "Rapid Response and Restoration for Coral Reef Injuries in Southeast Florida,
Guidelines and Recommendations" dated June 2007, if applicable.

Split Hull Barge
A split hull barge (Figure 11) has two hulls connected with hinges at the front and back.
The two-door hinged configuration, allows the hulls to swing apart, opening at the
bottom to allow dredged material to fall from the barge. This provides a rapid disposal
of dredged material, which, as a result, is placed within a small area. The rapid descent
of material through the water column reduces the potential for resuspension of
sediments into the water column during disposal. Such a barge may be used for ODMDS
disposal. A rubber seal (similar to a gasket or weather-stripping on a door), is pinched
between the two doors, limiting the leakage from the barge of water and dredged
material. This seal does not prevent 100% of water and dredged material from leaking;
however it minimizes it to the maximum extent practicable.




                                     Page 18 of 69


                                                                                       NMFS_00197
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 34 of 350




                                                                             
                                 Figure 11 - Split-hull barge

Bottom Dump Barge
A bottom dump barge has doors on the bottom of the hopper, which opens at the
disposal site to allow the dredged material to fall to the bottom. This type of barge has
slower disposal than split hull dump barges and material spreads over a larger area.
This barge may be used for ODMDS disposal. As with split hull barge, the bottom dump
barge has seals around each of the doors to minimize leakage of material and water
from the barge. The barge is monitored in the same method as the split hull barge and
the same response is taken if the barge loses more than a net foot of draft. This type of
barge may be used either for ODMDS disposal or construction of artificial reef sites.

Flat Top Barge
A flat top barge transports dredged material stacked on a barge deck and must be
unloaded mechanically at the disposal site. As a result disposal time is slow but it is
possible to drain dredged material with filters prior to disposal.

All three barge types are typically pushed or pulled to the disposal site by a tug (Figure
12) and for split hull and bottom dump barge, the disposal action is triggered remotely
from the tug to the barge. The exact time the signal is given to the barge, and when the
doors open and close are recorded in a tracking system for further data analysis and
compliance tracking.




                                     Page 19 of 69


                                                                                        NMFS_00198
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 35 of 350




                                                                        
                     Figure 12 - Split Hull Barge Being Pushed by Tug




                                   Page 20 of 69


                                                                            NMFS_00199
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 36 of 350




Protected Species and Designated Critical Habitat Under NMFS Jurisdiction Included in
the Project Area
The following endangered (E) and threatened (T) species under the jurisdiction of NMFS
have the potential to occur in or near the action area:

Table 1 - Listed Species and Critical Habitat under NMFS Jurisdiction in the Project Area
Common Name                          Scientific Name                                   Status
                                          Marine Mammals
Blue whale                           Balaenoptera musculus                                  E
Fin whale                            Balaenoptera physalus                                  E
Sei whale                            Balaenoptera borealis                                  E
Sperm whale – Puerto Rico
                                     Physeter macrocephalus                                 E
and Virgin Islands stock
                                             Sea Turtles
Loggerhead sea turtle                Caretta caretta                                        T
Hawksbill sea turtle                 Eretmochelys imbricata                                 E
Leatherback sea turtle               Dermochelys coriacea                                   E
Green sea turtle (south
Atlantic Distinct Population         Chelonia mydas                                         T
Segment (DPS)
                                                Fish
Nassau Grouper                       Epinephelus striatus                                   T
Scalloped Hammerhead
(central and southwest               Sphyrna lewini                                         T
Atlantic DPS)
Giant Manta Ray                      Manta birostris/ M.alfredi                     T (proposed)
                                            Invertebrates
Elkhorn coral                        Acropora palmata                                       T
Staghorn coral                       Acropora cervicornis                                   T
Pillar coral                         Dendrogyra cylindrus                                   T
Lobed star coral                     Orbicella annularis                                    T
Mountainous star coral               Orbicella faveolata                                    T
Boulder star coral                   Orbicella franksi                                      T
Rough cactus coral                   Mycetophyllia ferox                                    T

Critical Habitat
ESA-designated critical habitat (DCH) for elkhorn and staghorn coral occurs within the
action area.

The Corps has reviewed the biological, status, threats and distribution information
presented in this assessment and believes that the following species will be in or near
the action area and thus may be affected by the proposed project: three sea turtle
species; the Nassau grouper and the seven listed coral species.

                                             Page 21 of 69


                                                                                                   NMFS_00200
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 37 of 350




Species Not Affected by the Project
Species unlikely to be affected by the project are the four whale species. As previously
stated, NMFS previously consulted on the disposal of dredged material in the San Juan
ODMDS (NMFS 2010) and determined that the placement of dredged material in this
site will not affect the four whale species in the project area. Additionally, NMFS has
previously reviewed the placement of dredged material in other ODMDS’ in the
southeast U.S. off the continental shelf of southeast Florida, and in all cases, NMFS
determined that placement of dredged materials in deepwater ODMDS are not likely to
adversely affect whale species (NMFS 2004, NMFS 2003b, NMFS 1994). The Corps
agrees with that determination and incorporates it by reference. NMFS has also
determined that dredging is unlikely to adversely affect leatherback sea turtles (NMFS,
1995; NMFS 2003a), and the Corps agrees with that determination and incorporates it
by reference.

Additionally, it is highly unlikely that the leatherback sea turtle, giant manta ray,
scalloped hammerhead shark or Nassau grouper would be taken by a hopper dredge or
a relocation trawler, due to their offshore location and/or their mobility; and the project
limitations within the confines of San Juan Bay. None of these species have been
reported within the Bay and they are typically considered offshore species. It is also
unlikely that they will be affected by placement of dredged material either in the
ODMDS or within the beneficial use of dredged material/seagrass restoration project in
Condado Lagoon. Both of these effects are so unlikely to occur as to be discountable.
Therefore, the species discussed within this section will not be discussed further in this
assessment.

Sea Turtles
Loggerhead Sea Turtle - Caretta caretta




     Figure 13 - Loggerhead sea turtle (http://kids.nationalgeographic.com/animals/loggerhead-sea-
             turtle/#loggerhead-sea-turtle-swimming-underwater.jpg; accessed 7/13/2017)

The loggerhead sea turtle was listed as a threatened species throughout its global range

                                          Page 22 of 69


                                                                                                     NMFS_00201
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 38 of 350




on July 28, 1978. It was listed because of direct take, incidental capture in various
fisheries, and the alteration and destruction of its habitat. Loggerhead sea turtles
inhabit the continental shelves and estuarine environments along the margins of the
Atlantic, Pacific, and Indian Oceans. In the Atlantic, developmental habitat for small
juveniles is the pelagic waters of the North Atlantic and the Mediterranean Sea (NMFS
and USFWS, 1991a). Within the continental U.S., loggerhead sea turtles nest from Texas
to New Jersey. Major nesting areas include coastal islands of Georgia, South Carolina,
and North Carolina, and the Atlantic and Gulf of Mexico coasts of Florida, with the bulk
of the nesting occurring on the Atlantic coast of Florida.

On November 16, 2007, the NMFS received a petition from Ocean and the Center for
Biological Diversity requesting that loggerhead turtles in the western North Atlantic
Ocean be reclassified as a Distinct Population Segment (DPS) with endangered status
and that critical habitat be designated. On March 08, 2008, the NMFS position finding
was published in the Federal Register indicating that a re-classification of the loggerhead
in the western North Atlantic Ocean as a DPS and listing of the DPS as endangered may
be warranted (73 FR 11849).

NMFS and U.S. Fish and Wildlife Service (USFWS; Services) completed a joint review of
the species status, resulting in an updated Status Review in November 2009 (Conant et
al. 2009). The status review included a discussion of the species physical appearance,
taxonomy, distribution and habitat. It also included an assessment of the population
status of the species, determined that there are nine separate DPSs of loggerhead
turtles globally. They assessed the risk of extinction of each DPS and determined that
based on the threats to the DPS, its likelihood that each DPS would reach critical risk
threshold for extinction within 100 years. Six critical assessment elements were
considered and quantified in this assessment: (1) abundance; (2) population growth rate
or productivity; (3) spatial structure; (4) diversity / resilience; (5) threats; and (6)
conservation efforts. The results of this analysis are incorporated by reference and not
repeated in this document.

A proposed rule to divide loggerhead turtles into nine DPS was published in 2010 (75 FR
12598). A September 2011 Final Rule, uplisted five DPS of loggerhead from threatened
to endangered. The western North Atlantic DPS was not uplisted, and remains as
threatened under the ESA (76 FR 58868).

The Recovery Plan for the Northwest Atlantic Population of the Loggerhead Sea Turtle
(NMFS and FWS 2008) recognized five recovery units (subpopulations) of loggerhead
turtles within the Northwest Atlantic:
1. Northern Recovery Unit (southern VA through FL/GA border)
2. Peninsular Florida Recovery Unit (FL/GA border through Pinellas County, FL)
3. Dry Tortugas Recovery Unit (islands located west of Key West, FL)
4. Northern Gulf of Mexico Recovery Unit (Franklin County, FL, through TX)


                                     Page 23 of 69


                                                                                         NMFS_00202
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 39 of 350




5. Greater Caribbean Recovery Unit (Mexico through French Guiana, The Bahamas,
Lesser Antilles, and Greater Antilles) (GCRU) which includes Puerto Rico.

In the 2008 recovery plan for loggerhead sea turtles, NMFS and USFWS state:
           The Greater Caribbean Recovery Unit is composed of all other nesting
           assemblages of loggerheads within the Greater Caribbean. Statistically valid
           analyses of long-term nesting trends for the entire GCRU are not available
           because there are few long-term standardized nesting surveys representative of
           the region. Additionally, changing survey effort at monitored beaches and
           scattered and low-level nesting by loggerheads at many locations currently
           precludes comprehensive analyses. The most complete data are from Quintana
           Roo, Yucatán, Mexico, where an increasing trend was reported over a 15-year
           period from 1987-2001. However, nesting since 2001 has declined and the
           previously reported increasing trend appears not to have been sustained (Julio
           Zurita, personal communcation, 2006). Other smaller nesting populations have
           experienced declines over the past few decades (e.g., Amorocho 2003).

The GCRU is part of the Northwest Atlantic Ocean DPS, however, as part of the 2009
status review, the Services did not provide a specific population status for this recovery
unit. The entire DPS was maintained as a threatened species, with the greatest threats
resulting from fishery bycatch in neritic and oceanic habitats (Conant et al. 2009).

Critical Habitat
Critical habitat has not been designated by the NMFS for loggerhead sea turtles in the
project area.

Hawksbill Sea Turtle - Eretmochelys imbricata




    Figure 14 – Hawksbill sea turtle (https://haydensanimalfacts.com/2016/06/27/5-interesting-facts-about-
                                      hawksbill-turtles/; accessed 7/13/2017)

The hawksbill turtle was listed as endangered under the precursor of the ESA on June 2,
1970 and remains endangered under the current Act. The hawksbill is a medium-sized
sea turtle, with adults in the Caribbean ranging in size from approximately 62.5 to 94.0
cm straight carapace length. The species occurs in all ocean basins, although it is


                                              Page 24 of 69


                                                                                                         NMFS_00203
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 40 of 350




relatively rare in the Eastern Atlantic and Eastern Pacific, and absent from the
Mediterranean Sea. Hawksbills are the most tropical of the marine turtles, ranging from
approximately 30ºN to 30ºS latitude. They are closely associated with coral reefs and
other hard-bottom habitats, but they are also found in other habitats including inlets,
bays and coastal lagoons (NMFS and USFWS, 1993). There are five regional nesting
populations with more than 1,000 females nesting annually. These populations are in
the Seychelles, Mexico, Indonesia, and two in Australia (Meylan and Donnelly, 1999).
There has been a global population decline of over 80 percent during the last three
generations (105 years) (Meylan and Donnelly, 1999). Hawksbill turtles are known to
forage throughout the coastal areas surrounding Puerto Rico. Juvenile sea turtles live in
coral reef and seagrass habitats and remain there until they reach sexual maturity
(Limpus, 1990; Frazer et al., 1994; USGS, 1998).

The Services completed a joint review of the species status in June 2013, (NMFS and
USFWS 2013). The status review included a discussion of the species biology, physical
appearance, taxonomy, distribution and habitat. The results of this analysis are
incorporated by reference and not repeated in this document.

Population Dynamics and Status
Estimates of the annual number of nests at hawksbill sea turtle nesting sites are of the
order of hundreds to a few thousand. Nesting within the southeastern United States
and U.S. Caribbean is restricted to Puerto Rico (>650 nests/year), the USVI (~400
nests/year), and, rarely, Florida (0-4 nests/year) (Meylan, 1999; Florida Fish and Wildlife
Conservation Commission; Florida Marine Research Institute’s Statewide Nesting Beach
Survey data 2002). At the two principal nesting beaches in the U.S. Caribbean where
long-term monitoring has been carried out, populations appear to be increasing (Mona
Island, Puerto Rico) or stable (Buck Island Reef National Monument, St. Croix, USVI)
(Meylan, 1999).

Threats
The main threats to hawksbill turtles include habitat loss, habitat degradation, fishery
interactions, and poaching in some parts of their range. There continues to be a black
market for hawksbill shell products (“tortoiseshell”), which likely contributes to the
harvest of this species.

Critical Habitat
On 2 September 1998, NMFS published the final rule for critical habitat designation for
the hawksbill sea turtle (63 FR 46693). The geographic limits of critical habitat,
designated by NMFS as habitat necessary for the continued survival and recovery of
Hawksbill turtles in the region, includes waters extending seaward 3 nautical miles (5.6
km) from the mean high water line of Mona and Monito Islands, Puerto Rico. Mona
Island lies approximately 39 nautical miles (72 km) west of the southwest coast of
mainland Puerto Rico and is not in the project area.


                                     Page 25 of 69


                                                                                         NMFS_00204
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 41 of 350




Green Sea Turtle - Chelonia mydas




                                                                        
                                     Figure 15 - Green sea turtle
    (http://www.nmfs.noaa.gov/pr/images/turtles/green_bruckner_hires_noaa.jpg; accessed 7/13/2017)

The green turtle was listed under the ESA on July 28, 1978. Breeding populations of the
green turtle in Florida and along the Pacific Coast of Mexico were listed as endangered;
all other populations were listed as threatened. The nesting range of the green sea
turtles in the southeastern U.S. includes sandy beaches of mainland shores, barrier
islands, coral islands, and volcanic islands between Texas and North Carolina, the USVI
and Puerto Rico (NMFS and USFWS, 1991b). Principal U.S. nesting areas for green sea
turtles are in eastern Florida, predominantly Brevard through Broward counties (Ehrhart
and Witherington, 1992). Green sea turtle nesting also occurs regularly on St. Croix,
USVI, and on Vieques, Culebra, Mona, and the main island of Puerto Rico (Mackay and
Rebholz, 1996).

NMFS completed a status review of the green sea turtle under the ESA in March 2015
(Seminoff et al. 2015). The status review included a discussion of the species physical
appearance, taxonomy, distribution and habitat. The review included an assessment of
the population status of the species, determined that there are 11 separate DPS of
green turtles globally. They assessed the risk of extinction of each DPS and determined
that based on the threats to the DPS, its likelihood that each DPS would reach critical
risk threshold for extinction within 100 years. Six critical assessment elements were
considered and quantified in this assessment: (1) abundance; (2) population growth rate
or productivity; (3) spatial structure; (4) diversity / resilience; (5) threats; and (6)
conservation efforts.

In March 2015, the Services proposed to list 11 DPSs of green sea turtles as either
endangered or threatened under the ESA (80 FR 15271). In April 2016, they finalized the
listing of the 11 DPSs, eight as threatened and three as endangered (81 FR 20058). The
green sea turtles found in the project area are part of the North Atlantic DPS and are
classified as threatened under the ESA. The analysis conducted by Seminoff et al. (2015)
for the North Atlantic DPS is incorporated by reference and will not be repeated here.

Green turtles are known to forage throughout the coastal areas surrounding Puerto
Rico. Juvenile sea turtles live in coral reef and seagrass habitats and remain there until
they reach sexual maturity (Limpus, 1990; Frazer et al., 1994).
                                          Page 26 of 69


                                                                                                     NMFS_00205
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 42 of 350




Critical Habitat
On 2 September 1998, NMFS published the final rule for critical habitat designation for
the green sea turtle (63 FR 46693). The geographic limits of critical habitat, designated
by the NMFS as habitat necessary for the continued survival and recovery of green
turtles in the region, includes the waters surrounding Culebra, Mona, and Monito
Islands, Puerto Rico extending seaward 3 nm (5.6 km) from the mean high water line of
Culebra Island, Puerto Rico. The designation includes Culebra’s outlying Keys (Cayo
Norte, Ca :' ('<(" ' (" ' (6
a, Las Hermanas, El Mono, Cayo Lobo, Cayo Lobito, Cayo Botijuela, Alcarraza, Los
Gemelos, and Piedra Steven). Culebra Island lies approximately 16 nm (29.7 km) east of
the northeast coast of mainland Puerto Rico and is not in the project area.

Corals
The ESA defines a species as "any subspecies of fish or wildlife or plants, and any distinct
population segment of any species or vertebrate fish or wildlife which interbreeds when
mature." The Act specifically limits a species to a population of a vertebrate fish or
wildlife. A DPS is the smallest division of a taxonomic species permitted to be protected
under the ESA. Three elements are considered in a decision regarding the status of a
possible DPS as endangered or threatened under the Act. These are applied similarly for
addition to the lists of endangered and threatened wildlife and plants, reclassification,
and removal from the lists:

1. Discreteness of the population segment in relation to the remainder of the species to
which it belongs;

2. The significance of the population segment to the species to which it belongs; and

3. The population segment’s conservation status in relation to the Act’s standards for
listing (i.e., is the population segment, when treated as if it were a species, endangered
or threatened?).

In their final Rulemaking for DPS’ [61 FR 4722, Feb 7, 1996], NMFS and USFWS address
the following comment, "The authority to address DPS’ should be extended to plant and
invertebrate species." And the response offered states, "The Services recognize the
inconsistency of allowing only vertebrate species to be addressed at the level of DPS, and
the findings of the NRC committee also noted that such recognition would be
appropriate for other species. Nevertheless, the Act is perfectly clear and unambiguous
in limiting this authority. This policy acknowledges the specific limitations imposed by
the Act on the definition of “species.”

All of the corals discussed in this consultation are invertebrates and their status must be
assessed throughout the entirety of their range. In addition, this information must be
the basis on which a jeopardy determination is made.

                                      Page 27 of 69


                                                                                          NMFS_00206
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 43 of 350




All seven of the listed corals are found in the Caribbean and have the potential to be
found on the hardbottom habitats near and surrounding the entrance to San Juan
Harbor, as all seven have been documented on the island. A significant review of the
life history for all seven species is included in the 2012 NMFS status review for the
proposed species and is cited as “Brainard, et al 2011” and is incorporated by reference.

Staghorn and Elkhorn Corals
Staghorn (Acropora cervicornis) and Elkhorn (Acropora palmata) corals were listed as
threatened under the ESA on May 9, 2006, (71 FR 26852) based on a status review
completed by NMFS in March 2005 (70 FR13151). NMFS published a “4D” rule for these
Acropora species on October 29, 2008 (73 FR 64264) providing a list of activities that
would result in “take” as defined by the ESA. NMFS completed a recovery plan for the
species in March 2015.

Staghorn coral - Acropora cervicornis




    Figure 16 - Final Report for the 30-Day Post-Relocation Monitoring Survey for Acropora cervicornis
           Associated with the Miami Harbor Construction Dredging (Phase 3) Project; Figure 4

A review of the range-wide status of Acropora cervicornis is included in the “Atlantic
Acropora Status Review (ABRT 2005) and is incorporated here by reference.

In the proposed rule for the new corals, NMFS also proposed to uplist A. cervicornis
from threatened to endangered (NMFS 2012). However, in the final rule (NMFS 2014a),
NMFS found that based on the species “spatial and demographic traits to moderate or
exacerbate its vulnerability to extinction…” Additionally:

        Although localized mortality events have continued to occur, percent benthic
        cover and proportion of reefs where A. cervicornis is dominant have remained
        stable over its range since the mid-1980s.



                                           Page 28 of 69


                                                                                                         NMFS_00207
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 44 of 350




       Its absolute population abundance has been estimated as at least tens of millions
       of colonies in the Florida Keys and Dry Tortugas combined and is higher than the
       estimate from these two locations due to the occurrence of the species in many
       other areas throughout its range… Its abundance and life history characteristics,
       combined with spatial variability in ocean warming and acidification across the
       species’ range, moderate vulnerability to extinction because the threats are non-
       uniform, and there will likely be a large number of colonies that are either not
       exposed or do not negatively respond to a threat at any given point in time.

       Acropora cervicornis is distributed throughout the Caribbean, in the
       southwestern Gulf of Mexico, and in the western Atlantic.

       There is no evidence of range constriction, though loss of Acropora cervicornis at
       the reef level has occurred (Acropora Biological Review Team, 2005).

       Veron (2014) confirms the presence of Acropora cervicornis in seven out of a
       potential 11 ecoregions in the western Atlantic and greater Caribbean that are
       known to contain corals. The four ecoregions in which it is not found are the
       Flower Garden Banks and off the coasts of Bermuda, Brazil, and the southeast
       U.S. north of south Florida.

       Acropora cervicornis was observed in 21 out of 301 stations between 2011 and
       2013 in stratified random surveys designed to detect Acropora colonies along the
       south, southeast, southwest, and west coasts of Puerto Rico, and it was observed
       at an additional 16 sites outside of the surveyed area (García Sais et al., 2013).
       The largest colony was 60 cm, and density ranged from 1 to 10 colonies per 15
       m2 (García Sais et al., 2013).

       Across the Caribbean, percent cover appears to have remained relatively stable
       since the population crash in the 1980s.

       Supplemental information we found on Acropora cervicornis abundance and
       population trends includes the following. Acropora cervicornis was observed in 21
       out of 301 stations between 2011 and 2013 in stratified random surveys designed
       to detect Acropora colonies along the south, southeast, southwest, and west
       coasts of Puerto Rico, and it was observed at an additional 16 sites outside of the
       surveyed area (García Sais et al., 2013).

       New information we found on population trends includes the following. A report
       on the status and trends of Caribbean corals over the last century indicates that
       cover of Acropora cervicornis has remained relatively stable (though much
       reduced) throughout the region since the large mortality events of the 1970s and
       1980s. The frequency of reefs at which Acropora cervicornis was described as the
       dominant coral has remained stable.

                                    Page 29 of 69


                                                                                        NMFS_00208
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 45 of 350




Based on all of this information, NMFS chose not to uplist the species to endangered.

Site specific coral surveys have not been completed. Much of the area is inhospitable to
divers due to strong currents and high wave conditions. This is particularly true at the
eastern and western sides of the outer entrance channel. The Corps was unable to
locate coral survey documents for the general project area.

Elkhorn coral - Acropara Palmata




                                                                           
           Figure 17 - Acropora Palmata at Isla Verde Marine Reserve. 2016 Annual Report

A review of the rangewide status of Acropora palmata is included in the “Atlantic
Acropora Status Review (ABRT 2005) and is incorporated here by reference.

In the proposed rule for the new corals, NMFS also proposed to uplist A. palmata from
threatened to endangered (NMFS 2012). However, in the final rule (NMFS 2014a),
NMFS found that based on the species “spatial and demographic traits to moderate or
exacerbate its vulnerability to extinction…” Additionally:

       Acropora palmata is distributed throughout the western Atlantic, Caribbean, and
       Gulf of Mexico. The northern extent of the range in the Atlantic is Broward
       County, Florida where it is relatively rare (only a few known colonies), but fossil A.
       palmata reef framework extends into Palm Beach County, Florida. There are two
       known colonies of A. palmata, which were discovered only recently in 2003 and
       2005, at the Flower Garden Banks, located 161 km off the coast of Texas in the
       Gulf of Mexico (Zimmer et al., 2006).

       There is no evidence of overall range constriction from the mass mortalities, but
       local extirpations are likely (Jackson et al., 2014), resulting in a reduction of
       absolute range size.

       Veron (2014) confirms the occurrence of A. palmata in eight of a potential 11
       ecoregions in the western Atlantic and wider-Caribbean that are known to

                                        Page 30 of 69


                                                                                           NMFS_00209
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 46 of 350




       contain corals. The three ecoregions in which A. palmata is not found are off the
       coasts of Bermuda, Brazil, and the southeast U.S. north of south Florida.

       Puerto Rico contains the greatest known extent of A. palmata in the U.S.
       Caribbean. Between 2006 and 2007, a survey of 431 random points in habitat
       suitable for A. palmata in six marine protected areas in Puerto Rico revealed a
       variable density of zero to 52 A. palmata colonies per 100 m2 (0.52 colonies per
       m2), with average density of 3.3 colonies per 100 m2 (0.03 colonies per m2).
       Total loss of A. palmata was evidenced in 13.6 percent of the random survey
       areas where only dead standing colonies were present (Schärer et al., 2009).

       In stratified random surveys along the south, southeast, southwest, and west
       coasts of Puerto Rico designed to locate Acropora colonies, A. palmata was
       observed at five out of 301 stations with sightings outside of the survey area at
       an additional two stations (García Sais et al., 2013). Acropora palmata colonies
       were absent from survey sites along the southeast coast. Maximum density was
       18 colonies per 15 m2 (1.2 colonies per m2), and maximum colony size was 2.3 in
       diameter (García Sais et al., 2013).

       Several studies describe A. palmata populations that are showing some signs of
       recovery or are in good condition including in the Turks and Caicos Islands
       (Schelten et al., 2006), U.S. Virgin Islands (Grober-Dunsmore et al., 2006; Mayor
       et al., 2006; Rogers and Muller, 2012), Venezuela (Zubillaga et al., 2008), and
       Belize (Macintyre and Toscano, 2007).

       Extrapolated population estimates of A. palmata from stratified random samples
       across habitat types in the Florida Keys were 0.6 ± 0.5 million (SE) colonies in
       2005, 1.0 ± 0.3 million (SE) colonies in 2007, and 0.5 ± 0.3 million colonies in
       2012. Because these population estimates are based on random sampling,
       differences between years may be a function of sampling effort rather than an
       indication of population trends.

Based on all of this information, NMFS chose not to uplist the species to endangered. It
is known that Acropora palamata is located as close as one mile to the east of the
entrance channel at the Isla Verde Marine Reserve. There are no known records of the
species on the reef habitat to the west, which is high energy reef environment.




                                    Page 31 of 69


                                                                                      NMFS_00210
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 47 of 350




Critical Habitat
On November 26, 2008, NMFS published a final rule in the Federal Register (73 FR
72210) to designate critical habitat for elkhorn and staghorn corals. Four specific areas
were designated, including: the Florida unit (approximately 1,329 square miles of
marine habitat); the Puerto Rico unit (approximately 1,383 square miles of marine
habitat) (Figure 18); the St. John/St. Thomas unit (approximately 121 square miles of
marine habitat); and the St. Croix unit (approximately 126 square miles of marine
habitat).

       Puerto Rico Area: All areas surrounding the islands of the Commonwealth of
       Puerto Rico, 98 ft (30 m) in depth and shallower, seaward of the COLREGS line
       (see 33 CFR 80.738).




             Figure 18 - Puerto Rico Area of Designated Critical Habitat for Acropora sp.

33 CFR 80.738 states:
       (a) Except inside lines specifically described in this section, the 72 COLREGS shall
       apply on all other bays, harbors and lagoons of Puerto Rico and the U.S. Virgin
       Islands.
       (b)           !"$%%$&'"
       at the northwest extent of Isla de Cabras across the entrance of San Juan Harbor.
This means that the portion of the harbor that is inside San Juan Bay is not DCH for
Acropora species. Additionally, NMFS has excluded “federally authorized and
constructed channels and harbors” from designation as critical habitat. SJH is included
in this exclusion.

NMFS has defined Acropora sp. critical habitat to be ‘‘substrate of suitable quality and
availability’’ equivalent to consolidated hardbottom or dead coral skeleton that is free
from fleshy macroalgae cover and sediment cover. (NMFS 2008b). Based on the status

                                         Page 32 of 69


                                                                                            NMFS_00211
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 48 of 350




review and final critical habitat designation, NMFS has determined that any hardground
habitat located in the Puerto Rico in waters less than 30 meters deep, beyond the
COLREGS line (outside of the harbor entrance) have the potential to support either of
the Acropora species (NMFS 2005). The final critical habitat determination identifies
that the primary constituent elements (PCEs) for the continued survival of Acroporid
species (NMFS 2008b). The closest hardbottom/reef habitat that may have the
necessary PCEs is 1,700 feet to the west of the channel, denoted by the orange arrow
(Figure 19).




                                                                                                                 
    Figure 19 - Mapped hardbottom and reef habitat in the vicinity of the San Juan Harbor- the yellow line is
    the COLREGS line. Habitats inside the line within the bay are not considered critical habitat for Acropora
                                                       spp.

NOAA 2001 Benthic Habitat Classification System shows an area of colonized pavement
on the western side of the channel (the light green); and linear reef/reef crest in the
dark grey (Figure 20). The target on the light green is a sample site # 19 from
Zimmerman et al. (1980) (Figure 21 and Figure 22), which lists that habitat as sand and
rubble. Sand and rubble are not characteristic of colonize pavement. The NOAA dataset
is based on remotely sensed imagery that is then classified into different habitats by
visual inspection of the imagery, followed by ground validation of some areas utilizing
underwater video, free diving, snorkeling and surface observations. The final product
went through peer review prior to finalization (NOAA 2012). It is unknown if NOAA did


                                               Page 33 of 69


                                                                                                             NMFS_00212
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 49 of 350




field verification of the habitats near Isla de Cabras. There are some areas of Isla de
Carbas may accessible by divers, but internet searches has not led to any photos or
video of dives conducted on those habitats. Historic aerial photographs from 1994 to
2017, available on Google Earth, show that this area is a high energy area with
significant wave action, which may limit the ability for divers to survey.




       Figure 20 - NOAA 2001 Habitat Classification Layer of San Juan Harbor Entrance Channel

Additional review of existing benthic surveys conducted by Zimmerman et al. (1980)
demonstrate that a significant area east of the channel is sand, shell and rubble with
very limited exposed rock for corals to colonize (Figure 21 and Figure 22). The Corps is
unaware of any additional benthic surveys in the project area.





                                        Page 34 of 69


                                                                                                NMFS_00213
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 50 of 350




    Figure 21 - Substrate type station locations for Western San Juan Bay from Zimmerman et al. 1980




                                                                                         
                 Figure 22 - Substrate Data - Zimmerman et al, 1980; From NMFS 2016





                                          Page 35 of 69


                                                                                                       NMFS_00214
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 51 of 350




Newly Listed Corals
“Biology and Ecology of Puerto Rican Coral Reefs” (Ballantine et al. 2008) provides a list
of 69 shallow-water scleractinian corals that are known to be in Puerto Rican waters,
including all five of the newly listed corals. In general, the northern coast reefs are:

         …dominated by macroalgae, with low abundances of scleractinian corals (1-5%
         cover) such as Porities asteroides, Dichocoenia stokesii, Diploria strigosa, D.
         clivosa, Meandrina meandrites, Oculina diffusa and Cladocora arbuscula. Large
         oceanic swells are undoubtedly a major causal factor…. In addition, Kaye (1959)
         attributes the absence of coral reefs to the lack of platforms raised above the
         bottom indicating that smothering of sessile fauna by wave-related sediment
         transport (bedload) is a contributing factor…. The high levels of sediment are
         demonstrated in aerial photographs of the harbor and surrounding area.

Examples of this large sediment load are seen during rain events where large amounts
of terrigenous sediments enter San Juan bay and surrounding waters (Figure 23) from
the large flood control project located in the embayment to the west of the harbor, and
from the Rio de Bayamon on the west side of the harbor, south of Isla de Cabras.




                                                                                                        
    Figure 23 - October 2004 Aerial Photo of Sediment Input to Marine Environment from Upland Sources
                                               (Google Earth).




                                           Page 36 of 69


                                                                                                        NMFS_00215
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 52 of 350




Although the newly listed species are not included in the list provided by Ballantine et
al. (2008) for northern coral species, this does not limit the species of stony coral found
on the northern shore of Puerto Rico, and may include the five newly listed species.

Pillar coral - Dendrogyra cylindrus




                                                                           
                          Figure 24 - Brainard et al. 2011. Figure 6.3.2

Based on available data sources documenting corals, Dendrogyra is assumed to be in
Puerto Rico and thus may be in the project area.

As stated in Brainard et al. (2011)
        Dendrogyra cylindrus “is restricted to the west Atlantic where it is present
        throughout the greater Caribbean but is one of the Caribbean genera absent
        from the southwest Gulf of Mexico (Tunnell, 1988). A single known colony in
        Bermuda is reported to be in poor condition (T. Murdoch, Bermuda Zoological
        Society, Flatts, pers. comm, May 2010).... U.S. Distribution Dendrogyra cylindrus
        has been reported in the waters of south Florida and the U.S. Caribbean but
        appears to be absent from the Flower Garden Banks. Within federally protected
        U.S. waters, the species has been recorded from the following areas:
            x Florida Keys National Marine Sanctuary
            x Navassa National Wildlife Refuge
            x Dry Tortugas National Park
            x Virgin Islands National Park/Monument
            x Biscayne National Park NPS
            x Buck Island National Monument

       Dendrogyra cylindrus is reported to be uncommon but conspicuous (Veron 2000)
       with isolated colonies scattered across a range of habitat types. Colonies are
       often known as landmarks by local divers. Overall colony density throughout
       south Florida was estimated to be ~ 0.6 colonies per 10 m2 (Wagner et al.
       2010)....”


                                       Page 37 of 69


                                                                                         NMFS_00216
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 53 of 350




Mountainous star coral - Orbicella faveolata (formerly Montastraea)




                                                                           
                         Figure 25 - Brainard et al. 2011. Figure 6.5.1

Based on available data sources documenting corals, Orbicella faveolata is assumed to
be in Puerto Rico and thus may be in the project area.

As stated in Brainard et al (2011):
        Montastraea faveolata “occurs throughout the Caribbean, including Bahamas,
        Flower Garden Banks and the entire Caribbean coastline, but there are no records
        from Bermuda. S. dePutron (Bermuda Institute of Ocean Sciences, St. George’s.
        pers. comm., May 2010) confirmed the presence of Montastraea faveolata in
        Bermuda and categorized its abundance as common. T. Murdoch (Bermuda
        Zoological Society, Flatts. pers. comm., May 2010) also confirmed its occurrence
        but listed it as rare and added that it has probably suffered a substantial loss
        from the 1995 yellow-band outbreak....”

       Montastraea faveolata is common throughout the U.S. waters of the west
       Atlantic and greater Caribbean region and is present within federally protected
       waters, including:
           x Flower Garden Banks National Marine Sanctuary
           x Florida Keys National Marine Sanctuary
           x Dry Tortugas National Park
           x Virgin Island National Park/Monument
           x Biscayne National Park
           x Navassa Island National Wildlife Refuge
           x Buck Island Reef National Monument

       Abundance for this species (as well as franksi and annularis) are lumped together
       as the three species were previously thought to be one species (Montastrea
       annularis) and were reported as such (pg 123-124). Locations for all three species
       include: Florida; USVI; Curacao; Belize; Columbia; Puerto Rico "The Montastraea

                                      Page 38 of 69


                                                                                       NMFS_00217
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 54 of 350




       annularis complex has historically been a dominant species on Caribbean coral
       reefs, characterizing the so-called “buttress zone” and “annularis zone” in the
       classical descriptions of Caribbean reefs (Goreau, 1959)."

Lobed star coral - Orbicella annularis (formerly Montastraea)




                                                                         
                         Figure 26 - Brainard et al 2011. Figure 6.5.7

Based on available data sources documenting corals, Orbicella annularis is assumed to
be in Puerto Rico and thus may be in the project area.

As stated in Brainard et al (2011):
        Montastrea annularis (now Orbicella) "has a range restricted to the west
        Atlantic. It can be found throughout the Caribbean, Bahamas, and Flower Garden
        Banks (Veron, 2000, IUCN), but may be absent from Bermuda (Weil and
        Knowton, 1994). S. dePutron (Bermuda Institute of Ocean Sciences, St. George’s.
        pers. comm., May 2010) confirmed the presence of Montastraea annularis in
        Bermuda and categorized its abundance as rare; T. Murdoch (Bermuda
        Zoological Society, Flatts, pers. comm., May 2010) had not seen this species in
        Bermuda.

       U.S. Distribution
       Montastraea annularis is common throughout U.S. waters of the west Atlantic
       and greater Caribbean, including Florida and the Gulf of Mexico, within its range
       including federally protected waters in the following areas:
           x Flower Garden Bank Sanctuary
           x Dry Tortugas National Park
           x Virgin Island National Park/Monument
           x Biscayne National Park
           x Florida Keys National Marine Sanctuary
           x Navassa National Wildlife Refute
           x Buck Island Reef National Monument

                                     Page 39 of 69


                                                                                      NMFS_00218
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 55 of 350




Boulder star coral - Orbicella franksi (formerly Montastraea)




                           Figure 27 - Brainard et al 2011. Figure 6.5.4
                                            
Based on available data sources documenting corals, Orbicella franski is assumed to be
in Puerto Rico and thus may be in the project area.

As stated in Brainard et al (2011):
        Montastraea franksi “has been reported as common (Veron, 2000).

Also, see previous discussion for M. faveolata.

Rough cactus coral - Mycetophyllia ferox




                                                                           
                           Figure 28 - Brainard et al 2011. Figure 6.2.1
                                            
Based on available data sources documenting corals, Mycetophyllia ferox is assumed to
be in Puerto Rico and thus may be in the project area.

As stated in Brainard et al (2011):
                                       Page 40 of 69


                                                                                    NMFS_00219
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 56 of 350




    Mycetophyllia ferox "has been reported to occur throughout most of the Caribbean,
    including the Bahamas, but it is not present in the Flower Garden Banks or around
    the waters of Bermuda....The U.S. distribution according to both the IUCN Species
    Account and the CITES species database, Mycetophyllia ferox occurs throughout the
    U.S. waters of the western Atlantic but has not been reported from Flower Garden
    Banks (Hickerson et al., 2008). Within federally protected waters, Mycetophyllia
    ferox has been recorded from the following areas:
        x Dry Tortugas National Park
        x Virgin Island National Park/Monument
        x Florida Keys National Marine Sanctuary
        x Navassa Island National Wildlife Refuge
        x Biscayne National Park
        x Buck Island Reef National Monument"

    This species is found throughout the Caribbean, usually about 1% of all the coral
    species found in the papers cited in the document.”

4D Rulemaking
The final listing of the five coral species took effect on October 10, 2014 (NMFS 2014a)
and does not include any take prohibitions. Until such time as NMFS promulgates a
“4d” rule, taking of these five species of corals is not a prohibited action under the Act.
As a result of the wide ranging distribution of the five newly listed species found in the
project area, as well as NMFS’ recent determination that although the five new species
did require protection under the ESA, they did not require immediate prohibition of take
(79 FR 53853). Specifically, NMFS states:

       The ESA take prohibitions only apply to endangered species immediately upon
       listing. No species in this final rule are being listed as endangered; therefore, we
       do not define activities that may result in take in this final rule, because take is
       not automatically prohibited for threatened species. Should we deem it
       necessary and advisable that extending any of the ESA section 9 prohibitions,
       including take prohibitions, is necessary for the conservation of any of the newly-
       list threatened coral, we will do so in a subsequent rule-making.

As previously stated, there is a 4D rule for the Acropora species.

Critical Habitat
NMFS has not proposed DCH for any of the newly listed coral species.




                                     Page 41 of 69


                                                                                         NMFS_00220
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 57 of 350




Effects of the Action
Sea Turtles
Green and hawksbill sea turtles have been reported in San Juan Bay, and loggerhead sea
turtles from the GCRU are known to be around Puerto Rico, the potential exists for all
three species to be in the action area during project construction activities.

Entrainment in Dredging Equipment
Entrainment of bottom dwelling animals is a possibility for hopper dredges performing
dredging in support of the SJH Navigation Improvement Study. The effects of sea turtle
entrainment by hopper dredges have been well documented by the Corps over the last
few decades. The effects of hopper dredging resulting from entrainment have been
thoroughly described in past consultation documents including the 2008 South Atlantic
Regional Biological Assessment provided to NMFS for the reinitation of consultation for
the 1997 SARBO (Appendix A1, Section 4.02.1.1 – pages 122-129). That analysis is
incorporated by reference. As stated previously, there have not been any documented
takes associated with hopper dredges in San Juan Harbor in the 1999-2000 deepening
project.

The Corps will include all terms and conditions for the use of hopper dredges in the
1995 and 1997 SARBOs (or any subsequent SARBO) to minimize the potential for
incidental take of sea turtles by hopper dredges within the construction specifications.
The conditions include the use of a rigid-draghead designed to deflect sea turtles; year-
round, 100 percent observer coverage on the hopper dredges by NMFS-approved
Endangered Species Observers; one-hundred percent inflow screening (with 100
percent overflow screening is recommended). If conditions prevent one hundred
percent inflow screening, inflow screening can be reduced, but 100 percent outflow
screening is required, and an explanation must be included in the preliminary dredging
report. Preliminary dredging reports which summarize the results of the dredging and
any sea turtle take must be submitted within 30 working days of completion of any
given dredging project. Logs of any sea turtle injuries or deaths due to hopper dredging
activities will be maintained, with immediate notification by the contractor to Corps-
Jacksonville District, and NMFS. Utilization of the ODESS system to report any take
associated with hopper dredging operations.

NMFS has previously determined (NMFS 1991, 1995, 1997 and 2003a as amended) that
pipeline and clamshell dredges are not likely to take sea turtles:

       Clamshell dredges are the least likely to adversely affect sea turtles because they
       are stationary and impact very small areas at a given time. Any sea turtle injured
       or killed by a clamshell dredge would have to be directly beneath the bucket. The
       chances of such an occurrence are extremely low, although a take of a live turtle
       by a clamshell dredge has been documented at Canaveral. On the basis of the
       best available information, NMFS has determined that dredging with a clamshell
       dredge is unlikely to result in the take of sea turtles.

                                    Page 42 of 69


                                                                                        NMFS_00221
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 58 of 350




       …pipeline dredges are relatively stationary and only influence small areas at any
       given time. For a turtle to be taken with a pipeline dredge, it would have
       approach the cutterhead and be caught in the suction. This type of behavior
       would appear unlikely, but may be possible. Presently, NMFS has determined
       that pipeline dredges are unlikely to adversely affect sea turtles.

As part of the standard plans and specifications for the project, the Corps has agreed to
implement the NMFS “Sea Turtle and Smalltooth Sawfish Construction Conditions,”
(although smalltooth sawfish are not found in Puerto Rico, this is a NMFS guidance
document and shall be applied where applicable).

Dredge Lighting
The Corps will also include all terms and conditions from the 1997 SARBO (or any
subsequent update) regarding vessel lighting and sea turtles within the construction
specifications, including the following:

       From May 1 through October 31, sea turtles nesting and emergence season, all
       lighting aboard hopper dredges and hopper dredge pumpout barges operating
       within 3 nm of sea turtle nesting beaches shall be limited to the minimal lighting
       necessary to comply with U.S. Coast Guard and/or OSHA requirements. All non-
       essential lighting on the dredge and pumpout barge shall be minimized through
       reduction, shielding, lowering, and appropriate placement of lights to minimize
       illumination of the water to reduce potential disorientation effects on female sea
       turtles approaching the nesting beaches and sea turtle hatchlings making their
       way seaward from their natal beaches.

As part of this effort, the Corps conducts lighting surveys of the contractor’s dredges
when they arrive on site, and require the contractor to meet all U.S. Coast Guard and/or
the Occupational Health and Safety Administration requirements. This process will be
adhered to for the SJH project. SJH is an active facility, offshore lighting is not an
unusual feature of the area, and should not appreciably change the ambient conditions
for free-swimming turtles in the vicinity of the project.               In addition, all
construction/dredging vessels are required to adhere to best management practices,
such as preventing lights from exposure to shore through use of shields. Therefore, no
adverse indirect effects to free swimming sea turtles due to lighting associated with
dredging operations are anticipated for the proposed project.

Bed Leveling
Although NMFS has, on two previous occasions, made the determination that bed
leveling is a cause of injurious or lethal take to sea turtles (NMFS 2003a), a detailed
review, performed by the Corps, of the data from the use of bed leveling devices at Port
Everglades, Port Canaveral, Miami Harbor, and Palm Beach Harbor did not support this
determination (USACE 2006a, 2006b, 2006c, 2006d). After reviewing numbers and

                                    Page 43 of 69


                                                                                       NMFS_00222
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 59 of 350




locations of stranded turtles within a 4-mile radius of the ports’ entrance channels, the
dates that the strandings were recorded, and the types of injuries exhibited on the
carcasses, the Corps did not find a link between bed-leveling and crushing/impact
injuries on stranded sea turtles, nor did significant differences exist in stranding
numbers and locations between dredging event time periods and non-dredging event
time periods. Based on the detailed review of all of the information provided in these
Biological Assessments, the Corps determined that the proposed use of bed-leveling
devices in Port Everglades, Port Canaveral, Miami Harbor, and Palm Beach Harbor may
affect, but is not likely to adversely affect listed marine turtle species within the action
area. The Corps believes this analysis would also apply in SJH where turtles do not
exhibit the behavior of burrowing into the bottom of navigation channels due to cold
water events which makes them more susceptible to take by bed leveler or hopper
dredge. NMFS has stated that use of a bed-leveler is preferred to the use of a hopper
dredge for clean-up operations. Specifically, in the 2003 Gulf Regional Biological
Opinion (amended in 2005 and 2007), NMFS states:

       Use of bed-levelers for cleanup operations, however, is probably preferable to use
       of hopper dredges since turtles which are foraging/resting/brumating on
       irregular bottoms are probably more likely to be entrained by suction dragheads
       because sea turtle deflector dragheads are less effective on uneven bottoms,
       hopper dredges move considerably faster than bed-leveler "dredges," and bed-
       levelers do not use suction.

In addition, the Corps includes language in dredging contract specifications to help
clarify specifications and to document bed-leveler use. This information will be crucial
in fully assessing whether bed-leveling activities adversely affect sea turtle populations.

Relocation Capture Trawling
Modified shrimp trawling equipment and techniques are used to capture and relocate
threatened and endangered sea turtles from hopper dredging sites. This method of sea
turtle protection was originally initiated in the early 1980s at Canaveral Harbor, Florida.
In 1992, relocation trawling was implemented as a potential mitigation tool for
incidental take (injury or mortality) of sea turtles for additional coastal hopper dredging
projects in the southeastern U.S. NMFS now recommends and authorizes take for
relocation trawling during many hopper projects throughout the southeastern U.S.
Relocation trawling is also a potentially hazardous undertaking for trawler crews and the
species intended for protection. Other protected and non-protected organisms are also
captured as by-catch and may be killed during the relocation trawling efforts; however,
an assessment of trawling effects relative to by-catch has not been completed at this
point in time. In light of the potential positive and negative effects of relocation
trawling during hopper dredging projects, an evaluation of the effectiveness of this
technique as a mitigation option was developed. Dickerson et al. (2007), analyzed
incidental take records from endangered species observer reports, relocation trawling


                                      Page 44 of 69


                                                                                          NMFS_00223
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 60 of 350




reports, and hopper dredging project reports from 1995 through 2006 to evaluate the
effectiveness of relocation trawling for reducing incidental take of sea turtles.

With respect to trawling and sea turtle interactions, the effects of trawling during
capture and handling can result in raised levels of stressor hormones. Based on past
observations obtained during similar research-trawling for turtles, these effects are
expected to dissipate within a day (Stabenaua and Vietti, 1999). Though turtle
recaptures during trawling and relocation activities do occur, recapture rates are not
frequent enough to suggest significant cumulative adverse effects. Rarely, even
properly conducted relocation trawling can result in accidental sea turtle deaths.
Henwood (pers. comm. to E. Hawk, NMFS-SERO, December 6, 2002) noted that trawl-
captured loggerhead sea turtles died on several occasions during handling on deck
during winter trawling in Canaveral Channel in the early 1980s, after short
(approximately 30-minute) tow times. However, Henwood also noted that a significant
number of the loggerheads captured at Canaveral during winter months appeared to be
physically stressed and in "bad shape" compared to loggerheads captured in the
summer months from the same site, which appeared much healthier and robust.
Stressed turtles or unhealthy turtles or turtles exposed to repeated forced
submergences are more likely to be injured or killed during relocation trawling than
healthy turtles. In November 2002, during relocation trawling conducted in York Spit,
Virginia, a Kemp's ridley sea turtle was likely struck by one of the heavy trawl doors or it
may have been struck and killed by another vessel shortly before trawl net capture. The
hopper dredge was not working in the area at the time (pers. comms. and e-mails, P.
Bargo to E. Hawk, December 6 and 9, 2002).

According to Dickerson et al. (2007), based on the available data collected on relocation
trawling since its conception in the 1980’s, a total of 1,239 sea turtles have been
relocated within the Gulf of Mexico (Total 844; Cc: 595, Lk: 172, Cm: 70, Dc: 5, Ei: 2)
and Atlantic (Total 395; Cc: 312, Lk: 37, Cm: 45, Dc: 1, Ei: 0) regions combined.
Furthermore, a total of 4 confirmed turtles (Cc: 2 (Navarre Beach, FL), Cm: 1 (Canaveral
Harbor, FL), and Dc: 1 (Walton County / City of Destin, FL beach nourishment)) have
been lethally taken by trawlers while being utilized as a mitigation option to avoid lethal
hopper dredge takes, approximately one percent of relocated turtles.

Ship Strike in the Harbor
The project allows for a light loaded vessels to fully loaded vessels, and in some cases
would also allow for larger ships to call. The current economic analysis does not
consider this shift, and maintains the same fleet that currently calls at San Juan Harbor.
By allowing the same fleet of vessels to fully load, the number of vessels calling to San
Juan Harbor would be decreased by up to two calls per year and as a result, would
reduce the potential for vessel strike of sea turtles to be decreased. If the fleet shifts to
larger ships than those currently calling, then additional reductions in vessel calls should
be expected and would also reduce the potential for ship strike. This would also reduce
the potential for ship strike of listed whales outside of the harbor as well, however, as

                                      Page 45 of 69


                                                                                           NMFS_00224
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 61 of 350




the Corps does not have jurisdiction over commercial vessel traffic, these benefits are
not claimed by the project (Figure 29).

Additionally, the deepening and widening of the channels within the harbor is expected
to improve safety and navigability, reducing the potential for ship groundings and
subsequent oil spills, both of which would result in adverse effects to all species under
NMFS jurisdiction in the action area.





                                                                                                            
Figure 29 - Number of Vessel Calls. Existing Fleet vs Future without Project and Future with Project in 2026.

Noise
SJH has functioned as an international harbor since pre-colonial times. Over the last 300
years, SJH has evolved to accommodate the growing shipping industry as larger vessels
continued to arrive. At the same time, recreational and other commercial boat traffic
and industrial noise has continued to increase. Several sources of ambient noise are
present in SJH. The ambient noise level of an area includes sounds from both natural
(wind waves, fish, tidal currents, mammals) and artificial (commercial and recreational
vessels, dredging, pile driving, etc.) sources. Tidal currents produce hydrodynamic
sounds, which are most significant at very low frequencies (< 100 Hertz; Hz). Vessel
traffic, including vessels passing the immediate study area, generate sounds that can
travel considerable distances, in frequencies ranging from 10 to 1000Hz. Sea state
(surface condition of the water characterized by wave height, period, and power) also

                                             Page 46 of 69


                                                                                                           NMFS_00225
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 62 of 350




produces ambient sounds above 500 Hz. As a commercial and industrial area, SJH
experiences a wide range of noise from a variety of industrial activities. Biological
sounds associated with mammals, fishes, and invertebrates can also generate
broadband noise in the frequency of 1 to 10 kilo Hz with intensities as high as 60 to 90
decibels (dB).

SJH has the typical noise characteristics of a busy harbor. Sources include recreational
and commercial vessel traffic, and dock side facilities. Noise sources for vessels include
cranes, whistles and various motors for propulsion. Dockside noise sources include
cranes, trucks, cars, and loading and unloading equipment. In addition to the noise in
the water/marine environment, noise can affect the human environment. Background
noise exposures change during the course of the day in a gradual manner, which reflects
the addition and subtraction of distant noise sources. Ambient noise represents the
combination of all sound within a given environment at a specified time. Humans hear
sound from 0-140 dB. Sound above this level is associated with pain.

As summarized in Table 2, underwater sound data were collected for several large cargo
vessels and one high-speed ferry operating in Newark Bay, New Jersey and New York
Harbor (Reine et al. 2014). The source level (SL) for the high speed ferry was 181 dB re 1
6-1m (which is the acoustic pressure at one meter from a point source). For four
       " '     23   2 :  2 6-1m.
One fully loaded cargo ship being pulled from its mooring by two large tugs produced an
 2:26-1m.

Table 2 - Reported Noise for Vessels in New York Harbor (Reine et al 2014)
Ship name/Type                                        Reported Noise Levels ( 
Staten Island Ferry                                   180.2
NYK Constellation (dry cargo container)               181.3 dB
Maersk Idaho (bulk carrier)                           188.9 dB
CSAV Licanten (cargo vessel)                          133.76 dB
Zim Savannah (container ship)                         179.3 dB.

Acoustic impact criteria and thresholds for sea turtles were developed in cooperation
with NMFS for sea turtle exposures to various sound sources. NMFS prepared an
analysis for pile driving activities in the Florida Keys (NMFS 2014b) developing threshold
values for onset of injury to sea turtles due to impact pile driving is 206 :  2 6
sound pressure level root mean square (RMS) or 187 dB for a single pile driver pulse,
whichever is larger. Noise levels that result in changes in behavior is 160 dB (RMS). This
criteria was developed in cooperation with NMFS and is not based on experimental
evidence of injuries caused to sea turtles by pile driving sound. In the absence of
reliable in-water density data for sea turtles, this criterion is useful for qualitatively
assessing activities that impart sound to water.



                                           Page 47 of 69


                                                                                             NMFS_00226
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 63 of 350




Previous studies have documented dredge noise for clamshell, cutterhead and hopper
dredges (Table 3). Sounds associated with dredging are broken up into different
segments associated with the dredge operation. These steps can include surface splash,
the bucket hitting or penetrating the bottom sediments, the winches moving the dredge
up and down in the water column and emptying the bucket into the scow (where
applicable). Some of these noises will vary depending on how dredge material
hardness.




                                   Page 48 of 69


                                                                                    NMFS_00227
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 64 of 350




Table 3 - Sound Levels of Dredges
Dredge Type                         Reported Noise level range;
                                                              Source
Clamshell/Bucket                    150 to 162 dB             Dickerson et al 2001
                                                              Clarke et al 2002; Reine et
Hopper                              120 to 140 dB; Avg 142dB
                                                              al 2014
                                    100 to 100 dB; 175 dB at  Clarke et al 2002; Reine et
Cutterhead                          source (<150dB 100 m from al 2012.
                                    source)

None of the dredges that may be used to construct the SJH Navigation improvement
study would meet or exceed NMFS assessed injurious threshold of 187 dB, however
normal operations of large vessels in SJH would meet this threshold, and would be
considered baseline conditions for this deepening project. By completing harbor
improvements that decrease the number of vessels calling to SJH, this also improves the
soundscape for sea turtles that live in the bay and are exposed to activities in the
harbor.

Sea turtles in SJH may be affected by related noise from this action but it will be
intermittent and will not occur in any one area for any appreciable period of time. Due
to the mobility of these species and because these projects generally occur in open
water environments, they would likely move away from the source of noise. Turtle
species may be affected by being temporarily unable to use the sites for foraging or
shelter due to avoidance of construction activities and related noise. These effects will
be insignificant and discountable because they are located in open water and will not
consume the entire width of a channel at any time. Because of this, construction will
not restrict movement of species in the area, and there is ample, alternate similar
habitat adjacent to the project sites.

Conservation Measures for Sea Turtles
   a) Incorporation of the NMFS “Sea Turtle and Smalltooth Sawfish Construction
       Conditions” into the project plans and specifications:
   b) Incorporation of the Terms and Conditions of the 1995/97 SARBO or a
       subsequent SARBO into the construction specifications.
   c) Relocation trawling can be used within the channel and surrounding harbor
       habitats to minimize the potential for lethal take of sea turtles, if a hopper
       dredge is used to construct the project, or portions of the project.

Effects Determination
The proposed navigation improvements for SJH may adversely affect listed sea turtles
by entrainment in a hopper dredge. All other project activities may affect, but are not
likely to adversely affect listed sea turtles. As there is not DCH in the project area, the
project is not likely to adversely modify DCH for any sea turtle species.


                                          Page 49 of 69


                                                                                            NMFS_00228
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 65 of 350




Corals
Project specific coral surveys have not been conducted as of yet, and this assessment
relies on the best available data that the Corps was able to access. Any project specific
coral surveys that can be conducted by divers (diver safety being the first concern) or by
remote methods (ROV) will be conducted during the Pre-Engineering and Design Phase
of the project, after Congressional authorization. If listed corals are found during the
PED surveys, the Corps will reinitiate consultation as necessary.

All seven ESA listed threatened coral species have been documented on the
discontinuous linear or fringing reef consisting of corals covering fossil sand dunes (i.e.,
eolianites) trending in an east-west direction and extending, in some sites, up to 0.9
miles off shore, along the north coast of the San Juan metropolitan area, east of SJH
(Figure 30).




                                                                                                    
        Figure 30 - Reef habitat north of the SJBE, within the Study Area (Cano Martin Pena EIS).

Mapped hardbottom and coral habitats have been documented via dual frequency side
scan sonar (conducted by the Corps) and towed videos (NMFS-HCD Jan 2016; USACE
between May 2016-May 2017). NMFS Habitat Conservation (NMFS HCD) and Protected
Resources Division staff assisted with video review and analysis (pers comm Paul
DeMarco, July 11, 2017), including species identification as a cooperating agency under
the National Environmental Policy Act. NMFS HCD staff prepared a report based on
their towed video survey (NMFS 2016). The project areas most likely to have listed
corals are on the west side of the outer entrance channel at (or further west of)
numbers 209, 210 and 212 (Figure 31 - Figure 34) and the areas further to the east
adjacent to El Morro National Monument. No corals were documented growing in the



                                           Page 50 of 69


                                                                                                    NMFS_00229
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 66 of 350




channel or any direct effect area. As a result no direct effects to corals or critical habitat
are expected with implementation of the SJH Navigation Improvement Study.




                                                                                                            
    Figure 31 - San Juan Bay video station location and vessel track (blue). NOAA Chart 25670_1, 1:10,000
                                                     scale.




                                             Page 51 of 69


                                                                                                            NMFS_00230
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 67 of 350




                                                                                                            
Figure 32 - Photos from video transect 209 on January 30, 2016. A and B. Sand. C and D. Algae patch on
limestone rock surrounded by sand. Four fish likely to be Lutjanus synagris (Lane snapper).




                                                                                                            
Figure 33 - Photos from video transect 210 on Jan. 30, 2016. A, B and C. Limestone ledges and crevices at
approximately 17 to 30 ft. depth. These crevices and ledges are inhabited by Diadema antillarum,
Thalassoma bifasciatum, algae and sponges.




                                            Page 52 of 69


                                                                                                            NMFS_00231
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 68 of 350




                                                                                                         
Figure 34 - Photo from video transect 212 on Jan. 30, 2016. Depth is 7 ft. Brown algae over limestone.

Indirect effects
Currents at the SJH entrance channel are greatly influenced by the direction and
strength of the trade winds. The trades blow primarily from the northeast, which in
conjunction with the east-west alignment of the coastline results in a westerly,
alongshore current. Surface currents show general westward drift (mean speed 0.6
knots) with a significant tidal component (EPA 2011).

Sedimentation: The effects of dredging, in concert with the constant movement of
sediments in and around the entrance channel, may affect light penetration into the
water column as a result of turbidity, and may also result in burial from sedimentation,
which can destabilize the benthic community. Whether and to what extent there will be
effects to corals located adjacent to dredging projects depends on several factors,
including the type of dredge utilized, the type of sediments and the size of the area
being dredged, the hydrodynamic conditions of the dredging site, and the duration of
active dredging. Each of these factors influences the size, settlement time, and ultimate
settling site of the sediment plume. Ertfemeijer et al. (2012) provides a comprehensive
overview on the environmental effects of dredging and other sediment disturbances on
corals. Specifically,

        The major problems arising from turbidity and sedimentation derived from
        coastal construction and dredging are related to the shading caused by decreases
        in ambient light and sediment cover on the coral’s surface, as well as problems
        for the feeding apparatus under a sediment blanket and energetic costs
        associated with mucus production, sediment clearance and impaired feeding.
        Suspended sediments, especially when fine-grained, decrease the quality and

                                            Page 53 of 69


                                                                                                         NMFS_00232
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 69 of 350




       quantity of incident light levels, resulting in a decline in photosynthetic
       productivity of zooxanthellae (Falkowski et al., 1990; Richmond, 1993).”

Additionally, if the reduction in photosynthesis is long term, it can result in starvation of
the coral polyp. High turbidity and sedimentation rates may depress coral growth and
survival due to depressed photosynthesis and redirection of energy expenditure for
clearance of settling sediments. As a result, the potential effects of sedimentation not
only include direct mortality, but also involve sublethal effects including “reduced
growth, lower calcification rates and reduced productivity, bleaching, increased
susceptibility to diseases, physical damage to coral tissue and reef structures (breaking,
abrasion), and reduced regeneration from tissue damage.” All of these effects would be
more likely to happen in bounder or flat/round shaped corals.

Although these effects from sedimentation can occur naturally due to increase runoff
from rain or sedimentation associated with tropical storms (Blair et al. 1994), they are
also likely to occur in close physical proximity to dredging. The intensity of effect is
dependent upon the intensity and duration of the stressor (Figure 35).




            Figure 35 - Figure 2 from Erftmeijer et al 2012. Intensity of Stressor vs Duration

Recently completed monitoring associated with the Miami Harbor expansion project
reviewed the long term health and survival of corals (including some listed corals) and
other reef organisms (soft corals, sponges, etc.) in a pre-, during and post-construction
project monitoring within 30 meters of the Miami Harbor channel. The effects with
Miami Harbor were associated with very fine clay and silt materials. Long-term effects
associated with sedimentation have not been fully assessed, however there was no

                                           Page 54 of 69


                                                                                                 NMFS_00233
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 70 of 350




change in the percent coverage in any reef functional group when compared to
reference sites. The sedimentation effects were most noticed closest to the channel
where the largest grainsized material fell out of solution and sedimentation levels
returned to background levels in 6-18 months (USACE 2015 and 2017).

Corals with a flatter morphology or corals which are located in a depression in the reef
structure where material can accumulate, tended to have more difficulty shedding
accumulated sediment, often ending up part of the colony unable to be unburied, and
the long term exposure of that portion of the colony to the sediment resulting in partial
mortality (Figure 36). While this may not lead to total mortality of the colony, it would
result in stress to the colony as a whole. Taller corals were able to shed the excess
sediment and did not exhibit the partial mortality signature seen in the flatter corals
(Figure 37).




    Figure 36 - Partial mortality of Diploria clivosa at R2S1-200, consistent with partial mortality documented
                                        at channel-side sites, Miami Harbor.




                                                Page 55 of 69


                                                                                                              NMFS_00234
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 71 of 350




      Figure 37 - S. bournoni colony at R2S-400, Miami Harbor. Photo was taken on May 21, 2015

Even if sedimentation causes an indirect effect to listed corals from the dredging
operation, coral reefs and hardbottom habitat are dynamic systems and sediments are
often removed from the substrate by currents, tides, or storm events, especially those
on exposed coasts like those adjacent to the SJH entrance channel. The residence time
of sediments is dependent on several factors including grain size and the hydrodynamics
of the system (i.e., higher energy is needed to mobilize large grained materials).
Previous monitoring from dredge events at Key West and Port Everglades show no
permanent effects from sedimentation, but some scientists believe some permanent
effects may occur due to sedimentation. The recently completed project at Miami
Harbor resulted in temporary effects to corals associated with dredging, however those
corals were located immediately adjacent to the channel (within 30 meters), unlike SJH
where dredging activities will not be directly adjacent to the hardbottom areas that are
located no less than 182 meters (600 feet) to the west of the channel. To protect
hardgrounds in project area, the Corps requires turbidity monitoring with all of its
construction projects and if turbidity exceeds the approved level set by the
Commonwealth dredging operations in the area cease until levels return to the
approved level.

As Kleypas (1996) noted the tolerance of corals to elevated suspended sediment varies
from reef to reef, and depends on background turbidity conditions and hydrodynamic
setting. As previously discussed, in the case of the reefs adjacent to SJH, they are
regularly subjected to variable and often high levels of turbidity and sedimentation,
including storms, which results in significant runoff of land-based sediments, as
demonstrated in Figure 38 and Figure 39. Additionally, DCH is located at least 1,700 feet
to the west of the entrance channel and approximately 3,000 feet (915 meters)

                                         Page 56 of 69


                                                                                                 NMFS_00235
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 72 of 350




northwest of Cut 6, the closest area to be dredged by the project (Figure 1). This means
that while the potential exists for sedimentation from the project to be carried out of
SJH on an outgoing tide and deposited on the DCH, it will likely be a very low volume of
material, as only the smallest of grain sizes will remain in the water column for that
distance, and as a result, will result is low sedimentation rates above the background
rates already documented in this assessment.




                                                                                 
                         Figure 38 - Aerial Photograph November 2006




                                     Page 57 of 69


                                                                                      NMFS_00236
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 73 of 350




                          Figure 39 - Aerial Photograph October 2009

Conservation Measures for Listed Corals
Monitoring of the SJH expansion project will take place on numerous levels including
physical monitoring of scow and dredge location relative to reefs and other mapped
resources during dredging and transit operations, as well as turbidity monitoring during
construction.

Effects Determination
The proposed SJH Navigation Improvement Study may affect, but is not likely to
adversely affect listed corals in the project area. The corals that may have recruited to
the rock areas to the east and west of the entrance channel are exposed to very high
levels of background sedimentation, as well as poor water quality, including high levels
of nutrients from the water entering the bay (Zimmerman et al. 1980). So these corals
are more tolerant to these conditions than those located in clearer, less turbid waters.

Indirect Effects of each Construction Method on Acropora Critical Habitat
The he closest previously mapped hardbottom habitat (colonized pavement) is 1,500
feet from the closest dredge area (Cut-6) and Acroporid coral Critical Habitat is
approximately 2,500 feet north of Cut-6. Based upon these locations, effects to listed
corals from dredging and dredged material transport related turbidity are not
anticipated. It should be noted the fringing reefs east of the SJH bar channel in the Isla
Verde area have been significantly stressed or affected from sedimentation and organic
pollution coming from the San Juan Bay Estuary. This is evident by a remarkably high
frequency of hard coral colonies effected by Black Band Disease, which suggests poor
water quality (Coll Environmental, 2005).


                                      Page 58 of 69


                                                                                        NMFS_00237
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 74 of 350




Although there is published literature concerning the effects of sedimentation and
turbidity on coral reefs throughout the world, there are several published papers
specific to Caribbean coral reefs (Rogers 1983; Rogers 1990; Dodge and Vaisnys 1977,
Bak 1978).

From a turbidity and/or sedimentation standpoint, a hopper dredge has the highest
likelihood of adverse effect due to the overflow of water being returned from the
hopper to the surrounding environment. With this overflow, “fines” (usually clays or
silts which are light enough not to have settled out in the hopper) are returned to the
water during dredging operations. The clamshell or bucket dredge ranks second since
the material may or may not be enclosed in a bucket, and if it is not enclosed, material
may escape that bucket into the surrounding environment as the bucket moves up
through the water column. The dredging method with the lowest level of associated
sedimentation or turbidity is the cutterhead dredge. This dredge has suction that
removes the sediment, transports it to the surface where it is either pumped into the
receiving disposal site, or placed in a scow for transport to a disposal site. The Key West
O&M projects in 2004-2006 and 2007 utilized both a clamshell dredge and a hopper
dredge. The Broward County Shore Protection Project utilized a hopper dredge and the
Port Everglades expansion project in 1980 utilized a cutterhead dredge. Understanding
which types of equipment were utilized at previous projects allows for a comparison
across projects of results regarding turbidity and/or sedimentation monitoring.

The examples of the adverse effects of turbidity or sedimentation on coral species often
cited by resource managers are commonly projects in third world countries without the
strict water quality protections that are in place in the U.S. (Bak 1978); or are studies
where the material used to simulate dredged material is not the same sediment size or
mineral composition of the material proposed to be dredged (Telesniki and Goldberg
1995) and thus are not a good substitute for the effects of projects bound by the water
quality restrictions required by the State of Florida under the Clean Water Act. These
restrictions are protective of water quality by limiting turbidity; they are also protective
of coral species, including Acropora sp. and it’s DCH, located near dredging operations
where material is being removed from the bottom by a dredge. Dredging projects take
place in a spatially and temporally finite area and thus effects associated with them, if
present, should be detectable within this same finite footprint. A review of these four
projects (Port Everglades, Key West 2004-06 and 2007, Broward County SPP), three of
them in the very recent past, demonstrates that no adverse effects of dredging were
detectable (or in the case of Broward County were detectable as monitoring continues)
(Gilliam et al. 2006; Fisher et al. 2008; Jordan et al. 2010; CSA 2007; CSA 2007a; CSA
1981).

To protect hardbottom habitats in the project area, including those that may support
Acroporid corals, the Corps requires turbidity monitoring with all of its projects. It is a
standard practice for the Corps to monitor sedimentation associated with dredging
projects where corals and coral habitats are adjacent to the project area, when the area

                                      Page 59 of 69


                                                                                          NMFS_00238
  Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 75 of 350




can be safely monitored by divers. This has been standard practice for more than 30
years (CSA 1981; CSA 2007; CSA 2007a). As previously stated, the areas adjacent to the
outer entrance channel are very high energy surf zones that are not safe for human
divers.

In the 2009 biological opinion for dredging associated with sand mining dated October
21, 2009 (Consultation # F/SER/2009/00879), NMFS reviewed effects of sedimentation
associated with A. cervicornis. NMFS states:

       Additionally, Rogers (1983) tested sedimentation rates on A. cervicornis, among
       other coral species, and determined that daily doses of sediment at a rate of 200
       mg/cm2/day had no effect (Rogers 1990).

Dredged Material Disposal Effects. Potential barge environmental effects could occur as
the barge is loaded if material is allowed to spill over the sides and during transport if
the barge leaks material. Operational controls eliminate spilling material during loading
by monitoring the dredge operator to make sure that the dredge bucket swings
completely over the barge prior to opening the bucket. Requiring barges in good repair
with new seals minimizes leaking during transport. Hauling rock is often damaging to
transport barges, so intermediate inspection and repairs may be required during the
project to maintain the barges in good working condition. Seals may require
replacement. Proper use of the ODMDS minimizes the environmental effects during
disposal. The barges will be required to use positioning equipment to place dredged
material within the designated ODMDS and inspectors may be required to monitor
disposal activity. The Corps’ required monitoring of vessels in ullage and location ensure
that the dredged material is being disposed of in the approved location. Disposal of
dredged material will have no effect on listed corals or DCH for Acropora corals. The
ODMDS is not within the boundaries of DCH as the site is located offshore of San Juan,
beyond the edge of the continental shelf in greater than 900 feet of water.

Effects on Designated Critical Habitat
Although there is a potential for minimal sedimentation on Acropora DCH to the east
and west of the outer entrance channel, the project is not likely to adversely
modify DCH for either Acropora species. The area located outside of San Juan Bay,
beyond the COLREGS line is a very high energy zone where sediment would not
settle out of the water column onto the exposed rock, which would preclude
accumulation.




                                     Page 60 of 69


                                                                                        NMFS_00239
SUMMARY OF EFFECT DETERMINATIONS

Project effect determination summary for sea turtle spp., listed corals, large whales, Nassau grouper, scalloped hammerhead; Giant
Manta Ray (No Effect (NE – green); May Affect Not Likely to Adversely Affect (MANLAA – orange), May Affect Likely to Adversely
Affect (MALAA – yellow), and Not Likely to Adversely Modify (NLAM – orange)
                                                                                                                                       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 76 of 350




                                                          Page 61 of 69


                                                                                                                              NMFS_00240
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 77 of 350




Literature Cited

Acropora Biological Review Team (ABRT). 2005. Atlantic Acropora Status Review
      Document. Report to National Marine Fisheries Service, Southeast Regional
      Office. March 3, 2005. 152 p + App.
Bak, R. P. 1978. "Lethal and Sublethal Effects of Dredging on a Coral Reef." Marine
        Pollution Bulletin 9(1): 14-16.
Ballantine, D.L.; R.S. Appeldoorn; P. Yoshioka; E. Weil; R. Armstrong; J.R. Garcia; E.
        Otero; F. Pagan; C. Sherman; E.A. Hernandez-Delgado; A. Bruckner and C.
        Lilyestrom. 2008. Biology and Ecology of Puerto Rican Coral Reefs. In Coral Reefs
        of the USA pp 375-406. Part of the Coral Reefs of the World book series (CORW,
        volume 1). Eds. B.M. Riegl and R.E. Dodge. DOI: 10.1007/978-1-4020-6847-8_9.
Blair, S.M; T.L. McIntosh and B.J. Mostkoff. 1994. Impacts of Hurricane Andrew on the
         Offshore Reef Systems of Central and Northern Dade County, Florida. Bulletin of
         Marine Science. 54(3): 961-973.

Brainard, R.E.; C. Birkeland; C.M. Eakin; P. McElhany; M.W. Miller; M. Patterson, and
       G.A. Piniak. 2011. Status review report of 82 candidate coral species petitioned
       under the U.S. Endangered Species Act. U.S. Dep. Commer., NOAA Tech. Memo.,
       NOAA-TM-NMFS-PIFSC-27, 530 p. + 1 Appendix.

Clarke, D.G. and D.H. Wilbur. 2008. Compliance Monitoring of Dredging-Induced
        Turbidity: Defective Designs and Potential Solutions. Western Dredging
        Association St. Louis, Mo.
Clarke, D.G., C. Dickerson and K. Reine. 2002. Characterization of Underwater Sounds
        Produced by Dredges. In Dredging 2002, American Society of Civil Engineers,
        Orlando, Florida, USA, 64-81.
Coll Rivera Environmental. 2005. Biological Monitoring Report – Installation of the
        SMPR-1 Submarine Fiber Optic Cable, Isla Verde, Puerto Rico. Prepared for: Sint
        Marteen International Telecommunications Services, Inc. 30 pp.
Conant, T.A., P.H. Dutton, T. Eguchi, S.P. Epperly, C.C. Fahy, M.H. Godfrey, S.L.
      MacPherson, E.E. Possardt, B.A. Schroeder, J.A. Seminoff, M.L. Snover, C.M.
      Upite, and B.E. Witherington. 2009. Loggerhead sea turtle (Caretta caretta) 2009
      status review under the U.S. Endangered Species Act. Report of the Loggerhead
      Biological Review Team to the National Marine Fisheries Service, August 2009.
      222 pages.
CSA International, Inc. 2007. During Dredging Resource Health and Sedimentation
       Surveys Report for May through August 2007 Hopper Dredging Activities for the
       Key West Harbor Dredging Project. November 2007. Prepared for Department of
       the Navy, Southern Division Naval Facilities Engineering Command.



                                     Page 62 of 69


                                                                                          NMFS_00241
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 78 of 350




CSA International, Inc. 2007a. Post-Dredging Resource Impact Assessment Monitoring
       Survey Final Report for the Key West Harbor Dredging Project (2004-2006) 7 May
       2007. Prepared for Department of the Navy, Southern Division Naval Facilities
       Engineering Command.
CSA International, Inc. 1981. Environmental Monitoring Associated with the Port
       Everglades Harbor Deepening Project of 1980. Final Report Volumes I and II. June
       16, 1981.
Davis-Colley, R.J. and D.G. Smith. 2001. Turbidity, Suspended Sediment and Water Clarity:
       A Review. Journal of the American Water Resources Association. Vol. 37. No. 5.
       October 2001.
Dickerson, C., Reine, K. J., and Clarke, D. G. 2001. “Characterization of underwater
       sounds produced by bucket dredging operations,” DOER Technical Notes
       Collection (ERDC TN-DOER-E14), U.S. Army Engineer Research and Development
       Center, Vicksburg, MS. www.wes.army.mil/el/dots/doer.
Dickerson, D., C. Theriot, M. Wolters, C. Slay, T. Bargo, W. Parks. 2007. “Effectiveness
       of relocation trawling during hopper dredging for reducing incidental take of
       sea turtles,” In: Proceedings of the World Dredging Congress XVIII,USACE ERDC
       Research Initiatives. Central Dredging Association, 27 May-1 June 2007, Lake
       Buena Vista, Florida. http://el.erdc.usace.army.mil/seaturtles/docs/07-
       DickersonWODCON.pdf

Diez, C. E. and R.P. van Dam. 2006. Hawksbill turtle nesting beach habitat restoration on
        Mona Island, Puerto Rico: Research report for 2005.
Dodge, R.E. and J.R. Vaisnys. 1977. Coral populations and growth patterns: responses to
      sedimentation and turbidity associated with dredging - J. mar. Res, 1977.
Ehrhart, L.M. and B.E. Witherington. 1992. Green turtle. In Moler, P.E. (ed.). Rare and
       Endangered Biota of Florida, Volume III. Amphibians and Reptiles. University
       Presses of Florida, pp 90-94.
EPA 2011. Site Management and Monitoring Plan for the San Juan Harbor Puerto Rico
      Dredged Material Disposal Site. January 6, 2011.
Ertfemeijer, P.A., B. Reigl, B.W. Hoeksema and P.A. Todd. 2012. Environmental Impacts
      of Dredging and Other Sediment Disturbances on Corals, A Review. Marine
      Pollution Bulletin. 64 1737-1765.

Fisher L, K. Banks, D. Gilliam, R.E. Dodge, D. Stout, B. Vargass-Angel and B. Walker. 2008.
        Real-time coral stress observations before, during and after beach nourishment
        dredging offshore of southeast Florida, USA. Proceedings of the 11th
        International Coral Reef Symposium, Ft. Lauderdale, FL.




                                     Page 63 of 69


                                                                                            NMFS_00242
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 79 of 350




Florida Department of Environmental Protection. 2007. Rapid Response and Restoration
        for Coral Reef Injuries in Southeast Florida. Guidelines and Recommendations.
        June 2007.
Florida Fish and Wildlife Conservation Commission; Florida Marine Research Institute’s
        Statewide Nesting Beach Survey data. http://myfwc.com/research/wildlife/sea-
        turtles/nesting/statewide/. Accessed July 2017.
Frazer, N.B., C.J. Limpus and J.L. Greene. 1994. Growth and age at maturity of
        Queensland loggerheads. U.S. Dept of Commer. NOAA Technical Memorandum
        NMFS-SEFSC-351.
Gilliam, D.S. 2009. South Florida Coral Reef Evaluation and Monitoring Project. 2008
        Year 6 Final Report. August 15, 2009. National Coral Reef Institute.
Hales, L.Z. 2003. Bed-Leveling Following Dredging Operations. ERDC Dredging
        Operations Technical Support (DOTS) Program South Atlantic Division Request
        for Technical Assistance. 25 August 2003.
Jordan, L.K.B., Banks, K.W., Fisher, L.E., Walker, K.B. and Gilliam, D.S. 2010. Elevated
       Sedimentation on Coral Reefs Adjacent to a Beach Renourishment Project.
       Marine Pollution Bulletin. 60: 261-271.
Kleypas, J.A. 1996. Coral Reef Development Under Naturally Turbid Conditions: Fringing
       Reefs Near Broad Sound, Australia. Coral Reefs. 15:153-167.
Limpus, C.J. 1990. Puberty and first breeding in Caretta caretta, in Proceedings of the
      Tenth Annual Workshop on Sea Turtle Biology and Conservation. T.H.C.
      Richardson, J.I.C Richardson and M.C. Donnelly (eds). NOAA Technical
      Memorandum NMFS-SEFSC-278. 81.
Mackay, A.L., and J.L. Rebholz. 1996. Sea Turtle Activity Survey on St. Croix, U.S. Virgin
      Islands (1992-1994). In Keinath, J.A., D.E. Barnard, J.A. Musick, and B.A. Bell
      (compilers). Proceedings of the Fifteenth Annual Symposium on Sea Turtle
      Biology and Conservation. NOAA Tech. Memo. NMFS-SEFSC-387: 178-181.
Meylan, A.B. 1999. Status of the Hawksbill Turtle (Eretmochelys imbricata) in the
      Caribbean Region. Chelonian Conservation and Biology 3(2): 177-184.
Meylan, A.B. and M. Donnelly. 1999. Status justification for listing the hawksbill turtle
      (Eretmochelys imbricata) as critically endangered on the 1996 IUCN Red List of
      Threatened Animals. Chelonian Conservation and Biology 3(2):200-204.
Moyer, RP; B Riegl; K Banks; RE Dodge. 2003. Spatial patterns and ecology of benthic
      communities on a high-latitude South Florida (Broward County, USA) reef
      system. Coral Reefs (2003) 22: 447–464.
NMFS. 1991. Biological Opinion – Dredge of channels in the southeastern United States
      from North Carolina through Cape Canaveral, Florida. Signed November 25,
      1991.


                                      Page 64 of 69


                                                                                             NMFS_00243
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 80 of 350




NMFS. 1994. Endangered Species Act - Section 7 Consultation. Concurrence with USEPA
      determination for Designation of the Miami Harbor ODMDS. F/SEO13:JEB.
      October 14, 1994.
NMFS. 1995. Endangered Species Act Section 7 Consultation with the U.S. Army Corps
      of Engineers, South Atlantic Division on Hopper Dredging of Channels and
      Borrow Areas in the Southeastern U.S. from North Carolina through Florida East
      Coast. Signed August 25, 1995.
NMFS. 1997. Endangered Species Act Section 7 Consultation with the U.S. Army Corps
      of Engineers, South Atlantic Division on the Continued Hopper dredging channels
      and borrow areas in the southeastern United States. Signed September 25,
      1997.
NMFS. 2003a. Endangered Species Act Section 7 Consultation with the U.S. Army Corps
      of Engineers for Dredging of Gulf of Mexico Navigation channels and San Mining
      “borrow” areas using hopper dredges by COE Galveston, New Orleans, Mobile
      and Jacksonville Districts. Consultation Number F/SER/2000/01287. Signed
      November 19, 2003 and revised 2005 and 2007.
NMFS. 2003b. Endangered Species Act - Section 7 Consultation. Concurrence with
      USACE determination for placement of dredged material in the one-time use
      ODMDS associated with O&M dredging of Key West Harbor. March 28, 2003.
NMFS. 2004. Endangered Species Act - Section 7 Consultation. Concurrence with USEPA
      determination for Designation of the Port Everglades and Palm Beach ODMDS.
      May 24, 2004.
NMFS. 2005. Endangered and Threatened Species; Proposed Threatened Status for
      Elkhorn Coral and Staghorn Coral. 70 FR 24359. May 9, 2005.
NMFS. 2006. Endangered and Threatened Species; Threatened Status for Elkhorn Coral
      and Staghorn Coral. 71 FR 26852. May 9, 2006.
NMFS. 2008a. 50 CFR Part 223. Docket No. 070801431–81370–02. Endangered and
      Threatened Species; Conservation of Threatened Elkhorn and Staghorn Corals.
      “4D rule”. 73 FR 64264.
NMFS. 2008b. 50 CFR Parts 223 and 226. Docket No. 070801431–81370–02 Endangered
      and Threatened Species; Critical Habitat for Threatened Elkhorn and Staghorn
      Corals. 73 FR 72210.
NMFS. 2009. Endangered Species Act - Section 7 Consultation Biological Opinion. Dade
      County Beach Erosion Control Project, Contract "E," located in Dade County,
      Florida (Consultation Number F/SERl2009/00879). October 24, 2009.
NMFS. 2010. Endangered Species Act - Section 7 Consultation. Concurrence with USEPA
      determination for the Site Monitoring and Management Plan (SMMP) for the
      San Juan Harbor Ocean Dredged Material Disposal Site (ODMDS). December 6,
      2010.

                                   Page 65 of 69


                                                                                       NMFS_00244
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 81 of 350




NMFS. 2012. 50 CFR 223. Docket No 0911231415-2625-02. Endangered and Threatened
      Species. Proposed rule for 88 corals. April 17, 2012.

NMFS. 2014a. 50 CFR 223. Endangered and Threatened Wildlife and Plants: Final Listing
      Determinations on Proposal to List 66 Reef-Building Coral Species and To
      Reclassify Elkhorn and Staghorn Corals. 79 FR 53852. September 10, 2014.

NMFS. 2014b. Endangered Species Act - Section 7 Consultation. Biological Opinion for
      Regional General Permit SAJ-82 (SAJ-2007-1590), Florida Keys, Monroe County,
      Florida. June 10, 2014. Consultation #SER-2008-2958.
NMFS. 2014c. Endangered Species Act - Section 7 Consultation. Concurrence with
      USACE determination for ecosystem restoration of Condado Lagoon. October 31,
      2014. Consultation #SER-2013-10961.
NMFS. 2016. San Juan Harbor Project, Puerto Rico. Quick Look Video Survey Report of
      the Benthic Communities of San Juan Bay Adjacent to Navigation Channels. Jose
      Rivera. NOAA, National Marine Fisheries Service. San Juan, Puerto Rico.
NMFS and USFWS. 1991a. Recovery plan for U.S. populations of loggerhead turtle.
      National Marine Fisheries Service, Washington, D.C. 64 pp.
NMFS and USFWS. 1991b. Recovery Plan for U.S. Population of Atlantic Green Turtle.
      National Marine Fisheries Service, Washington, DC.
NMFS and USFWS. 1993. Recovery Plan for Hawksbill Turtles in the U.S. Caribbean Sea,
      Atlantic Ocean, and Gulf of Mexico. National Marine Fisheries Service. St.
      Petersburg, Florida. 58 p
NMFS and USFWS. 2013. Hawksbill sea turtle (Eretmochelys imbricata) 5-year review:
      summary and evaluation. June 2013.
NOAA, 2012. National Summary of NOAA’s Shallow-water Benthic Habitat Mapping of
      U.S. Coral Reef Ecosystems. NOAA Technical Memorandum NOS-NCCOS-122.
      August 2012.
      https://coastalscience.noaa.gov/research/docs/MappingReport_December_6_2
      012.pdf
Pennekamp, J.G.S., R.J.C. Epskamp, W.F.Rosenbrand, A. Mullié, G.L.Wessel, T. Arts, and
      I.K. Deibel. 1996. Turbidity Caused by Dredging; Viewed in Perspective. Terra et
      Aqua – Number 64. September 1996.
Reine, K.J., D. Clarke, C. Dickerson and G. Wikel. 2014. Characterization of Underwater
       Sounds Produced by Trailing Suction Hopper Dredged During Sand Mining and
       Pump-out Operations. ERDC Technical Report. ERDC/EL TR-14-3. March 2014.
Reine, K. J., D. G. Clarke, and C. Dickerson. 2012. Characterization of underwater sounds
       produced by a hydraulic cutterhead dredge fracturing limestone rock. DOER
       Technical Notes Collection. ERDC TN-DOER-E34. Vicksburg, MS: U.S. Army
       Engineer Research and Development Center. www.wes.army.mil/el/dots/doer.

                                     Page 66 of 69


                                                                                          NMFS_00245
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 82 of 350




Rogers, C.S. 1983. Sublethal and lethal effects of sediments applied to common
       Caribbean reef corals in the field. Marine Pollution Bulletin. 14:378-382.
Rogers, C.S. 1990. Responses of coral reefs and reef organisms to sedimentation. Marine
       Ecology Progress Series. 62:185-202.
Seminoff, J.A., C.D. Allen, G.H. Balazs, P.H. Dutton, T. Eguchi, H.L. Haas, S.A. Hargrove,
      M.P. Jensen, D.L. Klemm, A.M. Lauritsen, S.L. MacPherson, P. Opay, E.E.
      Possardt, S.L. Pultz, E.E. Seney, K.S. Van Houtan, R.S. Waples. 2015. Status
      Review of the Green Turtle (Chelonia mydas) Under the U.S. Endangered Species
      Act. NOAA Technical Memorandum, NOAA NMFS-SWFSC-539. 571pp.
Stabenau, E.K. and K.R. Vietti. 1999. Physiological effects of short-term submergence of
      loggerhead sea turtles, Caretta caretta, in TED-equipped commercial fishing
      nets. Final Report to National Marine Fisheries Service, Pascagoula Laboratory,
      Pascagoula, Mississippi.
Telesnicki, G. J. and W. M. Goldberg. 1995. "Effects of Turbidity on the Photosynthesis
       and Respiration of Two South Florida Reef Coral Species." Bulletin of Marine
       Science 57(2): 527-539.
USACE. 2017. Miami Harbor Phase III, Federal Channel Expansion Project, Permit No
      0305721-001-BI. One-year Post-Construction Impact Assessment for
      Hardbottom Middle and Outer Reef Benthic Communities at Permanent Sites.
      April 2017.
USACE. 2015. Miami Harbor Phase III, Federal Channel Expansion Project, Permit No
      0305721-001-BI. Quantitative Post-Construction Analysis for Middle and Outer
      Reef Benthic Communities. November 19, 2015.
USACE. 2006a. Biological Assessment for Research and Compilation of Baseline Data for
      the use of Bed-leveling Devices at Port Canaveral, Brevard County, Florida.
      March 21, 2006.
USACE. 2006b. Biological Assessment for Research and Compilation of Baseline Data for
      the use of Bed-leveling Devices at Port Everglades, Broward County, Florida.
      March 21, 2006.
USACE. 2006c. Biological Assessment for Research and Compilation of Baseline Data for
      the use of Bed-leveling Devices at Port of Miami, Miami-Dade County, Florida.
      March 21, 2006.
USACE. 2006d. Biological Assessment for Research and Compilation of Baseline Data for
      the use of Bed-leveling Devices at Port of Palm Beach, Palm Beach County,
      Florida. March 21, 2006.
USFWS and NMFS. 1996. Endangered Species Act Final Rulemaking. For Distinct
     Population Segments. 61 FR 4722. February 7, 1996.

Zimmerman, R., P. M. Yoshioka, V. P. Vicente, J. G. Gonzalez and J. M. López. 1980.
      Eutrophic Production of Benthic Algae and Power Plant Cooling-Water Intake
                                     Page 67 of 69


                                                                                          NMFS_00246
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 83 of 350




       Clogging in Boca Vieja Bay. Report to the Puerto Rico Electric Power Authority.
       Center for Energy and Environment Research, Marine Ecology Division,
       University of Puerto Rico at Mayaguez. 113 pp.




                                    Page 68 of 69


                                                                                         NMFS_00247
    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 84 of 350




Appendix A – Previous Puerto Rico ESA consultations

Condado Lagoon Consultation

EPA ODMDS SMMP Consultation 2000 and 2010




                                   Page 69 of 69


                                                                         NMFS_00248
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 85 of 350




                                                                     NMFS_00249
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 86 of 350




                                                                     NMFS_00250
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 87 of 350




                                                                     NMFS_00251
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 88 of 350




                                                                     NMFS_00252
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 89 of 350




                                                                     NMFS_00253
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 90 of 350




                                                                     NMFS_00254
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 91 of 350




                                                                     NMFS_00255
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 92 of 350




                                                                     NMFS_00256
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 93 of 350




                                                                     NMFS_00257
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 94 of 350




                                                                     NMFS_00258
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 95 of 350




                                                                     NMFS_00259
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 96 of 350




                                                                     NMFS_00260
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 97 of 350




                                                                     NMFS_00261
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 98 of 350




                                                                     NMFS_00262
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 99 of 350




                                                                     NMFS_00263
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 100 of 350




                                                                      NMFS_00264
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 101 of 350




                                                                      NMFS_00265
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 102 of 350




                                                                      NMFS_00266
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 103 of 350




                                                                      NMFS_00267
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 104 of 350




                                                                      NMFS_00268
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 105 of 350




                                                                      NMFS_00269
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 106 of 350




                                                                      NMFS_00270
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 107 of 350




                                                                      NMFS_00271
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 108 of 350




                                                                      NMFS_00272
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 109 of 350




                                                                      NMFS_00273
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 110 of 350




                                                                      NMFS_00274
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 111 of 350




                                                                      NMFS_00275
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 112 of 350




                                                                      NMFS_00276
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 113 of 350




                                                                      NMFS_00277
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 114 of 350




                                                                      NMFS_00278
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 115 of 350




                                                                      NMFS_00279
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 116 of 350




                                                                      NMFS_00280
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 117 of 350




                                                                      NMFS_00281
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 118 of 350




                                                                      NMFS_00282
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 119 of 350




                                                                      NMFS_00283
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 120 of 350




                                                                      NMFS_00284
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 121 of 350




                                                                      NMFS_00285
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 122 of 350




                                                                      NMFS_00286
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 123 of 350




                                                                      NMFS_00287
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 124 of 350




                                                                      NMFS_00288
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 125 of 350




                                                                      NMFS_00289
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 126 of 350




                                                                      NMFS_00290
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 127 of 350




                                                                      NMFS_00291
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 128 of 350




                                                                      NMFS_00292
                   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 129 of 350
                                                                  0DULQH3ROOXWLRQ%XOOHWLQ  ²


                                                                    Contents lists available at ScienceDirect


                                                                 Marine Pollution Bulletin
                                                    journal homepage: www.elsevier.com/locate/marpolbul




Extensive coral mortality and critical habitat loss following dredging and
their association with remotely-sensed sediment plumes
                           ⁎                                        ⁎
Ross Cunninga,b, , Rachel N. Silversteinc, , Brian B. Barnesd, Andrew C. Bakera
a
  Department of Marine Biology and Ecology, Rosenstiel School of Marine and Atmospheric Science, University of Miami, 4600 Rickenbacker Causeway, Miami, FL 33149,
USA
b
  Daniel P. Haerther Center for Conservation and Research, John G. Shedd Aquarium, 1200 South Lake Shore Drive, Chicago, IL 60605, USA
c
  Miami Waterkeeper, 2103 Coral Way, 2nd Floor, Miami, FL 33145, USA
d
  College of Marine Science, University of South Florida, 140 7th Avenue South, MSL119, St. Petersburg, FL 33701, USA




A R T I C L E I N FO                                       A B S T R A C T

Keywords:                                                  Dredging poses a potential threat to coral reefs, yet quantifying impacts is often diﬃcult due to the large spatial
Dredging                                                   footprint of potential eﬀects and co-occurrence of other disturbances. Here we analyzed in situ monitoring data
Sedimentation                                              and remotely-sensed sediment plumes to assess impacts of the 2013–2015 Port of Miami dredging on corals and
Coral reefs                                                reef habitat. To control for contemporaneous bleaching and disease, we analyzed the spatial distribution of
Remote sensing
                                                           impacts in relation to the dredged channel. Areas closer to dredging experienced higher sediment trap accu-
Port of Miami
                                                           mulation, benthic sediment cover, coral burial, and coral mortality, and our spatial analyses indicate that >
                                                            560,000 corals were killed within 0.5 km, with impacts likely extending over 5–10 km. The occurrence of se-
                                                           diment plumes explained ~60% of spatial variability in measured impacts, suggesting that remotely-sensed
                                                           plumes, when properly calibrated against in situ monitoring data, can reliably estimate the magnitude and
                                                           extent of dredging impacts.




1. Introduction                                                                                 through reproduction (reviewed by Erftemeijer et al., 2012; Fabricius,
                                                                                                2005; Jones et al., 2015; Rogers, 1990). Although some degree of se-
    An increase in port deepening and widening projects is occurring                            dimentation is common on coral reefs, and some species may persist in
worldwide to accommodate Neo-Panamax cargo ships following ex-                                  turbid environments through long-term adaptation, high sedimentation
pansion of the Panama canal in 2016 (Ashe, 2018; Good, 2016; Wyss                               is typically detrimental to reef development because corals require a
et al., 2012). Several dredging projects in shallow-water ports adjacent                        hard substrate on which to settle and grow, and because it is en-
to coral reef areas along the eastern seaboard of the United States and                         ergetically costly to remove sediment from their surfaces, either
the Caribbean have recently been completed, or are planned in the near                          through ciliary action, mucus production, and/or hydrostatic polyp
future (Braley and Doyle, 2017; Good, 2016; Whiteﬁeld, 2016). Because                           inﬂation (Bessell-Browne et al., 2017a; Dodge and Rimas Vaisnys, 1977;
of the fragility of coral reef ecosystems and their widespread decline, a                       Humanes et al., 2017; Riegl and Branch, 1995; Staﬀord-Smith and
critical assessment of environmental impacts, accompanied by an eva-                            Ormond, 1992). Due to the high energetic requirements of self-cleaning
luation of best practices for monitoring and reducing them, are key                             and the inability of corals to successfully open their polyps (Riegl and
conservation goals in light of continued dredging activities.                                   Branch, 1995), corals with ongoing sedimentation impacts may reduce
    Coastal dredging and construction are known to cause signiﬁcant                             feeding (Abdel-Salam and Porter, 1988; Erftemeijer et al., 2012;
harm to coral reef ecosystems (Bak, 1978; Dodge and Rimas Vaisnys,                              Szmant-Froelich et al., 1981). Combined with low light levels (in-
1977; Erftemeijer et al., 2012). Dredging can impact corals and coral                           directly from increased turbidity or directly as a result of smothering),
habitat through a variety of cause-eﬀect pathways reviewed by Jones                             which inhibit the photophysiology of algal symbionts (Abdel-Salam and
et al. (2016), including directly via sedimentation (the deposition of                          Porter, 1988; Philipp and Fabricius, 2003; Piniak, 2007; Telesnicki and
particulate matter on the benthos), and indirectly via increased tur-                           Goldberg, 1995; Weber et al., 2006), this can lead to coral starvation
bidity and shading from sediment plumes. Sedimentation can poten-                               (Erftemeijer et al., 2012; Flores et al., 2012; Junjie et al., 2014) and
tially impact almost every biological function of corals, from feeding                          reduced calciﬁcation and growth (Edmunds and Davies, 1989; Flores


  ⁎
      Corresponding authors.
      E-mail addresses: ross.cunning@gmail.com (R. Cunning), rachel@miamiwaterkeeper.org (R.N. Silverstein).

https://doi.org/10.1016/j.marpolbul.2019.05.027
Received 29 December 2018; Received in revised form 2 May 2019; Accepted 12 May 2019
$YDLODEOHRQOLQH0D\
;3XEOLVKHGE\(OVHYLHU/WG




                                                                                                                                                                     NMFS_00678
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 130 of 350
R. Cunning, et al.                                                                                                       0DULQH3ROOXWLRQ%XOOHWLQ  ²


et al., 2012; Humanes et al., 2017; Lirman et al., 2003; Miller et al.,             2004; Jones, 2011; Su et al., 2002), sediment-borne pathogens
2016; Moeller et al., 2016).                                                        (Hodgson, 1990; Voss and Richardson, 2006; Weber et al., 2012), or
    Corals exposed to heavy, chronic, or repeated sedimentation can be              related immune impairment agents. Exposure to dredging plumes has
overwhelmed and unable to successfully rid themselves of sediment                   been correlated with a doubling in the prevalence of white syndromes
(Bak, 1978; Bessell-Browne et al., 2017a; Flores et al., 2012; Marszalek,           in corals on the Great Barrier Reef (Pollock et al., 2014), suggesting that
1981). When this occurs, corals – particularly those with mounding                  dredging can either release potential pathogens and/or decrease coral
morphologies – begin to accumulate rejected sediment in “berms”, or                 health and compromise immunity.
piles of sediment around the colony perimeter (Miller et al., 2016),                    The Port of Miami shipping channel bisects the Florida Reef Tract,
making sediment removal even more diﬃcult as the berm increases in                  and is immediately surrounded by areas designated under the U.S.
height. With enough sedimentation, energetically costly sediment re-                Endangered Species Act (ESA) as critical habitat (deﬁned as any area
moval mechanisms become exhausted, and corals can become partially                  containing the physical and biological features essential to survival) for
or completely buried, resulting in mortality (Lirman et al., 2003;                  ESA-listed staghorn and elkhorn corals, of which hundreds of colonies
Marszalek, 1981; Miller et al., 2016; Nugues and Roberts, 2003; Riegl,              (of Acropora cervicornis) were documented in 2013 within 150 m of the
1995). Mortality commonly occurs ﬁrst under sediment berms that pile                channel on the inner reef alone (McCarthy and Spring, 2014). Addi-
up at colony bases, producing a condition of partial mortality around               tional reef coral species listed as threatened under the ESA (including
the base in a “halo” pattern (Marszalek, 1981; Miller et al., 2016).                Orbicella annularis, O. faveolata, O. franksi, and Mycetophyllia ferox) have
    Sedimentation has also been shown to inhibit coral sexual re-                   also been documented in the area (Dial Cordy and Associates, 2014a).
production in a number of ways (Jones et al., 2015), including by im-               These coral reefs and coral habitat are also designated as Essential Fish
pairing spawning success (Ricardo et al., 2016), fertilization (Ricardo             Habitat under the Magnuson Stevens Fishery Conservation and Man-
et al., 2015), settlement (Babcock et al., 2002; Ricardo et al., 2017), and         agement Act for species managed under the spiny lobster, snapper-
recruitment (Moeller et al., 2016). Sediment may also directly remove               grouper, and coral ﬁshery management plans (NOAA Fisheries Service,
available recruitment space by covering hard surfaces required for                  2017).
larval settlement (Babcock and Davies, 1991; Ricardo et al., 2017).                     Dredging adjacent to the Florida reef tract took place to widen and
Recruitment may still be reduced even if sediment is subsequently re-               deepen the Port of Miami shipping channel between November 20,
moved, likely due to the negative impacts of sediment on crustose                   2013 and March 16, 2015 (~16 months). Dredged materials, consisting
coralline algae, a key settlement cue (Ricardo et al., 2017). For re-               of chopped rock mixed with water, were pumped from the dredge to a
cently-settled coral recruits, sedimentation tolerance may be at least an           spider barge which, in turn, pumped the material into scows (also
order of magnitude lower than for adult corals (Fabricius, 2005), and               known as hopper barges). The process of dewatering and overﬂow of
even relatively low sedimentation rates (16.6 mg cm−2 d−1) can result               sediment-laden water from the hopper barge deposits ﬁne particles of
in mortality (Moeller et al., 2016). Even sediment that is not deposited            dredged material into the water column (Jones et al., 2016), which,
on the seabed, but that is moving through the system, is likely to abrade           around the Port of Miami, created sediment plumes with an extent up to
and kill newly-settled coral recruits and other benthic organisms, in               ~228 km2 (Barnes et al., 2015). Ultimately, an estimated 4.2 million m3
addition to blocking photosynthetically active radiation (Storlazzi                 of material was dredged via pipeline, backhoe, and clamshell dredges,
et al., 2015).                                                                      destined for a permitted oﬀshore disposal location 2.4 km ESE of the
    Impacts from sedimentation speciﬁcally due to dredging activities               project site at a depth of 120–240 m (Ocean Disposal Database, 2016).
can be even more harmful to corals and reef habitat compared to other                   Many dredging projects have historically suﬀered from data-poor
types of sedimentation. Due to the rapid escalation in sediment load                monitoring eﬀorts to determine impacts to coral reefs (Erftemeijer
created by sudden commencement of dredging, the typical behavioral,                 et al., 2012). However, in the case of the Port of Miami, surrounding
acclimatory, and adaptive responses (for example, selection for parti-              coral resources were extensively monitored by an environmental con-
cular coral species or morphologies) that normally operate at sites ex-             sultancy, Dial Cordy and Associates (DCA), on behalf of Great Lakes
posed to naturally high sedimentation (Lasker, 1980; Sofonia and                    Dredge and Dock Company, the dredging contractors for the U.S. Army
Anthony, 2008) may not be able to operate eﬀectively. Moreover, in                  Corps of Engineers (USACE), and on behalf of the Port of Miami
contrast to other kinds of sedimentation events, such as hurricanes, that           (Miami-Dade County). Although this monitoring program concluded
generate sediment over hours to days, dredging can generate high se-                           ﬀ
                                                                                    that the eﬀects  of dredging were minimal and attributed most observed
diment conditions for months to years, exceeding the energetic reserves             coral mortality to a concomitant regional coral disease outbreak (Dial
of corals that might otherwise be able to survive acute impacts caused              Cordy and Associates, 2017), state and federal agencies report that
by storms (Flores et al., 2012; Jones et al., 2015; Riegl and Branch,               dredging impacts were widespread, severe, and long-lasting (Florida
1995).                                                                              Department of Environmental Protection, 2014; Miller et al., 2016;
    The type of sediment released by dredging activities can also be                National Marine Fisheries Service, 2016). These conﬂicting reports
diﬀerent from naturally occurring sediment (Jones et al., 2016).                    prompt the need for a comprehensive analysis of monitoring data to
Dredging sediment is often more ﬁne-grained than natural coarse se-                 evaluate the contribution of dredging to observed reef impacts. More-
diment, and these ﬁne particles can cause higher turbidity (Fourney and             over, the extensive data collected in situ provides a unique opportunity
Figueiredo, 2017), can take longer to settle out of the water column,               to evaluate whether measured impacts on the benthos are correlated
can be distributed further (Duclos et al., 2013), and are more harmful to           with satellite observations of sediment plumes. Although not a sub-
corals (Duckworth et al., 2017; Jones et al., 2015; Nugues and Roberts,             stitute for robust, in situ monitoring, demonstrating such a link would
2003; Weber et al., 2006). When deposited on the benthos, this ﬁne                  validate the use of remote sensing techniques to monitor and predict
sediment may also have an adhesive, clay-like texture that is more re-              dredging and coastal construction impacts to benthic communities
sistant to bioturbation and dissipation (Jones et al., 2015), and is more           where data maybe lacking or unavailable, or where independent data
likely to become anoxic (Piniak, 2007; Weber et al., 2006). Dredging                sources are needed (Fisher et al., 2015).
can also release sediment from deeper strata than might be disturbed by                 Here, we apply rigorous, data-driven, statistical methods to DCA's in
natural events, generating additional sediment not already existing in              situ monitoring data to determine whether impacts to reef corals and
the system and with distinct mineralogies compared to those found in                habitat occurred as a result of dredging operations at the Port of Miami.
reef environments (Saussaye et al., 2017; Swart, 2016). Releasing this              Speciﬁcally, we investigate 1) whether dredging activities impacted the
sediment may result in acute acidiﬁcation and/or eutrophication, and,               quality and quantity of corals and coral habitat, 2) whether dredging-
particularly in areas such as shipping channels or ports (Nayar et al.,             related impacts can be distinguished from other regional disturbances
2007), may also release unwanted contaminants (Eggleton and Thomas,                 that occurred contemporaneously, such as bleaching and disease, and

                                                                              


                                                                                                                                                   NMFS_00679
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 131 of 350
R. Cunning, et al.                                                                                                           0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 1. Map of coral reef habitats and monitoring locations around the Port of Miami shipping channel. Permanent monitoring sites (n = 26) where data were
collected throughout dredging are indicated by purple squares, while non-permanent transects used for coral density and/or sediment depth measurements at various
distances from the channel are indicated by red triangles (2010; before dredging) and green circles (2016–2017; after dredging). (For interpretation of the references
to color in this ﬁgure legend, the reader is referred to the web version of this article.)


3) whether biological responses measured in situ can be predicted by                   away from the channel (n = 12 areas, Fig. 1). The monitoring areas
remote sensing of dredging sediment plumes. Finally, we extrapolate                    away from the channel ranged from intermediate distances of
from these data to estimate total coral losses and the full spatial extent             ~1.3–2.4 km (NNR, SNR, SIR, SOR) to farther distances of 9.4 km away
of impacts from the Port of Miami dredging.                                            (NIR, NOR); monitoring areas immediately adjacent to the channel
                                                                                       were located within 18–48 m (median = 23 m). Each monitoring area
                                                                                       contained 1–3 replicate sites (n = 26 permanent monitoring sites; Dial
2. Methods                                                                             Cordy and Associates, 2014a, 2014b). At each site, DCA (1) deployed
                                                                                       sediment traps to measure sediment accumulation throughout dred-
2.1. Study design and data provenance                                                  ging; (2) recorded video transects to analyze changes in benthic cover
                                                                                       using Coral Point Count with extensions (CPCe; Kohler and Gill, 2006);
    The Port of Miami shipping channel, where dredging occurred, cuts                  and (3) tagged individual corals to monitor their condition over time
across three tracts of coral reef and colonized hardbottom (Fig. 1), re-               (details below).
ferred to (from west to east) as the nearshore ridge (NR), inner reef (IR),                In addition to these data collected at permanent monitoring sites,
and outer reef (OR; terminology follows Walker (2009) and Miller et al.                data were also collected at a range of distances from the edge of the
(2016), but note that USACE and DCA reports often refer to the inner                   channel out to several hundred meters away (Fig. 1) at various time-
reef as the middle reef). On each of these reefs, DCA monitored regions                points before (Dial Cordy and Associates, 2012) and ~2 years after
to the north (N) and south (S) of the channel (n = 6 regions). Within                  dredging (Dial Cordy and Associates, 2017). The metrics collected at
each region, monitoring was conducted in areas both adjacent to and

                                                                                 


                                                                                                                                                       NMFS_00680
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 132 of 350
R. Cunning, et al.                                                                                                    0DULQH3ROOXWLRQ%XOOHWLQ  ²


these non-permanent sites included the density of corals (recorded both            depositing or moving through the system.
before and after dredging) and the depth of sediment (only recorded                    To analyze these data, we used a Poisson generalized additive model
~2 years after dredging). In addition to the DCA datasets, we also                 to estimate the ﬁne sediment trap accumulation rate in each monitoring
analyzed the presence of a sediment plume from dredging operations as              area as a smooth function of time (using the midpoint of each sampling
detected by satellite imagery (details below).                                     interval), weighted by trap deployment duration. To calculate total trap
    All data (except remote sensing) were collected by DCA on behalf of            accumulation at each of the 12 monitoring areas during the dredging
Great Lakes Dredge and Dock, the USACE, or the Port of Miami, and                  project, we summed the ﬁtted daily accumulation rates for all days
were provided to the Florida Department of Environmental Protection                between 2013-11-20 (beginning of dredging) and 2015-03-23 (one
(FDEP) for compliance with FDEP Permit No. 0305721-001-BI. We                      week after dredging was completed).
subsequently obtained these data by public records requests under the
Florida Sunshine Laws. Data were supplied to FDEP in various
spreadsheets which we integrated and standardized for downstream                   2.4. Benthic sediment cover
statistical analysis using R code (all data and analysis code is available
on Github (http://github.com/jrcunning/pom-dredge) and archived at                     The proportion of the benthos occupied by sediment was monitored
Zenodo (Cunning, 2019)). We did not independently verify DCA data                  by DCA using video transects recorded along three 20 m transects at
entry from ﬁeld notes, photographs, or videos, and we did not repeat               each monitoring site between 2013-11-07 and 2016-08-20 (n = 1772
intermediate data processing steps (e.g., CPCe analysis). We did, how-             video transects; dates recorded vary among sites since data were col-
ever, correct instances of data entry error (e.g., dates and species               lected at a site only when dredge operations were within 750 m).
identiﬁcations) when such errors were apparent from context, and these             Between 27 and 80 still frames (median = 40) were extracted from
modiﬁcations were also made using R code for transparency and re-                  each video transect and analyzed using CPCe with 10 points overlaid on
producibility.                                                                     each frame. Points overlaying tape, wand, or shadow were excluded,
    Our analyses focused on sediment trap accumulation, benthic se-                resulting in a range of 1–10 points analyzed per frame (median = 8).
diment cover, and tagged coral condition throughout the dredging                   Points were classiﬁed into a range of benthic categories, of which we
project, as well as correlations among these measured impacts and re-              focus on “sand”, which was used to indicate presence of sediment (Dial
motely-sensed sediment plumes. We also analyzed lasting impacts on                 Cordy and Associates, 2015b). Two sites (HBN1 and HBN2) were
the density of scleractinians and the depth of sediment in reef habitat            omitted because they are considered a diﬀerent habitat type (referred to
approximately 2 years post-dredging. In the sections below, we describe            as scattered coral/rock in sand) and/or were inﬂuenced by a “sand
for each analyzed dataset: 1) how DCA collected and processed samples              wave” during baseline surveys, reducing the frequency of data collec-
and/or data (with reference to DCA reports for further detail); and 2)             tion (Dial Cordy and Associates, 2014b).
how we conducted downstream statistical analyses to quantify impacts                   To analyze these data, we used a binomial generalized additive
to corals and reef habitat.                                                        mixed model to estimate sediment cover as a smooth function of time,
                                                                                   with site and transect as random factors. Models were ﬁtted only to
2.2. Sediment plume detection                                                      portions of the time series with < 20-week gaps between data points.

    Plumes of sediment in the water column (Fig. 2A) were detected
using satellite imagery following the methods of (Barnes et al., 2015).            2.5. Tagged coral condition
Coordinates corresponding to the 26 permanent monitoring sites were
mapped onto satellite imagery to determine presence or absence of a                    DCA observers tagged and monitored individual coral colonies
sediment plume on each day for which data were available (dependent                throughout the project, recording a variety of condition codes that re-
on weather conditions and image quality). F For each monitoring region,            ﬂected coral health and/or impacts of sedimentation (Dial Cordy and
a binomial generalized additive model was used to model the frequency              Associates, 2015b). The complete collated dataset contained
of sediment plume presence over time during dredging operations. To                n = 23,537 observations of 650 tagged corals at 26 permanent mon-
estimate the spatial extent of dredging impacts on the reef, the presence          itoring sites between 2013-10-14 and 2016-08-20 (dates vary among
of sediment plumes during the dredging period was quantiﬁed for                    sites since data were collected from a site only when dredge operations
pixels along three north-south transects centered over the NR (long-               were within 750 m). We analyzed coral sediment burial as the occur-
itude = 80.115°W), IR (80.0997°W), and OR (80.0894°W), positioned                  rence of either “PBUR” (partial burial) or “BUR” (complete burial)
at 250 m intervals from 15 km south of the channel to 15 km north                  condition codes over time using a binomial generalized additive mixed
(n = 396 pixels).                                                                  model for each monitoring area, with site, transect, and species as
                                                                                   random factors.
2.3. Sediment trap accumulation                                                        To quantify partial mortality due to sedimentation, we analyzed
                                                                                   occurrence of the “PM” condition code (deﬁned by DCA as partial
    Sediment trap accumulation was measured by DCA using three se-                 mortality speciﬁcally due to sedimentation; Dial Cordy and Associates,
diment traps (1″ inner diameter PVC pipe with 500 mL collection                    2015a) using a binomial generalized linear mixed model (GLMM) with
bottle) deployed at each permanent monitoring site on a continuous                 site, transect, and species as random factors. A colony was counted as
basis between 2013-10-15 and 2015-07-20, for intervals that varied                 having experienced partial mortality due to sedimentation if it was
among sites and ranged from 10 to 89 days (n = 1287 sediment samples               recorded with the “PM” condition code at any time during dredging
in total). Each sediment sample was separated into coarse and ﬁne                  operations. The same analysis was conducted for total mortality (con-
components using a U.S. Standard #230 sieve (the cut-point between                 dition code = “DEAD”); however, since some corals may have died due
very ﬁne sand and coarse silt; Wentworth, 1922), dried at 150 °F for               to a concomitant disease outbreak, we additionally analyzed total
≥24 h, and weighed to the nearest 0.01 g (Dial Cordy and Associates,               mortality for the subset of tagged coral species not observed with dis-
2015a, 2015b). Masses were divided by the duration of trap deploy-                 ease during monitoring (Acropora cervicornis, Agaricia agaricites, Agar-
ment to calculate sediment accumulation rates in g day−1. We analyzed              icia lamarcki, Madracis decactis, Mycetophyllia spp., Porites astreoides,
only ‘ﬁne’ trapped sediment, as this is more likely derived from dred-             Porites porites, Siderastrea siderea, Stephanocoenia intersepta), which
ging than natural processes. Due to disparities between sediment trap              lowered statistical power but allowed us to isolate potential dredging
accumulation and benthic sediment deposition (Storlazzi et al., 2011),             impacts from disease-related mortality. Further estimates of total
these data should be interpreted as sediment inputs that are either                mortality are derived from changes in coral density (Section 2.8).

                                                                             


                                                                                                                                                NMFS_00681
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 133 of 350
R. Cunning, et al.                                                                                                 0DULQH3ROOXWLRQ%XOOHWLQ  ²


                                                                                             Fig. 2. Representative photographs of sediment plumes and
                                                                                             benthic impacts. (A) Sediment plumes spread from dredging
                                                                                             activity in the channel on 2013-12-30 (photo: Google Earth).
                                                                                             (B) Sediment covers the benthos on the NIR reef < 250 m
                                                                                             from the channel on 2015-01-30, with the tops of gorgonians
                                                                                             protruding from ~7 cm of sediment (photo: R Silverstein). (C)
                                                                                             A colony of A. cervicornis is partially buried in sediment 150 m
                                                                                             from the channel on the NIR in September 2014 (photo:
                                                                                             Coastal Systems International). (D) A Colpophyllia natans
                                                                                             colony is partially buried with a berm of rejected sediment
                                                                                             around its perimeter on 2014-07-22 (photo: (Florida
                                                                                             Department of Environmental Protection, 2014)). (E) The
                                                                                             same C. natans colony after sediment was removed from the
                                                                                             base of the colony, revealing signiﬁcant partial mortality. (F)
                                                                                             Dead coral skeletons on the NIR reef < 150 m from the
                                                                                             channel on 2015-06-23. Sediment was removed from the top
                                                                                             of the large colony in the center to reveal skeletal structure.
                                                                                             (Photo: R Silverstein).




2.6. Relationships among measurements                                         presence was calculated as the proportion of days that a dredge plume
                                                                              was present (Fig. 3); sediment accumulation was calculated as the total
   For each of the independent in situ measurements made at perma-            accumulation of ﬁne sediment in traps during the project (kg m−2;
nent monitoring areas (plume presence, ﬁne sediment accumulation,             Fig. 5); benthic sediment cover was calculated as the mean daily pro-
benthic sediment cover, partial or complete coral burial, and partial         portion of the benthos covered by sediment (Fig. 6); coral burial was
coral mortality from sediment), we calculated aggregated metrics for          calculated as the mean daily probability of coral burial (Fig. 7); coral
each area and analyzed their pairwise correlations. Dredge plume              mortality was calculated as the cumulative probability of partial


                                                                        


                                                                                                                                             NMFS_00682
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 134 of 350
R. Cunning, et al.                                                                                                           0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 3. Presence of a sediment plume as detected by satellite data throughout the dredging project. Smooth lines are GAM ﬁts for each monitoring area ( ± 95% CI),
colored according to distance from channel. Points in margins indicate the presence or absence of the dredge plume on a given date (data not available for all dates).
Vertical dotted lines indicate the beginning (2013−11−20) and end (2015-03-16) of dredging operations.


mortality from sediment among tagged corals (Fig. 8). Metrics derived                  Poisson generalized linear mixed model, with timepoint (before or after
from time series (e.g., benthic sediment cover, coral burial) only in-                 dredging) as an additional ﬁxed factor, and site, transect, and survey
clude dates for which data were available from all monitoring areas.                   date as random factors. For the SIR, one data point was a highly in-
Pairwise linear regressions were performed for these aggregated me-                    ﬂuential outlier (Cook's distance = 1.34, while all other points < 0.12),
trics, and R2 values calculated to determine the proportion of variability             and was removed from the analysis. The density of ‘small’ corals
of the response explained by each predictor.                                           (< 3 cm) was analyzed in the same way. For each monitoring region,
    To estimate the magnitude of potential benthic impacts based on the                ﬁtted values were used to test for diﬀerences in scleractinian density
sediment plume presence between 15 km south and 15 km north of the                     before vs. after dredging both adjacent to (20 m) and further away from
channel (Section 2.2), linear transformations using these regression                   (300 m) the channel.
models were made based on the proportion of days that a plume was                          Fitted values for declines in coral density (corals m−2) at 1 m in-
detected at a given pixel.                                                             tervals moving away from the channel in each monitoring region
                                                                                       (suﬃcient data available only for the IR and NOR) were multiplied by
2.7. Sediment depth                                                                    the total area of reef habitat at that distance within each region in order
                                                                                       to estimate the total number of corals lost due to dredging activity. Area
    Sediment depth was measured by DCA ~2 years after dredging                         was calculated in ArcGIS as the aggregate sum of coral reef and colo-
(between 2016-09-12 and 2017-05-30; Dial Cordy and Associates,                         nized hardbottom habitat using mapping data from (Walker, 2009).
2017) at 1 m intervals along two perpendicular 50 m transects centered
at increasing distances from the channel within the linear reef habitat                3. Results
(as deﬁned by Walker, 2009). The distribution of sediment depth
measurements was highly positively skewed, and therefore a quantile                    3.1. Sediment plume detection
regression approach was taken. For each transect (containing n = 51
measurements), quantiles were computed to reﬂect the depth of sedi-                        The frequency of sediment plume (e.g., Fig. 2A) detection by sa-
ment recorded in 1%, 10%, 25%, and 50% of measurements. These                          tellite was higher in the permanent monitoring areas closer to the
quantiles were then analyzed by linear regression with reef, direction,                channel (Fig. 3). In late 2013, after dredging commenced, plumes oc-
and log(distance from channel) as predictors.                                          curred with very high frequency (77–92% of days) near the channel on
                                                                                       the NR and IR, and were also frequent on the OR (58% of days), as well
2.8. Scleractinian abundance                                                           as all monitoring areas within 1.25–2 km (33–50% of days; Fig. 3). In
                                                                                       contrast, sediment plumes were detected on only 14–17% of days
    To detect changes in scleractinian abundance, we analyzed the                      during the same time period 9.4 km away. In 2014 through the end of
number of corals counted by DCA along belt transects at varying dis-                   dredging in 2015, sediment plumes were almost never detected (3–4%
tances from the channel before dredging (in 2010 and 2013; Dial Cordy                  of days) 9.4 km away, but still occurred with variable but high fre-
and Associates, 2014a, 2014b) and ~2 years after dredging (late 2016/                  quency at all intermediate distance monitoring areas (16–38% of days)
early 2017; Dial Cordy and Associates, 2017). In 2010 and 2016–17, all                 and channelside areas (53–65% of days; Fig. 3).
corals ≥1 cm were recorded, while in 2013 only corals ≥3 cm were
recorded. For some observations, diameter information was missing, so                  3.2. Sediment trap accumulation rates
we assumed these corals were ≥3 cm. Across all of these timepoints,
11,166 scleractinians were counted along 482 transects, comprising 33                      Fine sediment accumulation measured by sediment traps was
species, including ESA-listed A. cervicornis, M. ferox, O. annularis, O.               highest at locations near the channel, and in particular, on the NR and
faveolata, and O. franksi.                                                             IR (Fig. 4, 5). Fine sediment accumulation rates showed peaks in late
    We analyzed the density of ‘large’ (deﬁned as ≥3 cm) corals as a                   2013, spring 2014, and late 2014, and began to decline after dredging
function of distance from channel in each monitoring area using a                      ended (Fig. 4). The highest rates of ﬁne sediment accumulation were

                                                                                 


                                                                                                                                                       NMFS_00683
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 135 of 350
R. Cunning, et al.                                                                                                         0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 4. Accumulation rates of ﬁne sediment in sediment traps throughout the dredging project. Horizontal line segments indicate measured rates of ﬁne sediment
accumulation in each trap over each deployment period. Smooth lines are GAM ﬁts for each monitoring area ( ± 95% CI), colored according to distance from
channel. Vertical dotted lines indicate the beginning (2013-11-20) and end (2015-03-16) of dredging operations. The horizontal dashed line indicates a threshold of
25 mg cm−2 d−1; sediment deposition rates exceeding this threshold over 30 days may cause severe stress leading to mortality (Nelson et al., 2016).




Fig. 5. Total amount of ﬁne sediment accumulated in sediment traps in each monitoring area throughout dredging operations. Bars indicate the sum of ﬁtted daily
ﬁne sediment accumulation rates between 2013-11-20 and 2015-03-16 (Fig. 4) for each monitoring area ( ± 95% CI). Bars are colored corresponding to distance
from channel, and ‘n/a’ indicates areas that were not monitored.


recorded in late 2014 when the NIR channelside area received over                    peaking at 50–70% in late 2014. By contrast, areas located 9.4 km away
400 mg cm−2 d−1 on average, with one trap measuring 606 mg cm−2                      were typically < 25% sediment, and never exceeded 50%. Mean daily
d−1 over a 51-day period. During the same time period, traps 9.4 km                  percent sediment cover ( ± 1 s.d.) was 61.1 ± 16.0% near the channel,
away from the channel on the NIR measured 10 times less sediment                     35.8 ± 21.6% at intermediate distances, and 15.4 ± 8.5% at 9.4 km
(58.3 mg cm−2 d−1). The total ﬁne sediment accumulation over the                     away. Sediment cover over time was temporally correlated with sedi-
entire dredging project (Fig. 5) was highest at the NIR channelside area             ment trap accumulation rates for most areas (Fig. S2; median correla-
(830 kg m−2).                                                                        tion coeﬃcient = 0.51 with median lag time = 33 days), indicating
                                                                                     that sediment deposition drove the observed increases in sediment
                                                                                     cover.
3.3. Benthic sediment cover

    Sediment cover on the benthos (e.g., Fig. 2B) increased during                   3.4. Burial of corals
dredging, with channelside areas naturally low in sediment cover
(0–10%; IR and OR) becoming 50–90% covered in sediment for most of                      There was only one record of partial burial by sediment (out of 1211
the duration of dredging (Figs. 6, S1). Intermediate-distance monitoring             observations of tagged corals, 0.08%) prior to the start of dredging.
areas (1.25–2.5 km away) also experienced increases in sediment cover,               After dredging began, the probability of partial or complete coral burial

                                                                               


                                                                                                                                                     NMFS_00684
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 136 of 350
R. Cunning, et al.                                                                                                            0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 6. Percent sediment cover at each monitoring area during dredging operations. Points indicate the mean percent sediment cover for each transect measured by
CPCe analysis, and smooth lines show GAMM ﬁts for each monitoring area ( ± 95% CI). Fitted lines are colored by distance from channel. Vertical dotted lines
indicate the beginning (2013-11-20) and end (2015-03-16) of dredging operations.




Fig. 7. Probability of partial or complete coral burial by sediment in each monitoring area during dredging operations. Points indicate the proportion of living tagged
corals in each monitoring area observed on a given date as either partially or completely buried in sediment. Lines represent GAMM ﬁts for each monitoring area
( ± 95% CI) colored by distance from channel. Vertical dotted lines indicate the beginning (2013-11-20) and end (2015-03-16) of dredging operations.


(e.g., Fig. 2C, D) rose sharply in areas, ﬁrst on the NR in late 2013/early            total coral mortality were not necessarily known. To eliminate disease
2014, and then on the IR and OR in mid to late 2014 (Fig. 7). The                      as a possible cause of death and isolate total mortality due to sedi-
probability of partial or complete burial reached 57–76% at all                        mentation, we analyzed data from only those coral species not observed
northern channelside areas by late August/early September 2014. At                     with disease by DCA during the monitoring period. Among these non-
southern channelside areas, probabilities peaked at 44.5–52.7% on the                  disease-susceptible tagged corals, the probability of total mortality was
NR and IR, but reached only 18.3% on the OR. At all intermediate and                   36% on the NIR adjacent to the channel, but only 7% at a distance of
far distances, probabilities remained below 6%, with the exception of                  9.4 km (Fig. S4). Other monitoring regions also showed trends of higher
the NNR area (2.3 km away), which peaked at 31.2%.                                     partial and total mortality in areas closer to the channel. Mortality of
                                                                                       non-tagged corals is presented in Section 3.8.

3.5. Coral mortality
                                                                                       3.6. Correlations among metrics in permanent monitoring areas
    Partial mortality due to sedimentation (e.g., Fig. 2E) was frequently
observed for tagged corals, especially in channelside areas, where the                     Measured impacts of dredging were highly correlated across the 12
cumulative prevalence was 56.8–74.7% (except the SOR at 24.1%;                         monitoring areas (Fig. 9). Areas where sediment plumes were more
Fig. 8). In addition to partial mortality due to sedimentation, tagged                 frequently detected had higher rates of sediment trap accumulation,
corals also experienced total mortality (e.g., Fig. 2F), although causes of            higher proportions of the benthos covered in sediment, higher

                                                                                 


                                                                                                                                                        NMFS_00685
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 137 of 350
R. Cunning, et al.                                                                                                         0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 8. Coral partial mortality due to sedimentation in each monitoring area throughout dredging operations. Bars indicate the predicted probability ( ± 95% CI) of
tagged corals being observed with the condition code PM (partial mortality due to sedimentation) at any point through March 2015 (the ﬁnal month of dredging
operations). Bar colors correspond to distance from channel, and ‘n/a’ indicates areas that were not monitored.


probabilities of corals being partially or completely buried in sediment,            (0.2 and 1.2%) had signiﬁcantly higher sediment cover two years post-
and higher rates of coral partial mortality. Each of these metrics were              dredging (19.4 and 34.0%; fold-changes of 14 and 156), while a third
highly positively correlated with each other (R2 values between 0.51                 site located ~1 km away on the SIR had no change in sediment cover
and 0.90), and were statistically signiﬁcant (all p-values < 0.01).                  (21.8% to 21.5%).
    The frequency of sediment plume presence predicted an average of
62% of the spatial variability among all the other analyzed parameters,
including sediment trap accumulation (52%), mean benthic sediment                    3.8. Impacts to coral populations
cover (73%), mean probability of coral burial (65%), and cumulative
probability of partial mortality to corals (59%) across permanent                        Two years after dredging, the density of corals ≥3 cm at ~20 m
monitoring sites. Using this predictive power, we estimated the likely               from the channel was signiﬁcantly reduced in all reef areas (Fig. 12);
magnitude and extent of these impacts based on the occurrence of se-                 these reductions in coral density ranged from ~26–43% (SIR, SOR,
diment plumes in satellite imagery over each reef ranging from 15 km                 NIR) up to 50–64% (NNR, SNR, NOR). Where suﬃcient data exist,
south to 15 km north of the channel (Fig. 10). The frequency of sedi-                declines in coral density lessened moving away from the channel, such
ment plumes was ~55–70% near the channel, and decreased with                         that at 300 m away, changes in coral density were not statistically
distance from channel, with a skew toward higher frequency to the                    signiﬁcant (except for a marginally signiﬁcant (p < 0.1) decline of
north. Based on these data, probable dredging-related impacts within                 43% on the NOR).
2–3 km include a ~4- to 9-fold increase in ﬁne sediment input (an                        The density of small corals (1–2 cm diameter) near the channel was
additional ~200–500 kg/m2 depositing or moving through the system),                  even more reduced two years after dredging (Fig. 13). On the NIR, SIR,
a ~2- to 4-fold increase in benthic sediment (covering an additional                 and NOR, small corals declined by ~80% (NIR: 78.8%, p < 0.01; SIR:
15–40% of the reef, on average, for 16 months), and a ~5- to 12-fold                 80.1%, p < 0.1; NOR: 78.3%, but not signiﬁcant). At 300 m away from
increase in coral partial mortality (aﬀecting an additional ~20–55% of               the channel, small corals were still reduced by 72.3% on the NIR
corals; Fig. 10). Sediment plumes further predict a doubling in partial              (p < 0.1), and, though not signiﬁcant, were 67.3% lower on the SIR,
mortality out to ~5 km south and ~9 km north of the channel, and                     and 62.8% lower on the NOR. The same analyses were also repeated
some level of impact as far as ~10 km south and ~15 km north (the full               with only coral species that were not observed with disease to isolate
range of plume detection).                                                           dredging-related impacts; these analyses produced very similar results
                                                                                     (Figs. S6, S7). As additional evidence of the disproportionate loss of
3.7. Alteration of habitat 2 years post-dredging                                     small corals in these areas, size-frequency distributions of the coral
                                                                                     populations within 100 m of the channel showed a higher mean size of
    Two years after dredging, signiﬁcant portions of the benthos to the              corals after dredging at NIR (p < 0.0001), SIR (p < 0.0001), and SOR
north of the channel were found to be covered in deep sediment                       (p < 0.001) relative to before dredging (Fig. S8).
(Fig. 11). One quarter of the NOR near the channel was covered by                        By multiplying the declines in coral density by the total reef area in
10 cm or more of sediment, with pockets (~1% of the reef area) up to                 each region (where data exist, i.e., at three of six monitoring areas and
30 cm deep. One quarter of the NIR was under 3 cm or more of sedi-                   only out to 500 m), we estimate that over half a million corals were
ment, with pockets over 10 cm deep. Based on sediment depth data for                 killed during the dredging period (Table 1). In some cases, the distances
the NIR and NOR, the percent of area 20 m from the channel covered in                in Table 1 are less (192 m on the SIR and 349 m on the NIR) because
at least 1 cm of sediment was 47% and 55%, respectively, while at                    there was no estimated decline in density beyond that point (Fig. 11).
500 m, this decreased to 12% and 16%. While sediment depth data was                  The greatest losses (> 400,000 corals, ~71.5%) occurred in the small
not collected pre-dredging, three sites were surveyed for benthic sedi-              size class (< 3 cm) on the inner reef (Table 1).
ment cover both before dredging and again two years later (Fig. S5):
two channelside sites with very low sediment cover before dredging

                                                                               


                                                                                                                                                     NMFS_00686
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 138 of 350
R. Cunning, et al.                                                                                                               0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 9. Correlations among multiple metrics measured across monitoring areas. Points represent monitoring area (n = 12) colored by distance from channel
(green ≤ 50 m; blue = 1.25–2.5 km; red = 9.38 km). Metrics are as follows: Dredge plume = proportion of days dredge plume present (Fig. 3); Sed. accumula-
tion = total ﬁne sediment trap accumulation during project (kg m−2; Fig. 6); Benthic sed. = mean daily proportion benthic sediment cover during project (Fig. 5);
Coral burial = mean daily probability of coral burial during project (Fig. 7); Coral mort. = probability of partial mortality due to sedimentation among tagged corals
(Fig. 8). Metrics derives from time series (e.g., Benthic sed., Coral burial) only include dates for which data were available from all monitoring areas. Each panel
displays a linear regression and the proportion of variation in the response explained by the predictor (R-squared). (For interpretation of the references to color in this
ﬁgure legend, the reader is referred to the web version of this article.)


4. Discussion                                                                            exceeded, on average, 84.0% of the time at sites adjacent to the
                                                                                         channel, 66.7% of the time at intermediate distance sites (1.25–2.5 km),
4.1. Impacts from dredging at the Port of Miami                                          and 15.2% of the time at the farthest sites (9.4 km; Fig. 4).
                                                                                             As some of this sediment deposited on the benthos, reef habitat
    These analyses reveal signiﬁcant impacts of dredging-related sedi-                   initially low in sediment cover became 50–90% covered in sediment
mentation on corals and the quality and quantity of coral habitat sur-                   during dredging operations (Fig. 6). In addition to major impacts to
rounding the Port of Miami shipping channel. Sediment plumes were                        existing benthic organisms (discussed below), the consequences of reef
detected with high frequency within several kilometers to the north and                  habitat being mostly buried for ~16 months likely include a signiﬁcant
south of the channel (Figs. 3, 10), indicating that potential impacts from               reduction in larval recruitment. With at least two spawning and re-
dredging were widespread and sustained over the 16-month project                         cruitment cycles (2014 and 2015) potentially aﬀected by high sedi-
duration. Sediment trap data indicate that nearly ~830 kg of ﬁne se-                     mentation and suspended sediment, it is likely that area reefs experi-
diment per m2 were input to reef habitats near the channel (Fig. 5), and                 enced reduced fertilization, recruitment, and juvenile survivorship
that high sediment inputs occurred out to at least 2.5 km (Figs. 4, 5).                  (e.g., Babcock et al., 2002; Fabricius, 2005; Moeller et al., 2016;
Modeling work by Nelson et al. (2016) suggests that sedimentation                        Ricardo et al., 2015, 2016). Therefore, in addition to the eﬀects docu-
rates > 25 mg cm−2 d−1 for 30 days (i.e., 7.5 kg m−2 over a single 30-                   mented here, dredging likely had detrimental, but as-yet-unquantiﬁed,
day period) are likely to cause severe coral stress and mortality; over                  eﬀects on the ability of corals at these sites to undergo successful sexual
the 20 months of sediment trap monitoring, this threshold was                            reproduction. Indeed, elevated turbidity – even for a single month – has

                                                                                   


                                                                                                                                                           NMFS_00687
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 139 of 350
R. Cunning, et al.                                                                                                              0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 10. Predicted magnitude and extent of dredging impacts based on dredge plume occurrence. Lines indicate the frequency of dredge plume presence throughout
dredging operations based on satellite imagery along linear transects from 15 km north to 15 km south of the channel on the nearshore ridge, inner, and outer reefs.
Axes on the right show predicted impacts based on linear transformations of dredge plume presence according to the models in Fig. 9. Additional ticks are added to
transformed axes to indicate relative fold-changes (‘2×’, etc.) above baseline values in the absence of a plume. The baseline values at the bottom of the transformed
axes correspond to the y-intercepts of the regressions in Fig. 9, i.e., the level of impact expected with a sediment plume is entirely absent.


been found to reduce coral recruitment from 80% to 10% (Fourney and                      tissue biomass (Meesters et al., 1996), and in determining changes in
Figueiredo, 2017). Surveys conducted on aﬀected reefs near the Port of                   population-level parameters like fecundity (Denley and Metaxas, 2016).
Miami dredging in 2014 found no coral recruits due to ﬁne sediment                       Colonies are also less likely to recover from partial mortality in high
covering the benthos (Florida Department of Environmental Protection,                    sediment conditions (Meesters et al., 1992).
2014).                                                                                       Whole-colony mortality was assessed in multiple ways: by direct
    As the benthos became covered in sediment, corals were also buried.                  observations of tagged corals, and by changes in total coral density
By mid to late 2014, ~50–75% of tagged corals adjacent to the channel                    before and after dredging. However, unlike the other metrics analyzed
(except on the SOR) were partially or completely buried in sediment                      here, complete mortality has the potential to be confounded by regional
(Fig. 7). Consistent with these rates of burial, ~50–75% of tagged corals                bleaching and/or disease events that were occurring con-
adjacent to the channel (except the SOR) also suﬀered partial mortality                  temporaneously (Walton et al., 2018). Therefore, to distinguish dred-
due to sedimentation (Fig. 8). In populations of colonial organisms,                     ging impacts from these regional disturbances, we analyzed (1) spatial
partial mortality (e.g., of large colonies) is as important as whole-                    patterns in proximity to dredging, (2) impacts to coral species not af-
colony mortality (e.g., of small colonies) in driving changes in total                   fected by disease, and (3) impacts to coral size classes with varying




Fig. 11. Depth of sediment in relation to channel measured ~2 years after dredging operations. Dots represent individual sediment depth measurements along
transects, jittered around the distance from the center of the transect to the channel in each monitoring region. Lines represent quantile regressions across transects as
a function of log(distance from channel), indicating that at a given distance from the channel (on the x-axis), sediment with a particular minimum depth (on the y-
axis) covered X% of the reef (where X is the quantile of the regression, e.g. 1%, 10%, etc.).


                                                                                   


                                                                                                                                                          NMFS_00688
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 140 of 350
R. Cunning, et al.                                                                                                        0DULQH3ROOXWLRQ%XOOHWLQ  ²




Fig. 12. Density of corals ≥ 3 cm within 500 m from the channel in each monitoring region before and after dredging operations. Data ‘before’ dredging were
collected in 2009 and 2013, and data after dredging were collected in 2016–2017. GLMM ﬁts are shown as lines for the regions and times in which data were
collected at > 2 points beyond 50 m, and otherwise as points including only data from within 50 m of the channel. Shaded regions and error bars represent 95% CI's.
Text annotations indicate the results of tests for diﬀerences between timepoints at 20 m and 300 m from the channel (*** = p < 0.0001; ** = p < 0.001;
* = p < 0.01; . = p < 0.1; ns = not signiﬁcantly diﬀerent).


vulnerability to sediment burial. Among the tagged coral species not                 evidence that dredging, not disease, was the driving factor. Further-
aﬀected by disease during monitoring (Section 2.5), complete mortality               more, 1–2 cm corals, which could more easily be buried by sediment
was 5× higher near the channel (36%) compared to 9 km away (7%) on                   due to their small size, suﬀered disproportionate declines of up to 80%
the NIR (Fig. S4). Consistent with this high mortality near the channel,             (which were also more severe closer to the channel), again implicating
we also found 25–80% reductions in total coral density after dredging,               sediment burial as the cause. Finally, the observed declines in coral
and these declines lessened in severity moving away from the channel                 density around the Port of Miami far exceeded the regional estimate of
(Figs. 12, 13). This spatial pattern of coral loss suggests these impacts            11.6% decline (2013–2016) as a result of bleaching and disease
were caused directly by dredging or its interaction with other stressors             (Walton et al., 2018). This extensive coral mortality increased directly
(e.g., Bessell-Browne et al., 2017b), since bleaching or disease alone               with proximity to the channel, aﬀected even disease-resistant species,
would not be expected to cause more severe mortality closer to the                   and disproportionately impacted small corals. Taken together, these
channel. Even coral species never observed with disease, when ana-                   ﬁndings cannot be explained by regional bleaching or disease, and in-
lyzed separately, showed the same decline in density and relationship                stead indicate local disturbance in the channel as causing the majority
with distance from the channel (Figs. S6, S7), providing additional                  of coral loss. While in theory, some other unidentiﬁed factor associated




Fig. 13. Density of small corals (1–2 cm) within 500 m from the channel in each monitoring region before and after dredging operations. Data ‘before’ dredging were
collected in 2010, and data after dredging were collected in 2016–2017. GLMM ﬁts are shown as lines for the regions and times in which data were collected at > 2
points beyond 50 m. Shaded regions and error bars represent 95% CI's. Text annotations indicate the results of tests for diﬀerences between timepoints at 20 m and
300 m from the channel (*** = p < 0.0001; ** = p < 0.001; * = p < 0.01; . = p < 0.1; ns = not signiﬁcantly diﬀerent).


                                                                               


                                                                                                                                                    NMFS_00689
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 141 of 350
R. Cunning, et al.                                                                                                           0DULQH3ROOXWLRQ%XOOHWLQ  ²


Table 1                                                                                 original design of the monitoring program. Based on the occurrence of
Estimated coral loss two years after dredging within 500 m of the dredged               sediment plumes spanning ~25 km of the Florida Reef Tract to the
channel. Losses were estimated by multiplying declines in density per m2 (see           north and south of the channel (Fig. 10), we can predict that dredging
Figs. 12, 13) by the reef area in each region at increasing distance from the           operations input hundreds of kilograms of ﬁne sediment per m2 and
channel out to a maximum distance of 500 m (the extent of data collection), or
                                                                                        buried > 25% of the reef as far as 3 km away, doubled coral partial
the distance at which density estimates before and after dredging intersected
                                                                                        mortality from sediment 5–10 km away, and had potential impacts as
(whichever was lesser). Coral density data were only available for three of six
                                                                                        far as 15 km from the dredged channel.
reef regions. ‘Out to (m)’ and ‘From area (km2)’ indicate the distance from
channel, and total area, within which the estimate of coral loss took place.                Dredging-related impacts were not only widespread, but also long-
                                                                                        lasting, as indicated by sediment cover and depth measurements taken
  Direction     Reef    Size class   Corals lost   Out to (m)   From area (km2)
                                                                                        ~2 years after dredging. Although comparable sediment cover data
  Northern      Inner   < 3 cm       203,249       500          0.86                    prior to dredging exist for only three sites (making it diﬃcult to
  Northern      Inner   ≥3 cm        72,982        349          0.75                    quantify changes comprehensively), these data show that two years
  Southern      Inner   < 3 cm       197,917       500          1.51                    later, sediment cover was unchanged at one site 1.25 km away, but
  Southern      Inner   ≥3 cm        16,912        192          1.3                     remained elevated ten- to a hundred-fold at two sites near the channel
  Northern      Outer   < 3 cm       11,082        500          1.87
  Northern      Outer   ≥3 cm        58,636        500          1.87
                                                                                        (Fig. S5). Sediment depth was also not measured prior to dredging, but
  Total                              560,778                                            the very low sediment cover measured on the inner reef (0–1%; Fig. S5)
                                                                                        suggests that depths at these locations must have also been near zero.
                                                                                        Two years after dredging, > 1 cm of sediment covered ~50% of the NIR
with the channel could have produced this channel eﬀect, all lines of                   and NOR near the channel, but only ~12–16% of the reef 500 m away
evidence point to dredging activity as the direct cause.                                (Fig. 10); this spatial pattern suggests that the deeper sediment near the
    By multiplying the declines in coral density (where data exist) by                  channel resulted from dredging. These persistent sediment deposits are
the total area of coral habitat (Walker, 2009), these data indicate that at             particularly detrimental as these areas are designated as critical habitat
least half a million corals were lost within 500 m of the channel as a                  for threatened Acropora corals. Even a “thin veneer” of sediment may
result of dredging activities (Table 1). Moreover, this may be a con-                   impair settlement in some corals (Ricardo et al., 2017), and standing
servative estimate of total coral loss, because it only includes areas                  sediment deeper than 1 cm is considered to render an area non-func-
where suﬃcient data were collected (i.e., only three out of six reef                    tional as recruitable coral habitat (National Marine Fisheries Service,
regions, and only out to a distance of 500 m from the channel). Impacts                 2016). In the Acropora Recovery Plan, habitat of suitable quality is
likely occurred in the other three reef regions and at distances > 500 m,               deﬁned as hard substrate free of sediment cover as required for larval
as our analyses below indicate. Consequently, the actual amount of                      recruitment, with recruitment failure identiﬁed as a key conservation
coral lost as a result of dredging is likely to be much higher (millions of             challenge (National Marine Fisheries Service, 2015). Therefore, the
colonies).                                                                              impacts documented here represent a signiﬁcant and long-lasting loss of
    In addition to these signiﬁcant coral losses, surviving corals and                  living resources and critical habitat for these ESA-listed corals, as well
portions of coral colonies likely also suﬀered sublethal impacts in-                    as other reef species.
cluding growth reductions (conﬁrmed empirically by Miller et al.
(2016)), depletion of energy and lipid reserves, and decreased im-                      4.2. Recommendations for future dredging near coral reefs
munity associated with the physical challenges of sediment removal
and stress from the eutrophication, acidiﬁcation, and light attenuation                     These ﬁndings are particularly relevant in light of future dredging
caused by suspended sediment (Erftemeijer et al., 2012; Fourney and                     operations planned in the vicinity of coral reefs. Before the Port of
Figueiredo, 2017; Jones et al., 2015; Pollock et al., 2014; Riegl and                   Miami dredging project commenced, environmental assessments pre-
Branch, 1995). Corals in the vicinity of the plume or that suﬀered direct               dicted “temporary”, “localized”, and “insigniﬁcant” sedimentation im-
sedimentation also may have been more susceptible to the regional                       pacts to corals and coral habitat, stretching only as far as 150 m from
disease outbreak (Pollock et al., 2014; Stoddart et al., 2019; Voss and                 the channel (F(Florida Department of Environmental Protection, 2012;
Richardson, 2006), and this could be investigated directly in future                    National Marine Fisheries Service, 2011; U.S. Army Corps of Engineers,
research.                                                                               2004). Impacts were not expected to exceed the permitted 7.07 acres of
    Our combined analysis of a number of independent physical and                       coral habitat impact (by direct removal of habitat for channel expan-
biological metrics reveals highly signiﬁcant positive correlations be-                  sion; Florida Department of Environmental Protection, 2012). In con-
tween sediment plume presence, sediment trap accumulation, areal                        trast, we show sedimentation impacts were directly observed at least
sediment cover, coral burial, and coral partial mortality. This indicates               2.5 km from the channel (Figs. 3–8), with predicted impacts (based on
that, despite their independent nature, each of these metrics is a good                 sediment plume occurrence) as far as 10–       –15 km away (Fig. 10). The
                                                                                                                                    10–15
predictor of the others across the spatial extent of monitoring (Fig. 9).               impacts described here show that the project exceeded the pre-con-
Indeed, correlations between these metrics are not surprising, because                  struction predictions in terms of: (1) geographic area, by one to two
they reﬂect a causal sequence of events linking dredging activity to                    orders of magnitude; (2) severity, with hundreds of thousands to mil-
coral mortality, in which dredge plumes spread from the site of origin,                 lions of corals either partially or totally killed, including those listed as
sediment is deposited on the benthos, and this sediment buries and kills                threatened on the Endangered Species Act; and (3) permanence, lasting
corals. Nevertheless, explicitly quantifying these relationships is im-                 at least two years post-dredging. These impacts show that the measures
portant because we show that 62% of the variability in sediment im-                     put in place to ensure only temporary and insigniﬁcant impacts (Florida
pacts to reef corals and habitat measured in situ can be explained by the               Department of Environmental Protection, 2012; National Marine
occurrence of remotely-sensed sediment plumes. While this relationship                  Fisheries Service, 2011; U.S. Army Corps of Engineers, 2004) were in-
will vary from project to project, it suggests that when calibrated                     suﬃcient to protect corals and coral habitat.
against an appropriate set of in situ monitoring data (such as was done                     To avoid similar outcomes, future dredging projects should extend
here), the footprint and magnitude of impact of dredging operations can                 their predicted areas of impact and related monitoring and mitigation.
be estimated based on satellite observations.                                           For example, “intermediate” distance locations (1.25–2.5 km from the
    At the Port of Miami, we used the predictive power of these re-                     channel) were originally designed as “control” locations for near-
motely-sensed sediment plumes to extrapolate potential impacts be-                      channel sites (Florida Department of Environmental Protection, 2012),
yond the range of in situ data collection, greatly expanding our ability                but were located within the area of dredging impact. A lack of suﬃcient
to assess impacts over spatial scales that are much larger than the                     pre-dredging monitoring data also hinders an even more

                                                                                  


                                                                                                                                                       NMFS_00690
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 142 of 350
R. Cunning, et al.                                                                                                                0DULQH3ROOXWLRQ%XOOHWLQ  ²


comprehensive assessment of coral habitat impacts. While we did not                  regarding dredging at Port Everglades (Ft. Lauderdale, FL). Author R.
directly analyze turbidity measurements, turbidity limits established at             Silverstein is currently the Executive Director and Waterkeeper of
29 NTUs above background (Florida Department of Environmental                        Miami Waterkeeper.
Protection, 2012) were only reported to have been exceeded on very
few occasions, yet severe impacts to surrounding coral reefs still oc-               Appendix A. Supplementary information
curred. Based on these ﬁndings, we support Fourney and Figueiredo
(2017) in recommending a reduction of US-EPA allowable turbidity                         Supplementary data to this article can be found online at https://
from 29 NTU above background to < 7 NTU near coral reefs. We also                    doi.org/10.1016/j.marpolbul.2019.05.027.
echo other authors' recommendations of a moratorium on all sediment-
releasing activities before, during, and after coral spawning periods,               References
which also coincide with times of year when thermal stress is expected
to occur (Bessell-Browne et al., 2017a; Miller et al., 2016; Moeller et al.,         Abdel-Salam, H.A., Porter, J.W., 1988. Physiological eﬀects of sediment rejection on
2016).                                                                                   photosynthesis and respiration in three Caribbean reef corals. In: Proc 6th Intl Coral
                                                                                         Reef Symp 2, pp. 285–292.
    Coral reefs in Florida and elsewhere are under increasing threats                Ashe, A., 2018. Federal Deepening Funds Set US East Coast for Asia Import Gains. [WWW
from a range of global threats, particularly climate change, that are not                Document]. URL. https://www.joc.com/port-news/us-ports/east-coast-ports-hope-
easily within the scope of local management actions. Given these de-                     federal-funds-boost-asia-market-share_20180611.html, Accessed date: 26 November
                                                                                         2018.
clines, additional attention must be paid to protecting the corals that              Babcock, R., Davies, P., 1991. Eﬀects of sedimentation on settlement of Acropora mill-
remain and preventing avoidable impacts from human activities, such                      epora. Coral Reefs 9, 205–208.
as dredging that, unlike climate change, can be managed at the local                 Babcock, R., Smith, L., et al., 2002. Eﬀects of sedimentation on coral settlement and
                                                                                         survivorship. In: Proceedings of the Ninth International Coral Reef Symposium, Bali,
level.
                                                                                         23–27 October 2000, Citeseer, pp. 245–248.
                                                                                     Bak, R.P.M., 1978. Lethal and sublethal eﬀects of dredging on reef corals. Mar. Pollut.
5. Conclusions                                                                           Bull. 9, 14–16.
                                                                                     Barnes, B.B., Hu, C., Kovach, C., Silverstein, R.N., 2015. Sediment plumes induced by the
                                                                                         Port of Miami dredging: analysis and interpretation using Landsat and MODIS data.
    This report describes a spatially explicit statistical approach to es-               Remote Sens. Environ. 170, 328–339.
timate impacts to coral health and reef resources as a result of dredging            Bessell-Browne, P., Negri, A.P., Fisher, R., Clode, P.L., Duckworth, A., Jones, R., 2017a.
at the Port of Miami from 2013 to 2015. Multiple, independent data-                      Impacts of turbidity on corals: the relative importance of light limitation and sus-
                                                                                         pended sediments. Mar. Pollut. Bull. 117, 161–170.
sets, ranging from remotely-sensed dredge plumes to benthic sediment                 Bessell-Browne, P., Negri, A.P., Fisher, R., Clode, P.L., Jones, R., 2017b. Cumulative
cover to partial mortality of tagged corals, all show strong increases                   impacts: thermally bleached corals have reduced capacity to clear deposited sedi-
with proximity to the dredging site, and are also highly correlated with                 ment. Sci. Rep. 7, 2716.
                                                                                     Braley, O., Doyle, W.P., 2017. The Panama Canal Expansion Proves Real and Dredging
one another. Taken together, these approaches indicate that local                        Must Continue. Maritime Logistics Professional.
dredging-related sedimentation, not regional disturbances such as dis-               Cunning, R., 2019. Data for: Extensive coral mortality and critical habitat loss following
ease or bleaching, was the cause of these observed impacts. The ex-                      dredging and their association with remotely-sensed sediment plumes (Version v1.0)
                                                                                         [Data set]. Zenodo. http://doi.org/10.5281/zenodo.3065488.
tensive data collected by DCA allowed us to establish, for the ﬁrst time,            Denley, D., Metaxas, A., 2016. Quantifying mortality of modular organisms: a comparison
direct, quantitative links between remotely-sensed sediment plumes                       of partial and whole-colony mortality in a colonial bryozoan. Ecosphere 7, e01483.
and in situ benthic impacts, revealing potential eﬀects of the Port of               Dial Cordy and Associates, 2012. Miami Harbor Baseline Hardbottom Study Revised Final
                                                                                         (Prepared for the U.S. Army Corps of Engineers Jacksonville District).
Miami dredging along a 25 km segment of the northern Florida Reef                    Dial Cordy and Associates, 2014a. Quantitative Baseline for Middle and Outer Reef
Tract (from 10 km south of the channel to 15 km north). These dredging                   Benthic Communities (Prepared for Great Lakes Dredge and Dock, LLC), Miami
activities resulted in a 10- to 100-fold increase in sediment cover on                   Harbor Phase III Federal Channel Expansion Project Permit No. 0305721-001-BI.
                                                                                     Dial Cordy and Associates, 2014b. Quantitative Baseline for Hardbottom Benthic
nearby reefs, and a likely loss of over a million corals from aﬀected
                                                                                         Communities (Prepared for Great Lakes Dredge and Dock, LLC), Miami Harbor Phase
areas in the vicinity. The geographic scope, longevity, and severity of                  III Federal Channel Expansion Project Permit No. 0305721-001-BI.
these impacts far exceeded pre-dredging predictions, indicating a                    Dial Cordy and Associates, 2015a. Quantitative Post-construction Analysis for
pressing need to re-evaluate environmental thresholds, monitoring,                       Hardbottom Benthic Communities (Prepared for Great Lakes Dredge and Dock, LLC),
                                                                                         Miami Harbor Phase III Federal Channel Expansion Project Permit No. 0305721-
mitigation, adaptive management, and enforcement to avoid similar                        001-BI.
harm to corals and coral habitat as a result of dredging activities in the           Dial Cordy and Associates, 2015b. Quantitative Post-construction Analysis for Middle and
future.                                                                                  Outer Reef Benthic Communities (Prepared for Great Lakes Dredge and Dock, LLC),
                                                                                         Miami Harbor Phase III Federal Channel Expansion Project Permit No. 0305721-
                                                                                         001-BI.
Acknowledgments                                                                      Dial Cordy and Associates, 2017. Impact Assessment for Hardbottom Middle and Outer
                                                                                         Reef Benthic Communities at Cross Sites, Miami Harbor Phase III Federal Channel
                                                                                         Expansion Project Permit No. 0305721-001-BI.
    We thank A. Carter and M. Estevanez for support with GIS analysis.               Dodge, R.E., Rimas Vaisnys, J., 1977. Coral populations and growth patterns: responses to
C. Storlazzi provided helpful comments on the manuscript.                                sedimentation and turbidity associated with dredging. J. Mar. Res. 35, 715.
                                                                                     Duckworth, A., Giofre, N., Jones, R., 2017. Coral morphology and sedimentation. Mar.
                                                                                         Pollut. Bull. 125, 289–300.
Funding
                                                                                     Duclos, P.-A., Laﬁte, R., Le Bot, S., Rivoalen, E., Cuvilliez, A., 2013. Dynamics of turbid
                                                                                         plumes generated by marine aggregate dredging: an example of a macrotidal en-
   RC and AB were supported by funding to AB from NSF (OCE-                              vironment (the Bay of Seine, France). J. Coast. Res. 25–37.
                                                                                     Edmunds, P.J., Davies, P.S., 1989. An energy budget for Porites porites (Scleractinia),
1358699) and the University of Miami. RNS was supported by grants to
                                                                                         growing in a stressed environment. Coral Reefs 8, 37–43.
Miami Waterkeeper from Patagonia, the Waitt Foundation, and the                      Eggleton, J., Thomas, K.V., 2004. A review of factors aﬀecting the release and bioavail-
Curtis and Edith Munson Foundation. BBB was supported by NASA                            ability of contaminants during sediment disturbance events. Environ. Int. 30,
(NNX14AL98G, NNX14AK08G, 80NSSC18K0340).                                                 973–980.
                                                                                     Erftemeijer, P.L.A., Riegl, B., Hoeksema, B.W., Todd, P.A., 2012. Environmental impacts
                                                                                         of dredging and other sediment disturbances on corals: a review. Mar. Pollut. Bull.
Declaration of competing interest                                                        64, 1737–1765.
                                                                                     Fabricius, K.E., 2005. Eﬀects of terrestrial runoﬀ on the ecology of corals and coral reefs:
                                                                                         review and synthesis. Mar. Pollut. Bull. 50, 125–146.
     Miami Waterkeeper was a co-plaintiﬀ in an Endangered Species Act                Fisher, R., Stark, C., Ridd, P., Jones, R., 2015. Spatial patterns in water quality changes
litigation regarding impacts to coral reefs resulting from the 2013–15                   during dredging in tropical environments. PLoS One 10, e0143309.
dredging activities at the Port of Miami. This litigation concluded in               Flores, F., Hoogenboom, M.O., Smith, L.D., Cooper, T.F., Abrego, D., Negri, A.P., 2012.
                                                                                         Chronic exposure of corals to ﬁne sediments: lethal and sub-lethal impacts. PLoS One
August 2018. At time of submission (December 2018) Miami                                 7, e37795.
Waterkeeper is a co-plaintiﬀ in another environmental litigation

                                                                               


                                                                                                                                                              NMFS_00691
                     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 143 of 350
R. Cunning, et al.                                                                                                                                 0DULQH3ROOXWLRQ%XOOHWLQ  ²


Florida Department of Environmental Protection, 2012. Permit #0305721-001-BI.                             response to short-term sedimentation. J. Exp. Mar. Biol. Ecol. 287, 57–78.
    [WWW Document]. URL. ftp://ftp.dep.state.ﬂ.us/pub/ENV-PRMT/dade/issued/                           Piniak, G.A., 2007. Eﬀects of two sediment types on the ﬂuorescence yield of two
    0305721_Miami_Harbor_Phase_III_Federal_Dredging/001-BI/Final%20Order/Miami                            Hawaiian scleractinian corals. Mar. Environ. Res. 64, 456–468.
    %20Harbor%20Final%20Order%20052212.pdf.                                                           Pollock, F.J., Lamb, J.B., Field, S.N., Heron, S.F., Schaﬀelke, B., Shedrawi, G., Bourne,
Florida Department of Environmental Protection, 2014. Field Notes on Impact Assessment                    D.G., Willis, B.L., 2014. Sediment and turbidity associated with oﬀshore dredging
    in Miami Harbor Phase III Federal Channel Expansion Permit #0305721-001-BI.                           increase coral disease prevalence on nearby reefs. PLoS One 9, e102498.
Fourney, F., Figueiredo, J., 2017. Additive negative eﬀects of anthropogenic sedimenta-               Ricardo, G.F., Jones, R.J., Clode, P.L., Humanes, A., Negri, A.P., 2015. Suspended sedi-
    tion and warming on the survival of coral recruits. Sci. Rep. 7, 12380.                               ments limit coral sperm availability. Sci. Rep. 5 (18084).
Good, N. (Ed.), 11/2016. Ports and Harbors 61.                                                        Ricardo, G.F., Jones, R.J., Negri, A.P., Stocker, R., 2016. That sinking feeling: suspended
Hodgson, G., 1990. Tetracycline reduces sedimentation damage to corals. Mar. Biol. 104,                   sediments can prevent the ascent of coral egg bundles. Sci. Rep. 6, 21567.
    493–496.                                                                                          Ricardo, G.F., Jones, R.J., Nordborg, M., Negri, A.P., 2017. Settlement patterns of the
Humanes, A., Ricardo, G.F., Willis, B.L., Fabricius, K.E., Negri, A.P., 2017. Cumulative                  coral Acropora millepora on sediment-laden surfaces. Sci. Total Environ. 609,
    eﬀects of suspended sediments, organic nutrients and temperature stress on early life                 277–288.
    history stages of the coral Acropora tenuis. Sci. Rep. 7, 44101.                                  Riegl, B., 1995. Eﬀects of sand deposition on scleractinian and alcyonacean corals. Mar.
Jones, R.J., 2011. Spatial patterns of chemical contamination (metals, PAHs, PCBs,                        Biol. 121, 517–526.
    PCDDs/PCDFS) in sediments of a non-industrialized but densely populated coral                     Riegl, B., Branch, G.M., 1995. Eﬀects of sediment on the energy budgets of four scler-
    atoll/small island state (Bermuda). Mar. Pollut. Bull. 62, 1362–1376.                                 actinian (Bourne 1900) and ﬁve alcyonacean (Lamouroux 1816) corals. J. Exp. Mar.
Jones, R., Ricardo, G.F., Negri, A.P., 2015. Eﬀects of sediments on the reproductive cycle                Biol. Ecol. 186, 259–275.
    of corals. Mar. Pollut. Bull. 100, 13–33.                                                         Rogers, C.S., 1990. Responses of coral reefs and reef organisms to sedimentation. Mar.
Jones, R., Bessell-Browne, P., Fisher, R., Klonowski, W., Slivkoﬀ, M., 2016. Assessing the                Ecol. Prog. Ser. 62, 185–202.
    impacts of sediments from dredging on corals. Mar. Pollut. Bull. 102, 9–29.                       Saussaye, L., van Veen, E., Rollinson, G., Boutouil, M., Andersen, J., Coggan, J., 2017.
Junjie, R.K., Browne, N.K., Erftemeijer, P.L.A., Todd, P.A., 2014. Impacts of sediments on                Geotechnical and mineralogical characterisations of marine-dredged sediments be-
    coral energetics: partitioning the eﬀects of turbidity and settling particles. PLoS One               fore and after stabilisation to optimise their use as a road material. Environ. Technol.
    9, e107195.                                                                                           38, 3034–3046.
Kohler, K.E., Gill, S.M., 2006. Coral Point Count with Excel extensions (CPCe): a Visual              Sofonia, J.J., Anthony, K.R.N., 2008. High-sediment tolerance in the reef coral Turbinaria
    Basic program for the determination of coral and substrate coverage using random                      mesenterina from the inner Great Barrier Reef lagoon (Australia). Estuar. Coast. Shelf
    point count methodology. Comput. Geosci. 32, 1259–1269.                                               Sci. 78, 748–752.
Lasker, H.R., 1980. Sediment rejection by reef corals: the roles of behavior and mor-                 Staﬀord-Smith, M.G., Ormond, R.F.G., 1992. Sediment-rejection mechanisms of 42 spe-
    phology in Montastrea cavernosa (Linnaeus). J. Exp. Mar. Biol. Ecol. 47, 77–87.                       cies of Australian scleractinian corals. Aust. J. Mar. Freshwat. Res. 43, 683–705.
Lirman, D., Orlando, B., Maciá, S., Manzello, D.P., Kaufman, L., Biber, P., Jones, T., 2003.          Stoddart, J., Jones, R., Page, C., Marnane, M., De Lestang, P., Elsdon, T., 2019. No eﬀect
    Coral communities of Biscayne Bay, Florida and adjacent oﬀshore areas: diversity,                     of dredging on the prevalence of coral disease detected during a large dredging
    abundance, distribution, and environmental correlates. Aquat. Conserv. 13, 121–135.                   program. Mar. Pollut. Bull. 140, 353–363.
Marszalek, D.S., 1981. Impact of Dredging on a Subtropical Reef Community, Southeast                  Storlazzi, C.D., Field, M.E., Bothner, M.H., 2011. The use (and misuse) of sediment traps
    Florida, USA. 4. International Coral Reef Symposium, Manila.                                          in coral reef environments: theory, observations, and suggested protocols. Coral Reefs
McCarthy A. and Spring K., Memo to Chris Pomfret, Great Lakes Dredge and Dock Co., Re:                    30, 23–38.
    Final Report for the 30-Day Post-Relocation Monitoring Survey for Acropora cervi-                 Storlazzi, C.D., Norris, B.K., Rosenberger, K.J., 2015. The inﬂuence of grain size, grain
    cornis Associated with the Miami Harbor Construction Dredging (Phase 3) Project. 25                   color, and suspended-sediment concentration on light attenuation: why ﬁne-grained
    February 2014.                                                                                        terrestrial sediment is bad for coral reef ecosystems. Coral Reefs 34, 967–975.
Meesters, E.H., Bos, A., Gast, G.J., 1992. Eﬀects of sedimentation and lesion position on             Su, S.H., Pearlman, L.C., Rothrock, J.A., Iannuzzi, T.J., Finley, B.L., 2002. Potential long-
    coral tissue regeneration. In: Proc 7th Int Coral Reef Symp, pp. 681–688.                             term ecological impacts caused by disturbance of contaminated sediments: a case
Meesters, E.H., Wesseling, I., Bak, R.P.M., 1996. Partial mortality in three species of reef-             study. Environ. Manag. 29, 234–249.
    building corals and the relation with colony morphology. Bull. Mar. Sci. 58, 838–852.             Swart, P.K., 2016. Report on the Mineralogy and the Stable Carbon and Oxygen Isotopic
Miller, M.W., Karazsia, J., Groves, C.E., Griﬃn, S., Moore, T., Wilber, P., Gregg, K., 2016.              Composition of Samples Supplied by NOAA. University of Miami.
    Detecting sedimentation impacts to coral reefs resulting from dredging the Port of                Szmant-Froelich, A., Johnson, V., Hoehn, T., Battey, J., Smith, G.J., Fleischmann, E.,
    Miami, Florida USA. PeerJ 4, e2711.                                                                   Porter, J., Dallmeyer, D., 1981. The physiological eﬀects of oil drilling muds on the
Moeller, M., Nietzer, S., Schils, T., Schupp, P.J., 2016. Low sediment loads aﬀect survival               Caribbean coral Montastrea annularis. In: Proceedings of the 4th International Coral
    of coral recruits: the ﬁrst weeks are crucial. Coral Reefs 36, 39–49.                                 Reef Symposium, Manilla, pp. 163–168.
National Marine Fisheries Service, 2011. Endangered Species Act - Section 7 Consultation              Telesnicki, G.J., Goldberg, W.M., 1995. Eﬀects of Turbidiy on the Photosynthesis and
    Biological Opinion.                                                                                   Respiration of Two South Florida Reef Coral Species. Bull. Mar. Sci. 57, 527–539.
National Marine Fisheries Service, 2015. Recovery Plan for Elkhorn (Acropora palmata)                 U.S. Army Corps of Engineers, 2004. Final General Reevaluation Report and
    and Staghorn (A. cervicornis) Corals. Prepared by the Acropora Recovery Team for the                  Environmental Impact Statement. Jacksonville District.
    National Marine Fisheries Service, Silver Spring, Maryland.                                       Voss, J.D., Richardson, L.L., 2006. Coral diseases near Lee Stocking Island, Bahamas:
National Marine Fisheries Service, 2016. Examination of Sedimentation Impacts to Coral                    patterns and potential drivers. Dis. Aquat. Org. 69, 33–40.
    Reef Along the Port of Miami Entrance Channel, December 2015. Southeast Regional                  Walker, B.K., 2009. Benthic Habitat Mapping of Miami-Dade County: Visual
    Oﬃce, St. Petersburg, Florida.                                                                        Interpretation of LADS Bathymetry and Aerial Photography.
Nayar, S., Miller, D.J., Hunt, A., Goh, B.P.L., Chou, L.M., 2007. Environmental eﬀects of             Walton, C.J., Hayes, N.K., Gilliam, D.S., 2018. Impacts of a regional, multi-year, multi-
    dredging on sediment nutrients, carbon and granulometry in a tropical estuary.                        species coral disease outbreak in Southeast Florida. Front. Mar. Sci. 5, 323.
    Environ. Monit. Assess. 127, 1–13.                                                                Weber, M., Lott, C., Fabricius, K.E., 2006. Sedimentation stress in a scleractinian coral
Nelson, D.S., McManus, J., Richmond, R.H., King Jr., D.B., Gailani, J.Z., Lackey, T.C.,                   exposed to terrestrial and marine sediments with contrasting physical, organic and
    Bryant, D., 2016. Predicting dredging-associated eﬀects to coral reefs in Apra Harbor,                geochemical properties. J. Exp. Mar. Biol. Ecol. 336, 18–32.
    Guam - part 2: potential coral eﬀects. J. Environ. Manag. 168, 111–122.                           Weber, M., de Beer, D., Lott, C., Polerecky, L., Kohls, K., Abed, R.M.M., Ferdelman, T.G.,
NOAA Fisheries Service, 2017. Essential Fish Habitat - South Atlantic. [WWW                               Fabricius, K.E., 2012. Mechanisms of damage to corals exposed to sedimentation.
    Document]. URL. https://sero.nmfs.noaa.gov/habitat_conservation/documents/efh_                        Proc. Natl. Acad. Sci. 109, E1558–E1567.
    safmc_2017.pdf, Accessed date: 30 November 2018.                                                  Wentworth, C.K., 1922. A scale of grade and class terms for clastic sediments. J. Geol. 30,
Nugues, M.M., Roberts, C.M., 2003. Partial mortality in massive reef corals as an indicator               377–392.
    of sediment stress on coral reefs. Mar. Pollut. Bull. 46, 314–323.                                Whiteﬁeld, M., 2016. Panama Canal Expansion to Bring Beneﬁts to PortMiami - Slowly.
Ocean Disposal Database, 2016. Dredge Event Results for Miami ODMDS. [WWW                                 Miami Herald.
    Document]. URL. https://odd.el.erdc.dren.mil/ODMDSSearchSiteDisposalData.cfm?                     Wyss, J., Charles, J., Whiteﬁeld, M., 2012. Latin American Ports Ready for Panama Canal
    SiteID=30, Accessed date: 19 November 2018.                                                           Expansion. The Miami Herald.
Philipp, E., Fabricius, K.E., 2003. Photophysiological stress in scleractinian corals in




                                                                                                


                                                                                                                                                                                NMFS_00692
                        Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 144
                                                                        ǤǤ   of 
                                                                                    Ȁ 350 




                                  ơ 
                                       
                                       
Received: 16 May 2017
Accepted: 6 September 2017             
Published: xx xx xxxx
                                           Ƭ  

                                            
                                       Ǥ   ơ    
                                           Ǥ
                                         
                                        Ǥ  
                                        ǡ
                                       ơ  ȋ  Ȍ
                                         ǡPorites astreoidesǤ
                                       ȋ Ȍ ȋƤȌȋ Ȍǡ
                                       Ǥ  ǡ 
                                      Ǥ    
                                        ȋ͹ͶǤ −͸ȌǤ
                                       Ǧ͸Ϳ 
                                      ȋȌ ͽ    
                                       Ǥ


                                      Coral reefs are one of the most important and biologically diverse ecosystems on Earth. These habitats provide
                                      several essential ecosystem services and have significant economic value. Scleractinian corals construct the foun-
                                      dation of the reef by excreting calcium carbonate skeletons, and provide habitat, shelter, nursery areas, and/or
                                      food for thousands of plant and animal species1. Coral reefs are essential in sustaining the livelihood of many
                                      coastal communities through the supply of seafood (fisheries), raw materials for medicines, and income through
                                      tourism2. Reefs also provide important ecosystem services such as physical stabilization of the shoreline and con-
                                      trol of the carbon dioxide-calcium budget2.
                                          Corals face multiple natural stressors, but the worldwide population declines registered in the past decades are
                                      mostly due to anthropogenic impacts3–8. Natural stressors include predation, intra and interspecific competition
                                      for space, and severe storms. Corals co-evolved with predators and competitors, thus their coexistence should be
                                      ecologically stable. Likewise, severe storms physically destroy reefs, however corals evolved in the storm-prone
                                      tropics, and thus, in the absence of anthropogenic stressors, corals should be able to recover from these dis-
                                      turbances through natural processes9. Recovery after disturbances is dependent on the growth of the surviving
                                      coral population through asexual reproduction and/or recruitment through sexual reproduction. Successful coral
                                      recruitment requires larval availability, successful settlement, and post-settlement survival and growth10. The
                                      slow or lack of recovery after disturbances observed in some coral reefs in the past few decades11 indicates that
                                      these natural recovery processes have been undermined by anthropogenic impacts, such as nutrient8,12 and sedi-
                                      ment13,14 runoff from sewage and land development, and the loss of herbivores due to overfishing15 or die off from
                                      disease (e.g. sea urchin, Diadema antillarum)16. After a certain threshold, the combination of anthropogenic and
                                      natural stressors causes major phase shifts from coral-dominated reefs to less desirable states, such as macroalgae
                                      or sponge dominated reef ecosystems7,16,17.



                                      ǡ    ǡ ǡ ǡ͹͹ͶͶͺǡ
                                      USA. Correspondence and requests for materials should be addressed to J.F. (email: Ƥ̻Ǥ)


        SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                 1
                                                                                                                                            NMFS_00693
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                     Document 30-2 Filed 05/05/23 Page 145 of 350


                                   Dredging is particularly stressful for corals as it increases turbidity and sedimentation. Although sedimenta-
                              tion occurs naturally through wind-driven waves and tidal currents, dredging can increase the duration, sever-
                              ity, and frequency of the sedimentation18,19, with detrimental consequences for coral reefs14,20,21. Fine sediment
                              (<125 μm) have the most harmful effects on corals14,21. Natural sediment found on the reef usually has larger
                              grain sizes compared to anthropogenic sediment from construction activities. When turbidity is increased due
                              to the presence of fine particles in the water column, light availability is significantly reduced14. Higher levels of
                              turbidity negatively impact corals. Corals obtain much of their energy from endosymbiotic algae Symbiodinium.
                              Under low light conditions, Symbiodinium have lower capacity to photosynthesize and therefore provide less
                              energy to the coral host3,20,22. Landfills, beach re-nourishment, and coastal construction can also cause burial
                              and physical disturbance of corals14,18,21. Sedimentation can directly smother corals and block polyps, therefore
                              reducing active feeding mechanisms and depleting energy reserves14. In these situations, energy typically used
                              for growth and reproduction is allocated towards clearing sediments that have settled on top of the coral subse-
                              quently blocking polyp-feeding structures14, lowering calcification rates14,23 and reproductive output3,14,24.
                                   Global climate change has introduced additional stressors to coral reefs. Human activities have increased the
                              atmospheric concentrations of greenhouse gasses, such as carbon dioxide (CO2), methane (CH4), and nitrous
                              oxide (N2O), causing global temperatures to rise25. Climate change models predict that tropical sea surface tem-
                              peratures will rise up to 3 °C this century25. Increased seawater temperatures lead to coral bleaching26,27, i.e. cor-
                              als lose their endosymbiotic algae, Symbiodinium. These symbionts typically provide about 95% of the energy
                              for the coral7,28. In their absence, coral tissue growth, fecundity, calcification, and overall survival are severely
                              degraded27–29. Recent studies project coral bleaching will become an annual event within the next 25–50 years,
                              potentially hampering reef recovery and thus, causing exponential declines of coral populations and threatening
                              the persistence of entire reef ecosystems worldwide28.
                                   To maintain or increase current coral cover, anthropogenic stressors (including climate change) would have
                              to be reduced. Moderation and strict management of CO2 emissions and other greenhouse gases would need
                              to be implemented worldwide30; however, global consensus has been difficult to achieve. It may be possible that
                              some corals will be able to tolerate small increases in temperature or slightly more acidified waters, if their ability
                              to acquire energy is not hampered. Studies have shown that some species of coral and fish can buffer deleteri-
                              ous effects of ocean acidification and increased temperatures when additional energy resources (feeding) were
                              provided31,32.
                                   This study investigates if reducing sedimentation (and turbidity), a local anthropogenic stressor which ham-
                              pers considerably the ability of corals to acquire energy20, can facilitate coral survival under warmer conditions.
                              To fulfil this goal, we assessed the synergistic effect of sedimentation and elevated temperatures on the survival of
                              coral recruits. We used two types of sediment, natural (coarse) and dredging sediment (with a greater proportion
                              of fine particles, hereafter termed anthropogenic) and tested the effect of sediment concentration ranging from
                              naturally occurring in healthy coral reefs to near dredging operations, which lead to differing levels of turbidity.
                              We used temperatures that mimic the summer average temperature in northern section of the Florida Keys (in
                              years without coral bleaching) and elevated temperatures predicted by climate change models. These effects were
                              tested on coral recruits, since this is the most critical stage for coral recovery33 and thus should provide better
                              insight into coral persistence through ocean warming. The results of this study inform managers on critical levels
                              of sedimentation for the persistence of corals now and in the future.

                              
                              Coral recruit survival was always significantly lower at increased temperature (p < 2.2 × 10−16 and 5.8 × 10−5,
                              respectively for natural and anthropogenic sediment). The effect of sedimentation was dependent on sediment
                              type. An increase in natural sediment significantly increased survival of coral recruits (p = 2.2 × 10−13, Fig. 1,
                              Table 1), while an increase in anthropogenic sediment significantly reduced coral recruit survival (p = 0.000674,
                              Fig. 2, Table 2).
                                  With natural (coarse) sediment, the Porites astreoides recruits survived better at ambient temperatures and
                              higher natural (coarse) sedimentation. Increasing temperature to 30 °C reduced survival to levels similar to the
                              ones obtained at ambient temperature and lower natural (coarse) sedimentation (Fig. 1).
                                  Temperature and anthropogenic (fine) sedimentation additively affected the survival of P. astreoides recruits.
                              Increasing both temperature and anthropogenic sedimentation led to higher mortality than increasing just one
                              of the stressors, e.g., recruits reared at higher temperatures and anthropogenic sedimentation (30 °C and 60 mg.
                              cm−2) displayed significantly higher mortality than recruits reared at lower temperature and similar anthropo-
                              genic sedimentation (26 °C and 60 mg.cm−2) or recruits reared at similar temperature and lower anthropogenic
                              sedimentation (30 °C and 30 mg.cm−2) (Fig. 2).
                                  The negative impacts of higher temperatures can be ameliorated when anthropogenic sedimentation is kept
                              at lower concentrations. Survival of coral recruits is highest at 26 °C and lowest anthropogenic sediment concen-
                              tration (30 mg.cm−2). At higher temperature (30 °C) and lowest anthropogenic sediment concentration (30 mg.
                              cm−2), survival decreases to levels not significantly different from the ones obtained at ambient temperatures
                              (26 °C) and higher anthropogenic sediment concentrations (60, 90 or 120 mg.cm−2) (Fig. 2).

                               
                              The survival of Porites astreoides recruits under warm conditions can be ameliorated if anthropogenic sedimen-
                              tation and turbidity are kept at low levels. Higher temperatures naturally increased mortality of coral recruits.
                              The effect of sediment concentration on coral recruits seemed however dependent on the composition of the
                              sediment. High concentration of natural (coarse) sediment was not detrimental to coral recruits, but in fact
                              benefitted them. The opposite happened with anthropogenic (fine) sediment. Increasing amounts of anthropo-
                              genic sediment considerably increased turbidity and increased coral recruit mortality. While both temperature


SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                    2
                                                                                                                                      NMFS_00694
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                     Document 30-2 Filed 05/05/23 Page 146 of 350




                              Figure 1. Kaplan-Meier survival curves of recruits at all combinations of temperature and natural
                              sedimentation. Color represents different sediment levels. Smooth lines represent temperature 26 °C and dashed
                              lines represent 30 °C. Letters in the legend indicate homogeneous groups (i.e. treatments with non-significant
                              differences, with group a having the highest survival and d the lowest).


                                         26 °C                                                 30 °C
                               Time
                               (weeks)   30 mg.cm−2   60 mg.cm−2    90 mg.cm−2   120 mg.cm−2   30 mg.cm−2    60 mg.cm−2   90 mg.cm−2    120 mg.cm−2
                               1         70.3 ± 0.4   81.3 ± 0.3    79.2 ± 0.3   84.4 ± 0.3    63.0 ± 0.4    60.8 ± 0.4   70.4 ± 0.4    70.3 ± 0.4
                               2         52.0 ± 0.4   69.3 ± 0.4    73.4 ± 0.4   79.9 ± 0.3    51.9 ± 0.4    45.3 ± 0.4   59.2 ± 0.4    58.6 ± 0.4
                               3         41.9 ± 0.4   64.7 ± 0.4    65.5 ± 0.4   70.8 ± 0.4    26.7 ± 0.4    26.4 ± 0.4   41.6 ± 0.4    41.4 ± 0.4
                               4         27.0 ± 0.4   53.3 ± 0.4    51.9 ± 0.4   64.3 ± 0.4    14.1 ± 0.3    18.2 ± 0.3   24.7 ± 0.4    23.5 ± 0.4
                               5         18.2 ± 0.3   41.3 ± 0.4    44.2 ± 0.4   57.8 ± 0.4    5.9 ± 0.2     11.5 ± 0.3   19.7 ± 0.3    16.6 ± 0.3
                               6         8.8 ± 0.2    27.3 ± 0.4    39.0 ± 0.4   49.4 ± 0.4    3.0 ± 0.1     6.1 ± 0.2    11.3 ± 0.3    11.0 ± 0.3
                               7         4.1 ± 0.2    22.0 ± 0.3    35.7 ± 0.4   42.2 ± 0.4    1.5 ± 0.1     2.0 ± 0.1    5.6 ± 0.2     6.9 ± 0.2
                               8         3.4 ± 0.2    16.7 ± 0.3    30.5 ± 0.4   37.0 ± 0.4    0.7 ± 0.1     0.0 ± 0.0    4.2 ± 0.2     6.2 ± 0.2
                               9         2.0 ± 0.1    14.0 ± 0.3    25.3 ± 0.4   31.2 ± 0.4    0.7 ± 0.1     0.0 ± 0.0    2.1 ± 0.1     4.8 ± 0.2
                               10        2.0 ± 0.1    14.0 ± 0.3    24.0 ± 0.3   26.0 ± 0.4    0.7 ± 0.1     0.0 ± 0.0    2.1 ± 0.1     2.8 ± 0.1
                               11        1.4 ± 0.1    8.7 ± 0.2     20.8 ± 0.3   20.1 ± 0.3    0.0 ± 0.0     0.0 ± 0.0    1.4 ± 0.1     1.4 ± 0.1
                               12        0.0 ± 0.0    0.7 ± 0.2     18.2 ± 0.3   16.9 ± 0.3    0.0 ± 0.0     0.0 ± 0.0    1.4 ± 0.1     0.7 ± 0.1

                              Table 1. Percent survival (±S.E.) over time for all combinations of temperature and deposited sediment
                              concentration using natural sediment.



                              and anthropogenic sediment negatively impacted coral recruits, the exclusion of one of the stressors allowed
                              coral recruits to cope better with the other stressor. Importantly, corals under warm conditions (30 °C) but low
                              anthropogenic sedimentation (30 mg.cm−2, 6.55 NTU) survived similarly to coral recruits kept at current spring
                              temperatures (26 °C) and higher anthropogenic sedimentation (≥60 mg.cm−2, ≥14.2 NTU).
                                  Natural sediment aided the survival of corals recruits. The grain size of natural/reef sediment is coarse. Large
                              grain sediment settled quickly and thus, turbidity remained very low (≤1 NTU, Table 1), as is typical on undis-
                              turbed reefs23. Instead of detrimental, the coarse sediment settled on top of the coral recruits (completely cover-
                              ing them at highest sediment concentrations) reduced their mortality, likely due to conferring protection from
                              excessive light. This study used a level of light irradiance that mimicked natural conditions on the reef (~240 μmol
                              photons.m−2 s−2), which is ideal for adult corals. However, the ideal light irradiance for adult corals is often del-
                              eterious for newly settled corals29. This is not surprising considering the well-known preference of coral larvae
                              to settle on crevices and the downward face of settlement tiles, where they are shaded34,35. The reasons for this
                              remain to be understood, but it is possible that at this early stage of development, corals still have relatively small
                              feeding structures and thus cannot provide enough substrate for Symbiodinium to perform photosynthesis, lead-
                              ing either to a depletion of their energy reserves (Symbiodinium burden hypothesis) or oxidative stress, similar
                              to the one caused by increased temperatures29,36. Natural sediment provides cryptic covering from excessive light
                              due to its coarser grain sizes, while still allowing water to flow around the coral recruit and therefore does not
                              limit the availability of oxygen14 nor access to food. Previous experiments testing the effect of sedimentation on
                              coral recruits in a shallow area assumed that the higher survival of coral juveniles placed in tiles facing downward
                              (vs. vertical and upward) was reflective of lower exposure to sedimentation, and overlooked the reduced light


SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                       3
                                                                                                                                       NMFS_00695
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                     Document 30-2 Filed 05/05/23 Page 147 of 350




                              Figure 2. Kaplan-Meier survival curves of recruits at all combinations of temperature and anthropogenic
                              sedimentation. Color represents different sediment level. Smooth lines represent temperature 26 °C and dashed
                              lines represent 30 °C. Letters in the legend indicate homogeneous groups (i.e. treatments with non-significant
                              differences, with group a having the highest survival and d the lowest).


                                         26 °C                                                  30 °C
                               Time
                               (weeks)   30 mg.cm−2   60 mg.cm−2    90 mg.cm−2    120 mg.cm−2   30 mg.cm−2   60 mg.cm−2    90 mg.cm−2   120 mg.cm−2
                               1         90.0 ± 0.9   90.0 ± 0.9    70.0 ± 1.5    60.0 ± 1.5    88.9 ± 1.1   40.0 ± 1.5    60.0 ± 1.6   45.5 ± 1.5
                               2         90.0 ± 0.9   80.0 ± 1.3    60.0 ± 1.6    60.0 ± 1.5    88.9 ± 1.1   10.0 ± 0.9    0.0 ± 0.0    0.0 ± 0.0
                               3         80.0 ± 1.3   10.0 ± 0.9    60.0 ± 1.6    60.0 ± 1.5    55.6 ± 1.7   10.0 ± 0.9    0.0 ± 0.0    0.0 ± 0.0
                               4         80.0 ± 1.3   0.0 ± 0.0     20.0 ± 1.3    10.0 ± 0.9    0.0 ± 0.0    0.0 ± 0.0     0.0 ± 0.0    0.0 ± 0.0
                               5         70.0 ± 1.4   0.0 ± 0.0     20.0 ± 1.3    0.0 ± 0.0     0.0 ± 0.0    0.0 ± 0.0     0.0 ± 0.0    0.0 ± 0.0

                              Table 2. Percent survival (±S.E.) over time for all combinations of temperature and deposited sediment
                              concentration using anthropogenic sediment.



                              exposure as a possible explanation for the higher survival37,38. The observation that corals tend to successfully
                              recruit facing downwards in shallow water, vertically at intermediate depths and facing upwards at greater depths
                              in both the Caribbean39 and Pacific38 is also supportive of the hypothesis that light is deleterious during early
                              development. Therefore, we conclude that, within the range tested, natural/coarse sediment is not deleterious for
                              corals.
                                  In contrast to natural sediment, anthropogenic sediment hindered the survival of coral recruits.
                              Anthropogenic sediment arising from dredging, construction, and development activities is mostly small grained
                              (<180 μm), and often contains silt (<63 μm) and contaminants14,19. Small-grained particles become easily sus-
                              pended in the water column, increasing turbidity and therefore corals’ access to light (Table 1). A decreased access
                              to light is problematic for adult corals because it reduces the capacity of the symbiotic algae Symbiodinium to pho-
                              tosynthesize and thus feed the coral14,23. For coral recruits, an increase in turbidity may actually offer protection
                              from excessive light. Regardless, high levels of turbidity are indicative that the type of sediment that is covering
                              the corals is deleterious. Fine sediment (silt) can smother corals, particularly coral recruits, because it damages
                              the coral tissue and reduces the access to oxygen creating anoxic conditions that suffocate them and facilitate
                              the development of active bacterial community, which can further harm them14,40. For example, we found that,
                              at current temperatures, increasing turbidity from 4.62 to >14.2 NTUs leads to a 50% drop in the survival of P.
                              astreoides recruits in the first month (Fig. 2).
                                  The increase of sediment concentration on coral recruit survival had opposing effects in the two experiments
                              and is expected to be due to sediment type (natural vs. anthropogenic, as intended), not recruit age. The coral
                              recruits used in both experiments were in the same developmental stage (one-polyp), but had different ages
                              (1 and 5 months, respectively). Due to the age difference, the effect of sediment type on coral recruit survival
                              could not be statistically tested. However, considering that fine sediments have been repeatedly shown to be more
                              harmful to corals than coarse sediment40,41, and that corals have a strong age- and size-dependent mortality, with
                              younger individuals being more sensitive to stress42–44, we argue that the differences are due solely to sediment
                              type. Since we tested the natural (theoretically, less harmful) sediment first, i.e. on the younger individuals, if any-
                              thing, the differences found in the effect of sediment concentration on recruit survival between the two sediment
                              types may be underestimated.
                                  Increasing temperature by 4 °C led to a >20% drop in the survival of P. astreoides recruits, and when this was
                              coupled with excessive anthropogenic sedimentation the negative effects were intensified. It is well known that


SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                       4
                                                                                                                                        NMFS_00696
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                     Document 30-2 Filed 05/05/23 Page 148 of 350


                              increased temperatures cause coral mortality26,27,45–47. Corals evolved in a relatively stable thermal environment7
                              and thus can only persist within a relatively narrow temperature range27,48. Exposure to warmer temperatures
                              increases oxidative stress in corals36 and causes the breakdown of the coral-algae symbiosis29. Higher temper-
                              atures also accelerate the metabolic rate of animals and thus lead to a faster consumption of energy reserves35,
                              heightening mortality. Increasing temperature (4 °C) caused a drop in survival similar to increasing anthropo-
                              genic sedimentation (Fig. 2); when both stressors are present, coral recruits displayed even higher mortality,
                              which indicates that these stressors have an additive effect.
                                  The results of this study indicate that to properly understand and ultimately, regulate the deleterious effects
                              of sedimentation, both deposited sediment concentration sedimentation and turbidity need to be monitored.
                              Deposited sediment concentration alone is not a good indicator of impact on the coral, since whether the sedi-
                              mentation effect is positive or deleterious seems to be dependent on the grain size of the sediment. Additionally,
                              the levels of turbidity directly reflect the type of sediment that is covering the coral. When turbidity is high, it
                              means that the sediment settled on top of the coral is fine grained and thus highly deleterious for coral recruits14.
                                  From a management perspective, this study suggests that the maximum allowable turbidity in coral reefs
                              during short-term construction and nourishment events should be less than 7 NTU. Currently, the United States
                              Environmental Protection Agency regulates water turbidity for Florida coastal waters not to exceed 29 NTU
                              (Nephelometric Turbidity Units) above background, during construction and nourishment operations49, regard-
                              less of the duration of the event. The results of this and many other studies14,22,45 indicate that these limits are
                              extremely high for coral reefs. After four weeks of exposure to low turbidity (<7 NTU), 80% of P. astreoides
                              recruits remained alive; exposure to turbidity levels above 29 NTU led survival to drop to 10%. The coastline
                              of Florida is composed of different types of ecosystems, such as mangroves, seagrass beds, oyster reefs, salt-
                              marshes, and coral reefs, with different sensitivities and resilience to fine sedimentation and turbidity. Therefore,
                              establishing ecosystem-specific limits may prove to be a more effective way to protect natural resources which
                              are invaluable for the local fishing and tourism industries. Recently, the dredging of the Miami Port and beach
                              re-nourishment projects in South Florida have negatively impacted hundreds of acres of coral reefs18,50. Our
                              results suggest that coral recruits were also likely negatively affected by the port dredging, undermining the recov-
                              ery of the coral population4,10. A reduction of sedimentation in coastal areas should positively contribute to the
                              replenishment of local coral populations after natural and human-induced global disturbances, such as severe
                              storms and bleaching events.
                                  Reef managers could increase coral reef resilience to ocean warming by decreasing local levels of anthro-
                              pogenic sedimentation and turbidity. Corals are very sensitive to warming, but a worldwide concerted action
                              to reduce greenhouse gas emissions is out of the sphere of action of local managers. However, coral resilience
                              to this global stressor could be boosted by reducing the magnitude of local anthropogenic stressors that limit
                              energy acquisition in corals, particularly when their effects are additive or synergistic. The survival of P. astreoides
                              recruits under warm temperatures was maximized at the lowest anthropogenic sedimentation tested (30 mg.cm−2
                              deposited sediment, 6.55 NTU, Table 1), and is similar to the survival registered by recruits kept at current tem-
                              perature (26 °C) and higher anthropogenic sedimentation (≥60 mg.cm−2, ≥14.2 NTU). This suggests that, if
                              sedimentation is limited to lower levels (30 mg.cm−2, <7 NTU), coral resilience to ocean warming is maximized.
                              Furthermore, the additive effect of sedimentation and warming also indicate that, when unavoidable, dredging
                              and costal construction should be restricted to cooler times of the year. This would minimize the deleterious
                              additive effects of sedimentation and temperature which are more harmful to coral recruits.

                              
                               ǡǤ The scleractinian coral species Porites astre-
                              oides is a brooding species (i.e. releases fully developed competent planulae)51 abundant in South Florida and the
                              Caribbean at depths of 3–20 m. Its shallow occurrence makes it vulnerable to bleaching and coastal construction27.
                              Four days prior to the new moon in April 2015, eighteen adult colonies with less than 20 cm diameter were col-
                              lected from two artificial patch reefs (24°44.004′ N, 80°49.577′ W and 24°43.908′ N, 80°49.634W) off Layton, in
                              the Florida Keys (ambient seawater temperature was 26 °C, and light irradiance was ~220 μmol.m−2 s−1 at noon,
                              measured using a Li-Cor Li250A with an Underwater Quantum Sensor LI-192). Colonies were transferred to
                              NSU’s facilities and placed into individual 2 L plastic bowls within a recirculating 2000L outdoor tank, and sup-
                              plied with filtered seawater at an average rate of ~ 1.3 L.min−1. Temperature and light intensity were set to mimic
                              conditions in nature, using shade cloths and a combination of heaters and chiller. Planulae were collected using
                              a manifold system with rubber tubing that directed water into the bowl. The water flow transported the planulae
                              from bowl into the PVC cups fitted with plankton mesh (100 μm) at the bottom. Every morning, the cups were
                              examined for planulae. Larval release started on the day after collection and the peak release (~5,000 planulae)
                              occurred two days before the new moon; the number of larvae released decreased gradually until two days after
                              the new moon. Every day, the planulae were pooled to mimic natural production in nature, transferred to 100 L
                              tanks equipped with air pumps, kept at 26 °C and containing ca. 50–100 pre-conditioned settlement tiles (ceramic
                              tiles with 2.5 cm diameter and 0.5 cm height kept in the reef in Broward County, FL at 8 m depth for 2 months
                              to be colonized by bacteria and crustose coralline algae that induce larval settlement). The tiles were inspected
                              every 8 h for planulae settlement, for a maximum of 24 h. Once larvae had settled and metamorphosed, tiles with
                              newly settled recruits were photographed to track juvenile placement. In order to eliminate potential intraspecific
                              effects, when corals settled in group, only one was retained for the experiment (the other(s) were eliminated).
                              Because the quality of the larvae of brooding species can vary over time52, each day’s batch of newly settled
                              recruits was randomly divided in equal numbers by all treatments, at a maximum of 50 recruits per treatment
                              per day (i.e. all treatments have equal proportions of larvae that settled in each day). The remaining coral recruits
                              were kept in a 2000L outdoor recirculating tank at ambient conditions (26 °C and ~220 μmol photons.m−2 s−1 at
                              noon) and used later on in the second experiment.


SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                     5
                                                                                                                                       NMFS_00697
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                        Document 30-2 Filed 05/05/23 Page 149 of 350


                                                         Natural sediment                      Anthropogenic sediment
                               Deposited sediment                           Irradiance (μmol                     Irradiance (μmol
                               concentration (mg cm−2)   Turbidity (NTU)    photons m−2 s−1)   Turbidity (NTU)   photons m−2 s−1)
                               30                        0.07–0.09          240                4.62–6.55         160
                               60                        0.18–0.25          175                14.2–15.0         81
                               90                        0.47–0.97          145                24.8–33.3         40
                               120                       0.94–1.01          130                37.5–42.3         16

                              Table 3. Average turbidity and irradiance under different levels of sedimentation (deposited sediment) with
                              natural and anthropogenic sediment.



                                  To test the effects of sedimentation and temperature on the survival of coral recruits, we used a fully crossed exper-
                              imental design with two temperatures, 26 °C (Spring ambient in the Florida Keys) and 30 °C (projected for 210025)
                              and four sediment concentrations, 30, 60, 90, 120 mg cm−2 of deposited sediment (to mimic natural to dredging
                              levels19). Note that these sedimentation levels do not necessary reflect how much sediment was placed in each
                              tank but the amount that deposited after one day (sediment was just added on the first day; one day was sufficient
                              to cause the heaviest sediment to settle, finer sediment remained suspended due to water flow; turbidity and set-
                              tled sediment were relatively constant afterwards). Each treatment was split between two 20 L tanks. The sediment
                              was dried at 70 °C and its composition was assessed according to the Udden-Wentworth US standard classifica-
                              tion scale53 prior to the experiments. Chemical analysis to the sediment were performed by Florida-Spectrum
                              Environmental Services, Inc. Turbidity within each tank was measured in Nephelometric Turbidity Units (NTUs)
                              using a LaMotte 2020we Turbidity Meter. The recruit tanks were equipped with two ReSun SP-800 Submersible
                              Aquarium pumps (flow 250 L/h) to allow oxygenation and sediment resuspension, and were individually heated
                              using temperature-regulated, programmable Aqueon Submersible Aquarium 300 W digital heaters (±0.5 °C).
                              Temperature was monitored daily using a YSI (±0.1 °C) and was always within 0.5 °C of the desired temperature.
                              All tanks had a 12:12 h light:dark photoperiod with Aqua Illumination Sol LED lights, with gradual increase until
                              reaching ~230 μmol photons.m−2 s−1 between 09:00 and 14:00. Salinity was measured daily using a refractometer,
                              and corrected with RO freshwater whenever it increased above 35. Water quality was controlled and 100% water
                              changes were performed weekly. All individual coral recruits were monitored weekly for survival.
                                  The first experiment was conducted using reef sediment (hereafter termed natural) and 1,503 newly settled
                              coral recruits (ca. 188/treatment, one-polyp stage: 357–1405 μm diameter), and ran over three months, from
                              April to July 2015. The natural sediment was collected from the upper 10–30 cm of sand near the adult colonies
                              in the Florida Keys, and was composed by mid to large grain sizes (5% >2000 μm, 65% 500–2000 μm, and 30%
                              180–500 μm), and had no silt (<63 μm). After dried at 70 °C, this sediment contained a few volatile organic com-
                              pounds (0.0462 mg/kg of 1,1,1,2-Tetrachloroethane and 0.0554 mg/kg of 1,1,1 – Trichloroethane) and metals
                              (150 mg/kg of lead and 17.4 mg/kg of Zinc). With the natural sediment, turbidity levels were 0.07 to 1.01 NTU,
                              and irradiance varied from 240 to 130 μmol photons.m−2 s−1 (at noon) from the lower to the highest sedimenta-
                              tion treatment, respectively (Table 3).
                                  The second experiment used anthropogenic sediment and eighty 5 month old coral recruits (10/treatment,
                              all still in the one-polyp stage: 806–2176 μm diameter), and ran over a period of one month, from September to
                              October 2015. The sediment was collected from the upper 10–30 cm surface near the entrance of Port Everglades
                              (hereafter termed ‘anthropogenic’ sediment) to mimic grain size composition more often found in dredging areas
                              including ports, boat basins, and developed areas. This sediment was composed by smaller grain sizes (35%
                              180–500 μm, 45% 63–180 μm, and 20% <63 μm) and contained volatile organic compounds (0.0100 mg/kg of
                              1,1,1,2-Tetrachloroethane and 0.0119 mg/kg 1,1,1-Trichloroethan), metals (9.12 mg/kg of Lead and 68.9 mg/
                              kg of Zinc) and several polycyclic aromatic hydrocarbons (PAHs) (0.00471 mg/kg Acenaphthene, 0.0115 mg/kg
                              Anthracene, 0.0779 mg/kg Benzo (a) anthracene, 0.0669 mg/kg Benzo (a) pyrene, 0.124 mg/kg Benzo (b) fluoran-
                              thene, 0.0793 mg/kg Benzo (g,h,i) perylene, 0.0551 mg/kg Benzo (k) fluoranthene, 0.0826 mg/kg Chrysene,
                              0.0237 mg/kg Diberit (a,h) anthracene, 0.146 m/kg Flouranthene, 0.0663 mg/kg Indenol (1,2,3,cd) pyrene,
                              0.00478 mg/kg Naphthalene, 0.0224 mg/kg Phenanthrene, and 0.134 mg/kg Pyrene). With the anthropogenic
                              sediment, turbidity levels varied from 4.6 to 42.3 NTU, and irradiance varied from 160 to 16 μmol photons.
                              m−2 s−1 (at noon) from the lower to the highest sedimentation, respectively (Table 3). Since this experiment was
                              only planned after the results of the first experiment were obtained, it was impossible to use recruits of the same
                              age (although they were all in the dame developmental stage: one-polyp) and equal number of replicates, thus the
                              experiments were analyzed separately and results were not statistically compared.

                              Ǥ For each experiment, we used survival analysis to test the synergistic effect of temperature
                              and sedimentation on the survival of P. astreoides recruits. Specifically, we used the Kaplan-Meier estimator to
                              describe the survival curves, and a Cox model to assess the effects of temperature and sedimentation coral recruit
                              survival. To determine if the survival of coral recruits reared in warmer conditions could be ameliorated under
                              lower sedimentation, we did pairwise comparisons of the survival curves using Mantel-Haenszel (log-rank) tests.
                              Since the second experiment was only planned after the results of the first experiment were obtained, the experi-
                              ments were analyzed separately and results were not directly compared, i.e. in each experiment we could only test
                              the effects of different degrees of sedimentation on survival, but the data of the two experiments was not com-
                              bined to test the effect of sedimentation type (natural vs. anthropogenic) on recruit survival. The survival analysis
                              was conducted in Software R, version 3.2.1 using package “survival”54.


SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                       6
                                                                                                                                         NMFS_00698
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                          Document 30-2 Filed 05/05/23 Page 150 of 350


                              Ǥ The datasets generated during the current study are available in dryad.org reposi-
                              tory: http://doi.org/10.5061/dryad.4t85s.

                               
                               1. Reaka-Kudla, M. L. The Global Biodiversity of Coral Reefs: A Comparison with Rain Forests In Biodiversity II: Understanding and
                                  Protecting Our Biological Resources (eds Reaka-Kudla, M. L., Wilson, D. E. & Wilson, E. O.) 83–108 (Joseph Henry Press,
                                  Washington, DC, 1997).
                               2. Moberg, F. & Folke, C. Ecological goods and services of coral reef ecosystems. Ecol Econ. 29, 215–233 (1999).
                               3. Richmond, R. H. Coral Reefs: Present Problems and Future Concerns Resulting from Anthropogenic Disturbance. Am. Zool. 33,
                                  524–536 (1993).
                               4. Gardner, T. A., Côté, I. M., Gill, J. A., Grant, A. & Watkinson, A. R. Long-term region-wide declines in Caribbean corals. Science 301,
                                  958–960 (2003).
                               5. Pandolfi, J. M. et al. Global trajectories of the long-term decline of coral reef ecosystems. Science 301, 955–958 (2003).
                               6. Bellwood, D. R., Hughes, T. P., Folke, C. & Nyström, M. Confronting the coral reef crisis. Nature 429, 827–833 (2004).
                               7. Hoegh-Guldberg, O. et al. Coral reefs under rapidclimate change and ocean acidification. Science 318, 1737–1742 (2007).
                               8. De’ath, G., Fabricius, K. E., Sweatman, H. & Puotinen, M. The 27–year decline of coral cover on the Great Barrier Reef and its causes.
                                  Proc. Nat. Acad. Sci 109, 17995–17999 (2012).
                               9. Gilmour, J. P., Smith, L. D., Heyward, A. J., Baird, A. H. & Pratchett, M. S. Recovery of an isolated coral reef system following severe
                                  disturbance. Science 340, 69–71 (2013).
                              10. Ritson-Williams, R. et al. New perspectives on ecological mechanisms affecting coral recruitment on reefs. Smiths. Cont. Mar. Sci.
                                  437–457 (2009).
                              11. Graham, N. A. J., Nash, K. L. & Kool, J. T. Coral reef recovery dynamics in a changing world. Coral Reefs 30, 283–294 (2011).
                              12. Zaneveld, J. R. et al. Overfishing and nutrient pollution interact with temperature to disrupt coral reefs down to microbial scales.
                                  Nat. Comm (2016).
                              13. McCulloch, M. et al. Coral record of increased sediment flux to the inner Great Barrier Reef since European settlement. Nature 421,
                                  727–730 (2003).
                              14. Erftemeijer, P. L. A., Riegl, B., Hoeksema, B. W. & Todd, P. A. Environmental impacts of dredging and other sediment disturbances
                                  on corals: A review. Mar. Pollut. Bull. 64, 1737–1765 (2012).
                              15. Jackson, J. B. C. et al. Historical overfishing and the recent collapse of coastal ecosystems. Science 293, 629–637 (2001).
                              16. Hughes, T. P. Catastrophes, phase shifts, and large-scale degradation of a Caribbean coral reef. Science 265, 1547–1551 (1994).
                              17. Norström, A. V., Nyström, M., Lokrantz, J. & Folke, C. Alternative states on coral reefs: beyond coral-macroalgal phase shifts. Mar.
                                  Ecol. Prog. Ser. 376, 295–306 (2009).
                              18. Barnes, B. B., Hu, C., Kovach, C. & Silverstein, R. Sediment plumes induced by the Port of Miami dredging: Analysis and
                                  interpretation using Landsat and MODIS data. Remote Sens. Environ. 170, 328–339 (2015).
                              19. Jordan, L. K. B., Banks, K. W., Fisher, L. E., Walker, B. K. & Gilliam, D. S. Elevated sedimentation on coral reefs adjacent to a beach
                                  nourishment project. Mar. Pollut. Bull. 60, 261–271 (2010).
                              20. Riegl, B. & Branch, G. M. Effects of sediment on the energy budgets of four scleractinian (Bourne 1900) and five alcyonacean
                                  (Lamouroux 1816) corals. J. Exp. Mar. Biol. Ecol. 186, 259–275 (1995).
                              21. Nugues, M. M. & Roberts, C. M. Partial mortality in massive reef corals as an indicator of sediment stress on coral reefs. Mar. Pollut.
                                  Bull. 46, 314–323 (2003).
                              22. Jones, R. P., Bessell-Browne, P., Fisher, R., Klonowski, W. & Slivkoff, M. Assessing the impacts of sediments from dredging on corals.
                                  Mar. Pollut. Bull. 102, 9–29 (2016).
                              23. Rogers, C. S. Responses of coral reefs and reef organisms to sedimentation. Mar. Ecol. Prog. Ser. 62, 185–202 (1990).
                              24. Jones, R., Ricardo, G. F. & Negri, A. P. Effects of sediments on the reproductive cycle of corals. Mar. Pollut. Bull. 100, 13–33 (2015).
                              25. Intergovernmental panel on climate change (IPCC) Climate Change 2014: Synthesis Report. Contribution of Working Groups I, II
                                  and III to the Fifth Assessment Report of the Intergovernmental Panel on Climate Change [Core Writing Team, R. K. Pachauri and
                                  L. A. Meyer (eds)]. IPCC, Geneva, Switzerland (2014).
                              26. Glynn, P. W. & D’Croz, L. Experimental evidence for high temperature stress as the cause of El Niño coincident coral mortality. Coral
                                  Reefs 8, 181–191 (1990).
                              27. Glynn, P. W. Coral reef bleaching: facts, hypotheses, and implications. Glob. Change Biol. 2, 495–509 (1996).
                              28. Cesar, H., Burke, L. & Pet-Soede, L. The Economics of Worldwide Coral Reef Degradation. Cesar Environmental Economics
                                  Consulting, the Netherlands (2003).
                              29. Abrego, D., Willis, B. L. & van Oppen, M. J. H. Impact of light and temperature on the uptake of algal symbionts by coral juveniles.
                                  PLoS ONE 7 (2012).
                              30. Hughes, T. P. et al. Climate change, human impacts, and the resilience of coral reefs. Science 301, 929–933 (2003).
                              31. Edmunds, P. J. Zooplanktivory ameliorates the effects of ocean acidification on the reef coral Porites spp. Limnol. Oceanogr. 56,
                                  2402–2410 (2011).
                              32. Towle, E. K., Enochs, I. C. & Langdon, C. Threatened Caribbean coral is able to mitigate the adverse effects of ocean acidification on
                                  calcification by increasing feeding rate. PLoS ONE 10 (2015).
                              33. Martinez, S. & Abelson, A. Coral recruitment: the critical role of early post-settlement survival. ICES J. Mar. Sci. 70, 1294–1298
                                  (2013).
                              34. Babcock, R. C. & Mundy, C. Coral recruitment: consequences of settlement choice for early growth and survivorship in two
                                  scleractinians. J. Exp. Mar. Biol. Ecol. 206, 179–201 (1996).
                              35. Gleason, D. F. & Hofmann, D. K. Coral larvae: From gametes to recruits. J. Exp. Mar. Biol. Ecol. 408, 42–57 (2011).
                              36. Yakovleva, I. M. et al. Algal symbionts increase oxidative damage and death in coral larvae at high temperatures. Mar. Ecol. Prog. Ser.
                                  378, 105–112 (2009).
                              37. Sato, M. Mortality and growth of juvenile coral Pocillopora damicornis (Linnaeus). Coral Reefs 4, 27–33 (1985).
                              38. Birkeland, C., Rowley, D. & Randall, R. H. Coral recruitment patterns at Guam. Proc. Fourth Int. Coral Reef Symp., Manilla 2,
                                  339–344 (1981).
                              39. Bak, R. P. M. & Engel, M. S. Distribution, abundance and survival of juvenile hermatypic corals (Scleractinia) and the importance of
                                  life history strategies in the parent coral community. Mar. Biol. 54, 341–352 (1979).
                              40. Fabricius, K. E., Wild, C., Wolanski, E. & Abele, D. Effects of transparent exopolymer particles and muddy terrigenous sediments on
                                  the survival of hard coral recruits. Estuar. Coast. Shelf S. 57, 613–621 (2003).
                              41. Fabricius, K. E. Effects of terrestrial runoff on the ecology of corals and coral reefs: review and synthesis. Mar. Poll. Bull. 50, 125–146
                                  (2005).
                              42. Babcock, R. C. Comparative demography of three species of scleractinian corals using age- and size-dependent classifications. Ecol.
                                  Monogr. 61, 225–244 (1991).
                              43. Raymundo, L. J. & Maypa, A. P. Getting bigger faster: mediation of size-specific mortality via fusion in juvenile coral transplants.
                                  Ecol. Appl. 14, 281–295 (2004).




SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                                            7
                                                                                                                                                           NMFS_00699
         Case 1:22-cv-02430-CJN
www.nature.com/scientificreports/                          Document 30-2 Filed 05/05/23 Page 151 of 350


                              44. Vermeij, M. J. A. & Sandin, S. A. Density-dependent settlement and mortality structure the earliest life phases of a coral population.
                                  Ecology 89, 1994–2004 (2008).
                              45. Anthony, K. R. N., Connolly, S. R. & Hoegh-Guldberg, O. Bleaching, energetics, and coral mortality risk: Effects of temperature,
                                  light, and sediment regime. Limnol. Oceanogr. 52, 716–726 (2007).
                              46. Nozawa, Y. & Harrison, P. L. Effects of elevated temperature on larval settlement and post-settlement survival in scleractinian corals,
                                  Acropora solitaryensis and Favites chinensis. Mar. Biol. 152, 1181–1185 (2007).
                              47. Figueiredo, J., Baird, A. H., Harii, S. & Connolly, S. R. Increased local retention of reef coral larvae as a result of ocean warming. Nat.
                                  Clim. Change 4, 498–502 (2014).
                              48. Berkelmans, R. & Willis, B. L. Seasonal and local spatial patterns in the upper thermal limits of corals on the inshore Central Great
                                  Barrier Reef. Coral Reefs 18, 219–228 (1999).
                              49. United States Environmental Protection Agency. Water quality standards criteria summarizes: A compilation of state/federal
                                  criteria. Office of Water Regulations and Standard. Washington, D.C. EPA 440/5-88013. National Technical Information Service
                                  documents #PB 89–141451. (1988).
                              50. Miller, M. W. et al. Detecting sedimentation impacts to coral reefs resulting from dredging the Port of Miami, Florida USA. PeerJ 4
                                  (2016).
                              51. Baird, A. H., Guest, J. R. & Willis, B. L. Systematic and biogeographical patterns in the reproductive biology of scleractinian corals.
                                  Annu. Rev. Ecol. Evol. S. 40, 551–571 (2009).
                              52. Cumbo, V. R., Edmunds, P. J., Wall, C. B. & Fan, T. Brooded coral larvae differ in their response to high temperature and elevated
                                  pCO2 depending on the day of release. Mar. Biol. 160, 2903–2917 (2013).
                              53. Wentworth, C. K. A Scale of grade and class terms for clastic sediments. J. Geol. 30 (1922).
                              54. R Development Core Team. R: A language and environment for statistical computing. R Foundation for Statistical Computing,
                                  Vienna, Austria (2016).

                               
                              This study was made possible by funding from the NOAA Coral Reef Conservation Program grant
                              #NA15NOS4820078 (J.F.), NSU President’s Faculty Research and Development Grant #335340 (J.F. & F.F.) and
                              The Batchelor Foundation (F.F.). Coral collections were permitted by the Florida Keys National Marine Sanctuary
                              (FKNMS-2015-007). We thank Dave Gilliam and Bernhard Riegl for comments to earlier drafts, equipment and
                              help in the field, Alyson Kuba for support setting up the experiments, and Jena Robbins for assistance editing.

                              
                              Both authors were equally responsible for the development of the research, acquisition of funding, data collection
                              and analysis, and manuscript preparation.

                               
                              Competing Interests: The authors declare that they have no competing interests.
                              Publisher's note: Springer Nature remains neutral with regard to jurisdictional claims in published maps and
                              institutional affiliations.
                                            Open Access This article is licensed under a Creative Commons Attribution 4.0 International
                                            License, which permits use, sharing, adaptation, distribution and reproduction in any medium or
                              format, as long as you give appropriate credit to the original author(s) and the source, provide a link to the Cre-
                              ative Commons license, and indicate if changes were made. The images or other third party material in this
                              article are included in the article’s Creative Commons license, unless indicated otherwise in a credit line to the
                              material. If material is not included in the article’s Creative Commons license and your intended use is not per-
                              mitted by statutory regulation or exceeds the permitted use, you will need to obtain permission directly from the
                              copyright holder. To view a copy of this license, visit http://creativecommons.org/licenses/by/4.0/.

                              © The Author(s) 2017




SCIENTIFIC REPORTSȁͽǣ 12380 ȁ ǣͷͶǤͷͶ͹;ȀͺͷͻͿ;ǦͶͷͽǦͷ͸ͼͶͽǦ                                                                                                            8
                                                                                                                                                           NMFS_00700
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 152 of 350




MIAMI HARBOR PHASE III DREDGING PROJECT:
SEDIMENT TRANSPORT, DISPERSAL AND DEPOSITION STUDY
OUTER ENTRANCE CHANNEL OF THE MIAMI HARBOR
                                                                                 PREPARED FOR:




                                                           U.S. ARMY CORPS OF ENGINEERS
                                                           POC: JASON SPINNING/LAUREL REICHOLD
                                                                    USACE-PD-EC / PM-WN
                                                                          701 SAN MARCO BLVD
                                                                      JACKSONVILLE, FL 32207
                                                            laurel.p.reichold@usace.army.mil




                                                                              Prepared by:




                            in Cooperation with

   FOR OFFICIAL
    USE ONLY                                                          6821 SW Archer Road
                                                                      Gainesville, FL 32608


                                                                                NMFS_00701
        Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 153 of 350




Contents                                                                                                                                        Page

Executive Summary.................................................................................................................... 1
          Pre-Dredge....................................................................................................................... 1
          During-Dredge .................................................................................................................3
          Post-Dredge ..................................................................................................................... 4
1         INTRODUCTION............................................................................................................... 5
2         DATA REVIEW ................................................................................................................. 7
          2.1       Pre-Dredging ........................................................................................................ 7
                    2.1.1        Background information on the site ....................................................................... 8
                                 2.1.1.1 Biscayne Bay ............................................................................................ 8
                                 2.1.1.2 Government Cut....................................................................................... 10
                    2.1.2        Supporting Documents by and on Behalf of SAJ................................................. 11
                                 2.1.2.1 Sedimentology ........................................................................................ 11
                                 2.1.2.2 Turbidity .................................................................................................. 13
                                 2.1.2.3 Sedimentation ......................................................................................... 18
                                 2.1.2.4 Coral Resources ..................................................................................... 18
                    2.1.3        FDEP Permit 0305721-001-BI ............................................................................. 19
                    2.1.4        Proposed Coral Stress Index ............................................................................... 24
                    2.1.5        Coral Stress Parameters ...................................................................................... 27
                    2.1.6        Coral Stress “Triggers” or Thresholds ................................................................. 28
                    2.1.7        GLDD Proposal .................................................................................................... 30
                    2.1.8        Pre-dredge Baseline Monitoring (2013) and Report ............................................ 36
                    2.1.9        QA/QC of Coral Condition Scores ....................................................................... 40
          2.2       During Dredging ................................................................................................ 41
                    2.2.1        Weekly Offshore Coral Stress and Sediment Block Compliance Reports .......... 42
                    2.2.2        Coral Stress Data Matrix...................................................................................... 44
          2.3       Post-Dredging .................................................................................................... 45
                    2.3.1        Quantitative Post-Construction Analysis for Middle and Outer Reefs Report ..... 46
                    2.3.2        Other Reports and Scientific Publications Related to MHIII ................................ 48
                                 2.3.2.1 NMFS 2016 and Miller et al, 2016 - Port of Miami Entrance Channel
                                         Sedimentation Reports ........................................................................... 48
                                 2.3.2.2 Swart 2016 – Port of Miami Sediment Sample Analysis Report............. 49
                                 2.3.2.3 SAJ 2016 – MHIII After Action Report, ADDAMS Model........................ 49
                                 2.3.2.4 Barnes et al., 2015 – Satellite Imagery Data .......................................... 50




ii                                                                                                                 Water & Air Research, Inc.
Final Miami Task 1 Report.Docx

                                                                                                                                                NMFS_00702
        Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 154 of 350




Contents                                                                                                                                Page

3         Lessons Learned ........................................................................................................... 50
          3.1        Team ................................................................................................................... 50
          3.2        Multidisciplinary Baseline Data........................................................................ 51
          3.3        Permits And Contracts ..................................................................................... 53
          3.4        Environmental Monitoring ................................................................................ 54
          3.5        Public Relations ................................................................................................ 57
4         Conceptual Sediment Transport Model ...................................................................... 57
5         Proposal for Task 2: Sediment Tracer Study.............................................................. 57
REFERENCES ........................................................................................................................... 61




FIGURES:
Figure 1             Example coral stress index scoring worksheet included in the
                     Key West Dredging Project RSHM Plan (CSA, 2003) ......................................... 26
Figure 2.            Example of coral stress flowchart defining soft and hard “triggers”
                     and resulting management actions in the Key West Dredging Project
                     RSHM Plan (CSA, 2003) ..................................................................................... 29
Figure 3.            Baseline monitoring photographs of a) Coral C-3 on Transect 1 at Station
                     R2S1 (Montastraea cavernosa), monitored prior to dredging; and
                     b) Coral C-2 on Transect 1 at Station R2N2 (Montastraea cavernosa),
                     monitored after dredging commenced. (Photos from Appendix B; DCA, 2015).. 39
Figure 4.            Photographs taken during the Week 32 monitoring survey showing sediment
                     accumulation at bases of a) Coral C-2, Transect 1 at Station R2N1
                     (Pseudodiploria strigosa) and b) Coral C-3, Transect 3 at Station R2N2
                     (Solenastrea bournoni) (Photos from DCA, Week 32 dataset)............................ 44
Figure 5.            Overview of tracer release sites, mooring locations, and sediment sampling
                     locations for the Miami Harbor Sediment Tracer Study....................................... 59
Figure 6.            Close-up view of tracer release sites, mooring locations, and proposed
                     sediment sampling locations for the Miami Harbor Sediment Tracer Study........ 60




iii                                                                                                          Water & Air Research, Inc.
Final Miami Task 1 Report.Docx

                                                                                                                                        NMFS_00703
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 155 of 350




Disclaimer: This review has not considered or examined previous data in the context of political,
contractual, commercial and port operational aspects. In addition, the timescales and deadlines
all parties were working within, both inside the United States Army Corps of Engineers,
Jacksonville District (SAJ) and externally, have not been taken into account. It is recognized that
all of these factors are likely to have influenced the project.

Executive Summary
This report has been produced under Call/Contract W912EP-15-A-0002-0003 for the Miami
Harbor Sediment Tracer Study. Task 1 of this study included review of relevant existing data,
reports, and scientific literature pertaining to the Miami Harbor Phase III Dredging Project
(MHIII), which was implemented by the United States Army Corps of Engineers, Jacksonville
District (SAJ) to deepen and widen the outer entrance channel to Miami Harbor. Relevant
information was reviewed for three time-frames 1) Pre-Dredging, 2) During-Dredging, and
3) Post-Dredging.

Pre-Dredge
Very little background information exists for the Outer Entrance Channel or its wider environs,
including the adjacent areas of Biscayne Bay, in terms of physical oceanography, metocean
conditions, general or specific circulation, and net sediment transport or processes. In contrast
to the physical data, much more background data are available for marine benthic resources in
this area.
This disparity in information was consistent throughout all aspects of the project, with a
disproportionate emphasis placed on biological data compared to physical data, resulting in a
non-multidisciplinary approach.
In addition, there also appears to have been a belief (or lack of acknowledgement) by all parties
that dredging would not create turbidity or a sedimentation problem. There was a lack of
scientific rigor in assessing any potential impact from dredging in terms of turbidity and
sedimentation, including review of previous examples from within the USA and around the
world; the only reference appears to be limited to the previous dredging campaign in Miami
Harbor (Phase II). This was despite strong evidence that dredged material may be advected
over large distances (kilometers) as a result of tidal currents, wind-driven circulation, and wave-
driven circulation, in particular in the lower water column and especially near-bed (lower 1 to
2 m of the water column), where no turbidity plume monitoring was carried out for MHIII (it
should be noted that near-bed turbidity monitoring was not required in the permit).
Given the longevity of the project from inception to commencement of construction (over
10 years), availability of emerging science, and enactment of new legislation concerning
endangered and threatened species, the Environmental Impact Statement (EIS) (2004) and
other key documentation should have been reviewed, updated, and re-issued. In addition, there
were no modeling studies performed, particularly for sediment transport and insufficient
industry/dredge consultant input in advance to assess dredging impacts prior to construction (it
is unknown by this author if those types of consultations are able to be conducted by the Corps
of Engineers under federal law).The Florida Department of Environmental Protection’s (FDEP)

Page 1                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00704
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 156 of 350




environmental resources permit (Permit No. 0305721-001-BI) was somewhat prescriptive in
terms of benthic monitoring requirements, but much less so in terms of physical monitoring
including turbidity and sedimentation. Despite this, SAJ adopted it in full and passed it along to
the dredging contractor, Great Lakes Dredge and Dock Company (GLDD), without reinforcing it
and providing adequate levels of protection to the environment or SAJ interests. GLDD
promised environmental resources would be a priority, but failed to enact more conservative
Best Management Practices (BMPs), in particular those learned and complied with on other
international dredging projects prior to MHIII, for example in Wheatstone, Western Australia
(Chevron Australia, 2016).
Various tests were conducted on the rock core borings prior to dredging, however unfortunately
for the context of this study, geophysical tests were limited with the density of the rock
“assumed” to have a Specific Gravity (SG) of 2.65, rather than being tested. Based on the data
and reports reviewed, no testing of the rock core borings was undertaken to determine the effect
of various dredge types on the rock material which was subject to crushing or grinding, nor was
there any analysis of the resultant material in terms of particle size.
Pre-dredge baseline data collection was not complete at the time dredging started and
continued for at least 40 days into the dredging program. Therefore the baseline dataset was
wholly inadequate both in terms of temporal extent, scientific robustness and statistical
significance. It did not provide the Corps with adequate knowledge of typical conditions for any
of the parameters measured prior to dredging, including sediment transport processes, and very
importantly, it did not enable an accurate and rigorous assessment of the impacts that resulted
during dredging or a post-construction evaluation. Photographs taken during baseline
monitoring surveys show little to no sediment accumulation on corals surveyed before dredging
began versus sediment accumulating on coral tissues with increased duration of dredging
activities.
There was little consideration of sedimentation due to dredging operations versus natural
processes and how to differentiate these. No truly adaptive management strategies including
temporary cessation of dredging were in place to abate sedimentation impacts to benthic
resources when they did occur, and this was compounded by the inconclusive and temporal
brevity of the pre-dredge baseline data collected in 2013.
There is confusion in both the FDEP environmental resource permit and the Environmental
Protection Plan (EPP) (SAJ, 2012) regarding the coral stress index to be utilized for baseline,
during-construction, and post-construction coral health monitoring. These documents describe a
binary system (0 or 1) for assessing presence/absence of coral stress parameters. The EPP
states that presence of 2 or more stress parameters was required to designate a coral as
stressed; however, this was not the protocol followed in coral health monitoring for MHIII. Coral
stress parameters were not additive and corals were designated as “stressed” with presence of
1 or more stress parameters (DCA, 2014). The Broward County Segment III Coral Stress Index
was also referenced in both documents, which is not the coral stress index that was utilized for
MHIII. The Key West Dredging Project Resource Health and Sedimentation Monitoring (RHSM)
Plan (CSA, 2003) was the intended model for MHIII, but it was not followed correctly, and



Page 2                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00705
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 157 of 350




adaptations were made by DCA and/or the SAJ that were not described in the permit or EPP
monitoring protocols.

During-Dredge
During dredging, several major aspects of the physical and biological monitoring programs were
flawed. Turbidity and sedimentation monitoring data were inadequate for the following reasons:
       x    There was no calibration of the turbidity sensor with actual suspended sediments
            created by the dredging operations or suspended solids data in order to measure
            actual real-time dredge suspended solids rather than turbidity, despite collection and
            analysis of these samples. (This correlation was not required by the FDEP permit).
       x    Turbidity monitoring was meant to be carried out by an “experienced” operator, but
            was entirely subjective in nature in terms of: i) having no current velocity data in order
            to assess what the FDEP permit described as “down/up-current”; ii) no data on water-
            column stratification to determine if there was shear or reverse flow in the water
            column; iii) the operator deciding visually where the densest part of the turbid plume
            was; and iv) no measurements in the lower water column where it is extremely likely
            the majority of the suspended sediment and near bedload sediment would be and
            where the bulk of the sediment transport would occur.
       x    There was no meaningful qualitative/quantitative sedimentation data collected from the
            sediment accumulation blocks during weekly compliance surveys. The sediment
            blocks failed to accumulate sediment, possibly due to strong currents. Despite this
            being recognized early on, during the pre-dredge baseline monitoring surveys, the
            same method was utilized for sediment accumulation compliance monitoring
            throughout the entire dredging project. This eliminated the 1.5 mm sediment
            accumulation above control “sediment stress violation”, which was a key threshold
            established for the monitoring program.
       x    The sediment traps used were potentially (or likely) to have been unsuitable in terms of
            collecting quantitative data due to high currents in the area, resulting in turbulence
            occurring around the mouth of the trap, reducing the trapping efficiency of the trap.
            Additionally, there were significant time-lags in the availability of these data, as traps
            were only collected monthly, and laboratory analyses took another month. Therefore,
            no recently-collected sediment accumulation data were available during dredging, or
            throughout the entire monitoring program.
SAJ provided notices of the “exceedances” in terms of turbidity monitoring. Given the overall
observed outcomes and impacts, there were very few exceedances, although considering the
points listed above regarding the inadequacy of the turbidity and sedimentation monitoring, this
lack of exceedances is not surprising.
Several problems were also apparent in the biological monitoring. The dates on the weekly coral
stress and sediment block compliance reports were consistently a week behind the monitoring
period, indicating a delay in terms of official documentation to identify potential coral stress,
which could delay implementation of adaptive management strategies. The “Adaptive

Page 3                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                  NMFS_00706
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 158 of 350




Management” and “Recommendations” sections of these reports were also relatively sparse
and not very informative.
Because the coral stress index utilized was not additive, and presence of 1 or more of 24
possible stress parameters designated a coral as “stressed”, the ability to differentiate
significant project-related sedimentation stress from natural background stress was likely
reduced. “High” coral condition scores (percent of stressed corals out of total number monitored
per station) were reported for both channel-side and control stations during dredging.
Significantly high coral condition scores due to sedimentation were reported very early in the
dredging program for the Hardbottom (Week 1) and Middle Reef (Week 9) areas. Significantly
high coral stress scores for the Outer Reef were not reported until Week 30.
Trends from the weekly compliance monitoring reports show that significantly high coral stress
was repeatedly reported for the Hardbottom and Middle Reef areas from Week 11 through
Week 40, with partial mortality occurring in Week 32, despite several adaptive management
measures performed in this timeframe. High coral condition scores due to bleaching were not
reported until Week 34 (July, 2014) and due to disease until Week 52 (November, 2014). This
information leads to major concerns pertaining to enforcement of coral “sediment stress
violations”/thresholds, regard for natural marine resources, and effective adaptive management
practices employed during dredging.
Although they were loosely defined, the EPP established several “stress violations” for the
monitoring program. These were based on frequency of coral bleaching, excessive mucus
production by corals, covering of benthic community components by sediment such that death
or degradation occurred, or a maximum sediment accumulation rate of 1.5 mm per day above
the analogous reference station as measured on the sediment accumulation blocks. Once
dredging operations were underway, it is unclear from the weekly compliance reports if and how
these thresholds were enforced. Adaptive management actions, as documented in the weekly
reports, were slow to respond. Therefore, the coral stress and sediment accumulation “sediment
stress violations” were either not enforced or significant time-lags in adaptive management, as a
result of violations, failed to protect benthic resources.

Post-Dredge
The results and value of information in the post-construction reports are over-stated for several
main reasons:
          1) The pre-dredge baseline dataset was temporally and spatially limited as well as
             compromised by the initiation of dredging activities prior to completion of these
             baseline monitoring surveys;
          2) local hydrodynamics, metocean conditions and natural sediment transport processes
             were not studied prior to and throughout the dredging project;
          3) sediment accumulation data from traps were too high off the substrate (18 inches as
             required by the permit) and may have been influenced by higher current movement



Page 4                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00707
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 159 of 350




               than the substrate, thus failing to represent the condition on the substrate and
               therefore not comparable in “real-time” to coral stress and benthic monitoring data;
          4) the sediment blocks did not function at Miami Harbor as they had at Key West
             possibly due to stronger currents and as such should have been replaced very early
             on in the project with an alternative method of assessing real time sedimentation
             rates approved by either FDEP or SAJ; and
          5) methods of conducting coral stress assessments may have led to under-
             representation of significant dredge-related sedimentation stress on coral
             communities.
For these reasons and others detailed in this report, comparing pre-dredge baseline and
post-construction datasets is invalid for sedimentation. Therefore, drawing scientifically-based
conclusions from multidisciplinary data sets surrounding potential impacts from dredging
activities is not possible. However, the datasets do allow for a pre- and post- dredging functional
group assessment, which was a requirement of the permit.
Similar to the pre-dredge baseline monitoring surveys, the integrity of the one-month
post-construction monitoring surveys was also compromised by dredging activities. Spot-
specific “clean-up” dredging occurred within Cuts 1 and 2 of the outer entrance channel at the
time post-construction monitoring surveys were being conducted. Additionally, the one-month
post-construction monitoring surveys were performed in summer (June and July) compared to
pre-dredge baseline monitoring surveys performed in winter (October through December), and
as such under extremely different metocean and biological conditions (i.e. sediment transport
rates are typically higher in winter and coral bleaching is more prevalent in summer). Although
the timeframes of monitoring data collection was dictated by the permit, the contrasting
seasonality of the two datasets further complicates their comparison for sedimentation values,
which appears to have a significant seasonal variability.
Therefore, the authors consider that the scientific integrity of all datasets (pre-, during-, and
post-dredge) collected for MHIII was compromised. A list of “lessons learned” based on the
information reviewed for this report is provided in Section 3.0. This identifies recommendations
relevant to the team and personnel, multi-disciplinary baseline data, permits and contracts,
environmental monitoring, and public relations in the context of a large-scale dredging
campaign.

1         INTRODUCTION
This report has been produced under Call/Contract W912EP-15-A-0002-0003 as part of Task 1
– Information Review and Report for the Miami Harbor Sediment Tracer Study. This Study is
being performed by the team of Water and Air Research, Inc. (WAR) with subcontractors
Environmental Tracing Systems (ETS) and CSA Ocean Sciences Inc. (CSA) for the United
States Army Corps of Engineers, Jacksonville District (SAJ).
The Miami Harbor Phase III Dredging Project (MHIII) was implemented by the SAJ to deepen
and widen the outer entrance channel to Miami Harbor and was constructed to accommodate
larger Panamax vessels. Great Lakes Dredge and Dock Company (GLDD) was the dredging
contractor who constructed MHIII from November 20, 2013 to September 20, 2015. GLDD was
responsible for executing the environmental monitoring program, which included monitoring and


Page 5                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00708
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 160 of 350




mitigation of marine benthic resources in the vicinity of the dredge footprint, which included
seagrass beds in northern Biscayne Bay and hardbottom and coral reef communities adjacent
to the outer entrance channel in coastal waters offshore Miami, Florida. Dial Cordy and
Associates, Inc. (DCA) was subcontracted by GLDD to perform the majority of marine benthic
resource monitoring required for MHIII.
The primary focus of Task 1 was to review information acquired before, during, and after
dredging for MHIII as well as other relevant reports and scientific literature for the study site and
its environs. Another sub-task for Task 1 included preparation of a list of “lessons learned” in
order to identify data gaps and assess the adequacy of the regulatory requirements and
monitoring program and provide recommendations for improving monitoring programs for future
dredging projects. Another sub-task was to develop a conceptual model for regional and
localized sediment transport processes in the Miami Harbor area. The last sub-task was to
refine the Task 2 scope of work to deploy and monitor sediment tracers in the Miami Harbor
area and monitor metocean and hydrological conditions to gain a better understanding of
natural and potential dredge-related suspended solids on adjacent benthic marine resources.
This Task 1 Report summarizes the main findings following the information review; it is not
completely exhaustive due to the vast amount of data spanning more than 10 years generated
by the MHIII and provided by the SAJ. Data provided by the SAJ for each pre-dredging,
during-dredging, and post-dredging timeframe was reviewed in terms of general information
such as dredging practices and industry standards; physical environmental information such as
metocean conditions, sediment transport processes and turbidity; and biological information
pertaining to coral resources, with emphasis on the Middle Reef habitat.
This review was conducted by Dr. Jon Marsh of ETS and Erin Hodel of CSA Ocean Sciences
Inc. as independently as possible without any pre-conceived ideas or views as to the project
and the problems and impact summarized in Section 2. Both reviewers have carefully
considered data and reports provided by SAJ, which focused on the Outer Entrance Channel
(Cuts 1 and 2) and also conducted a literature search of available and relevant data over a
wider geographical area around Miami including Biscayne Bay. It is not a literature review of the
subject area, however, and where particularly relevant, both authors have incorporated
references to support points made. Each reviewer has considered the data and reports within
their area of expertise and have worked mostly independently of one another. This has led to a
degree of “overlap” in terms of comments and observations made. However, this “overlap” has
been left in the report as it is seen as affirming the concerns raised, especially those of Best
Management Practices, international standards, and robustness of scientific data.
Dr. Jon Marsh has over 25 years of experience working on dredge monitoring projects
worldwide including hydrodynamics, metocean data acquisition, numerical modeling, sediment
transport processes, sedimentation monitoring, dredge operations, and impact assessments
from dredging.
Erin Hodel has over 14 years of experience working on coral monitoring programs with an
emphasis on coral health and sedimentation stress in south Florida and the Pacific. She has
conducted numerous coral health assessments for benthic monitoring programs associated with


Page 6                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00709
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 161 of 350




beach nourishment and dredging projects using both histopathological and gross morphological
coral stress indices. She has worked on coral and other benthic resources monitoring and
mitigation programs associated with three major federal dredging projects: MHIII, Key West
Ship Channel Dredging, and the proposed Apra Harbor, Guam Dredging Project. She has
conducted several laboratory-based sedimentation experiments on various species of
Caribbean and Pacific corals aimed at defining sediment stress indicators and/or thresholds.
This review was initially intended to consider all data and reports provided to the reviewers
comprising pre-dredging (e.g. the EIS and the 2013 pre-dredge baseline survey), impact
assessment monitoring during dredging operations, and post-dredge monitoring. However, both
reviewers identified key concerns and significant data-gaps during the pre-dredge phase,
including the quality and very limited temporal and spatial baseline data from 2013 that was
acquired, the regulatory/SAJ guidelines for monitoring, and the proposed methods for
monitoring during dredging. As a result of these compounding concerns and data-gaps, both
reviewers focused much of their attention on the pre-dredge data and reports in order to identify
what caused the observed impacts to the marine flora and fauna in the during-dredging and
post-dredging phases and to help identify and formulate “lessons learned”. Therefore the focus
of Section 2 is on the pre-dredge phase, particularly on the turbidity monitoring, sedimentation,
and coral health monitoring.

2         DATA REVIEW
2.1 Pre-Dredging
This section has been compiled in an approximate chronological order leading up to the
commencement of dredging on 20 November 2013. However, given the period of time between
the decision to deepen the channel from -44 feet (ft) to -52 ft Mean Lower Low Water, termed
Miami Harbor Phase III (MHIII), until dredging got under way, many documents were produced
by and on behalf of SAJ in support of dredging. To follow an approximate timeline, the sections
are as follows:
          2.1.1 Background Information on the Site
          2.1.2 Supporting Documents by and on behalf of SAJ
          2.1.3 FDEP Permit 0305721-001-BI
          2.1.4 Proposed Coral Stress Parameters
          2.1.5 Proposed Coral Stress Index
          2.1.6 Coral Stress “Triggers” or Thresholds
          2.1.7 GLDD Proposal
          2.1.8 Baseline Monitoring and Report
          2.1.9 QA/QC of Coral Condition Scores




Page 7                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                          FOR OFFICIAL USE ONLY
                                                                                             NMFS_00710
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 162 of 350




2.1.1        Background information on the site
As outlined above, the information summarized below has been identified as relevant to this
particular study and/or the Outer Entrance Channel for MHIII. Background information regarding
the understanding the general hydrodynamics and sediment transport in the Outer Entrance
Channel area or its environs was limited to the information available in the Feasibility Study
completed in 2004, even though dredging commenced in 2013. This is despite the recognized
environmental sensitivity and resources in the hardbottom and coral reef habitats areas
seaward of the port, the previous capital dredging campaigns, a significant urban population,
and the complexity and demands this concentrates on the area (SAJ, 2004). Typically for
projects of this nature, physical monitoring and numerical modeling studies are carried out in
order to assess the potential effect of capital dredging on both the local and wider environment
including navigation, environmental impacts, change in circulation patterns, etc. Given the
numerous marine academic institutes and organizations located in South Florida alone, the level
of knowledge in terms of marine flora and fauna and biological resources is extremely notable.
However, there is little evidence of a multidisciplinary approach including physical data
gathering prior to MHIII, which has resulted in very little monitoring, knowledge, or
understanding of the physical environment of the area. This pattern was observed in all
documents and assessments by federal and state organizations and stakeholders with respect
to MHIII.
2.1.1.1      Biscayne Bay
Much of the previous work identified comprised studies in the southern section of Biscayne Bay.
These studies focused on observed changes in the nearshore salinity as a result of changes in
terrestrial freshwater and groundwater flow and the resultant impact on the marine flora and
fauna (Stabenau et al., 2015) and attempts to restore the nearshore waters to more
brackish/estuarine conditions (Lirman et al., 2003). Lirman et al. did measure sedimentation
rates in the area generally south of Elliot Key, using sediment traps and endeavored to
distinguish between sedimentation on corals associated with high boating activity areas versus
seasonal trends and processes. Lirman et al. concluded that increased boating in certain areas
led to increased sedimentation with up to 575 mg/cm2/day of sediment measured in sediment
traps and commonly encountered coral covered with 3 cm of sediment in the field. Lirman et al.
suggests in area where >10-15 cm of sediment exist, seagrass becomes more dominant,
although this is also a function of water depth. Rogers (1990) predicts that habitats with heavy
sediment loads (proposed at >10 mg/cm2/day) lead to low coral species diversity, cover, and
dominance of species more tolerant of smothering and reduced light levels.
A two-dimensional (2-D) numerical modeling study was setup by Brown et al. (2003) to examine
potential changes in Biscayne Bay in terms of hydrodynamics and salinity, in order to determine
potential changes in the ecosystem and any impacts on flora and fauna. The study focused on
assessing changes to freshwater inflow into the inner/nearshore coastal waters, via canals,
levees, rainfall, and groundwater flows, although it was later used (unsuccessfully and as
explained below, completely inappropriately) to consider general circulation patterns related to
MHIII (see below). The model simulation was only carried out for a period of 2 weeks, far too
short to determine the range of conditions including seasonal variability in the system from

Page 8                                                                  Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                         FOR OFFICIAL USE ONLY
                                                                                            NMFS_00711
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 163 of 350




summer and winter periods both in terms of environmental conditions, freshwater inflow, storms,
etc. In addition, several key processes were omitted from the model.
Brown et al. 2003, noted that circulation in Biscayne Bay was influenced by both tidal-induced
currents and wind-induced currents and that water-column stratification created vertical density
gradients in the bay that varied spatially and temporally (as would be expected) due to a
combination of factors including freshwater inflow, rainfall, and evaporation. The study
concluded that the salinity had increased inside the bay due to the increased hydraulic volume
of the bay associated with the construction of channels (i.e. widening and deepening for
navigation purposes) and also the existence of a tidal node (an area with little tidal excursion)
between Government Cut and Bakers Haulover Inlet to the north. This was predicted based on
the tidal forcing observed, however the modeling carried out simulated a North-South slope or
tilt offshore outside of the bay to “drive” or simulate the hydrodynamics rather than using actual
bathymetry; this artificial feature simulated a “sweeping-current-inducing slope of the offshore
area” which would undoubtedly have adversely affected predicted currents into the bay and
circulation within the bay including the prediction of a tidal node. Despite a significant field
monitoring campaign inside the bay comprising 12 Conductivity Temperature Depth (CTD)
sensors and 5 acoustic doppler current profilers (ADCPs) collecting current velocity and
direction throughout the entire water column, currents were depth-averaged. This approach
could undoubtedly lead to net or residual currents being assessed as zero or very low,
particularly in areas where stratified flow existed, for example wind-induced currents flowing
above tidal-induced currents, leading to the assumption of limited water circulation overall. Not
surprisingly, there were anomalies observed and disagreement between the field
measurements and the model predictions indicating poor agreement. However, it is unlikely that
there would be close agreement considering the lack of ocean circulation modeling to establish
accurate boundary conditions in the model; the fact that no offshore wind and wave data were
included; and that winds inside the bay were not considered sufficiently accurate in terms of
direction, speed, or effective fetch. In addition, and very significantly, the vertical salinity data
were depth –averaged in the model, despite clear evidence showing salinity stratification in the
water column for a range of environmental and meteorological conditions.
Previous modeling was also carried out in the area by Fatt and Wang (1987), again to look at
circulation and salinity changes related to changes in the ecosystem versus a better
understanding of the hydrodynamics. They also observed anomalies between the synoptic data
and model output assumed to be due to localized rainfall and wind-driven circulation. These
parameters were not accurately reflected in the model. No evaporation function was used with
the model tending to predict much lower salinities than field measurements.
A 3-D finite difference model was also developed by Sengupta et al. (1978), including for
sediment transport, however this was only for a 1 day simulation; given the complexity of
hydrodynamic processes for the area responding to tidal, metocean and seasonal variations,
such a short time period would never simulate the general circulation accurately, and even less
so the sediment transport processes.
As stated above, unfortunately and inappropriately, SAJ went on to use the Brown et al., 2003
model, or variations thereof, to evaluate the effect and potential impact of MHIII as part of the

Page 9                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00712
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 164 of 350




EIS and also for navigational/ship movements, without any understanding of the modeling
carried out or regard to its assumptions, short-comings, and inherent inaccuracies.
Continuing with the considerable bias and interest in ecological assessments in the area rather
than a core understanding of the physical environment including hydrodynamics and sediment
dynamics, Browder et al., 2005 developed a conceptual ecological model. Browder et al. note
the poor water quality entering the bay via canals, storm water discharges, general runoff and
groundwater and the fact that vessels (including recreational) disturb the sediment bed,
however the ecological model does not consider it necessary for a multidisciplinary approach.
More recently, NOAA (2013) conducted a study (contracted and funded by SAJ) in Biscayne
Bay to assess variations in turbidity and salinity. Field data were collected at 3 sites over a one
year period including current velocities, turbidity, total suspended solids (TSS), and chlorophyll.
Very low turbidities were recorded for much of the monitoring period excluding periods of
phytoplankton activity and increased wind events. However, it should be noted that the details of
the wind events were not adequately logged in terms of direction, effective fetch and waves
which would all modify the wind characteristics and perhaps explain observed/visual patterns
not matching measured data and results. NOAA concluded that turbidity could be elevated for
up to a month associated with phytoplankton whereas wind events led to elevated turbidity for
typically just one day.
Rather unusually, NOAA (2013) report good agreement between TSS and turbidity with
phytoplankton being the main source, although NOAA report lower water column turbidity
readings to be higher than surface readings by between 5-12% at the 3 sites; this is perhaps
counter-intuitive given NOAA conclude the main source is phytoplankton and that these would
typically be higher in the water column rather than lower. NOAA carried out statistical analysis
between the various parameters measured to try to determine correlations between cause and
effect, however differences were relatively small, insignificant, and inconclusive, suggesting a
limited value in attempting to link or relate measurements to each other without regard for the
various datasets, spatial and temporal variability, or localized effects. Given the absence of a
general understanding of the circulation in the bay, the key processes that drive hydrodynamics,
water-column stratification, and sediment dynamics including suspended sediment, it would be
difficult to determine if or how the various parameters were interrelated and also draw any
conclusions from the data. In addition, NOAA attempted to relate backscatter data, logged on an
ADCP (Acoustic Doppler Current Profiler), to being proportional to the log of turbidity or TSS.
This ignores the significant efforts required to produce a calibration curve in order to compare
backscatter data with TSS and/or turbidity. It also seems to ignore the fact that other processes
and parameters can significantly affect ADCP backscatter data including the presence of
diatoms.
2.1.1.2 Government Cut
Despite the above, SAJ (2004) stated that the Brown 2003 numerical modeling study for
Biscayne Bay “provides an evaluation of the impacts of Miami Harbor (MH) deepening on tidal
current velocities and salinity in MH and on tidal current velocities along the coastal ocean
shoreline around Government Cut”, even though the model “did not include coastal processes


Page 10                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00713
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 165 of 350




such as littoral currents”. The same model was later used to assist ship simulator assessments
for vessel maneuvers into the Port of Miami. Given the background as to why the model was
setup and the assumptions and shortcomings of the modeling approach, it is alarming to read in
SAJ (2004) that the model suggests “negligible changes to current velocities and salinity
throughout the [MHIII] project” although later in the same document there is a prediction that the
proposed changes as a result of MHIII will lead to an increase in current velocities of 0.5 ft/s in
Government Cut. Conversely, it is predicted that there will be no observable impact on the
Atlantic Ocean side shoreline tidal velocities based on any of the simulations, and only subtle
differences in salinity, which will remain within the “detection limits, confidence levels of present
field data collection capability, and associated model assessments”. The same paper concluded
that “the modeled changes in the coastal environment are insignificant and no impacts would
occur”.
In conclusion, prior to MHIII, very little accurate background information existed in the Outer
Entrance Channel or its wider environs, including the adjacent areas of Biscayne Bay, in terms
of physical oceanography, metocean conditions, general or specific circulation, and net
sediment transport or processes. Wave data are collected at adjacent NDBC sites offshore,
however, in the absence of measured nearshore/inshore wave data or a correlation between
offshore and nearshore/inshore wave conditions, it is not possible to draw any conclusions at
this stage as to the wave climate for the study area; this assessment will be made as part of this
study (see Section 5). However, it is noted in SAJ (2004) that swell waves (long period waves)
from the north of the mid-Atlantic Ocean cannot reach the study area without modification of the
wave pattern or wave energy associated with the shallows of the Bahama Banks or by refraction
along the Florida shoreline.

2.1.2        Supporting Documents by and on Behalf of SAJ
Given the time period between the decision to proceed with MHIII and commencement of
dredging, a significant number of reports were produced. Many of these were updates or
supplements which often contained the same information in context with this particular review,
namely turbidity, sedimentation, and any associated likely impacts from dredging operations
including dredging, overflow and disposal. For clarity, the various elements associated with the
above have been separated.
2.1.2.1      Sedimentology
The dredging operation for MHIII required the removal of surface sediment classed as
“overburden” comprising sedimentary material on top of underlying rock. Methods outlined in
section 2.1.4 indicate the dredging contractor removed the overburden using a different dredge
type, a trailer suction hopper dredge (TSHD) compared with the underlying rock which was
removed using a cutter suction dredge (CSD). Roessler and Beardsley (1974) indicated that the
proportion of silica to carbonate in “overburden” sedimentary sediments increased from
approximately 35:65 in the area near Miami versus 20:80 towards the south.
SAJ collected core borings of the overburden and underlying rock along the length of the
channel to be covered by MHIII; the results are documented in Challenge Engineering and
Testing 2011. In brief, SAJ concluded the sediment borings comprised shallow soft silty sand or

Page 11                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00714
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 166 of 350




shell on the surface (overburden) with fossiliferous limestone or sandstone layers filled with
shell and sand to termination. The thickness and depth of the various layers varied spatially
along the length of the channel (SAJ, 2004). GLDD described the sediment and underlying rock
to be dredged based on the core boring data as “seabed with soft or loose superficial sediments
(thin veneer to several feet thick) with limestone below ranging from highly weather and poorly
cemented to intact and moderately weak with stronger limestone lenses”. In terms of the
limestone there were different structures as follows:
       x    very vuggy with large solution holes > 1” filled with sand, silt or calcite with solution
            voids up to 25% with 15% common
       x    bioclastic sandy limestone, similar to a coquina of sand, shell hash and larger shells,
            poorly or well cemented sometimes degraded to sand
Various tests were conducted on the core borings, however unfortunately for the context of this
study, geophysical tests were limited with the density of the rock “assumed” to have an SG
(Specific Gravity) 2.65, rather than being tested. Based on the data and reports reviewed, no
testing of the core borings was undertaken to determine the effect of various dredging plant on
the rock material which was subject to crushing or grinding, nor was there any analysis of the
resultant material in terms of particle size.
This lack of information is perhaps a result of relatively recent dredging of similar rock material
for the Miami Harbor Phase II Dredging Project and in neighboring sites in Florida (Key West
Dredging Project) which indicated no apparent significant impact from dredging activities.
However, this lack of data and no apparent significant impact could be due to the level and/or
quality of monitoring and measurements that were carried out and how rigorous procedures
were to assess any impact, rather than no impact occurring. For example, in other sites around
the world, dredging of carbonate limestone very similar to that requiring to be dredged in the
Outer Entrance Channel, particularly in Cut 1, has caused a significant impact (Wester and
Babcock, 2005; Erftemeijer et al., 2012). In Geraldton, Western Australia, a visible dredge
plume extending tens of miles up the coast was recorded in addition to deposits of a dense fine
sediment “rock flour” on the seabed up to several feet thick being recorded that remained
present for weeks/months after dredging.
Due to an unfounded and unsubstantiated assumption that sedimentation and turbidity would be
“temporary” by SAJ and its contractors carrying out the review of capital dredging for MHIII, (see
Section 2.1.2.2), no assessment was made nor was a detailed literature search carried out as
part of the EIS process (SAJ, 2004). This assumption makes it clear that sediments were barely
considered in SAJ 2004and any study was limited to predictions of the sediment budget in the
vicinity of Government Cut which is predicted to be north to south at approximately 24,000 cubic
yards (cy) per year, based on an estimate of 15,000 cy/yr deposited in the channel and 9,000
cy/yr in shoals on the outer reaches of the channel. Once again, no reference is provided in SAJ
(2004) and this assumes: that no sand is transported directly across the channel; that no
movement takes place from south to north, perhaps during seasonal changes in wind-wave
events; or that deposition takes place elsewhere in the surrounding area. There appears to be
no clear or overall understanding of sediment movement in the entire area with records


Page 12                                                                         Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                 FOR OFFICIAL USE ONLY
                                                                                                    NMFS_00715
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 167 of 350




appearing to be presumably based on Operations and Maintenance dredging records. Given the
lack of understanding of hydrodynamics and general circulation and sediment transport, making
any assessment as to the fate and impact of sediment created during dredging and/or natural
sediment transport, is extremely limited which should have been reflected in the EIS and ideally
identified as a key data gap, but was not.
2.1.2.2      Turbidity
As early as the Environmental Baseline Study and Impact Assessment by Dial Cordy
Associates (DCA) in 2001, indirect impacts associated with dredging were predicted to lead to
“temporary changes to the habitats adjacent to the area being dredged…in particular reef and
hardbottom habitats just outside the entrance channel or within the local area offshore of the
port may be affected”. In addition and in particular, related to turbidity, this report adds that
“resuspension and deposition of sediments within the adjacent area will result in temporary
periods of high turbidity” suggesting they believe that any effects will be short-term and return to
previous conditions once dredging stops. In SAJ (2004) it states that “the Recommended Plan
would cause temporary increases in turbidity however these levels would not exceed permitted
variance levels outside of the mixing zone”. Further comments by DCA in SAJ (2004) suggest a
“temporary increase in turbidity during dredging may cause increased turbidity at the point of
discharge from disposal sites”, again stated with no qualification.
The statements go on to say, and presumably are based on the unqualified statement above,
that there will be no indirect impact in the mid to far-field on seagrass, hardbottom communities,
or coral, with the only impact being areas where direct removal will take place; for example, it is
stated that “potential indirect impacts may include resuspension and deposition of sediments on
nearby coral…this resuspension of sediments may result in temporary periods of increased
turbidity within the area”. Once again no qualification is given and is purely based on the naïve
and uninformed assumption that the dredging operations will not cause significant or even
moderate turbidity from any overflows or discharge, and in particular from a cutterhead and/or
trailer suction dredge.
SAJ (2004) continues by stating that “environmental impacts from a cutterhead dredge will
include localized suspended sediment along the bottom”. This is consistent with the statement
that “predicted suspended sediment around the draghead and overflow can be reduced…and
that suspended sediment is expected to settle quickly because the overburden…is mostly sand”
and “the majority of the materials within the project area include interbedded layers of sand and
rock that are not expected to generate significant turbidity on removal”. Further comments are
added that since sensitive seagrass sites are 500 to 2,000 feet away from proposed dredging
and “since the material to be dredged…principally comprises limestone, sandstone and clean
quartz sand (USACE 2001), transport and deposition of fine sand/silt onto nearby seagrass
beds is not expected”.
The repetitive statements or claims listed above are numerous and re-affirm the view,
incorrectly, that turbidity from any aspect of dredging operations (cutterhead, overflow etc.) was
not expected. This is despite the weight of evidence to the contrary in the scientific community,



Page 13                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00716
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 168 of 350




journals and publications, without any regard, understanding, or attempt to determine the fate or
likely dispersal of any turbidity created or the pattern of sediment deposition.
It should be noted that detailed core borings were not collected until 2010, and that these
showed that silt was present in virtually all overburden samples seaward of the breakwaters
(CE and T, 2011).
It is also important to note that no clarification was given in SAJ 2004 as to the source of the
turbidity, which can be both organic (phytoplankton, diatoms etc., see Section 2.1.1) and
inorganic (suspended sediment), which could be a result of dredging and/or natural sediment
transport processes due to tidal currents, wind-induced currents, and waves. No attempt was
noted in this document to distinguish the constituent parts covered by the term “turbidity” or the
primary source(s) further adding to the lack of accuracy or specificity (SAJ, 2004). However,
other sources of turbidity are noted and indicated to have led to water quality degradation
including storm water discharges, runoff, particularly from the Miami River, and resuspension of
sediments due to tides, waves, wind and vessels leading to increased suspended sediment
concentrations (SAJ, 2004). In the case of seagrass beds within Miami Harbor itself, it is stated
that they already “experience chronic turbidity and sedimentation due to erosion, daily outflow
from the Miami River, daily ship and tug activity in addition to natural turbidity sources including
runoff, wind, or tide-driven shifting of shallow sediments”. It is hard to understand why the report
did not recognize that if the above factors cause an impact including “chronic turbidity and
sedimentation” how dredging of more than 2 million cubic yards of material would not be far
worse, unless the parties were aiming to “play down” any impact. However, in their defense, it is
stated that the proposed dredging activity will “comply with state water quality standards for
turbidity, the additional turbidity and sedimentation would add to background sources already
present at the Port. This is expected to place additional stress on adjacent seagrasses over the
short-term”. No explanation is given as to why this would be short-term with the report going on
to say that “dredging is not expected to result in long-term negative impacts to seagrass beds”.
Despite the claims and suggestions above which were repeated to state consultees indicating
“little or no turbidity to be expected during construction” and that state water quality and turbidity
standards will be met”, in the responses documented in SAJ 2004, FDEP indicated as early as
February 2000 that the dredging will create “turbid water” with “silt particles [that] can also
smother and suffocate animals and plants”. FDEP goes on to recommend that a 3-D model for 1
year should be run for currents and salinity only, although they do discuss using the model to
look at cumulative effects. This recommendation from FDEP highlights the fact that it was not
only DCA and SAJ that did not adequately consider sediment transport processes and impacts.
Similarly in 2004, NMFS highlighted that dredging in certain areas containing high fines
contents, as identified by the Corps (USACE, 2001), could “redistribute suspended sediments in
other areas both inside and outside the study area”. NMFS highlight that resuspended
particulate matter and deposition of sediments in sensitive areas should “warrant water quality
standards that exceed the State of Florida’s general water quality certificate for dredging…and
recommend that sedimentation monitoring program be developed…and if sedimentation
monitoring reveals lethal or sub-lethal effects to marine resources, additional mitigation may be
warranted”.

Page 14                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00717
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 169 of 350




Statements made by DCA in terms of the dredging having a limited and short-term impact, such
as those above and similar, were repeated ad nauseam in numerous subsequent reports
without any scientific justification, citation or reference. In addition, these statements were not
limited to turbidity, but also included impact on wildlife, seagrass etc. without any idea on what
the dispersal and fate of turbidity or deposition of sediment from dredging may be. As a result of
these repeated statements, they almost became fact and were subsequently re-quoted by DCA
and SAJ in later documents e.g. SAJ, 2004. The study and report from DCA in 2001 focused on
the channel east of the breakwaters only (subsequently termed and known as Cuts 1 and 2) and
up to 150 m (500 ft) either side (north and south) of the channel. Survey work included towed
video and sidescan sonar surveys, diver transects and fish habitat characterization. No
monitoring was carried out in terms of water quality or sedimentation and also nothing was done
to predict the impact on or likely longevity of any impact or the spatial extent of any impact
particularly given the relatively localized study area with respect to the channel. Unfortunately,
these unqualified statements then propagated through and were compounded within
subsequent documents issued by SAJ, for example in SAJ 2004 in response to concerns raised
by NMFS, whose prime focus (as expected) was on the marine flora and fauna, rather than
considering more multidisciplinary aspects. Many of the comments provided by SAJ in SAJ
2004 were often irrelevant, defensive in nature despite being reasonable suggestions, including
considering a more cautionary approach, which was dismissed by SAJ.
In addition, part of the study (DCA, 2001) was to consider dredging and disposal options,
although given the absence of details on the dredge volume, possible dredge methods, and
dredge type to be used meant this assessment was limited. However, it was apparent that
disposal would be at the existing Ocean Dredged Material Disposal Site (ODMDS) by whatever
means, although no consideration was given to the potential impact from this disposal and the
very strong possibility that fine sediment (clays, silts and fine sand) would not reach the spoil
ground if dumped from the surface by scow or hopper given the water depth of 390 to 630 ft.
Again DCA 2001 stated that dredge disposal at the ODMDS “would not result in any significant
impacts to the area”, without any scientific justification or reference despite the majority of the
capital dredge material likely to be deposited at the ODMDS (SAJ, 2004).
Similarly, DCA’s assessment of the potential beneficial use of the sediment including for habitat
restoration or creation, concluded that “negative impacts on existing marine resources…would
be minor…as long as turbidity controls are adhered to”. Due to a lack of any external review of
other scientific literature, this unqualified statement is entirely consistent with earlier statements
that as long as guidelines were followed then any impact from dredging will be non-existent or
temporary. In addition, it is proposed in SAJ 2004 that following a “coordination process”,
modifications to the proposed components resulted (past tense) in reduced environmental
impacts to reef and seagrass areas, this is despite any clear understanding of the general
circulation and hydrodynamics or sediment dynamics of the area (SAJ, 2004).
Consistent with the view that previous capital dredging in the port had not caused any concerns
or observed impact, despite the fact that scientific knowledge and understanding had advanced,
SAJ proposed protective measures and precautions similar to those applied in 1990, for the
MHIII dredging in 2013. This is despite, Erftemeijer et al., 2012, referencing projects from the


Page 15                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00718
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 170 of 350




1960s and 1970s onwards, including in the USA, where the international scientific community
documents dredging projects that have impacted coral and hardbottom communities. This
course of action further demonstrates a lack of consideration and appreciation, and also a
literature search, by DCA and subsequently SAJ, in terms of responses to stakeholders
including NMFS.
Despite NEPA requiring a multidisciplinary approach in decision making to ensure unquantified
environmental values are also given appropriate consideration, SAJ 2004 states that impacts to
natural systems off the South Florida shoreline (including estuaries, benthic communities,
fisheries, maritime habitat…coral reef tract) have been considered in the formulation process.
However, this was not comprehensive or based on a considered and appropriate scientific
review. This is primarily because it appears no parties, in particular DCA and SAJ, and more
laterally the dredging contractor GLDD (see Section 2.1.5), considered that there could or would
be turbidity associated with the dredging which, in turn, would lead to sedimentation over time
on the coral and hardbottom communities. Given turbidity was not anticipated, no adaptive
management was put in place to address or deal with this when it occurred within a few weeks
of dredging activities commencing, around approximately Week 9.
It is clear from the above that all parties (SAJ, FDEP, NOAA/NMFS and USFWS) believe that
the State water quality standards for turbidity monitoring are and should be sufficient. It is also
clear that SAJ are of the view that through good planning and design and adopting these
standards, implementing Best Management Practices and agreeing to the monitoring, that any
impact will be temporary. However, there is some discrepancy over the scale of any mixing
zone with 150 ft (which is far too small an area) mentioned by USFWS whereas the final permit
issued by FDEP refers to (as do other documents) of a mixing zone of 150 m (not feet; see
Section 2.1.4). The only exceptions noted and relevant to this were:
       x    NMFS recommended that monitoring was more stringent and USFWS requested a
            contingency plan to halt dredging operations if suspended sediment concentrations
            exceeded acceptable levels; this was in place, but was insufficiently robust (see
            Section 2.1.4).
       x    USFWS also suggested that dredging should only take place when the environmental
            conditions would not contribute to siltation and sediment transport, which would
            minimize impact. In order to do this, it would be necessary to know what those
            environmental conditions were, which would require an idea of the current velocities,
            net residual transport and the fate of material from the cutterhead/draghead and any
            overflows. In detail, this would include and require an understanding of the key
            sediment transport processes; including transport pathways and rate of movement,
            dilution and dispersal (which in turn could affect the water quality, light attenuation
            etc.), whether sediment settles out and deposits and for how long and how much and
            also whether any subsequent resuspension occurs or whether this material remains
            and causes an accumulation over time leading to impact on the coral and hardbottom
            communities. USFWS made practical suggestions as to how to minimize or reduce
            potential impact from dredging by reducing the amount of fine sediment resuspended,


Page 16                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00719
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 171 of 350




            clearly recognizing and highlighting the risks on the environmental resources from the
            proposed dredging operations.
       x    Bob Hall at FDEP proposed that “additional prevention measures and consideration of
            limiting dredging to out-going tides should be considered”.
       x    South Florida Water Management District proposed that a new study be conducted in
            terms of modeling in 3-D the hydrographic and salinity changes in the bay and wider
            area with a simulation period of over one-year. This was in response to the Brown et
            al. 2003 model that had a simulation period of only 2 weeks (see Section 2.1.1)
       x    Miami-Dade County DERM asked how SAJ was going to meet the water quality
            standards, given turbidity curtains proved ineffective at Miami Harbor and asked this to
            be clearly outlined.
       x    Tropical Audubon Society highlighted that the “RFP process is often seen as an
            opportunity for innovative technologies, cost efficiency, and project success. However,
            there is a long history of RFP process resulting in a low-bid winner whose only goal is
            to maximize profits utilizing short cuts to minimize costs. The focus of low-bid winners
            is cost-effectiveness not environmental protection.”
Unfortunately these concerns or suggestions do not appear to have been recognized, accepted
or proposed either by FDEP in the final permit (see Section 2.1.4), with only cursory comments
made in these areas, or by SAJ in terms of improving on the FDEP permitting or specifications
within the dredging contract. The regular or typical response from SAJ was Best Management
Practices will be used, without any detail as to what this involved, although in SAJ 2004, DCA
suggest that “some impacts are unavoidable even if the best planning efforts are adopted”. In
response to DERM’s point, SAJ did acknowledge that turbidity curtains had been used
successfully previously and that protection measures would be down to the dredging contractor
including turbidity curtains, turbidity hoods on the cutterhead, dredging on an outgoing tide only,
and the speed of the cutterhead and that it would be up to FDEP to establish the overall water
quality standards. It is not clear how many of these were considered by GLDD; certainly few
were imposed or recommended by FDEP in the permitting, resorting to monitoring turbidity
levels rather than imposing specific conditions on dredging.
The only reference found where DCA recognize some degree of potential impact from dredging,
is in the following statement in SAJ 2004. DCA state initially that any impact will be temporary
and then on the very next page of the document reverse this statement. Initially, DCA state that
“dredging may result in suspension of any fine carbonate materials that have settled on
substrates or have been enclosed within reef structures (“powder pockets”)…this resuspension
of sediments may result in temporary periods of increased turbidity within the area”. However,
DCA then goes on to say that “where silt and/or silty sand are to be dredged, water quality
impacts are expected to be significant, and take several weeks/months after cessation of
dredging activities to return to background levels”. Once again, no reference or qualification is
made as to how this different conclusion has been made. In addition, in the same paragraph,
DCA state “recent efforts to quantify real impacts of dredging incorporate only the waters
directly above dredged substrates. However, due to the physical properties of water and the

Page 17                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00720
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 172 of 350




complex hydraulics operating within the harbor and channels, these efforts greatly
underestimate the extent of negative effects of dredging”. Once again no reference or scientific
citation or explanation of what has been measured, although what they appear to be proposing
is that the potential impact from dredging could be far greater than previously indicated or
expected.
Given the concerns and comments above, it is either up to the State regulator, FDEP, or
alternatively SAJ to address these and take ownership of the project and all aspects associated
with it. In addition, DCA and GLDD should’ve been cognizant of the risk and potential impact
from dredging on coral and advised SAJ accordingly. Certainly DCA should have carried out a
detailed review of the scientific literature in contributing to SAJ 2004 and GLDD would have
been very aware of the risks and sensitivity from previous dredging operations including recent
projects such as in north-west Australia (see Section 2.1.5).
2.1.2.3      Sedimentation
Further to the numerous statements in 2.1.2 regarding the temporary nature of turbidity being
short-lived etc., there is no clarification or mention of the fate of any turbidity in the water column
both in terms of organic matter or indeed suspended sediment either as a result of natural
processes and/or dredging operations.
In terms of the EIS (SAJ, 2004) Appendix J Mitigation Plan there is mention that the “reef
monitoring program will consist of both physical and biological components”. For physical
monitoring, this will assess the degree of settling of the [dredged] reef materials. However, no
indication is provided in the document or subsequently how or if sedimentation associated with
dredging will be separated from natural processes (see Section 2.1.6). This means that the pre-
dredge baseline data collected 2013 in order to establish the impact of any observed
sedimentation cannot be distinguished between dredging operations and what is natural littoral
transport. This could result in anything from 0 to 100% sedimentation and everything in between
being attributed to dredging operations or conversely natural sediment transport processes. This
position creates a very difficult and un-defendable position for the Corps particularly in light of
the pre-dredge baseline data being collected after commencement of dredging.
As is noted in Section 2.1.2, there was almost no consideration of sedimentation due to
dredging operations (or natural processes and how to differentiate these) and therefore the
potential impact on coral and hardbottom communities, despite the awareness and comments
from different parties of the likely effects. As a result, no adaptive management plans,
strategies, or additional monitoring were put in place to address this if, or (as it turned out) when
it occurred, including ceasing dredging (see Section 2.1.5). This was further compounded by the
sparse, inconclusive and temporally very short pre-dredge baseline data (see Section 2.1.6).
2.1.2.4      Coral Resources
The final Environmental Impact Statement (EIS) and General Reevaluation Report (GRR) for
MHIII is dated February 2004 (SAJ, 2004). Pre-dredge baseline biological surveys occurred in
the fall of 2013, with construction commencing on November 20, 2013, before pre-dredge
baseline biological surveys were complete. Despite the nearly ten year time-span from
completion of the final EIS to project construction, a supplemental EIS was not produced. The

Page 18                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00721
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 173 of 350




National Environmental Policy Act (NEPA) states that a supplemental EIS is required when
“there are significant new circumstances or information relevant to the environmental effects
that have bearing on the proposed action or its impacts” (www.epa.gov/nepa/national-
enviornmental-policy-act-review-process). From 2004 to 2013, significant new information with
direct relevance to corals in the vicinity of MHIII became available. In this timeframe, the fields
of climate change and ocean acidification (which directly affect coral survivorship) (See Hoegh-
Guldberg et al., 2007; Pandolfi et al., 2011) coral stress and disease (See Weil et al., 2006;
Miller et al. 2009), and reef resilience and restoration (See Bellwood et al., 2004; Precht, 2006)
advanced rapidly. Additionally, in May, 2006, two species of corals, staghorn coral, Acropora
cervicornis and elkhorn coral, Acropora palmata, became the first corals to be listed as
threatened under the Endangered Species Act (ESA)(71 FR 26852). In 2009, five additional
species of Caribbean corals were petitioned to be listed under the ESA, and later designated as
threatened in 2014 (79 FR 53851). All seven species have geographic ranges that include the
Florida Reef Tract offshore Miami-Dade County. Also in 2009, new, more detailed benthic
habitat maps based on LIDAR data were published for coastal waters offshore Miami-Dade
County (Walker, 2009).

2.1.3        FDEP Permit 0305721-001-BI
FDEP issued a Final Order Permit on May 22, 2012, stating there should be “no elevation of
turbidity…authorized within the boundaries of the Biscayne Bay Aquatic Preserve, designated
as Outstanding Florida Waters (OFW)” greater than a temporary mixing zone of 150 m and to
establish a maximum allowable turbidity level above background within these OFW during
project construction.
Overall, the terms and clauses in the permit relevant to this review, noted below, are very
generic and lack specific details on what is meant or required which created ambiguity. It is
assumed or possible that FDEP, and in turn SAJ, wanted to avoid being (overly) prescriptive
and were therefore very much reliant on a very competent and professional contractor with the
main focus being environmental protection to ensure conditions were monitored correctly and
exceedances of the permit notified and addressed promptly. In the absence of a client (SAJ)
representative on site ensuring compliance to the permit requirements, a lack of prescriptive
conditions and a contractor focused on other more commercial aspects, including preventing
dredge downtime, this could, and probably did, lead to shortfalls in the monitoring. By
comparison to water quality/turbidity monitoring, the permit is much more prescriptive for coral,
hardbottom resource monitoring.
Subject to any separate clarification agreed between FDEP and SAJ, which it is assumed did
not exist and this review is not aware of, it is likely to lead and probably did lead to a very wide
interpretation. Every indication, including SAJ’s intention noted above in SAJ 2004 is that SAJ
accepted and worked within the permit rather than made its own interpretation including
tightening the monitoring requirements specified to the dredging contractor and its sub-
contractors. In turn this would allow, and inevitably did allow, the dredging contractor and its
sub-contractors to make their own interpretation, further compounding the problem in terms of
the lack of specific detail provided in the FDEP permit.


Page 19                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00722
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 174 of 350




In terms of specific clauses relevant to this review, the following are noted with comments
added in italics relevant to the generic nature of FDEP’s permit and ultimately SAJ’s contract:
       x    “Best Management Practices (BMPs) shall be utilized where appropriate and
            maintained at all times…to minimize turbidity generation including when conditions
            appear conducive to the encroachment of a turbidity plume into the OFW and to
            prevent spillage of hazardous substances into waters from dredge or scows”. No
            indications were provided in terms of BMPs. It is not clear as to whether FDEP’s
            definition of a “hazardous substance” includes the dredged sediment that is in the
            scow or hopper that is being collected and transported.
       x    “Turbidity control devices shall be installed prior to commencement of construction in
            any given area and maintained daily to ensure integrity and functionality until post-
            construction clean-up of each work area is completed”. No details were provided as to
            what turbidity control devices FDEP was considering.
       x    “Comply with barge monitoring protocol in EPA’s and SAJ’s September 2008 Miami
            ODMDS Site Management and Monitoring Plan (SMMP) including vessel tracking
            adding “if a scow is determined to be leaking, use of that scow will cease and repaired
            promptly”.
       x    Contractor’s Environmental Protection Plan including BMPs to be implemented to
            prevent erosion, turbidity etc.” Again no detail on BMPs.
       x    “Turbidity monitoring shall be conducted by individuals with prior experience in turbidity
            monitoring for major dredging projects”. This review can find no details on International
            Towing and Salvage LLC or their experience or whether they are even in business. No
            details were provided as to the nature of experience, whether monitoring was deemed
            “successful”, or the complexity or technical knowledge the contractor should have had.
       x    Requirements for turbidity monitoring comprised measuring “background” in the
            “surface and mid-water column at least 300 m upcurrent of dredge and clearly outside
            of any influence generated by the project or other obvious turbidity plumes”. No details
            on how the contractor should assess “upcurrent” including and very importantly, any
            water-column stratification especially given flows could be reversed or flowing in
            different directions between the visible surface currents and lower water-column. No
            mention of near-bed measurements at all despite the TSHD or CSD operating at the
            bed and typically 20 to 30% or higher of the bed sediment/rock being dredged entering
            the water column in terms of stripping losses (see Section 2.1.3). This would create a
            very high suspended sediment layer near-bed. By its very nature, a heavily sediment
            loaded water mass (such as a dredge plume) is going to be dense, mix poorly
            (excluding areas of high current flow, turbulence or shear) and therefore have a
            tendency to only be in the lower water column and generally much closer to the
            sediment bed. Therefore measurements did not cover the entire water-column and
            critically did not include near-bed. With no understanding of the direction of flow or
            water column stratification it would be extremely difficult to explain the results and
            identify any anomalies. Given the above, it is unlikely that a true, representative or

Page 20                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00723
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 175 of 350




            comprehensive assessment of background turbidity would be recorded making it
            harder to accurately determine turbidity related to dredging operations only.
       x    For what FDEP classed as the “Compliance” area subject to within or outside OFW,
            turbidity monitoring was required in “surface and mid-water column not more than
            150 m down current from the dredge within the densest portion of the project-related
            turbidity plume, outside of OFW. Inside OFW at dredge sites, the same monitoring was
            specified not more than 750 m downcurrent within the densest part of the plume”. As
            above, no mention of how to measure “downcurrent”, record water-column
            stratification and notably no requirement to monitor the lower water column where the
            greatest turbidity concentration and impact from dredging was likely. In addition, the
            “densest portion of the project-related turbidity plume” is highly subjective and
            ephemeral particularly if tidal currents, waves, wind-driven circulation are present
            and/or if there are multiple sources of project-related turbidity, i.e. from dredging,
            overflows, spillage or leakage from scows etc. Given the dynamic nature of the
            turbidity and source/s and the highly subjective nature of measuring the “densest part
            of the plume”, it is very unlikely that turbidity measurements from dredging operations
            were remotely accurate or representative of what was actually being released into the
            water column and certainly in the lower water-column, in particular near-bed.
       x    An intermediate area is also specified for an “expanded mixing zone within OFW and
            where the turbidity plume extends over known hardbottom and (or – presumably)
            seagrass resources requiring monitoring “at surface and mid-depth at 150, 300, and
            500 m downcurrent from the dredge”. Similar issues as above.
       x    “Water samples required with each compliance monitoring event”. No specification as
            to whether these water samples should be analyzed, and if so, for what parameters.
            Importantly, no indication as to whether the samples or data should be used to
            calibrate the turbidity logger used for monitoring to convert turbidity data readings from
            NTU to mg/L.
       x    Compliance monitoring was required approximately every four (4) hours during
            daylight dredging, beginning approximately 30 minutes after the commencement of
            dredging or other construction activity. “Compliance monitoring shall also be
            conducted whenever a substantial plume (i.e. a plume that, in the monitors’
            professional judgement, may result in an exceedance of the turbidity standards)
            approaches the edge of the mixing zone (i.e. 150 m from the turbidity source) when
            working outside of OFW or 750 m from the dredge when plume extends into
            OFW…such that a water quality violation may exist”. Reduced monitoring during night
            time dredging was outlined by FDEP. There is no definition of a “substantial plume” in
            terms of turbidity concentration as a guidance or scale (diameter) leaving it
            ambiguous. In addition, during night time dredging, in the absence of comprehensive
            turbidity monitoring both vertically and horizontally through the water column,
            identifying upcurrent and downcurrent or the densest part of the plume, is even more
            subjective and likely to create all sorts of variations in the quality of the monitoring.


Page 21                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                  NMFS_00724
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 176 of 350




       x    Notably, the permit notes that “transporting dredge and fill material does not qualify as
            a permitted turbidity source”. It is not clear whether this means scows cannot leak, as
            in they are not permitted to leak, or that leakage does not fall under the turbidity
            monitoring requirements specified in the permit and therefore is less important. If the
            latter, this is in contrast to the comment above in terms of ensuring that “if a scow is
            determined to be leaking, use of that scow will cease and repaired promptly”. This
            potentially means that if there is leakage from a scow or hopper, which did occur
            multiple times, unless this was classed as a “substantial plume” (which as above was
            not adequately specified), it would not be monitored even if or when it occurred near or
            over a hardbottom or seagrass resource.
       x    In terms of permitted turbidity concentrations, the permit indicates limits “outside OFW
            (seaward of Government Cut) turbidity at the edge of the approved mixing zones shall
            not exceed 29 NTU above background” and within the OFW not to exceed 9 NTU
            adjacent to the seagrass mitigation site or 13 NTU elsewhere. Calibration of the
            turbidity logger is to follow FDEP laboratory SOP; the link specified would not open at
            the time of this review. FDEP SOP as follows: “The instruments used to measure
            turbidity shall be fully calibrated within one month of the commencement of the project
            and at least once per month thereafter during project construction. Calibration shall be
            verified each morning prior to use, and after each time the instrument is turned on,
            using a turbidity “standard” that is different from the one used during calibration”;
            presumably the original monthly calibration. As outlined above turbidity typically
            comprises a range of biological and physical material including natural sediments and
            importantly sediments related to dredging. Ideally background measurements,
            measured correctly, would reflect any natural sediment or background turbidity,
            however different particles/marine fauna respond in a variety of ways on a turbidity
            logger which is why the vast majority if not all similar operations require calibration of
            the turbidity logger using actual samples from the site from the water column where
            measurements are made. This allows calibration to the specific material being created,
            in this case dredged sediment, with water samples being analyzed for Total
            Suspended Solids to allow data to be expressed as mg/L rather than in more arbitrary
            units of NTU.
       x    Additional measures specified include “whenever turbidity levels exceed the values
            states above, which would be indicative of a violation of state water quality standards,
            immediately cease all dredge or discharge operations that may be contributing to the
            water quality violation. Cessation of dredging or discharge operations shall continue
            until monitoring indicates that turbidity levels are meeting the applicable values
            stated…modify the work procedures that were responsible for the violation…installing
            additional BMPs. This requirement in itself is relatively prescriptive however, the permit
            conditions above, for the reasons outlined, are likely to lead to few exceedances or
            occasions where it is clear and data comprehensive enough to lead to cessation of
            dredging and/or discharge operations. Given the monitoring requirements in the
            permit, unless turbidity was very significant resulting in plumes from the cutterhead


Page 22                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00725
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 177 of 350




            dredge mixing sufficiently into the mid- or surface water column to be ‘noticed’ by the
            operator, particularly during night time, and then logged, it is unlikely this would result
            in cessation of dredging etc.
       x    Assessment of sedimentation on coral, hardbottom communities and/or seagrass was
            proposed using sediment traps and sedimentation blocks. Sediment traps were to be
            similar to the design used in the Broward County Shore Preservation Project (BCSPP)
            with a 1” diameter pipe and an 8” length tube with the top of the trap no more than 18”
            above the seabed. Sediment traps were to be emptied every 28 days with the weight
            captured measured in mg sediment. The sedimentation blocks were specified as 8” x
            8” x 8” cement blocks with the sediment thickness deposited being recorded on each
            corner and in the center of the block. No sedimentation was recorded on the blocks for
            the entire pre-dredge baseline survey (see Section 2.1.6), however, despite this,
            monitoring of the blocks continued throughout the period of dredging, again with no
            sedimentation observed throughout. Unfortunately, FDEP’s specification of sediment
            traps “similar to those from BCSPP” suggests that these worked successfully and/or
            measured an accurate and representative quantity of sediment, however this ignores
            site specific conditions at MHIII and the most appropriate sediment trap type for this
            location and its efficacy. For example, if horizontal current velocities and/or wave-
            orbital velocities are high then a sediment trap open at the top, as per BCSPP, creates
            turbulence and distorts the circulation at the mouth of the trap which in turn affects the
            capture efficiency of sediment and also affects certain particle sizes. Given velocities
            and turbulence vary site to site, the data collected cannot be classed as quantitative,
            or comparable with each other given the spatial variability in these key parameters. In
            areas where there are high horizontal velocities (currents and/or waves), sediment
            traps should have apertures on the side with baffles to force the flow downwards into
            the collection chamber. Storlazzi et al., 2011 summarizes these factors highlighting
            that the turbulent nature of flow over the trap mouth creates eddies, the intensity of
            which and their frequency of shedding particles increases with increasing flow velocity
            toward and over the trap. Storlazzi et al., 2011 suggest that “where instantaneous
            combined current and wave-orbital speeds >10-20 cm/s, the trapped material should
            only be used to provide samples of suspended sediment for physical and chemical
            analyses to compare to seabed samples” rather than to assume data are quantitative.
            However, despite this, sediment traps approximately the same as those used in
            BCSPP were used throughout the pre-dredge baseline, dredging, and post-dredging
            period (see Section 2.1.6) even though there was no detailed understanding of the
            hydrodynamics and in particular bottom currents in the MHIII areas including at the
            control/reference sites. The only information available was modeled by Brown et al.,
            2003 which was wholly inaccurate. Therefore the sedimentation data cannot or should
            not be assumed to be quantitative and comparable spatially or temporally including
            between permanent monitoring stations and reference stations.




Page 23                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                FOR OFFICIAL USE ONLY
                                                                                                   NMFS_00726
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 178 of 350




       x    FDEP specify pre-dredge baseline monitoring of sedimentation etc. weekly for a
            minimum of 28 days prior to commencement of dredging. Given the spatial and
            temporal variability likely for the site as a whole including localized and seasonal
            effects, this period of baseline monitoring is too short (see Section 2.1.6).
       x    FDEP specify monitoring reports to be submitted within 1 week of analysis.
Finally, FDEP also requested a meeting 7 days before any dredging commenced to review
conditions and monitoring requirements. It is assumed given the brief time period over which
pre-dredge baseline data were requested by FDEP in the permit and delays in completing this
with only 2 weeks of data collected out of the 4 weeks specified, that the meeting, if held, was
unable to adequately review conditions and monitoring requirements certainly from the pre-
dredge baseline surveys.
Notably, compliance and reference monitoring stations were pre-determined within the permit.
During this review process, there has been no evidence that the monitoring stations were pre-
determined based on any understanding of the hydrodynamics and circulation of the area, rate
of movement of sediment or the likely fate of material created by the dredging operations, both
the TSHD/CSD and overflow.
Neither the FDEP permit nor the USACE permit modification #1 (SAJ, 2012) include a stand-
alone Biological Monitoring Plan which is typically required for large-scale projects of this
nature. The USACE permit modification #1 does not include language pertaining to biological
monitoring of marine benthic resources nor references either the FDEP environmental resource
permit or the Environmental Protection Plan (EPP) (SAJ, 2013). The permits and the EPP do
not clearly define all aspects of monitoring protocols, are vague, and could be misinterpreted
due to lack of examples.
In conclusion, based on this review, the FDEP permit was vague, generic, and insufficiently
prescriptive, particularly for the turbidity and sedimentation monitoring. This made it relatively
easy to exploit, given the approach and monitoring adopted by the dredging contractor and the
turbidity monitoring subcontractor (see Section 2.1.5). Unfortunately, SAJ simply passed the
permit along to GLDD without adding or strengthening it or making it easier to make checks on
performance and ensuring the protection of the environmental resources.

2.1.4        Proposed Coral Stress Index
There is confusion in both the FDEP environmental resource permit and the EPP regarding the
coral stress index to be utilized for coral health monitoring. The FDEP permit Section 32.i.a.2
describes a binary coral stress index where stress parameters such as excessive mucus,
disease, and bleaching are to each be assigned a health level or score of “0” for absence or “1”
for presence. The permit directs the reader to “see example below” however no example is
included. Later, in Section 32.ii.d, the permit states that “stress expressed above normal by
corals and/or octocorals within transects (stress scale used for Broward County Segment III
Project) will require an additional survey to outline the area(s) of impact”. However, the permit
skips a crucial step in describing how coral stress scores will be tabulated per colony, per
transect, or per station, nor describes how “stress expressed above normal” shall be assessed.


Page 24                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                   NMFS_00727
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 179 of 350




To add to the confusion, the Broward County Segment III Coral Stress Index is referenced
which is not the coral stress index that was to be utilized for MHIII. The Broward County stress
index is a severity ranking scale from 0 to 3, in which individual colonies were assigned a total
stress rank, with 0 being healthy and 3 being severely stressed (See Fisher et al., 2008). Each
rank from 0 to 3 was inclusive of a suite of primary stress parameters and severity; individual
stress parameters such as bleaching or excessive mucus were not each assigned individual
ranks or scores as described in the previous Section 32.i.a.2 of the FDEP permit.
The EPP includes coral health monitoring protocols for MHIII in Section 3.1.10.3.b. The EPP
states that the following coral stress parameters shall be included: bleaching, excess mucus
production, polyp extension, and disease, and refers the reader to an example in Appendix B. It
does not include visible sediment accumulation on coral tissue as a mandatory parameter to be
assessed. Sediment accumulation on coral tissue is one of the easiest parameters to assess
and is a key indicator of sediment stress on corals (Rogers, 1983). Sedimentation rates in
excess of what corals can actively manage via mucus production, tentacular and ciliary action,
and swelling will eventually lead to energy depletion, sediment accumulation on tissue, tissue
bleaching and anoxia via smothering, and eventual tissue death (Peters and Pilson, 1985;
Erftemeijer et al., 2012). Sediment removal is energetically expensive for corals (Riegl and
Branch, 1995; Anthony and Connolly, 2004) and therefore standing sediment on coral tissue is
a critical parameter to monitor when increased sedimentation from dredging is anticipated.
Congruent with the FDEP permit, Section 3.1.10.3.b of the EPP describes a binary system
(0 or 1) for assessing presence/absence of coral stress parameters. However, the EPP goes
into more detail and states that “a coral receiving a score of a “1” for two or more stress
parameters will be classified as declining in health”.
The EPP states that presence of 2 or more stress parameters was required to designate a coral
as stressed; however, this was not the protocol followed in coral health monitoring for MHIII.
Coral stress parameters were not additive and corals were designated as “stressed” with
presence of 1 or more stress parameters (DCA, 2014). The EPP refers the reader to an
example coral stress index in Appendix B, however, this example is incomplete in that it does
not tally the total number of stressed corals (which should only be those colonies with 2 or more
stress parameters present). Conversely, the Key West Resource Health and Sedimentation
Monitoring (RHSM) Plan (CSA, 2003) included an example coral stress scoring worksheet
(Figure 1). A lack of clearly-defined monitoring protocols and examples in the permits and plans
may have contributed to misinterpretation of the intended monitoring protocol by the contractor.
However, if any monitoring protocols were ambiguous, the contractor should have clarified them
with the SAJ prior to project data collection.




Page 25                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00728
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 180 of 350




Figure 1.           Example coral stress index scoring worksheet included in the Key West Dredging
                    Project RSHM Plan (CSA, 2003).
The EPP also describes additional coral bleaching and disease “triggers” or thresholds that
were to be simultaneously monitored, in addition to parameters assessed with the stress index.
The coral health monitoring protocol in the EPP emulates that utilized for the Key West
Maintenance Dredging Project RHSM Plan (CSA, 2003) and indeed, this was the model
intended for MHIII (pers. comm, T. Jordan-Sellers, SAJ). However, the same sentence that
appears in the FDEP permit, erroneously referencing the Broward County Segment III Coral
Stress Index, (“stress expressed above normal by corals and/or octocorals within transects
[stress scale used for Broward County Segment III project] will require an additional survey to
outline the area(s) of impact”) also appears in Section 3.1.10.4.4 of the EPP. The EPP does not
reference the Key West Dredging Project RHSM Plan. It is possible that certain sections of the
FDEP permit (and errors) were copied/pasted into the EPP. The intended coral stress index
protocol (that used in Key West) was not what was cited in permits or plans by SAJ, FDEP, or
GLDD or what was implemented by DCA during coral monitoring. Although the Key West
Dredging Project RHSM Plan was the intended model for MHIII, it was not referenced,
described, or followed properly in permits and monitoring for MHIII. The complete methodology
employed in MHIII was not fully described until the Methods section in the Quantitative Baseline
Monitoring Report for Middle and Outer Reef Benthic Communities (DCA, 2014).




Page 26                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00729
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 181 of 350




2.1.5        Coral Stress Parameters
Twenty-four coral stress parameters were assessed during the pre-dredge baseline monitoring
surveys for MHIII (See Table 2, DCA, 2014). While this list of stress parameters is thorough, it is
problematic for several reasons:
Firstly, it includes many natural background stressors, such as overgrowth by sponges, signs of
competitive interaction, and fish bites that are commonly observed in corals throughout
southeast Florida at present. Coral communities and reefs in southeast Florida and worldwide
have been in decline for decades due to multiple stressors including thermal stress induced
bleaching, eutrophication, over-fishing, and disease (Pandolfi et al., 2005; Carilli et al., 2010).
While it is important to incorporate background stress into a monitoring program, it is not
practical to monitor every singlestressor, and especially those which are not unequivocally
proven to be deleterious to coral health such as fish bites (See Mumby, 2009; Bythell et al.,
1993) and polyp extension (expansion of polyp tentacles) which is a normal behavior for corals
during heterotrophic feeding. These two parameters could have been noted, but should not
have been included as parameters to designate a coral as “stressed”; which were scored as
contributing to coral stress regularly during the coral monitoring for this project.
Secondly, because the coral stress index utilized was not additive, and presence of one or more
of 24 possible stress parameters designated a coral as “stressed”, the ability to differentiate
potential project-related sedimentation stress from natural background stress was masked. The
coral health monitoring employed for MHIII did annotate the kinds of stress present on each
tagged, monitored coral and later summarized in reports which stress parameters were most
common at compliance versus control stations, but this method lacked a quantifiable component
associated with potential sedimentation or other types of stress. Because coral communities in
southeast Florida exhibit a fairly high degree of natural background stress, using a non-additive
coral stress index runs the risk of finding no significant difference among compliance and control
stations, as corals may be stressed for a multitude of different reasons. Inclusion of more
“minor” stressors (such as overgrowth by sponges and fish bites) further increases the
possibility of corals to be designated as “stressed” for one reason or another. While the
intentions of the contractor may have been to be as thorough as possible and document all
possible stressors, it led to high “coral condition scores” at both compliance and control stations.
The coral condition score was the total number of “stressed” corals divided by the total number
of colonies monitored at a given monitoring station. High scores at both compliance and control
stations detracted from the ability to detect differences between the two. An additive coral stress
index, where presence of each particular stressor contributes numerically to an overall
“condition score”, would have increased the range of possible scores and the likelihood of
finding potentially significant differences between compliance and control stations.
Thirdly, it is highly important to consider and include background stressors such as bleaching
and disease in a monitoring program, as they reduce coral immunity and the capacity of corals
to tolerate additional stresses (Schoepf et al., 2015) such as sedimentation from dredging. The
reverse may also be true, whereby stress from sedimentation may increase susceptibility of


Page 27                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00730
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 182 of 350




coral to bleaching and disease (Meehan and Ostrander, 1997; Wesseling et al.,1999;
Sutherland et al., 2004). However, in order keep monitoring protocols practical, cost-effective,
and capable and focused on detecting project-related stress, background stress parameters
should be carefully selected and relevant.

2.1.6        Coral Stress “Triggers” or Thresholds
The FDEP permit did not include or define coral stress “triggers” or thresholds (i.e. pre-
determined levels of coral stress that once reached, require additional surveys or adaptive
management of dredging activities). Both the FDEP permit and the EPP state that “stress
expressed above normal will require additional surveys to outline the areas of impact” but does
not define or assign a value to the threshold itself. Ideally, thresholds for coral stress (or
sediment accumulation) are established pre-project based on pre-dredge baseline data and/or
pilot studies (See Shafer Nelson et al., 2015; Jones et al., 2016) which safeguard against
permanent “impacts” and the need for “impact delineation surveys”.
Again, using the example of the RHSM Plan from the Key West Dredging Project (CSA, 2003),
various types of soft and hard “triggers” were defined in the monitoring protocol based on coral
stress scoring or sediment accumulation and duration (Figure 2). Regional background stresses
were acknowledged as important factors affecting coral health and therefore separate “triggers”
for each coral bleaching and coral disease were also included. If 3 or more corals (50%) at a
given monitoring station exhibited bleaching or if 50% were diseased, this constituted a “soft
trigger” and additional coral stress surveys were required in the immediate vicinity of the
monitoring station. Section 3.1.10.3.c of the EPP included the following similar language, “if
three or more corals at any project area site show evidence of either bleaching or disease
during a survey, this will indicate declining health at the site.” This language was directly copied
and pasted from the RSHM Plan as it mentions “three corals”. Monitoring stations for the Key
West RSHM only included 6 coral colonies total per station, and the threshold level established
for bleaching and disease was 50%. A 50% target threshold for MHIII would have been
approximately 15 corals per monitoring station (out of 30 total), not 3.
The EPP does mention a “stress violation” based on frequency of coral bleaching, excessive
mucus production by corals, and/or covering of benthic community components such that death
or degradation have occurred. The EPP also includes a maximum sediment accumulation rate
of 1.5 mm per day above the analogous reference station as measured on sediment
accumulation blocks (Section 3.1.10.5.b); however, the sediment blocks failed to accumulate
sediment likely due to strong currents throughout the project. Therefore the pre-determined
sediment accumulation threshold was ineffective.




Page 28                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00731
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 183 of 350




Figure 2.           Example of coral stress flowchart defining soft and hard “triggers” and resulting
                    management actions in the Key West Dredging Project RSHM Plan (CSA, 2003).


Page 29                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00732
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 184 of 350




                                                                      NMFS_00733
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 185 of 350




to turbidity and sedimentation compared with biological monitoring) and then from SAJ.
However, it is clear that GLDD did not seek to put the environment and protection of
environmental resources at the forefront of its operations. It is clear that they followed the
permit/contractual requirements only.
GLDD would be very aware that the stripping losses or percentage spill of material from a CSD
could typically be in the order of 20 to 30% of the material cut by the cutter head. This is
material not drawn into the suction pipe during dredging. It is very likely that GLDD would be
aware that stripping losses could also be as high as 50% when cutting hard rock formations
(Dekker et al., 2003, Den Burger 2003 and Vlasblom 2005) as summarized in Mills and Kemps,
2016. This percentage is significantly influenced by the nature of the in situ material, cutter
design, and operation (including rotation speed, depth of cut and swing), speed, cut type and
ladder angle, all of which GLDD can control to some degree, in addition to particle size
distribution and density of cut material and other metocean conditions (waves, tides) as
dredging occurs (Lorenz, 1999, Den Burger, 2003, Palermo et al., and Henriksen, 2010). Given
many of the studies and projects listed were approximately 10 years earlier or more than MHIII,
including studies by the USACE, it is hard to assume that GLDD was not aware of the above. It
is also unlikely that GLDD were not aware of a dredge project very similar to Miami where a
catastrophic environmental impact occurred 10 years prior in Geraldton, Western Australia,
particularly given GLDD’s involvement in Wheatstone, Western Australia (Chevron Australia,
2016). Capital dredging in Geraldton was done by CSD removing approx. 4.1M m3 of limestone
rock substrate. The dredging took place between October 2002 and October 2003, which
resulted in a turbid plume that stretched for up to 70 km along the coast and created layers of
“rock flour” several feet thick in places which smothered the seabed over wide areas (Westera
and Babcock, 2005) with the seabed requiring years to recover. The examples above clearly
demonstrate the significant impact of dredging limestone with a cutterhead dredge. In addition,
GLDD carried out roller-chopping in Miami to “pre-treat” or break up the rock without any suction
which caused particularly high levels of suspended solids (pers. comm., L. Reichold, SAJ).
Based on the studies listed above, roller-chopping could have created stripping losses of
dredged sediment to the environment in excess of 50%.
(Note: Very crudely, considering a dredge volume of approximately 2 million yd3 (assuming
approximately only 33% was broken apart by CSD/roller-chopping into fines in the vicinity of
Middle Reef, rather than the total estimated volume of 4.4M m3 or 5.8M yd3) spread over an
estimated 216 acres (the area assessed by DCA to indicate sedimentation) at an average of
20% stripping losses, this would approximately equate to a deposition on the hardbottom
communities of 13 inches or 33 cm, which is comparable with some reported observations of
sedimentation on Middle Reef. Unfortunately, given no details were recorded of dredge volumes
disposed at the ODMDS and the likelihood that a proportion of the fine sediment (silt and sand)
probably did not make it to the bed within the vicinity of the ODMDS site, it is not possible to
corroborate these volumes).
Despite likely knowledge of at least some or all of the above, GLDD accepted the FDEP permit
requirements, passed on by SAJ as stated, and did not consider or advise or recommend
additional or more comprehensive monitoring even though GLDD recognized the importance


Page 31                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00734
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 186 of 350




and sensitivity of the environmental resources. It is possible, even highly probable, that this
position was adopted to avoid any down-time or cessation of dredging (at GLDD’s cost and
impact on profit). Undoubtedly the lack of more prescriptive and comprehensive permit
requirements allowed this position to be exploited and certainly does not agree with GLDD’s
statements listed above to have an

                onsidering GLDD’s experience immediately prior to MHIII in 2012-2013 with
DEME for Chevron’s Wheatstone (Chevron Australia, 2016) project near Onslow, Western
Australia, which had much more stringent environmental monitoring, the standard of operations
in Miami were highly questionable. The project for Chevron Australia required capital dredging
of similar carbonate limestone rock and had a much more stringent and adaptive management
and monitoring systems, which GLDD successfully worked within. Therefore, GLDD
demonstrated that they can work within these stringent environmental constraints and
conditions if or when required by the client or permit.
The Wheatstone project had a tiered “trigger level” approach to water quality monitoring created
robust thresholds to manage any potential impacts on corals and seagrass habitats etc.
surrounding the dredging area. Trigger levels were set for turbidity above which different levels
of management were necessary including:
       x    adapt method of dredging (i.e. rate of dredging, overflow management);
       x    adapt method of disposal (i.e. placement location, rate of discharge);
       x    relocating dredge area within specific zones; and
       x    cease dredging if in non-compliance.
Importantly, water quality was monitored at regular intervals throughout the day using satellite-
telemetered water quality instruments to provide near real-time data for use in proactive
management. Assessment against the trigger levels occurred on a daily basis for the duration of
the dredging activity. Review of the trigger values occurred through regular monitoring of the
benthic communities using remotely operated vehicles (ROVs) throughout the project with
comparisons drawn against the pre-dredge baseline and reference communities to detect any
changes to the status. In addition, daily forecast modelling was used as a valuable tool to
predict potential future impacts to water quality, including cumulative impacts, enabling
proactive management to address issues before they occur. Hindcast modelling (using known
source terms) was also a valuable tool to differentiate the relative contribution of various
dredging activities when changes to water quality occurred as well as to differentiate between
dredging related and natural effects. Monitoring in tiered levels ensured that warnings were
available in sufficient time to enable management of operations to avoid reaching the threshold
of unacceptable impact that would have stopped the dredging activity (Chevron Australia, 2016).
GLDD proposed


                                         GLDD mention that


Page 32                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00735
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 187 of 350




                                                                                     In addition,
GLDD state that
                                 and
                                                                                       In practice
this is not something that was done or done on a daily basis. GLDD proposed that


                                                           It is not clear as part of this review,
how often, when, or even if this ever took place.
One example of adaptive management that GLDD proposed as part of the environmental
monitoring of hardbottom communities and coral was that




                                                                           It is not clear from
this review whether this was ever done. However, GLDD goes on to state that a “




                                                                             Given the significant
spatial impact of dredge plumes from TSHD, overflows and in particular CSD and roller-
chopping, as referenced in the literature above from the previous decade or earlier, it is naïve to
assume, and misleading to state, that moving the dredge by 400 ft would have any measureable
keffect on the coral and/or hardbottom affected or allow any recovery in the short to medium
term.
As per the FDEP permit, GLDD reported turbidity monitoring data in NTU, despite the industry
standard for dredge material being measured in mg/L for total suspended solids including, tests
they carried out on the scow/hopper loads, which were measured in mg/L. More importantly no
attempt was made to calibrate the turbidity monitoring equipment using the water samples
collected. This would have allowed measurement of water quality data specifically related to
dredged suspended sediment rather than all turbidity, which could be affected by biological
material and also natural suspended sediment. In the case for the CSD dredging of carbonate
limestone rock, this would be notably different from the dredging of ambient seabed/overburden
material. Calibration of the turbidity monitoring equipment should have been done and is
typically done on a regular/daily basis for the specific material being dredged and the dredge
plumes being created to avoid or minimize the effects of other more natural material affecting
the results. Given water samples were being collected and tested, it would not have been very
costly or burdensome to carry this out and should have been done as standard practice.
Instead, GLDD proposed to

Page 33                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                                NMFS_00736
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 188 of 350




                                           Neither “standards” would reflect or compare with
any of the dredged suspended sediment created during MHIII. As part of this review, no
comparison or calibration between the dredged sediment and the instrument readings was
identified.
In addition, GLDD and its subcontractor did not have any mechanism to determine water
velocities or water direction, with entries typically “N to S” (north to south) or “S to N” (south to
north) or even “NA” (presumably Not Available); this is despite much of the dredging activity,
and therefore turbidity monitoring, being in the channel where tidal currents were more likely to
be east-west some or all of the time, orientated in line with the channel. No water column
stratification data were recorded in order to assess whether any dredge plumes were moving in
opposing directions in the water column. Based on the above, measurement logs provided by
the contractor, including accurate recording of ambient data, tends to appear as cursory rather
than detailed and comprehensive, and certainly not along the lines of the
                        as stated by GLDD. Given the subjectivity of identifying and measuring
the “densest portion of the project-related turbidity plume” as per the FDEP permit, GLDD made
little additional attempt to ensure this was done or achieved and based on a clear understanding
or physical measurement of the ambient conditions, despite assurances stating that

                                     Given the terms of the permit, no SAJ representative on
site ensuring this was done systematically, it would be very easy for a less rigorous monitoring
program to be adopted minimizing or removing the chance of any turbidity exceedances and
perhaps explains anecdotal evidence that turbidity was seen as significant and yet turbidity
monitoring data showed no concurrent exceedances. Had measurements been done in the
lower water-column, as should have been the case with CSD and/or roller-chopping operations
taking place, this would have undoubtedly led to exceedances and cessation of dredging, which
GLDD would not have wished for. However, it would have certainly helped protect the
environmentally sensitive resources GLDD proposed to do, as stated:


                                                             . In addition, GLDD stated under
their proposals to ensure protection of the environment, presumably based on experiences such
as the Chevron Wheatstone project,


One of the measures GLDD indicate they would put in place to ensure protection of the
environment was


                                 This was to ensure that GLLD can continue
                                                                  However, on the very next
page, they propose
                                                                              It is also
understood that GLDD discharged dredged material on several occasions with no scow or dump
barge present, although no details were provided by SAJ on this.

Page 34                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00737
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 189 of 350




GLDD noted that
                                              . They proposed
                                                                         GLDD also stated that
they would

                                                                    However, the FDEP permit
notes that “transporting dredge and fill material does not qualify as a permitted turbidity source”,
despite the fact that FDEP state that “if a scow is determined to be leaking, use of that scow will
cease and repaired promptly”. It is therefore not clear whether the FDEP permit was sufficiently
clear to ensure compliance. The Environmental Protection Agency (EPA) and SAJ discussed a
one foot threshold for “draft loss”, equivalent to an allowable decrease in level in the scow
between filling and arrival at the ODMDS pre-dumping, indicating loss of cargo in transit. SAJ
indicated that was exceeded on approximately 31 occasions, representing 0.7 percent of the
4213 total scow movements (pers. Comm., L Reichold, SAJ). However, the actions taken by
GLDD to rectify or address this have not been reviewed. These cargo losses, which included
scows leaving with the hopper still open, would have created further turbidity plumes, which
based on the FDEP permit requirements would have gone unmonitored; the fate of any
suspended sediment spilled from the scow is unknown.
Given GLDD and its sub-contractor ITS were ultimately left un-supervised by SAJ to self-
monitor turbidity, it is no surprise that monitoring was perhaps less than robust and certainly
nowhere close to the monitoring conditions under which GLDD operated for the Chevron
Wheatstone project despite very similar operations and material and despite assurances to the
contrary from GLDD. It is therefore not surprising that there were very few exceedances
identified and no dredge down-time, as far as is clear from this review, despite the observed
sedimentation on the coral and hardbottom communities.
SAJ did propose in SAJ 2004 to use “environmental incentives as part of the RFP tender
approach to “encourage the dredging contractor to avoid impacts to reef and seagrass areas”
and “minimize environmental impacts”. SAJ also proposed that the tender would be reviewed on
the “technical portion of the contractor’s proposal” by qualified staff. In SAJ 2004 the Tropical
Audubon Society highlighted that the RFP process was of concern “resulting in a low-bid winner
for the dredging contract whose only goal is to maximize profits by utilizing short-cuts to
minimize costs. The focus of low-bid winners is cost-effectiveness not environmental
protection”. However, SAJ stated that the “RFP process showed the opposite with incentives to
encourage potential contractors to develop a technical approach which will avoid or minimize
impacts and ensure environmental protection”.
In terms of GLDD’s proposal,




Given the lack of acceptance or awareness by FDEP and SAJ that dredging operations would
cause turbidity and potential sedimentation on the coral and hardbottom communities, and
certainly the lack of advice or recognition by GLDD that roller-chopping and CSD would cause a

Page 35                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00738
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 190 of 350




significant impact in terms of stripping losses and turbidity, no party including GLDD
acknowledged or questioned the risks to the environment. As a result, no mitigation was
planned for and the response mechanism or adaptive management plans were wholly
inadequate.

2.1.8        Pre-dredge Baseline Monitoring (2013) and Report
The Baseline Monitoring Report (DCA, 2014) summarizes the pre-dredge monitoring of
population dynamics, condition, and sedimentation environment of the benthic communities
carried out by DCA on behalf of GLDD. These data were collected in order to compare with
post-construction results “to document any change attributable to dredging while also
considering other environmental or anthropogenic factors”. As stated above, the FDEP permit
required “protective measures” based on a “clear understanding and assessment” to ensure
“preservation of natural resources, including hardbottom and seagrass”. However, it indicated
28 days of pre-dredge baseline monitoring prior to dredging was adequate. For any site, 28
days is considered far too short. This is especially the case to obtain a “clear understanding and
assessment”, considering the variable conditions of the site, in particular seasonal variations,
and the proposed duration of dredging.
DCA indicate that “quantitative sedimentation rates will be measured to test the null hypothesis”,
namely that “benthic communities in the indirect (channel side) sites will remain unchanged
between the pre- and post-dredge surveys”. This seems to be an unusual intent in terms of
monitoring, rather than establishing whether there is any impact. In addition, as stated above,
converting sediment trap data into quantitative data is potentially (and probably very likely)
flawed and inaccurate based on the fact that the hydrodynamic conditions at the sites the traps
were deployed was poorly understood and therefore the type of trap and setup was
questionable. The data obtained from the sediment traps should have been used to collect
suspended sediment samples for physical testing purposes only, rather than attempting to
convert this into a sedimentation mass or rate per unit area over time.
Prior to the pre-dredge baseline survey, estimates had been attempted by SAJ from bathymetric
survey data to try to assess sediment accumulation across Cuts 1 and 2 compared with
nearshore hardbottom habitat. However, the accuracy or vertical resolution of such surveys
would be questionable and is likely to lead to errors, especially when a change of 2 to 3% was
being predicted over a period of years. These data and the comparisons made would also not
highlight the flux or incremental change over the period between survey data or comparisons,
which would provide different answers to sediment collected in a sediment trap.
In terms of the selection and location of continuous monitoring and reference sites, this appears
to have been selected by FDEP setting the permit site polygons and then DCA using random
point generation methods within the polygon to determine a target location, with divers
identifying a high coral area rather than a sandy/barren seabed for the monitoring location. It
does not appear that hydrodynamic/circulation, ecological or the likely fate of dredged sediment
transport was used or considered in this process. Control or reference sites were then identified
based on the same water depth and habitat type, although the reference sites to the north of the
channel were approximately 9.3 km distance versus approximately 1.2 km for the south sites.


Page 36                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00739
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 191 of 350




This bias or weighting is not clear and does not appear to be based on anything identified as
part of this review, including for example, residual current velocities.
In addition, it is not clear why continuous monitoring sites were very close to the channel edges
with no sites in more mid- or far-field locations in order to gain a better understanding of spatial
variations and effects away from the dredging activities. This is consistent with earlier
observations of a systematic almost entrenched focus on the biological aspects rather than
considering, or ideally collecting data on, the likely dispersal, deposition and fate of turbidity and
sediments resulting from the dredging. These data could be used to identify zones of high, low,
and no impact, as is the case in other similar studies (e.g. Chevron Australia) in order to identify
key monitoring sites and also ensure that reference sites are actually outside the impact of
dredging and disposal operations.
Similarly, without this “clear understanding and assessment” and a more multidisciplinary
approach, key processes including knowledge of the hydrodynamics and sediment dynamics at
the site, it is possible that the reference sites, and possibly even mitigation sites, were impacted
by the dredging and/or disposal operations. This could particularly be the case as turbidity and
sedimentation accumulated over the duration of the entire construction project. Unfortunately,
the pre-dredge baseline data, as specified in the FDEP permit and carried out by DCA, was
insufficient in terms of spatial and temporal extent.
In addition to the sediment traps, DCA deployed sediment blocks as specified in the FDEP
permit. Over the pre-dredge baseline survey period (and alarmingly over the entire dredging and
disposal operations lasting 72 weeks), no sedimentation was recorded on these blocks. By
comparison, sediment was recorded on adjacent corals and hardbottom areas, almost indicating
the blocks preferentially or actively prevented sedimentation. Despite identifying that the blocks
were not effectively recording any sedimentation at all during the pre-dredge baseline survey (or
subsequently), no change whatsoever appears to have been made or suggested to this
monitoring. No recommendation was noted in the documents reviewed to suggest alternatives
or a discussion noted between DCA, GLDD, SAJ and/or FDEP to modify this monitoring
approach or adopt a more informative monitoring system. It was suggested post-construction
that “strong currents channel side swept all the sediment off the blocks” from the pre-dredge
baseline through to the post-construction surveys; this is hard to believe and clearly indicates
sediment blocks are not a suitable or reliable way to measure sedimentation offshore of Miami
given the other data and evidence.
Even more importantly, despite FDEP specifying a 28-day pre-dredge baseline monitoring
period with weekly data, only 2 datasets were obtained in total, with some data, including
qualitative sedimentation assessments, only 2 to 4 days apart. In theory this monitoring was
meant to represent two discrete datasets over the monitoring period between 13 October and
18 November 2013 before dredging commenced on 20 November 2013. Only two surveys were
conducted before November 20 according to DCA due to bad weather. Surprisingly perhaps,
given the brevity of the monitoring, DCA suggest a “natural sand event” occurred at one of the
monitoring sites (HBN1-CR) adjacent to the north breakwater of Government Cut with a “sand
wave…moving north to south as regional longshore drift” thereby concluding that “natural sand
transport influences the sediment dynamics of nearshore hardbottom communities”. Given the

Page 37                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00740
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 192 of 350




very brief period of monitoring, it is difficult to concur with this conclusion based on the evidence
obtained.
DCA state that the pre-dredge baseline data was intended to “understand sediment dynamics at
monitoring sites”, however the monitoring proposed would not provide this, particularly since the
sedimentation blocks recorded no sediment deposition at all and the sediment traps were
emptied only once in Week 4. In addition, DCA deployed 3 sediment traps per monitoring site
and at the time of collection combined all three samples into one composite sample, removing
any ability to assess the variability in the sample collection. Several similar over-statements
were made by DCA as to the information the pre-dredge baseline monitoring would provide.
This was continued in the post-dredge assessments, which also over-stated what could be
inferred, particularly quantitatively, as a result of comparing the pre- and post-dredging datasets.
DCA used the very limited sediment trap data to determine quantitative sediment rates
expressed as g/day without any areal/spatial estimate (i.e. per cm2). Given the concerns
expressed above in terms of the accuracy or trapping efficiency of the sediment traps,
particularly for different areas that might be subjected to varying horizontal tidal velocities and
wave-orbital velocities affecting the turbulence around the mouth of the traps used at MHIII,
estimating sedimentation rates is questionable. Relative to each trap and overall, it is possible
some comparisons can be drawn.
Based on this review, it is not recommended that such a short duration of data (i.e. one single
measurement) be used to make any comparisons as to the pre-dredge baseline sedimentation
rates, versus those during and/or post-dredging. This very limited dataset does not enable or
prove in anyway the null hypothesis proposed by DCA above or constitute a “clear
understanding and assessment” pre-dredge or provide reliable quantitative data.
Furthermore and of grave concern, pre-dredge baseline monitoring continued in different areas
through December 2013. DCA indicate that the later “pre-dredge” baseline monitoring was out
on the Outer or Third Reef, however, TSHD were operating approximately 1 km away or less,
with the TSHD and scows passing and operating throughout this area during this time, along
with disposal of dredged material at the ODMDS approximately 2 km to the east. However, the
fate of material dumped at the ODMDS, both material entrained in the water column during
disposal and also material reaching the seabed, is unknown. Based on this review, it is
therefore not possible to class these data as “baseline” monitoring given it is not possible to
decipher whether any or all of any observations were due to dredging and/or related to
background.
Regarding coral resources, four pre-dredge baseline monitoring weekly surveys were required
for each of 8 compliance (channel-side) stations and 9 control stations, for a total of 17 stations
for the Middle and Outer Reef monitoring areas. Pre-dredge baseline monitoring surveys
occurred from October 18, 2013, to December 30, 2013. Four pre-dredge baseline monitoring
surveys were completed for only 3 of 17 stations (17.6%) before dredging began on
November 20, 2013. These same 3 monitoring stations were the only stations to receive all four
baseline monitoring surveys; all other stations received only 2 or 3 surveys (See Table 1, DCA,
2014). All pre-dredge baseline monitoring surveys for the Outer Reef stations occurred after


Page 38                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00741
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 193 of 350




dredging started. Baseline data collected after dredging activities had started provides no
meaningful or true baseline condition from which to compare potential project-related impact
and invalidates the scientific integrity of the entire study.
Results from pre-dredge baseline surveys for Middle and Outer Reefs show sediment stress
was the most frequently observed stressor for all channel-side stations in contrast to a mix of
polyp extension, excess mucus, and sediment stress (depending on the location) for control
stations (See Figures 18, 19, 23, 24 in DCA, 2014). Time-series photographs of tagged coral
colonies for stations where baseline monitoring was complete before dredging began show little
to no sediment accumulation on corals surveyed before dredging began (Figure 3a).
Conversely, time-series photographs of tagged coral colonies for stations where baseline
monitoring was not complete before dredging show sediment accumulating on coral tissues with
increased duration of dredging activities (Figure 3b). Coral monitoring data for stations
monitored before and after dredging were both included in the pre-dredge baseline monitoring
dataset and assessed together (DCA, 2014), therefore incorrectly skewing baseline data
towards heavier sedimentation.




Figure 3.           Baseline monitoring photographs of a) Coral C-3 on Transect 1 at Station R2S1
                    (Montastraea cavernosa), monitored prior to dredging; and b) Coral C-2 on
                    Transect 1 at Station R2N2 (Montastraea cavernosa), monitored after dredging
                    commenced. (Photos from Appendix B; DCA, 2015).
Pre-dredge baseline surveys which were completed before dredging began were compressed
into a four-week timeframe, and therefore did not capture a wider range of normal conditions
from various seasons and weather patterns (i.e. thermal stress in summer months and
increased sedimentation in fall/winter months due to increased wave action). In some cases, the
same station was surveyed twice in a 5-day period. The pre-dredge baseline data collection in
2013 was also collected only weeks before (and several weeks after) the dredging began,
leaving no time for potential adaptive management of biological monitoring protocols and
subsequent review by resource agencies. This is despite FDEP requesting a meeting seven


Page 39                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00742
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 194 of 350




days before any dredging commenced to review conditions and monitoring requirements,
presumably in light of pre-dredge baseline survey data.
Fall weather patterns and rough seas hindered diving activities during the pre-dredge baseline
monitoring. No weather contingency was built in to the allotted timeframe for pre-dredge
baseline surveys during a time of year well known for increased wind and wave action.
Sedimentation levels recorded in traps and on coral tissues during the baseline period before
dredging commenced were likely higher than average due to rough seas, the short duration of
baseline data collection (lack of seasonality), and commencement of dredging activities, further
undermining the baseline dataset.
This report includes several recommendations by DCA which were not subsequently followed in
the monitoring program: 1) Based on results from a previous pilot study, a regression-based
study design was recommended; however this is not the design employed in the baseline and
subsequent monitoring surveys. The study design that was utilized and permitted by FDEP was
a repeated measures design. 2) Elimination of sediment accumulation blocks, as they were
shown to not accumulate sediments due to strong currents. However, the contractor did not
adaptively manage in the field and utilize alternative methods to collect this type of data, such
as sediment depth measurements along transects or rugosity measurements (to assess
potential in-filling of hardbottom substrate). No alternative methodologies were recommended in
the report. The sedimentation block data in the pre-dredge baseline report clearly showed no
sediment accumulation and that the blocks did not work, yet their use continued throughout the
dredge monitoring program (See Section 3.3.3; DCA, 2014).
The date of the report is March 13, 2014 for the draft and April 16, 2014 for the revised version,
nearly 4 months into the dredging program. Per Section 3.2.4 in the EPP, the pre-dredge
baseline report deadline was 15 days following completion of field surveys, which would have
been approximately January 15, 2014. Therefore, SAJ, GLDD, nor regulatory agencies had the
opportunity to review the pre-dredge baseline report before dredging began.

2.1.9        QA/QC of Coral Condition Scores
Four weeks of “pre-dredge” baseline coral monitoring photographs and data (coral condition
scores) from Stations R2N1, R2N2, R2NC1, and R2NC2 were reviewed by E. Hodel as a quality
assurance/quality control (QA/QC) exercise. Hodel had good agreement with the “QA/QC
Condition Score” reported in Appendix A of the baseline monitoring report. Hodel agreed with
stress scores and annotations relating to sedimentation parameters. She would not have
normally included fish bites, polyp extension, or normal competitive reef species interactions in
the analysis, but followed the same protocol as that described in the methods section of the
baseline monitoring report.
Although Hodel agreed with presence or absence of coral stress parameters as scored by DCA,
the non-additive total “condition score” for each coral was problematic. Presence of 1 or more of
a multitude of stress parameters designated a coral as “stressed”. Therefore a coral with
background stress from fish bites would be designated as stressed. However, a coral with
background stress from fish bites, in addition to potential project-related sediment accumulation



Page 40                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00743
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 195 of 350




on tissues would also be designated as “stressed”. Each of these corals would have received
the same individual “condition score” of “1”.
The overall coral condition score for the monitoring station was the total number of “stressed”
corals divided by the total number of colonies monitored. Because a coral colony could be
designated as “stressed” for a multitude of parameters (including background stress), the coral
data was not reflective of potential differences between compliance and control stations, nor
capable of detecting potential project-related coral stress. An additive coral stress index, where
presence of each particular stress parameter contributed numerically to an overall “condition
score”, would have increased the range of possible scores and the likelihood of finding
potentially significant differences between compliance and control stations, and also the
likelihood of teasing out potential sedimentation stress.

2.2 During Dredging
Based on the above, the quality of the data collected, the limited time available and the focus of
this review, a reduced amount of time was spent analyzing the physical data obtained during
dredging. The complexity of trying to piece together the dredging and monitoring activity into a
coherent format that could be analyzed and interpreted would be very time-consuming. This
may seem counter-intuitive given the scale of questions and concerns in terms of the accuracy,
scientific rigor, and statistical significance over many aspects of the turbidity and sedimentation
monitoring listed above, but it was not considered an efficient use of time to do so. Key
questions and concerns related to the data collected include:
       x    No calibration of the turbidity sensor in order to measure actual dredge suspended
            solids rather than turbidity, despite collecting samples and carrying out analyses of
            these samples (refer to section 2.1.1).
       x    The entirely subjective nature of the turbidity monitoring in terms of i) having no current
            velocity data in order to assess down/up-current; ii) no data on water-column
            stratification to determine if there was shear or reverse flow in the water column; iii) the
            experienced operator deciding visually where the densest part of the turbidity plume
            was; and iv) no measurements in the lower water column where it is extremely likely
            the majority of the suspended sediment and near bedload sediment would be and the
            bulk of the sediment transport would occur.
       x    No qualitative/quantitative sedimentation data from the sediment accumulation blocks.
       x    Value of the pre-dredge baseline monitoring data both spatially and temporally in
            addition to being 1 or 2 datasets and continuing while dredging and transfer to the
            ODMDS was underway.
       x    The sediment traps used, potentially (or likely) were unsuitable in terms of collecting
            quantitative data, due to the turbulence around the mouth of the trap and therefore
            reducing the trapping efficiency of the trap.
SAJ did provide a notice of the “exceedances” in terms of turbidity monitoring. Given the overall
observed outcomes and impacts, there were very few exceedances, although considering the


Page 41                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                FOR OFFICIAL USE ONLY
                                                                                                   NMFS_00744
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 196 of 350




points above in terms of the turbidity monitoring, perhaps this is no surprise at all. The majority
of exceedances were only 1 to 5 NTU above background with only 6 with higher exceedances
recorded, mostly occurring at Julia Tuttle Mitigation Area. The highest exceedance
(approximately 74 and 80 NTU above background in the surface and mid-water column,
respectively) was on the 27 November 2013, approximately 1 week after dredging commenced
and therefore did not occur during CSD and/or roller-chopping.

2.2.1        Weekly Offshore Coral Stress and Sediment Block Compliance
             Reports
The dates on the weekly coral stress and sediment block compliance reports are consistently a
week behind the monitoring period. It was not clear during this review from information provided
by SAJ, if other means of relaying this information (and potential stress violations) were utilized
and how it was documented. A week’s delay in preparing the data and submitting the report
could be significant in terms of potential additional duration of coral stress and/or time-lag for
adaptive management. Also, Section 3.2.4.d of the EPP states that any sediment stress
violations “will be reported by phone, fax, or email then followed by a written report within 24
hours to be submitted to the agencies”. It is not clear whether this occurred and if so if was it
properly documented.
The “Adaptive Management” and “Recommendations” sections of the weekly reports are
relatively sparse and not very informative. The majority of content in the “Adaptive
Management” section is copied and pasted from the previous week’s report; therefore, it
becomes confusing when certain adaptive management strategies ended. New bullet points
were added to this section of the reports as new strategies were implemented, but previous
bullet points do not drop off. One of the adaptive management strategies first described in Week
16 was the movement of the dredge to the northern side of the channel, to abate sedimentation
stress at the southern hardbottom channel-side stations. Given the channel is approximately
200 meters wide, moving the dredge to the other side of channel may not have been a sufficient
distance, especially considering the potential advection of dredge plumes noted at other sites
and based on the assumed zone of influence from dredging was up to 750 m (monitoring was
required for any station located within 750 m of the working dredge). High coral condition scores
for the southern hardbottom channel-side stations were still reported for three consecutive
weeks (Weeks 18, 19, and 20) following this adaptive management strategy.
The “Recommendations” section of these reports is brief and was eliminated in all weekly
reports from Week 42 through the last weekly report in Week 69. The only recommendation
made specific to coral health in these reports, which was repeated in several reports from
Weeks 1 to 25, was that “Species specific stress responses in corals reveal differing patterns in
time and space. The long-term, repetitive monitoring at each of these sites may allow
differentiation between background stresses and project related stress events”. No other
recommendations were made within approximately 70 weeks (17.5 months) of field data as it
was being collected relative to observed species-specific sensitivities or geographic patterns of
heightened coral stress. Following Week 25, the only recommendation that was made (through
Week 42) was that “Hardbottom site HBN1 should be eliminated from future monitoring due to


Page 42                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00745
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 197 of 350




burial by natural longshore drift during pre-dredge baseline monitoring, which was not
associated with dredging operations”.
A t-test was used to compare coral condition scores between channel-side and paired control
stations. If a given channel-side site displayed sedimentation stress, but its paired control
displayed another type of stress (which was likely as many background stresses were included
in assessments), “high” coral condition scores could result at each station, resulting in a failure
of the t-test to detect statistically significant differences due to sedimentation, and thus failure of
one of the sediment stress “triggers” or “thresholds”. In Week 35, FDEP requested that coral
condition scores due only to sedimentation-related parameters also be included in weekly
compliance reports. Following this analysis, coral condition scores at channel-side stations are
noticeably higher versus control stations; although it does not appear as though significance
testing (t-test) was also performed for this set of condition scores. All subsequent weekly reports
included this re-analysis of the sediment stress data, which was a worthwhile endeavor, but
possibly further contributed to time-lags in reporting the data. An additive coral stress index may
have provided an overall coral condition score more representative of the additive effects of
multiple stressors and a more efficient means of quantitatively assessing a particular stress
parameter independently. The non-additive stress index utilized in MHIII required re-sorting of
the data and re-calculation of coral condition scores based on presence or absence of a
particular stress parameter.
In Week 32, severe sedimentation stress was reported for both Hardbottom and Middle Reef
channel-side stations. “Significantly elevated stress levels of permanently marked corals at
channel-side stations [were] predominantly attributed to sediment accumulation, partial burial,
excess mucus production, and/or extended polyps. Sedimentation on corals was documented at
all channel-side sites. Partial mortality from sedimentation was also observed at HBS3 and
HBS4 typically in areas where sediment has receded” (Week 32 Compliance Report, DCA,
2014). The data and qualitative descriptions in this report are of grave concern and reveal a
failure to properly enforce “coral stress violations” outlined in the EPP and a failure in the
monitoring and management protocols to protect coral resources before permanent impacts
occurred. Once partial mortality of coral tissue happens, the change is not reversible. Less
severe levels of sediment stress are reversible if sedimentation stress abates before tissue
death (See Vargas-Ángel, 2007; Hodel, 2007). Sediment thresholds or monitoring “triggers”
need to be conservative enough to guard against such irreversible changes (tissue death).
Despite widespread impacts from sedimentation reported in Week 32, no adaptive management
actions were reported in subsequent weekly compliance reports until Week 39.
Although it was recognized early in the monitoring program (during pre-dredge baseline
surveys) that the sediment accumulation blocks were ineffective for measuring sediment
accumulation, this method was still utilized for sediment accumulation compliance monitoring
during active dredging. This resulted in meaningless datasets being reported week after week, a
lack of “real-time” sediment accumulation data to pair with observations of sediment stress in
corals throughout the entire project, inability to enforce the 1.5 mm sediment accumulation
threshold above reference outlined in the EPP, and a missed opportunity to investigate and
advance knowledge of sediment thresholds for corals in the area. Furthermore, the sediment


Page 43                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                  NMFS_00746
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 198 of 350




traps were only collected monthly, and subsequent laboratory analyses took approximately one
month before results were available. This, coupled with the lack of weekly sediment
accumulation measurements from field surveys resulted in a complete lack of quantitative
sediment accumulation data for one-month timeframes during active dredging periods.
Photographs taken during compliance monitoring in Week 32, when widespread impacts from
sedimentation were reported, show up to approximately 2.5 cm of sediment accumulation at
bases of corals (Figure 4); however, sediment accumulation block data reported this week was
0 mm for 20 out of 22 stations monitored and 1 mm for the remaining 2 stations (Week 32
Compliance Report, DCA, 2014).




          a)




          b)
Figure 4.           Photographs taken during the Week 32 monitoring survey showing sediment
                    accumulation at bases of a) Coral C-2, Transect 1 at Station R2N1
                    (Pseudodiploria strigosa) and b) Coral C-3, Transect 3 at Station R2N2
                    (Solenastrea bournoni) (Photos from DCA, Week 32 dataset).
2.2.2          Coral Stress Data Matrix
In order to help visualize patterns or trends during the active dredging phase, a matrix or large
table was constructed in Excel to display when (in Dredging Weeks) each channel-side station
exhibited coral condition scores significantly higher than the paired control (which constituted a
“coral stress violation” and required additional surveys per the EPP) (See Miami Harbor Coral
Stress Data Matrix provided in Excel file format). Adaptive management as reported in the
weekly compliance reports was noted in the matrix as well as significant regional background
stresses such as bleaching or disease. If 50% of channel-side stations for a given area


Page 44                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00747
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 199 of 350




(Hardbottom, Middle, or Outer Reef) displayed high coral condition scores, that area was
highlighted in red for the week.
Some alarming trends are revealed in this matrix. Significantly high coral condition scores
primarily due to sedimentation were reported very early in the dredging program for the
Hardbottom (Week 1) and Middle Reef (Week 9) areas. Significantly high coral stress scores for
the Outer Reef were not reported until Week 30. For the Hardbottom area, From Week 11 to 32,
19 weekly surveys occurred, and coral condition scores were significantly higher versus controls
at 50% of channel-side stations in 15 of the 19 surveys, at times up to 4 weeks consecutively.
In this timeframe, adaptive management of dredging operations was reported 4 times but do not
appear to have been sufficient to abate sedimentation stress. For the Middle Reef, from Week
29 through 40, 11 weekly surveys occurred and significantly higher coral condition scores were
reported for 50% of channel-side monitoring stations versus controls in 9 of the 11 surveys. In
this 12-week time-frame, only 2 adaptive management actions were reported: overflow on the
Liberty Island dredge was stopped at least temporarily (Week 31) and an additional scow was
added to the fleet to reduce overflow (Week 39).
Trends from the weekly reports show that significantly high coral stress was repeatedly reported
for the Hardbottom and Middle Reef areas from Week 11 through 40. High coral condition
scores due to bleaching were not reported until Week 34 (July, 2014) and due to disease until
Week 52 (November, 2014). Out of a total of 55 weekly surveys that took place between
November 2013 and March 2015, 28 weeks were highlighted “red”. Therefore, high coral stress
was reported at  50% of channel-side monitoring stations approximately 50% of time. This
strongly questions the integrity of the SAJ to fully protect coral and other natural hardbottom
community resources during review of incoming field data. This raises several significant
questions. How were “coral stress violations” handled and managed? Were additional impact
surveys as required by the EPP always performed or only if required following review of data by
the FDEP? Was the contractor aware of the gravity of the data and the potential consequences
for coral resources and was this communicated to SAJ? The SAJ failed to enforce any
“sediment stress violations” and to implement effective adaptive management practices
throughout the dredging period, despite the coral data (even with its problems) indicating
sedimentation stress.

2.3 Post-Dredging
For similar reasons explained in Section 2.2, effort examining data post-dredging has been
limited. For example, DCA are currently undertaking a survey of the proposed impacted area
primarily on Middle Reef, measuring total sediment thickness over hardbottom and describing
the sediment as “Fine” or “Mixed”, which this review considers has little or no value, particularly
given this survey has been conducted over multiple weeks/months (pers. comm., M Robbart,
DCA). Datasets spread out over weeks or months make it impossible to draw conclusions on
spatial patterns of sediment thickness if sediment is mobile, particularly if it is being
resuspended periodically and deposited elsewhere within the same study area or outside the
study area. In addition, given there is no comparable pre-dredge baseline data and the results
are based on a thickness only and not composition, it is unclear as to what the results will be
used for or conclude.

Page 45                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00748
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 200 of 350




Similarly for other surveys done post-dredge, given the pre-dredge baseline data are essentially
inconclusive or certainly statistically weak. Whether further post-dredge studies are done by a
regulator, stakeholder, or litigant to demonstrate or prove that an impact occurred, or on behalf
of or by SAJ to defend a case that no impact occurred, it is very difficult to draw any conclusions
either way.

2.3.1        Quantitative Post-Construction Analysis for Middle and Outer
             Reefs Report
The date of the draft report is October 30, 2015, and revised final report is November 19, 2015
over three and four months, respectively, after post-construction surveys were complete
(July 15, 2015). Per Section 3.2.5.c of the EPP, the post-construction report and raw data was
due 15 days following completion of monitoring surveys (although an extension may have been
granted by the FDEP).
The results and the value of the information in this report is over-stated. For example, “the
Corps project monitoring before, during, and after dredging provides the best record of benthic
community dynamics, structures, and the potential project effect” and “review and analysis can
help scientists distinguish project related effects due to sedimentation and compare them with
effects from regional warm water mass bleaching events followed by a coral disease outbreak”.
Similarly it is also stated that “baseline surveys established information on the sedimentation
environment and percentage cover of benthic resources” and “these baseline results used as
comparison for impact assessment survey to document changes attributable to dredging 1 year
after completion while considering other environmental and/or anthropogenic factors”. This is
not the case given the sparsity of the pre-dredge baseline data collected in 2013. Care must be
taken not to draw too many conclusions from the data and also “over-sell” it given the
limitations. Stating that “sedimentation existed in the project area pre-dredging” is extremely
likely and almost stating the obvious. However, it is the quantity, spatial distribution, and
temporal variation that is most important and 28 days of monitoring, that was incomplete, is
nowhere near sufficient to draw much more of a conclusion.
In addition, drawing conclusions from one site (HBN1 – CR), adjacent to the north breakwater,
that showed sediment on coral in Week 1 and Week 4 of the pre-dredge baseline survey is not
significant and cannot confirm therefore “that sediment is present along the reef”. Clearly some
corals closer to the shoreline where longshore transport is more frequent, may perhaps survive
more burial or burial for longer periods, but this cannot be extrapolated to all reef areas,
particularly given the absence of reliable and long-term pre-dredge baseline data and therefore
the ability to predict changes and impact over seasonal timescales.
Understanding the sediment dynamics of the area to assess resuspension, transport, and
erosion is key as per the study outlined in Section 5. However, based on the above, it is not
reasonable to state that “during 1 year post construction impact assessment surveys, sediment
accumulation rates were found to be equal to or below pre-dredge baseline values at all channel
side sites, except for rare weather events (Hurricane Matthew)” and subsequently “mean
sediment accumulation rates over all channel side locations were below baseline values during
1 year post construction surveys…sediment accumulation indicate returned to levels observed


Page 46                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00749
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 201 of 350




prior to dredging”. Given the extremely limited pre-dredge baseline data this cannot be stated
with any degree of confidence or certainty. Similarly, given the lack of understanding of natural
sediment transport versus dredge sediment transport combined with lack of temporally and
spatially robust pre-dredge baseline data, it is not possible to draw conclusions on the variations
in sand cover between control sites and sites closer to the dredge site. It is also not reasonable
to simply subtract the average sediment coverage for one area from another to demonstrate or
suggest that there was a reduced or no impact from dredging.
Post-construction monitoring surveys were conducted for four weeks between June 17 and
July 15, 2015. This timeframe is problematic for several reasons. Firstly, dredging of the outer
entrance channel Cuts 1 and 2 was reported to be complete (dredging operations were deemed
complete by the USACE on April 8, 2015) in the final weekly compliance report from Week 72
(April 1 to 7, 2015). However, spot-specific “clean-up” dredging occurred within both Cuts 1 and
2 through September 2015 (pers. comm., L. Reichold, SAJ). Therefore, the data from post-
construction surveys, similar to pre-dredge baseline surveys, was potentially compromised by
dredging activities. Although the amount of “clean-up” dredging was likely very small in
comparison to that which occurred during pre-dredge baseline surveys, the scientific integrity of
the post-construction dataset is still challenged. The monitoring program therefore lacked truly
valid pre-dredge baseline and post-construction datasets, which were the two primary datasets
compared in this report to inform potential project-related impact assessments by regulatory
agencies.
Secondly, the post-construction surveys were conducted in a different season (summer)
compared to pre-dredge baseline surveys (late fall) and as such under vastly different metocean
conditions. Summer weather patterns in south Florida are characterized by light southeast
winds, minimal wave activity, and low turbidity in contrast to late fall when high northeast winds,
heightened waves, and increased turbidity are commonplace as a result of “nor-easter” storms,
never mind any localized or more distant effects from hurricanes or tropical storms. As a result,
background sedimentation accumulation levels on the reef would naturally be lower while
prevalence of thermal stress (paling and/or bleaching) would be higher in summer months. The
reverse would be expected in fall months, with heightened sediment accumulation and lower
occurrence of thermal stress. The contrasting seasonality between the two datasets further
complicates comparison. By comparison, in Florida, the FDEP requires that pre-dredge baseline
and post-construction benthic monitoring surveys associated with beach nourishment projects
be conducted in summer months, in order to reduce seasonal differences in sediment regime
and biota between surveys (FDEP, 2016).
The fourth paragraph of the Executive Summary states that “baseline surveys established
information on the population dynamics, condition, and sediment environment of benthic
communities adjacent to the Federal Navigation Channel”. This statement is not correct for the
following reasons: 1) the pre-dredge baseline survey dataset from 2013 was incomplete and
compromised by initiation of dredging activities; 2) local sediment transport processes,
hydrodynamics, and metocean conditions were understudied prior to and throughout the
dredging project, and 3) sediment accumulation data from traps and sediment accumulation
blocks were not accurate or adequate.


Page 47                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00750
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 202 of 350




The fact that pre-dredge baseline monitoring was conducted during dredging operations is
never mentioned in this report. A reader with no prior knowledge of the project reading this
report would not be informed of this important information. Data averages reported for the pre-
dredge baseline survey include all surveys (not just those that occurred before dredging) and
are therefore scientifically invalid and biased towards increased sedimentation.

2.3.2        Other Reports and Scientific Publications Related to MHIII
2.3.2.1      NMFS 2016 and Miller et al, 2016 - Port of Miami Entrance Channel
             Sedimentation Reports
The National Marine Fisheries Service (NMFS) conducted a survey to examine sedimentation
impacts from MHIII (NMFS, 2016). This report and Miller et al. 2016 are based on a survey
carried out in December 2015 that collected sedimentation data from coral and hardbottom
communities for transects running north up to 700m from the channel. These data were
compared with pre-dredge baseline data from October 2013 and post-construction survey data
collected in July 2015. While the data show a pattern in terms of sedimentation away from the
channel and suggest a significant quantity of sediment on the coral reef habitat and more than
the reference sites to the north used for MHIII, Miller et al. acknowledge that “neither the
dredging process nor the Port of Miami entrance channel environment was (presumably were)
conducive to a simple sedimentation gradient leading away from the channel and into the coral
reef habitat”.
This further highlights the lack of a multidisciplinary understanding of the study site in particular
hydrodynamics and general circulation in the area and also very importantly the movement and
fate of sediment, particularly from a very dynamic and complex dredging operation. In addition,
understanding the natural sediment transport processes and movement is critical, however
sediment transport, sedimentation patterns and sediment impact gradient are never “simple”.
Trying to draw conclusions from the additional data reported by Miller et al., given the very
limited data surrounding the dredging operation, and in particular 28 days of pre-dredge
baseline data as requested in the FDEP permit, which was not even carried out
comprehensively by DCA on behalf of GLDD, makes this task almost impossible. Having no
understanding of the hydrodynamics and natural and dredged sediment dynamics makes this
even harder.
Both the NMFS report and Miller, et al. include many photos showing partial burial of stony and
soft corals; however, the source of sediment in these photos cannot unequivocally be
determined as project-related, natural, or both. Some photos show patterns of coral partial
mortality (sediment halos) and accumulation of fine sediments near bases of corals that suggest
sedimentation impacts from the project (See Figures 8, 9, and 12 in NMFS 2016). Other photos
show partial burial of corals in deep sediment of a coarser nature as denoted by sand waves
(See Figures 7, 10, and 11 in NMFS 2016); sand waves are more typical of coarser as opposed
to finer sediments, and the source of this sediment may be natural coarser sediments and are
less likely to have resulted from dredging.
Miller et al. contend that corals at Middle Reef channel-side stations exposed to higher
sedimentation stress were more susceptible to White Plague Disease (WP) or “sudden death”

Page 48                                                                      Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                              FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00751
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 203 of 350




(presumably by disease) versus controls. Risk of death was calculated as the percent of corals
that died due to disease among those experiencing sedimentation stress. Because disease
outbreaks are commonly associated with bleaching events (Muller et al 2008; Miller et al., 2009)
and not commonly with sedimentation stress, this analysis should have also evaluated the risk
of death for corals which manifested signs of thermal stress. Additionally, the entire dataset
should have been utilized to substantiate results.
Miller et al. discusses local, project-related versus regional stressors and the importance of
managing “controllable” dredging events. They advocate that these projects do not overlap with
“uncontrollable” regional stressors such as thermal stress events or important spawning events
for reef species. This management strategy for dredging operations is also recommended by
Fraser et al. 2017 and referred to as “environmental windows”. Environmental windows are
already commonly adopted in many Best Management Practices to avoid impacts to threatened
and endangered species. For example, beach nourishment projects in Florida are typically
constructed outside of sea turtle or shorebird nesting seasons.
This paper also includes a list of recommendations for Port Everglades that are scientifically
sound (See also NMFS letter to USACE dated April 6, 2017) and based on “lessons learned”
from MHIII.
2.3.2.2      Swart 2016 – Port of Miami Sediment Sample Analysis Report
Another example is the work and report of Swart (2016) who used X-ray diffraction and isotopic
composition to predict the source of sediment up to 1050 m north and 700 m south of the
channel compared with the reference sites used for MHIII. In general terms, the reference site
sediments had high aragonite, high High Mg Calcite (HMC) and lower Low Mg Calcite (LMC)
and a higher C and O isotope value. This compares with sediments closer to the channel which
had higher LMC and a more negative C and O content, which is described in Swart (2016) as a
more allochthonous source of carbonate. Despite a number of assumptions made which are not
clear from the document reviewed and some data in tables which do not appear to match those
on the figures presented, it is possible that the data highlight material closest to the channel is
different material and could be from the capital dredging of limestone. However, in the absence
of understanding the circulation and sediment transport in the area, there is a degree of
supposition in the results. Had this work been done prior to dredging as well, or samples
collected and retained pre-, during and post-dredging, then a much more compelling argument
or case could be made.
2.3.2.3      SAJ 2016 – MHIII After Action Report, ADDAMS Model
Dr. P. Schroeder of ERDC used the Automated Dredging and Disposal Alternative Modeling
System (ADDAMS) to assess total suspended solids (TSS) and turbidity analysis associated
with the different dredging equipment used for MHIII (SAJ, 2016). Dr Schroeder suggests that
such an approach could be used for Port of Everglades given the similarities with Miami
including hydrodynamics, wave climate and sediment characteristics. Given the shortcomings of
the model and approach listed below, this is not recommended and would have very limited
value and is likely to be misleading and inaccurate.



Page 49                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00752
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 204 of 350




The model makes a significant number of assumptions in order to estimate the “mass rate at
which bottom sediment becomes suspended as a result of hydraulic/mechanical dredging
operations” and ultimately uses this mass rate to predict the resultant suspended sediment
concentrations. Therefore the model considers “TSS associated with the dredging process
itself”, not TSS from stripping losses, considered to be very significant source during roller-
chopping and CSD, or for a “discharge or scow overflow at the discharge end”. In addition, “the
model does not consider the resulting bottom sedimentation and sediment transport associated
with a suspended solids plume”. However, this is exactly what was being measured for MHIII. It
is suggested that other models should be used to consider sedimentation and incorporate
bathymetry, hydrodynamics, and wave and sediment characteristics.
In addition, the model was run assuming dredged sediment comprised “stiff clay-like sediments
as a surrogate for limestone” due to the absence of information on dredging limestone. However
as listed above, there are examples of similar capital dredging operations including cutter
suction dredging of limestone rock around the world. Despite the above, Schroeder uses model
output to make comparisons between TSS predicted from dredge operations at the bed, with
turbidity monitoring data from MHIII, which was measured rather subjectively and inaccurately
and only in the surface or mid-water column. Schroeder carried out this comparison without
model functions on sediment transport, dispersal, deposition, or sedimentation. It is difficult to
see how the datasets are comparable or accurate conclusions can be drawn and many of the
conclusions that are made are tenuous and not supported by the model output and cannot be
verified from the field data.
2.3.2.4      Barnes et al., 2015 – Satellite Imagery Data
Barnes et al. (2015) utilized satellite imagery to document increased size and duration of
sediment plumes during the dredging project relative to a background period when no dredging
took place. Although sediment plumes at the surface are not necessarily representative of
sediment accumulation on the seafloor, this paper calls attention to the resourceful use of
historic and recent remote sensing data (See also Petus et al., 2016). This paper highlights the
ability to incorporate remote sensing techniques and utilize advanced technology from cameras,
satellites, and other “automated” meters to collect more data to more comprehensively
understand the effects of dredging projects.

3          Lessons Learned
The following represents an approximate chronological order of lessons learned combined with
a recommended approach and actions to increase success of any subsequent large-scale
dredging project and to avoid a recurrence of the problems encountered during MHIII.

3.1 Team
       x    It is imperative that SAJ hires a highly professional team (company or individuals)
            comprising subject-matter-experts in their respective fields who can demonstrate
            competence, including through references and/or recommendations, and who SAJ can
            use to obtain impartial advice that is reliable, well-informed, and current. Roles and
            responsibilities of team members should include identifying any risks SAJ are exposed

Page 50                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00753
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 205 of 350




            to, assumptions made for any work done, and making recommendations if shortfalls or
            problems are noted. Experts with international experience may be beneficial to provide
            insight regarding how dredging contractors and environmental monitoring is carried out
            in other countries. SAJ may consider it advantageous to hire independent parties.
       x    SAJ should consider having either a Corps employee or a suitably experienced Client
            Representative on site at all times to provide the “eyes and ears” for all Corps projects
            to ensure that the Corps interests are followed. This person would ensure that
            monitoring requirements are rigidly adhered to at all times and if modifications have to
            be made, someone is on site to appreciate and explain the problem and facilitate any
            temporary change until necessary permit modifications are in place.
       x    It is strongly recommended that SAJ reconsiders contractors currently used before
            further contracts are awarded, based on the quality of the work undertaken, with a
            much more rigid and technical screening process put in place to assess potential
            contractors. Scoring on price alone, or primarily, is a false economy and assessments
            need to be based on proven quality and technical ability by properly qualified
            personnel, including external consultants if suitable expertise is not available within
            SAJ.
       x    There also needs to be a culture and ability for SAJ to allow staff to recognize their
            own limitations or extent of expertise without criticism, in order to allow other qualified
            SAJ staff to be brought in or hire external consultants to assist.
       x    As much as possible, there must be continuity in the team for the duration of the
            project. If this is not possible, sufficient time needs to be allowed for handover and
            training, even if it delays the project, as opposed to having unrealistic timescales
            dictated.

3.2 Multidisciplinary Baseline Data
       x    Collect sufficient spatial and temporal measurements to observe natural system pre-
            project patterns, variations (including seasonal) and establish trends with statistically
            significant datasets to determine errors. Use these data to set quantifiable/measurable
            thresholds with contingency built in. Temporally speaking, baseline coral and
            hardbottom data should span 1 year minimum, with at least 2 datasets collected in
            opposite seasons (i.e. summer and winter, or wet and dry seasons). The same is
            recommended for turbidity, as long as highs and lows are captured. This data
            collection should be paired with coral/hardbottom data. For waves and currents, data
            collection over 1 year is ideal; however, a minimum of 6 months of data (3 months in
            each opposing seasons) is the minimum recommended. Spatially speaking, an area
            large enough to encompass that beyond the influence of dredging is recommended.
            An area of approximately 10 km in each direction is suggested for projects similar to
            MHIII; however this depends largely on the tidal excursion.
       x    Data must be current and from the project site, not based on historic information or
            from another site.

Page 51                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                FOR OFFICIAL USE ONLY
                                                                                                     NMFS_00754
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 206 of 350




       x    Data should be multidisciplinary (i.e. biological, physical, sedimentological), and not
            solely or primarily focused on ecological/marine biological aspects.
       x    Understanding the sediment dynamics of the area to assess resuspension, transport,
            and erosion is key as per the study outlined in Section 5.
       x    Determine approximate dredge volume and nature of material to be dredged including
            detailed geophysical testing; collect a current bathymetric survey and core samples
            (overburden/maintenance and capital/rock). If required, hire in a dredging consultant to
            provide this to avoid a conflict of interest with potential dredging contractors.
       x    Measure and understand key circulatory, metocean, and sediment transport
            processes; pathways; and fate, in addition to boundary conditions for model
            development. Sediment transport data must include both dredge related and natural
            processes, in order to be able to separate the different sources and impacts and
            observe what marine flora and fauna are subjected to during natural storm events, for
            example.
       x    Discuss outcomes with a qualified dredging consultant to consider “optioneering” in
            terms of dredge type, operations, overflow, and limitations. For example, blasting was
            considered for a prolonged period only to be removed relatively late in the process.
            GLDD chose not to do that, although other contractors may have required it. SAJ
            should dictate dredge operations that are allowed; for example, SAJ may wish to ban
            all overflow or “roller-chopping” with dredger operating with no suction and no scows.
       x    Assuming a capital dredging program, establish a 3-D numerical model for
            hydrodynamics and sediment dynamics, that allows access to the code or is open-
            source (e.g. Delft 3D). Great care must be taken to use the most appropriate model
            including a careful analysis of both the model and the modeler’s capability and the
            assumptions (or “fudge factors”) that will go into the model and what is “hidden” behind
            the images. Often modelers describe “good agreement” between field data and model
            output, in some cases because the same dataset has been used to calibrate the model
            and then used to predict model output. In many cases including other scientific and
            technical disciplines, similar measurements and data would not be considered as
            “good agreement”. For example, ADDAMS model used by Dr. Schroeder of ERDC has
            significant limitations and assumptions, is very simplistic and in the case of MHIII was
            compared and essentially tried to be validated against data that the model cannot
            accept or is not setup to use.
       x    Calibrate and validate the model with actual and different field measurement data (not
            further modeling) and ensure it matches as closely as possible current real-life
            conditions. This must be achieved before using the model to predict any changes
            related to capital dredging activities.
       x    Once it can be demonstrated that the model can accurately reflect current conditions,
            run “optioneering” scenarios including beneficial use, avoid double-handling,
            nearshore disposal, ODMDS, efficient dredging and disposal.


Page 52                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                  NMFS_00755
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 207 of 350




       x    Use the model to establish zones of high, low, and zero impact and verify these zones
            with field data measurements.
       x    Identify the monitoring area and any reference control sites and mitigation that are
            outside the impact area.
       x    Use the above, based on a position of strength and being well-informed, to develop a
            suitable monitoring program, scaled appropriately and based on field data to control
            costs and the dredging program. Use this information to then discuss conditions in the
            permit with regulators, public etc. to “get them on-board”. With a weight of evidence
            and high quality field data, it would be very hard for the regulator to argue or disagree
            and go against real-field measurements and a model that can be demonstrated to
            match real-life observations.
       x    Produce an EIS based on knowing ideally 90-95% of the project in terms of the details
            of the dredging (volume, area, material, dredge type, disposal), monitoring equipment,
            monitoring requirements (duration, locations, data provision), benthic monitoring, any
            mitigation requirements fully examined. Use the EIS to ensure nothing has been
            missed or not considered fully. It should be comprehensive enough to avoid
            unexpected events or surprises during the project with no stone unturned. The EIS
            must and should include an up to date literature search on the latest scientific
            knowledge, technology that could assist, industry standards etc. minimizing the
            possibility of responses from agencies/stakeholders requiring changes to the EIS,
            permit and monitoring requirements etc. leading to project delays.
       x    If there is a long delay between the EIS and commencement of the project, an updated
            or supplementary EIS must be issued taking into account any changes in legislation,
            environmental classifications, improvements or changes in scientific knowledge,
            standards or monitoring.
       x    Multidisciplinary baseline data and assessment should be sufficiently robust to ensure
            no last minute surprises, dredge downtime, project delays, cost overruns or
            environmental impact, and if there are, protocols and experts/team are in place to deal
            with them efficiently and cost-effectively. This will ensure that permits or authorizations
            don’t expire or run out, incurring additional cost and delays, since the project should
            run to schedule.

3.3 Permits And Contracts
       x    SAJ must separate the environmental monitoring contract from dredging contractor to
            ensure they are independent; as above, ensure the environmental monitoring
            contractor is qualified and experienced.
       x    Verify whether the permit issued by FDEP is sufficient for SAJ purposes or needs to be
            made more stringent or prescriptive for SAJ interests and to allow defense if required;
            this includes imposing requirements if the permit is “watered down” based on tasks



Page 53                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                   NMFS_00756
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 208 of 350




            being considered too onerous or costly (e.g. calibration of a turbidity sensor to TSS in
            mg/L using actual dredged sediment).
       x    Ensure that the permit and contract have clarity, sufficient flexibility for variations and a
            protocol if data or results indicate something unexpected that is not covered or
            monitoring needs to be modified quickly; agree to a protocol with regulators in advance
            for this contingency to protect the environment. The permit conditions and contract
            passed to the contractor must be enforceable and not ambiguous and open to
            interpretation or too subjective.
       x    Ensure permits include stand-alone Biological Monitoring Plans approved by
            regulatory authorities.
       x    Review the contracting method to ensure quality, experience, and technical ability are
            truly assessed and taken into account rather than the contract simply awarded to the
            lowest price, which is likely to be a false economy; this should include SAJ deciding to
            employ its own contractors rather than being forced to use the sponsors preferred
            contractor.
       x    Reconsider environmental incentives since they clearly did not work to protect the
            environmental resources.
       x    Consider whether down-time due to exceedances are at the dredge contractors risk;
            this is relatively common in the industry and is likely that the contractor would
            approach the contract and dredge type offered in a different way and may not
            necessarily be more expensive.

3.4 Environmental Monitoring
       x    SAJ should identify key data requirements and ensure where possible data are
            obtained in real-time and are made available to SAJ (and regulators and public if
            required) for transparency in order to avoid misinformation (e.g. problems with fake
            truth on social media) as quickly as possible. An early assessment of data
            requirements versus timescales to provide the data would be invaluable. There is no
            point in having an adaptive management plan that will get data days or weeks later.
            For example, turbidity loggers used for rapid assessment of dredge plume and
            therefore suspended solids and near-bed sedimentation impact, must be real-time to
            assess water quality exceedance in case there is a need to cease dredging. Other key
            monitoring data must be turned around and provided to SAJ much more rapidly.
       x    Instruments must be calibrated for the measurements intended or data to be collected
            in accordance with scientific/international standards; this should be demonstrated
            regularly to SAJ.
       x    Establish true adaptive management plans and procedures to ensure that monitoring
            provides a realistic accurate early-warning system that the dredging contractor works
            within and is aware immediately if an exceedance is likely or has happened.
            Recommend that this involves a review of adaptive management approaches from


Page 54                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                FOR OFFICIAL USE ONLY
                                                                                                    NMFS_00757
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 209 of 350




            around the world in advance, to establish what is meant by adaptive management in
            order that it can be defined and agreed by all parties. This should be (or become) a
            standard approach for SAJ that is commensurate and comprehensive and is
            incorporated into the separate dredging and monitoring contracts. Ideally, with the
            correct provision, it should be easy to be checked and supervised by the SAJ Project
            Manager and a Client Representative on site.
       x    Collect sediment and rock samples prior to, during, and post-dredging including natural
            sediment, overburden, dredged sediment created from the different dredge type and
            any samples identified as potentially causing an impact i.e. deposited on hardbottom
            communities. Carry out comprehensive testing of these samples including
            geochemical and physical properties. Catalogue and retain these samples for the
            duration of the project.
       x    If a significant time has elapsed between the baseline monitoring and commencement
            of dredging, re-collect key baseline data for a sufficient length of time and spatial area
            to be scientifically robust.
       x    Consider using or developing a benthic monitoring system that will allow more
            objective monitoring including a digital record that can be re-checked and
            corroborated, vetted or “policed” in terms of benthic impact rather than using a more
            subjective approach such as divers who may apply evidence differently or incorrectly.
            For example in Chevron Wheatstone’s project, ROV surveys were carried out
            (Chevron Australia, 2016).
       x    Provide examples of benthic monitoring “stress indices” and scoring, and correct
            references to avoid misinterpretation on the monitoring protocol.
       x    Ensure proper interpretation and execution of monitoring protocols by the contractor
            performing the monitoring with regular independent checks carried out.
       x    Utilize an additive stress index for benthic resources and clearly define methods for
            determining the overall “condition score”. Limit the suite of stress parameters being
            evaluated to those most relevant to potential project-related impacts and the most
            critical background stressors.
       x    Recommended stress parameters to include in coral stress indices: sediment-related
            signs of stress (increased mucus production, sediment accumulation on tissue, tissue
            swelling, sediment “halos”); severity of bleaching; and disease. Percent live tissue can
            be monitored through time using planimetry but requires standardization of photo
            collection techniques. Recommended coral stress parameters to eliminate: fish bites,
            polyp extension, abrasion, competitive interactions and overgrowths. Keep the index
            relatively simple.
       x    Clearly define coral stress “triggers” or thresholds from both natural and project-related
            sources based on baseline data and/or pilot studies, and define next-steps in
            protocols/management actions to be taken when thresholds are exceeded. Provide
            examples and/or flowcharts in monitoring plans.

Page 55                                                                       Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                               FOR OFFICIAL USE ONLY
                                                                                                  NMFS_00758
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 210 of 350




       x    Allow more time for baseline monitoring, report review, and adaptive management of
            monitoring protocols before construction. Do not initiate dredging activities until all pre-
            dredge baseline data are collected. Suggest quarterly pre-dredge baseline surveys
            over a minimum 1 year period prior to dredge program versus the four weeks
            immediately before dredging adopted for MHIII.
       x    Anticipate potential changes in the monitoring protocol following pilot studies and be
            adaptive and utilize alternative methods. Allow sufficient time for all stakeholders to
            review/approve suggested changes.
       x    Do not use sediment blocks for sediment accumulation; instead measure sediment
            accumulation on substrate along transects at pre-determined, marked locations. Other
            methods to consider include rugosity and 3-D video mapping (See Storlazzi et al.,
            2016).
       x    Clearly define communication lines and protocols for reporting field data as it is
            collected. Consider a “preliminary report” submitted within 24 hours via email, or on-
            line submission of “threshold compliance” data, followed by written report to reduce
            time-lags in information availability associated with production of reports.
       x    Enforce “sediment stress violations” and clearly define field and management
            protocols, as well as dredging alternatives if violations occur. Employ more reliable
            means of sediment accumulation data via scientific divers and include meters/loggers
            on the seafloor in monitoring program (Consider use of the ASM-V sediment meter).
       x    Establish coral sediment stress thresholds that corals can tolerate without irreversible
            changes (before tissue death).
       x    Consider the use of software programs (can be customized in Excel) to help manage
            and summarize data as it is collected, and automate alarms or triggers.
       x    Perform pre-dredge baseline and post-construction monitoring surveys within the
            same season.
       x    Incorporate remote sensing techniques and utilize advanced technology from
            cameras, satellites, and other “automated” meters to collect more data to more
            comprehensively understand the effects of dredging projects.
       x    Consider environmental windows for dredging to avoid periods of vulnerability such as
            thermal stress events, disease epizootics, or important reef species spawning
            aggregations.
       x    Consider the use of a geoportal to quickly upload, organize, manage, and visually
            display large amounts of data, including geo-referenced spatial data. Geoportals can
            have multiple user groups with varying degrees of access, and therefore can provide
            varying levels of transparency.




Page 56                                                                        Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                FOR OFFICIAL USE ONLY
                                                                                                   NMFS_00759
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 211 of 350




3.5 Public Relations
It is recognized that construction and dredging projects create turbidity and no matter the
monitoring and adaptive management strategies, this is unavoidable. However, if SAJ carries
out a comprehensive multidisciplinary baseline assessment it will be possible to predict what
might happen, when, where, what the impact might be, and how long it will last with a high
degree of accuracy. This will allow appropriate mitigation to be put in place in areas that will not
be impacted subsequently. It is essential to openly acknowledge this and act with transparency
to avoid mistrust and misinformation, which will become more and more of a problem. Ultimately
a detailed baseline assessment done more thoroughly with consideration of physical attributes
to mechanical disturbances should lead to savings in terms of monitoring during- and post-
dredging or and demonstrate that SAJ are in control.

4          Conceptual Sediment Transport Model
It was assumed that as part of the review for the Task 1 report, background data from scientific
papers, previous studies, modeling, data and reports would be available to provide a conceptual
sediment transport model. However, as outlined above, the sparsity of information that exists
particularly both locally and regionally in terms of hydrodynamics, circulation, metocean
characteristics and sediment dynamics is such that a conceptual model would be primarily
guesswork and therefore cannot be done at this stage. This task will now be completed as part
of the main sediment tracer study based on field data and measurements.

5          Proposal for Task 2: Sediment Tracer Study
W&A, CSA and ETS propose to carry out the sediment tracer study exactly as outlined in the
tender document and contract, however, based on the review outlined above, there are a few
clarifications or proposed minor modifications that are outlined below:
       x    Five (5) tracers will be released exactly as per the existing contract, in terms of
            locations, quantities, particle size etc. (see Figures 5 and 6), however it was
            anticipated as part of this review that information would be available on turbidity
            profiles or distribution emerging from Biscayne Bay. It was also assumed that these
            data would exist for sediment plumes created by dredging operations (dredging,
            overflow etc.). However, neither are clear. Therefore, for the blue silt—only tracer
            release between the north and south breakwater, it is proposed that background data
            will be collected in terms of current velocity profiles, stratification and turbidity over the
            ebb tide period for each release and the tracer particles will be released in the section
            of flow or water where the highest turbidity is present at that time. This will be reviewed
            and modified accordingly during the ebb tide. In the case of the orange silt tracer to be
            released at the edge of the channel to simulate suspended sediment from dredging
            operations, it is likely that the vast majority of any suspended sediment was released
            close to the bed, rather than in the surface or mid-water column. This is contrary to the
            position stated in the SAJ After Action Meeting Report that the vast majority of turbidity
            was potentially from hopper/scow overflow. Given the stripping losses from a CSD and
            reported TSS from roller-chopping, it is anticipated that >90% of the TSS associated
            with dredging would have been in the bottom 1 to 2 m of the water column. Therefore,
            it is proposed that the orange silt-tracer will be released in this section of water column


Page 57                                                                         Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                 FOR OFFICIAL USE ONLY
                                                                                                     NMFS_00760
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 212 of 350




            (0.1 to 2 m above the seabed, rather than on the seabed itself) from several outlets
            simultaneously.
       x    One of the key elements of the sediment tracer study is to ensure that the sediment
            tracers released have the same physical properties as the dredged sediment and/or
            native sediment since both aspects are being considered as part of the study. This is
            critical in order to ensure the tracer particles behave in the same way to try to
            retrospectively determine the possible or likely fate of dredged sediment versus natural
            sediment transport. Unfortunately, SAJ were unable to locate any of the dredged
            sediment internally or externally. Therefore SAJ obtained 9 rock/sediment samples
            from core borings comprising CB-MH09-03, 04, 08, 09, 10, 11, 14, 16, 17, primarily
            collected from Cuts 1 and 2. SAJ also created a composite sample of all 9 individual
            samples. Tests were carried out on the 10 total samples on behalf of SAJ by Maskel
            Laboratory, FL. who carried out the following tests:
                  i)    Sieve Analysis (Using Sieve Sizes No. 3/4", 3/8", 3.5, 4, 5, 7, 10, 14, 18, 25,
                        35, 45, 60, 80, 120, 170, 200, 230), ASTM D 6913
                  ii)   Hydrometer Analysis, ASTM D 422
                  iii) Carbonate Content, Non-ASTM Method (no physical crushing of the material
                       in the lab)
                  iv) Specific Gravity for Soil, ASTM D 854


In addition, SAJ sent ETS part of the composite sample to conduct physical tests in the United
Kingdom including a comparison with ETS sediment silt and sand tracers in stock prior to
manufacturing material specifically for the study. Key information included the density or SG of
the dredged sediment. Previous testing done (CE&T, 2011) had assumed an SG of 2.65, the
same as silica, however given the material comprised carbonate limestone, this was likely
incorrect.
Tests carried out by Maskel indicated an average SG of 2.72 for the 9 samples with the
composite having an SG of 2.73, with individual values ranging from SG 2.65 to 2.81.
Based on the above information, ETS outlined to SAJ that it was intending to manufacture all
the sediment tracers with the same SG of 2.65 to be consistent and also based on the fact that
considerably more information, understanding and literature exists on the behavior of silica-
based (SG 2.65) particles and silica is also present in many of the samples, based on the lab
data approximately ranging from 5 to 74% with an average composition of 38%.
Discussions had been held previously with SAJ about the possibility of releasing an additional
sediment tracer that had an SG closer to carbonate (termed the “6th tracer”), however given the
relatively small difference between the SG of silica and the core borings, equivalent to 0.07, it
was felt this was not necessary and the “6th tracer” has been dropped. A separate letter
confirming this has been issued to SAJ for consideration.




Page 58                                                                         Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                                 FOR OFFICIAL USE ONLY
                                                                                                    NMFS_00761
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 213 of 350




Sampling Methodology: Sampling locations will include the 54 locations previously sampled
during the background fluorescence sediment collection survey, in addition to approximately 96
additional stations, for a total of up to 150 sampling locations (Figures 5 and 6. Sampling
locations include existing SAJ or NMFS monitoring station locations as well as haphazardly-
selected locations on Middle and Outer Reefs and sand patches/plains along the edges of each
reef feature. A 15 x 15 x 5 cm quadrat will be utilized for sediment sampling, analogous to that
utilized during background sampling, but slightly smaller in order to decrease collection time per
sample underwater. A plastic syringe will still be utilized to collect silt samples. Sediment and/or
silt samples will be collected from within the quadrat from various “substrate types” including
sand patches, standing sediment on the reef, at the base of coral heads, and within or including
turf algae.




Figure 5.           Overview of tracer release sites, mooring locations, and sediment sampling
                    locations for the Miami Harbor Sediment Tracer Study.




Page 59                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                 NMFS_00762
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 214 of 350




Figure 6.           Close-up view of tracer release sites, mooring locations, and proposed sediment
                    sampling locations for the Miami Harbor Sediment Tracer Study.




Page 60                                                                     Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                             FOR OFFICIAL USE ONLY
                                                                                                NMFS_00763
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 215 of 350




REFERENCES
Anthony, K.R.N. and S.R. Connolly. 2004. Environmental limits to growth: physiological niche
      boundaries of corals along turbidity–light gradients. Oeologia 141(3):373-384.
Barnes, B. B., C. Hu, C. Kovach, and R.N. Silverstein. 2015. Sediment plumes induced by the
      Port of Miami dredging: Analysis and interpretation using Landsat and MODIS data.
      Remote Sensing of Environment 170:328-339.
Bellwood, D. R., T. P. Hughes, C. Folke, and M. Nyström. 2004. Confronting the coral reef
       crisis. Nature 429:827-833. doi:10.1038/nature02691.
Browder, J.A., R. Alleman, S. Markley, P. Ortner, and P.A. Pitts. 2005. Biscayne Bay
      Conceptual Ecological Model. Wetlands Vol. 25, No. 4 December 2005, pp 854-869
Brown, G.L., R.T. McAdory, G.H. Nail, M.S. Sarruff, R.C. Berger, and M.A. Granat. 2003.
       Development of a two-dimensional numerical model of hydrodynamics and salinity for
       Biscayne Bay, Florida. U.S. Army Corps of Engineers Technical Report CHL-03-10.
Bythell, J.C., E.H. Gladfelter, and M. Bythell. 1993. Chronic and catastrophic natural mortality of
        three common Caribbean reef corals. Coral Reefs 12:143–152.
Carilli, J. E., R.D. Norris, B. Black, S.M. Walsh, and M. McField. 2010. Century-scale records of
         coral growth rates indicate that local stressors reduce coral thermal tolerance threshold.
         Global Change Biology, 16: 1247–1257. doi:10.1111/j.1365-2486.2009.02043.
Challenge Engineering and Testing Inc. 2011. Final Report Miami Harbor Deepening Project
       Core Borings and Laboratory Testing, Dade County, Florida, 2011 p 110.
Chevron Australia. 2016. Wheatstone Project. Dredging and Dredge Spoil Placement
      Environmental Monitoring and Management Plan. p230.
Continental Shelf Associates, Inc. 2003. Key West Maintenance Dredging Project Resource
       Health and Sedimentation Monitoring Plan. Prepared for Department of the Navy
       Southern Division, Naval Facilities Engineering Command. 14 pp.
DCA. 2001. Dial Cordy and Associates Inc. Environmental Baseline Study Impact Assessment
      for Miami Harbor, General Reevaluation Report to United States Army Corps of
      Engineers, Jacksonville District, Jacksonville, FL. 56 pages
DCA. 2014. Dial Cordy and Associates Inc. Miami Harbor Phase III Federal Channel Expansion
      Project, Permit No 0305721-001-BI, Quantitative Baseline for Middle and Outer Reef
      Benthic Communities. Report to United States Army Corps of Engineers, Jacksonville
      District, Jacksonville, FL. 62 pages
DCA. 2015. Dial Cordy and Associates Inc.. Miami Harbor Phase III Federal Channel Expansion
      Project, Permit No 0305721-001-BI, Quantitative Post Construction Analysis for Middle
      and Outer Reef Benthic Communities. Report to United States Army Corps of Engineers,
      Jacksonville District, Jacksonville, FL. 134 pages
DCA. 2015. Dial Cordy and Associates Inc. Delineation of Potential Sedimentation Effect Area
      within Middle and Outer Reef Habitats, Port of Miami Phase III Federal Channel
      Expansion Project, FDEP Permit No 0305721-001-BI Final. Report to United States
      Army Corps of Engineers, Jacksonville District, Jacksonville, FL. 60 pages




Page 61                                                                    Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                            FOR OFFICIAL USE ONLY
                                                                                               NMFS_00764
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 216 of 350




DCA. 2015. Dial Cordy and Associates Inc. Weekly Offshore Coral Stress Compliance Report
      001, FDEP Permit No 0305721-001-BI – Port Miami Phase III Harbor Deepening Week
      11/20-11/26 Terrapin Island Dredge Activity. Report to United States Army Corps of
      Engineers, Jacksonville District, Jacksonville, FL. 4 pages
Dekker, MA, M.P. Kruyt, M. Den Burger, W.J. Vlasblom. 2003. Experimental and numerical
      investigation of cutter head dredging flows. Journal of Waterway, Port, Coastal and
      Ocean Engineering 129:203-209
Den Burger, M. 2003. Mixture forming processes in dredge cutterheads. PhD, TU Delft, Delft
      University of Technology, the Netherlands
Department of the Army, Jacksonville District Corps of Engineers. Permit No. SAJ-2006-06547
      (IP-MLC) Modification #1. Issuance Date: July 25, 2012.
Erftemeijer, P.L.A, B. Riegl, B.W. Hoeksema, and P.A.Todd. 2012. Environmental impacts of
       dredging and other sediment disturbances on corals: A Review. Marine Pollution
       Bulletin, Vol. 64, Issue 9, 2012, 1737-1765.
Fatt, J.C. and J.D.Wang. 1987. Canal discharge impacts on Biscayne Bay salinities, Biscayne
        National Park. Research/Resources Management Report SER-89. National Park
        Service, Atlanta, Georgia.
Federal Register. 2006. Endangered and Threatened Species: Final Listing Determinations for
      Elkhorn Coral and Staghorn Coral. Federal Register 71(89):26852-26861.
Federal Register. 2014. Final Listing Determinations on Proposal to List 66 Reef-Building Coral
      Species and To Reclassify Elkhorn and Staghorn Corals. Federal Register 79:53851-
      54123.
Fisher, L., K. Banks, D.S. Gilliam, R.E. Dodge, D, Stout. 2008.Real-Time Coral Stress
        Observations Before, During, and After Beach Nourishment Dredging Offshore SE
        Florida.Proceedings of the 11th International Coral Reef Symposium, Ft. Lauderdale,
        Florida, 7-11 July 2008.
Fisher, L., K. Banks, D. Gilliam, R. E. Dodge, D. Stout, B. Vargas-Angel, Brian K. Walker.Jones,
        R., Pia Bessell-Browne, Rebecca Fisher, WojciechKlonowski, MatthewSlivk. 2016.
        Assessing the impacts of sediments from dredging on corals. Marine Pollution Bulletin
        102:9-29.
Florida Department of Environmental Protection. 2012. Permit No. 0305721-001-BI; Miami
        Harbor Phase III Federal Channel Expansion. Issuance Date: May 22, 2012.
Florida Department of Environmental Protection. 2016. Standard Operation Procedures for
        Nearshore Hardbottom Monitoring of Beach Nourishment Projects. 70 pp.
Fraser, M.W. J. Short, G. Kendrick, D. McLean, J. Keesing, M. Byrne, M. J. Caley, D. Clarke, A.
       R. Davis, P. L. A. Erftemeijer, S. Field, S. Gustin-Craig, J. Huisman, M. Keough, P.S.
       Lavery, R. Masini, K. McMahon, K. Mengersen, M. Rasheed, J. Statton, J. Stoddart, P.
       Wu. 2017. Effects of dredging on critical ecological processes for marine invertebrates,
       seagrasses and macroalgae, and the potential for management with environmental
       windows using Western Australia as a case study. Ecological Indicators 78:229-242.
Henriksen J, R. Randall, S. Socolofsky. 2012. Near-field resuspension model for a cutter suction
       dredge. Journal of Waterway, Port, Coastal, and Ocean Engineering 138:181-191



Page 62                                                                 Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                         FOR OFFICIAL USE ONLY
                                                                                            NMFS_00765
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 217 of 350




Hodel, E.C. 2007. Master’s Thesis: Histopathological assessment and comparison of
       sedimentation and phosphate stress on the staghorn coral, Acropora cervicornis. Nova
       Southeastern University. 101 pp. + apps.
Hoegh-Guldberg, O., P. J. Mumby, A. J. Hooten, R. S. Steneck, P. Greenfield, E. Gomez, C. D.
      Harvell, P. F. Sale, A. J. Edwards, K. Caldeira, N. Knowlton, C. M. Eakin, R. Iglesias-
      Prieto, N. Muthiga, R. H. Bradbury, A. Dubi, M. E. Hatziolos. 2007. Coral reefs under
      rapid climate change and ocean acidification. Science 318(5857):1737-1742.
Hoegh-Guldberg, O. and J. F. Bruno. 2010. The impact of climate change on the world’s marine
      Ecosystems. Science18 JUN 2010 : 1523-1528MEPS 266:273-302 (2004) -
      doi:10.3354/meps266273
Houk, P., R. Camacho, S. Johnson, M. McLean, S. Maxin, J. Anson, E. Joseph, O. Nedlic, M.
       Luckymis, K. Adams, D. Hess, E. Kabua, A. Yalon, E. Buthung, C. Graham, T. Leberer,
       B. Taylor, R. van Woesik, P. Houk, R. Camacho, S. Johnson, McLean. 2015. The
       Micronesia Challenge: Assessing the Relative Contribution of Stressors on Coral Reefs
       to Facilitate Science-to-Management Feedback. PLoS ONE 10(6):1-17.
       doi:10.1371/journal.pone.0130823.
Lirman, D., B. Orlando, S. Macia, D. Maqnzello, L. Kaufman, P. Biber, T. Jones. 2003. Coral
       communities of Biscayne Bay, Florida and adjacent offshore areas; diversity abundance,
       distribution and environmental correlates. AquConserv—Mar Freshwater Ecosyst
       13:121–135
Lorenz, R. 1999. Spill from dredging activities. Proc Øresund Link Dredging & Reclamation
       Conference, Copenhagen
Meehan, W.J. and G. K. Ostrander. 1997. Coral bleaching: A potential biomarker of
     environmental stress. Journal Of Toxicology And Environmental Health Vol. 50,
     Iss. 6,1997
Miller, J., E. Muller, C. Rogers, R. Waara, A. Atkinson, K.R.T. Whelan, M. Patterson, B. Witcher.
         2009. Coral Reefs 28: 925. doi:10.1007/s00338-009-0531-7.
Miller M.W., J. Karazsia, C.E. Groves, S. Griffin, T. Moor, P. Wilber and K. Gregg. 2016.
        Detecting sedimentation impacts to coral reefs resulting from dredging the Port of Miami,
        Florida USA. Peer. J. 4: e2711
Mills D, and H. Kemps. 2016. Generation and release of sediments by hydraulic dredging: a
        review. Report of Theme 2 - Project 2.1 prepared for the Dredging Science Node,
        Western Australian Marine Science Institution, Perth, Western Australia. 97 pp.
Mumby, P. J. 2009. "Herbivory versus corallivory: are parrotfish good or bad for Caribbean coral
     reefs?" Coral Reefs 28.3: 683-690.
National Marine Fisheries Servi ce (NMFS). 2016. Examination of Sedimentation Impacts to
       Coral Reef along the Port of Miami Entrance Channel, December 2015. Final Report.
       58 pp.
Nelson, D. S., J. McManus, R.H. Richmond, D.B. King Jr., J.Z. Gailani, T.C. Lackey, D. Bryant.
       2015. Predicting dredging-associated effects to coral reefs in Apra Harbor, Guam Part 2:
       Potential coral effects.Journal of Environmental Management 168:111-122. DOI:
       10.1016/j.jenvman.2015.10.025
NOAA. 2013. Biscayne Bay Turbidity Study. NOAA Technical Report OAR-AOML-41


Page 63                                                                  Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                          FOR OFFICIAL USE ONLY
                                                                                             NMFS_00766
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 218 of 350




NOAA National Marine Fisheries Service. 2016. Examination of sedimentation impacts to coral
     reef along the Port of Miami Entrance Channel, December 2015
Palermo M.R., P.R. Schroeder, T.J. Estes, N.R. Francingues. 2008. Technical guidelines for
      environmental dredging of contaminated sediments. No ERDC/EL- TR-08-29.
      Environmental Laboratory, U.S. Army Engineer Research and Development Center,
      Vicksburg, MS
Pandolfi, J. M., J. B. C. Jackson, N. Baron, R.H. Bradbury, H.M. Guzman, T.P. Hughes, C.V.
       Kappel, F.Micheli, J.C. Ogden, H.P. Possingham, and E. Sala. 2005. Are US coral reefs
       on the slippery slope to slime?. Science, 307 5716: 1725-1726.
       doi:10.1126/science.1104258
PandolfI, J.M., S. R. Connolly, D. J. Marshal, A. L. Cohen. 2011. Projecting coral reef futures
       under global warming and ocean acidification. SCIENCE 333(6041):418-422.
Peters, E.C. and M.E.Q.Pilson. 1985. A comparative study of the effects of sedimentation stress
       on symbiotic and asymbiotic colonies of the coral Astrangiadanae (Milne Edwards and
       Haime 1849). Journal of Experimental Marine Biology and Ecology 92:215-230.
Petus, C., M. Devlin, A. Thompson, L. McKenzie, E. Teixeira da Silva, C. Collier, D. Tracey, K.
       Martin. 2016. Remote Sensing 8(210). doi:10.3390/rs8030210.
Precht, W.F. ed., 2006. Coral reef restoration handbook. CRC Press.
Proceedings of the 11th International Coral Reef Symposium, Ft. Lauderdale, Florida, 7-11 July
      2008. Session number 1. Real-time coral stress observations before,during, and after
      beach nourishment dredging offshore southeast Florida, USA.
Riegl, B. and G.M. Branch. 1995. Effects of sediment on the energy budgets of four
        scleractinian (Bourne 1900) and five alcyonacean (Lamouroux 1816) corals. Journal of
        Experimental Marine Biology and Ecology 186:259-275.
Roessler, M.A. and G.L.Beardsley. 1974. Biscayne Bay: Its environment and problems. Florida
      Scientist 37:186-204.
Rogers, C.S. 1983. Sublethal and lethal effects of sediments applied to common Caribbean
      Reef corals in the field. Marine Pollution Bulletin 14(10):378-382.
Rogers C.S. 1990. Response of coral reefs and reef organisms to sedimentation. Mar
      EcolProgSer 62:185–202
SAJ, 2004. Final General Re-Evaluation Report and Environmental Impact Statement, pp 902
Schoepf, V., M. Stat, J. L. Falter & M. T. McCulloch. 2015. Limits to the thermal tolerance of
      corals adapted to a highly fluctuating, naturally extreme temperature environment.
      Scientific Reports 5, Article number: 17639 doi:10.1038/srep17639
Sengupta, S., .S. Lee, H.P. Miller. 1978. Three-dimensional numerical investigations of tide and
      wind-induced transport processes in Biscayne Bay Sea Grant Technical Bull. (July 1978)
      No. 39
Stabenau, E., A. Renshaw, J. Luo, E. Kearns and J.D. Wang. 2015. Improved coastal
      hydrodynamics model offers insight into surface and groundwater flow and restoration
      objectives in Biscayne Bay, Florida, USA. Bulletin of Marine Science 91(4): 433-454.




Page 64                                                                   Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                           FOR OFFICIAL USE ONLY
                                                                                              NMFS_00767
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 219 of 350




Storlazzi, C.D., M.E. Field, M.H. Bothner. 2011. The use (and misuse) of sediment traps in coral
       reef environments: theory, observations, and suggested protocols. Coral Reefs 30: 23.
       doi:10.1007/s00338-010-0705-3
Storlazzi, C.D., P. Dartnell, G.A. Hatcher, A.E. Gibbs. 2016. End of the chain? Rugosity and
       fine-scale bathymetry from existing underwater digital imagery using structure-from-
       motion (SfM) technology. Coral Reefs 35:889–894. DOI 10.1007/s00338-016-1462-8.
       Chevron Australia, 2016. Wheatstone Project. Dredging and Dredge Spoil Placement
       Environmental Monitoring and Management Plan. pp230.
Sutherland, K.P., J.W. Porter, C. Torres. 2004. Disease and immunity in Caribbean and Indo-
       Pacific zooxanthellate corals.MEPS 266:273-302. doi:10.3354/meps266273
USACE. 2001. Miami Harbor General Re-Evaluation Report-Miami Harbor Channel Deepening
     Widening Geotechnical Investigation. 6pp
USACE. Jacksonville District. 2013. Miami Harbor Phase III Dredging Project. RFP No.
     W912EP-12-R-0013. Project Specifications Section 01 57 20 – Environmental
     Protection. May 2013. 59 pp +apps.
Vargas-Ángel, B., E.C. Peters, E. Kramarsky-Winter, D.S. Gilliam, R.E. Dodge. 2007. Cellular
      reactions to sedimentation and teAmperature stress in the Caribbean coral Montastraea
      cavernosa. Journal of Invertebrate Pathology 95 (2):140-145.
Vlasblom, W. J. 2005. Chapter 3: Cutter suction dredger. CEDA Lecture Notes, Wb3408b
Walker, B.K. 2009. Benthic Habitat Mapping of Miami-Dade County: Visual Interpretation of
       LADS Bathymetry and Aerial Photography. Florida DEP report #RM069. Miami Beach,
       FL. pp. 47
Weil, E., G. Smith, D. L. Gil-Agudelo. 2006. Status and progress in coral reef disease research.
       Diseases of Aquatic Organisms 69:1-7.
Wesseling, I., A.J. Uychiaoco, P.M. Aliño, T. Aurin, and J.E. Vermaat. 1999. Damage and
      recovery of four Philippine corals from short-term sediment burial. Marine Ecology
      Progress Series 176: 11-15.
Westera, M. and R. Babcock. 2005. Post dredging recovery of seagrass in the Geraldton region
      - Interim Report October 2004 sampling. CSIRO Marine Research, Perth, Western
      Australia, pp. 22.
Unpublished as far as aware:
Swart, P.K. 2016. Report on the mineralogy and the stable carbon and oxygen sotope
       Composition of Samples Supplied by NOAA, June 2016, Peter K Swart, MGS, RSMAS,
       Univ. of Miami. In Port of Miami Sediment Analysis document sent from NMFS to SAJ.




Page 65                                                                  Water & Air Research, Inc.
Final Miami Task 1 Report.Docx                                          FOR OFFICIAL USE ONLY
                                                                                             NMFS_00768
                  Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 220 of 350



                                   Detecting sedimentation impacts to coral
                                   reefs resulting from dredging the Port of
                                   Miami, Florida USA
                                   Margaret W. Miller1 ,* , Jocelyn Karazsia2 ,* , Carolyn E. Groves1 ,3 , Sean Griffin4 ,5 ,
                                   Tom Moore4 , Pace Wilber6 and Kurtis Gregg2 ,5
                               1
                                 Southeast Fisheries Science Center, NOAA-National Marine Fisheries Service, Miami, FL, United States
                               2
                                 Southeast Regional Office, NOAA National Marine Fisheries Service, West Palm Beach, FL, United States
                               3
                                 Rosenstiel School of Marine and Atmospheric Sciences, University of Miami, Miami, FL, United States
                               4
                                 Restoration Center, NOAA National Marine Fisheries Service, St. Petersburg, FL, United States
                               5
                                 Earth Resources Technology, Inc., Laurel, MD, United States
                               6
                                 Southeast Regional Office, NOAA National Marine Fisheries Service, Charleston, SC, United States
                               *
                                 These authors contributed equally to this work.


                                       ABSTRACT
                                       The federal channel at Port of Miami, Florida, USA, was dredged between late 2013
                                       and early 2015 to widen and deepen the channel. Due to the limited spatial extent of
                                       impact-assessment monitoring associated with the project, the extent of the dredging
                                       impacts on surrounding coral reefs has not been well quantified. Previously published
                                       remote sensing analyses, as well as agency and anecdotal reports suggest the most severe
                                       and largest area of sedimentation occurred on a coral reef feature referred to as the
                                       Inner Reef, particularly in the sector north of the channel. A confounding regional
                                       warm-water mass bleaching event followed by a coral disease outbreak during this same
                                       time frame made the assessment of dredging-related impacts to coral reefs adjacent
                                       to the federal channel difficult but still feasible. The current study sought to better
                                       understand the sedimentation impacts that occurred in the coral reef environment
                                       surrounding Port of Miami, to distinguish those impacts from other regional events
                                       or disturbances, and provide supplemental information on impact assessment that
                                       will inform discussions on compensatory mitigation requirements. To this end, in-
                                       water field assessments conducted after the completion of dredging and a time series
Submitted 21 June 2016                 analysis of tagged corals photographed pre-, during, and post-dredging, are used
Accepted 22 October 2016
Published 17 November 2016
                                       to discern dredging-related sedimentation impacts for the Inner Reef north. Results
                                       indicate increased sediment accumulation, severe in certain times and places, and an
Corresponding author
Margaret W. Miller,
                                       associated biological response (e.g., higher prevalence of partial mortality of corals)
margaret.w.miller@noaa.gov             extended up to 700 m from the channel, whereas project-associated monitoring was
Academic editor
                                       limited to 50 m from the channel. These results can contribute to more realistic
Robert Costanza                        prediction of areas of indirect effect from dredging projects needed to accurately
Additional Information and
                                       evaluate proposed projects and design appropriate compliance monitoring. Dredging
Declarations can be found on           projects near valuable and sensitive habitats subject to local and global stressors
page 15                                require monitoring methods capable of discerning non-dredging related impacts and
DOI 10.7717/peerj.2711                 adaptive management to ensure predicted and unpredicted project-related impacts are
Distributed under
                                       quantified. Anticipated increasing frequency and intensity of seasonal warming stress
Creative Commons Public                also suggests that manageable- but- unavoidable local stressors such as dredging should
Domain Dedication                      be partitioned from such seasonal thermal stress events.
OPEN ACCESS



                                   How to cite this article Miller et al. (2016), Detecting sedimentation impacts to coral reefs resulting from dredging the Port of Miami,
                                   Florida USA. PeerJ 4:e2711; DOI 10.7717/peerj.2711


                                                                                                                                                           NMFS_00770
                      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 221 of 350




                                              Subjects Environmental Sciences, Marine Biology
                                              Keywords Coral, Dredging, Sedimentation, Coral reef, Coral disease, Impact assessment,
                                              Monitoring, Adaptive management


                                              INTRODUCTION
                                              Numerous dredging projects have resulted in widespread environmental effects on coral
                                              reef communities (e.g., Dodge & Vaisnys, 1977; Bak, 1978; Rogers, 1990; Erftemeijer et
                                              al., 2012a). Coastal dredging and port construction exacerbates sediment influx by
                                              resuspending benthic sediments (PIANC, 2010), and fine sediments tend to have greater
                                              effects on corals compared to coarse sediments (Erftemeijer et al., 2012a). The spatial extent
                                              of impacts from dredging can be variable, and in a severe case, water quality impacts have
                                              been detected up to 20 km away from the dredging activity when oceanographic features in-
                                              cluded unidirectional flow during the project (Fisher et al., 2015). Erftemeijer et al. (2012a)
                                              note poor understanding of the biological response of corals to sedimentation can result in
                                              inappropriate management of dredging projects and provide several examples of dredging
                                              operations near coral reefs where inadequate management contributed to significant dam-
                                              age to reefs and mortality of corals. However, establishing realistic and ecologically mean-
                                              ingful sedimentation thresholds, as permit conditions and for use as triggers in an adaptive
                                              monitoring and management program, can be a challenge in coral reef environments
                                              (Erftemeijer et al., 2012a). To effectively minimize negative impacts on corals and coral
                                              reefs, a combination of reactive (feedback) monitoring of water quality and coral health
                                              during dredging activities and spill-budget modelling of dredging plumes could be used to
                                              guide decisions on when to modify (or even suspend) dredging (Erftemeijer et al., 2012a).
                                                  The Port of Miami entrance channel traverses coral reefs within the northern portion
                                              of the Florida Reef Tract. Six coral reef or hardbottom features characterized by Walker
1 Walker (2009) refers to this coral reef
                                              (2009) surround the federal channel at the Port of Miami, and include the nearshore ridge
feature as Inner Reef. This portion of the    complex, both north and south of the channel, Inner Reef north and south, and Outer Reef
Florida Reef Tract lacks a Middle Reef, and   north and south (Fig. 1). The Inner Reef north1 is composed of two reef habitat types,
USACE reports often misidentify the Inner
Reef as Middle Reef or Reef 2.                including a Ridge-shallow (western portion) and Linear Reef (eastern portion). The current
                                              direction in the outer sections is dominated by the Florida Current with strong north-
                                              northeasterly flows, but the flow environment is complex with common current reversals
                                              and multiscale vortices capable of transporting suspended material in complex patterns
                                              (Martinez-Pedraja et al., 2004; McArthur, Stamates & Proni, 2006).
                                                  The purpose of the Port of Miami expansion dredging project was to provide
                                              improved navigation and safety for larger vessels, including post-Panamax class ships. An
                                              Environmental Impact Statement (EIS) prepared by the Army Corps of Engineers (USACE)
                                              concluded the dredging would result in 13,355 m2 (3.3 acres) of direct impacts (i.e., reef
                                              that was ground up and permanently removed) to Outer Reef north and Outer Reef south.
                                              The EIS concluded impacts may also include the resuspension and deposition of sediments
                                              on nearby coral reef assemblages, but the area of anticipated sedimentation impact was not
                                              quantified (US Army Corps of Engineers, 2004). Nine years later, the Port of Miami entrance
                                              channel expansion dredging project was implemented during a 17-month period between



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                     2/19


                                                                                                                               NMFS_00771
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 222 of 350




                                      Figure 1 Port of Miami study area. (A) Port of Miami channel-side, sedimentation assessment and
                                      reference sites for all reef habitat types. Yellow boxes indicate locations of additional project-associated
                                      channel-side and reference sites for the Nearshore Ridge Complex, Outer Reef, and Inner Reef south
                                      that were not addressed in the current study. (B) Inner Reef north (red) and Outer Reef north (yellow;
                                      not addressed in the current study) reference sites, 9.3 km north of the channel. (C) Port of Miami
                                      channel-side and sedimentation assessment sites for the Inner Reef north. (continued on next page. . . )




Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                                  3/19


                                                                                                                                       NMFS_00772
                    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 223 of 350




                                                Figure 1 (. . . continued)
                                                Red boxes indicate locations of channel-side and reference area tagged coral colonies for Inner Reef north.
                                                Dots represent sedimentation assessment dive sites at 100, 200, 300, 500 m north of the channel in each
                                                habitat (Ridge-shallow depicted by cross-hatch, Linear reef by diagonal shading) of the Inner Reef, and
                                                700 m north of the channel in the Inner Reef, Linear Reef. The base layer is from December 2014 (Google
                                                Earth Pro) during active dredging close to the Inner Reef north.


2 Florida Department of Environmental          November 20, 2013, and March 16, 2015 (Fig. S1). Additional maintenance dredging also
Protection Permit #0305721-001-BI;             occurred in the inner-harbor and federal channel, prior to and after the expansion dredging.
ftp://ftp.dep.state.fl.us/pub/ENV-
PRMT/dade/issued/0305721_Miami_                A reported 4.39 million m3 of material was dredged (CJ McArthur, US Environmental
Harbor_Phase_III_Federal_Dredging/001-         Protection Agency Region 4, pers. comm., 2016) via pipeline, backhoe, and clamshell
BI/Final%20Order/Miami%20Harbor%
20Final%20Order%20052212.pdf.
                                               dredges and deposited to a permitted offshore disposal site 2.4 km east-southeast of the
                                               project site in 120–240 m depth (US Environmental Protection Agency, 1995).
                                                  A permit2 was issued in 2012 to the USACE by the Florida Department of Environmental
                                               Protection and included conditions for biological monitoring areas adjacent to the channel
                                               along each of six coral reef or hardbottom features (north and south of the channel in
                                               the Outer Reef, Inner Reef, and Nearshore Ridge; Fig. 1). All project-required monitoring
                                               stations were located within 50 m north and south of the channel (channel-side) in
3 Up to 40 days after the expansion dredging
                                               addition to reference areas located between 1.2 and 9.3 km from the channel (Fig. 1). The
began.                                         two baseline surveys were conducted in August 2010 (US Army Corps of Engineers, 2011)
                                               and October 23 through December 30, 20133 (US Army Corps of Engineers, 2014). While
                                               the former baseline assessment included stations up to 450 m north of the channel on the
                                               Inner Reef north, the baseline surveys from 2013, during-dredging, and post-construction
                                               monitoring included only potential impact locations within 50 m of the channel.
                                                  Barnes et al. (2015) undertook an independent remote sensing analysis partitioning
                                               natural drivers of sediment plumes near the Port of Miami channel, such as storms, wind or
                                               runoff events, from dredging-associated sediment plumes. They determined that sediment
                                               plumes detectable from satellite imagery during the dredging period were of 5× greater
                                               extent (127–228 km2 during dredging compared to 18–46 km2 under normal conditions)
                                               and 23–84% greater frequency than a baseline period prior to the start of dredging.
                                               This study also documented the greatest frequency and intensity of dredging-associated
                                               sediment plumes over the Inner Reef north reef sector. For this reason, we focused post-hoc
                                               sediment impact assessment effort in this reef sector, recognizing that additional reef area
                                               was likely impacted in the other sectors, with perhaps lesser intensity over a smaller extent.
                                                  The purpose of the current study was to better understand the sedimentation impacts that
                                               occurred in the coral reef environment surrounding Port of Miami, to distinguish those im-
                                               pacts from other regional events or disturbances, and provide supplemental information on
                                               impact assessment to inform discussions on compensatory mitigation requirements. This
                                               paper reports results from post-hoc field sampling focused on coral condition and standing
                                               sediment on reef substrates. Sampling was conducted at five sedimentation assessment
                                               locations within the Inner Reef north sector. Parallel sampling was conducted in the asso-
                                               ciated reference area, chosen and followed as part of the compliance monitoring program,
                                               approximately 9 km north of the channel and composed of similar reef habitat types (Fig. 1).
                                               In addition, analyses of photographic time series of individual tagged coral colonies within



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                                     4/19


                                                                                                                                             NMFS_00773
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 224 of 350




                                    channel-side and reference locations throughout the project provide a Before/After compar-
                                    ison for coral status over the project duration. Given the post-hoc nature of this analysis,
                                    we emphasized persistent effects, namely coral mortality or partial mortality related to
                                    sedimentation and persistent sediment presence in the reef environment. This conservative
                                    assessment does not address additional physiological stress and/or more temporary effect
                                    pathways likely also invoked by project associated turbidity and light attenuation (Jones et
                                    al., 2016) because post-hoc analysis using available data was not possible.

                                    METHODS
                                    Post-hoc ﬁeld sampling
                                    In December 2015, field sampling was conducted to quantify coral condition and standing
                                    sediment on reef substrates at locations spanning increasing distance from the channel in
                                    the Inner Reef north sector, in addition to the reference location (all 8–10 m depth; Fig. 1;
                                    Fig. S1). These ‘sediment assessment’ locations were spaced at 100, 200, 300, 500 and 700 m
                                    from the channel. At each distance except 700 m, transects were evenly distributed in both
                                    Ridge-shallow (RR) and Linear Reef (LR) habitat types. At the 700 m distance, only the
                                    Linear Reef habitat was assessed due to dive-time limitations. The reference location also
                                    included transects sampled within both Ridge-shallow and Linear Reef habitat. The project
                                    reference reefs were designated in a permit as part of the required compliance monitoring
                                    and were at least 0.8 km away from the channel (with the Inner Reef North reference sites
                                    located 9.3 km to the north). This distance was expected to be far enough away to prevent
                                    confounding effects from background channel turbidity, sedimentation, and effects from
                                    the commercial anchorage. The reference reefs were examined by divers and verified as
                                    representative of the intended habitat type (US Army Corps of Engineers, 2010).
                                       Using Google Earth Pro, specific dive sites for each sediment assessment location were
                                    randomly selected to be at or near the 100-m interval mark and include a dive site in both
                                    Ridge-shallow and Linear Reef habitat type. Exceptions were three dive sites (100-RR,
                                    200-RR, and 300-RR) that were selected to correspond with dive sites surveyed in a
                                    pre-construction assessment the USACE completed in 2010. Overall, this results in five
                                    sedimentation assessment locations (100, 200, 300, 500, and 700 m north of the channel),
                                    two dive sites per location—one in the Ridge-shallow and the other in the Linear Reef—with
                                    the exception of 700 m, where only the Linear Reef was surveyed. A temporary marker
                                    buoy was deployed from the boat at the pre-determined coordinates. At each dive site,
                                    two 50-m long transects were run in opposite directions from the buoy and sampled at
                                    1.0-m intervals (50 point samples per transect, two transects per site). Observers recorded
                                    the occurrence of standing sediment along the line-intercept transects, where present, in
                                    two categories. ‘Sediment-over-hardbottom’ (SOHB) was designated if there was a visible
                                    accumulation of sediment. For example, algal turfs normally have some sediment embedded
                                    within them, but if the turfs were engulfed by sediment, this would be labelled as SOHB. If
                                    the sediment was qualitatively observed to be deeper (estimated >4.0 cm), it was labelled
                                    as ‘‘deep sediment over hardbottom’’ (DSOHB). In addition, at every 5.0 m along each
                                    transect, the depth of the sediment (cm) over hardbottom was measured with a ruler and
                                    the deepest of several measurements within one meter of the sample point was recorded.



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                         5/19


                                                                                                                    NMFS_00774
                    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 225 of 350




                                                Six 10 m2 belt transects were also sampled along or parallel (within 10 m distance) with
                                            the two line-intercept transects at each dive site to quantify the condition of coral colonies
                                            within each area. Each scleractinian colony was recorded by species and condition; namely
                                            if the coral displayed recent partial mortality (i.e., minimally encrusted skeleton in which
                                            individual calyces were still discernable, Lirman et al., 2014), sediment present on live coral
                                            tissue (sediment accumulation), active disease (distinct white skeleton progressing across
                                            the colony), bleaching, ‘‘halo’’ mortality, or healthy if there were no noticeable signs of
                                            stress present. A ‘‘halo’’ refers to a pattern of partial colony mortality in which a concentric
                                            ring of dead coral skeleton occurs at the base of the coral colony as results from prior burial
                                            of the colony edges (Figs. S2A–S2C).
                                                One-way ANOVAs followed by post-hoc tests between the assessment and reference
                                            locations were used to determine statistically significant differences in each survey param-
                                            eter. For each of six parameters, (% cover SOHB, % cover DSOHB, sediment depth, and
                                            prevalences of recent partial mortality, ‘halo’ partial mortality, and sediment accumulation),
                                            preliminary one-way ANOVAs (on ranks, due to violation of parametric assumptions)
                                            showed no significant differences between the two habitat types (p-values ranging from
                                            0.134 to 0.975 among the six parameters). Thus, transects of both habitat types were pooled
                                            at each location (i.e., distance from channel or reference) to increase replication and power
                                            to detect differences among the locations via one-way ANOVAs (on ranks when parametric
                                            assumptions were violated).

                                            Before/After analysis of coral status, qualitative and quantitative
                                            Public records of time series photographs of tagged coral colonies taken as part of the
                                            compliance monitoring were obtained from the USACE. Tagged colonies were distributed
                                            in both the Ridge-shallow and Linear Reef habitat types at the channel-side and the reference
                                            (∼9.3 km north; Fig. 1) locations which had been designated for the permit monitoring.
                                            The colonies tagged at each location were of mixed species composition according to what
                                            was present, but included Porites astreoides, Solenastrea bournoni, Pseudodiploria strigosa,
4 A portion of the pre-construction phase
                                            Stephanocoenia intersepta, Meandrina meandrites, Siderastrea siderea, and Dichocoenia
overlapped the onset of expansion           stokesii. Photographs were taken at irregular intervals between a four-week pre-construction
dredging (Fig. S1).                         phase4 (October–November 2013) and a four-week post-construction phase (July 2015).
                                            Intervals between images ranged from 1to 121 (mean 14–18) days for the channel-side
                                            colonies and from 1 to 145 (mean 12–13) days at the reference site. The frequency of images
                                            varied according to permit requirements; photographs were to be taken at greater frequency
                                            when dredging was occurring in close proximity (<750 m) to the monitoring site. We thus
                                            made the conservative assumption that long intervals between photos corresponded to
                                            times when dredging activities were relatively distant and less influential, and that relevant
                                            instances of sediment interaction with the colonies are appropriately captured in the
                                            available time series for each colony. The time series of each colony was examined and the
                                            temporal sequence of conditions affecting each colony was noted. Specifically, the presence
                                            of sediment accumulation on live tissue, partial sediment burial generally of colony edges,
                                            complete colony burial by sediment, the presence of active White Plague disease signs
                                            (i.e., bright white exposed skeleton along colony margins, generally with a scalloped shape,



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                    6/19


                                                                                                                              NMFS_00775
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 226 of 350




                                    grading into gradually more encrusted, longer dead, skeleton), and ‘sudden death’ (the
                                    complete mortality of a colony between sequential photos in the time series, presumably
                                    attributable to disease, though no active disease signs were observable) were recorded in
                                    sequence. We included ‘sudden death’ in a category of disease impact given consistency
                                    with described patterns of mortality (i.e., complete colony mortality over a period of
                                    weeks) associated with a regional outbreak of ‘White Plague’ disease affecting most species
                                    of mounding corals during this time frame (Precht et al., 2016), a lack of other known
                                    disturbances such as storms, and the presumption that the longer interval of images during
                                    which most of the ‘sudden death’ occurred (winter 2014–2015) was during a period when
                                    dredging activities were distant according to permit requirements (hence transient sediment
                                    burial unlikely). The potential effect of sediment stress on susceptibility was examined by
                                    estimating the risk of subsequent disease and/or death in a group of colonies which had
                                    previously experienced partial sediment burial compared to the remaining colonies which
                                    had not shown partial burial in the time series photos. From this same set of time-series
                                    photographs, the live tissue area was quantified from the best-matched photo (angle and
                                    orientation) of each colony from the pre-construction and from the post-construction
                                    phase (generally four weekly photos in each phase) using the software CPCe (Kohler & Gill,
                                    2006). Each photograph was calibrated using a scale bar with 5-cm increments included in
                                    each image, and then the area (cm2 ) was calculated by outlining the live tissue area for each
                                    colony. Proportional change in live tissue area was calculated for each colony (i.e., (post-
                                    pre)/pre). Colonies which went missing prior to the post-construction phase were excluded
                                    from this analysis. The colonies from the two habitat types in each location were pooled and
                                    the change in colony area between locations was compared by a Mann–Whitney U -test.

                                    RESULTS
                                    Post-hoc ﬁeld sampling
                                    The mean percent cover of reef substrate characterized as ‘‘sediment over hardbottom’’
                                    (SOHB) and ‘‘deep sediment over hardbottom’’ (DSOHB) was higher along the Inner
                                    Reef north transects (incorporating both Ridge-shallow and Linear Reef habitat), than the
                                    reference location transects (within the same habitat strata; Fig. 2A). The mean percent
                                    cover of SOHB was 17.5 to 36.0× higher at Inner Reef north locations, when compared
                                    to reference location (Fig. 2A), representing significant differences between each Inner
                                    Reef north location and the reference (One- way ANOVA p = 0.002 followed by post-hoc
                                    Holm-Sidak comparisons of each location with the reference at p < 0.05). At the reference
                                    location, 1% of the survey points exhibited reef substrate characterized as SOHB. The mean
                                    percent cover of DSOHB showed significant variation among sampled locations (one-way
                                    ANOVA on ranks, p = 0.045), ranging from 0.8 to 10.8% at distances 100, 200, 500, and
                                    700 m from the channel (Fig. 2A), compared to no DSOHB recorded at the reference
                                    location nor the location 300 m north of the channel. However, statistical power was not
                                    adequate to discern significant differences for DSOHB among locations.
                                       The mean depth of sediment was significantly higher, ranging from 2.7 to 10.0× higher, at
                                    Inner Reef north locations (Fig. 2B), compared to that measured at the reference location



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                          7/19


                                                                                                                     NMFS_00776
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 227 of 350




                                     A                       45
                                                                                                          SOHB
                                                             40                                                        C
                                                                                                          DSOHB
                                                             35
                                                             30




                                                  %Cover
                                                             25
                                                             20
                                                             15
                                                             10
                                                              5
                                                              0
                                                                  100   200     300       500       700    Reference
                                                                              Location


                                     B 4.0
                                                           3.5                                                         D
                                     Sedimentdepth(cm)




                                                           3.0
                                                           2.5
                                                           2.0
                                                           1.5
                                                           1.0
                                                           0.5
                                                           0.0
                                                                  100   200    300       500       700    Reference
                                                                              Location


                                                  Figure 2 Sediment cover on reef substrate. (A) Mean (±1 SE) percent cover of sediment over hardbot-
                                                  tom (SOHB) and deep sediment over hardbottom (DSOHB; >4 cm depth) along line point-intercept
                                                  transects at sites of increasing distance from the channel and reference site. N = 4 transects for each, ex-
                                                  cept 700 m where only two transects were sampled (hence no error bars are given). (B) Mean (±1 SE)
                                                  depth of sediment at 0.5 m intervals along the same transects. Both habitat types were sampled at all sites
                                                  except 700 m (LR only). Each of the sediment assessment locations had significantly higher SOHB cover
                                                  and sediment depth than the reference area in post-hoc comparisons following one-way ANOVAs. (C–D)
                                                  Illustration of expanse of deep sediment at the 200 m location showing soft corals with several cm burial
                                                  (photos taken 11 Dec 2015; 25.763852◦ N, 80.098928◦ W).


                                    (one-way ANOVA on ranks p = 0.001 followed by Dunn’s post-hoc comparisons with
                                    reference). Specifically, along the transects located 200 m north of the channel, the mean
                                    sediment depth was 3.0 cm compared to 0.3 cm at the reference location (Figs. 2B–2D).
                                       There was up to a 3.1 to 5.1× increase in the prevalence of corals with recent partial
                                    mortality at sediment assessment locations when compared to reference (Fig. 3; one-
                                    way ANOVA on ranks p = 0.009). Specifically, the 100, 300, and 700 m locations were
                                    significantly different than the reference (Dunns’ post-hoc comparisons with reference,
                                    p < 0.05). The occurrence of sediment accumulation (SA) on live coral tissue ranged
                                    from 4.8 to 21.3× higher at sedimentation assessment locations when compared to the
                                    reference location with the 100 m and 200 m locations being statistically higher (SA;
                                    one-way ANOVA on ranks p = 0.002 followed by Dunn’s post-hoc comparisons with
                                    reference; Fig. 3). Sediment halos (mortality at the base of colonies due to elevated
                                    levels of sedimentation) on scleractinian corals ranged from 3 to 26× more frequent at



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                                        8/19


                                                                                                                                                 NMFS_00777
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 228 of 350




                                                      60                                                      PmortRecent
                                                                                                              Halos
                                                      50                                                      SedAccum




                                     Prevalence(%)
                                                      40

                                                      30

                                                      20

                                                      10

                                                      0
                                                           100      200           300          500           700           Ref
                                                                                     Location

                                           Figure 3 Coral conditions. The overall prevalence (mean + 1 SE) of colony conditions at sites span-
                                           ning a gradient of distance from the dredged channel (100–700 m) and the reference site. Habitat types are
                                           pooled (n = 12 transects per location) with exception of 700 m site (only Linear Reef habitat sampled, n =
                                           6 transects) and 500 m and 300 m (n = 13 transects per location, with the one additional transect being in
                                           the Linear Reef habitat). Sed Accum, sediment presence on living coral tissue; PmortRecent, recent partial
                                           mortality among colonies (Lirman et al., 2014); Halos, distinct pattern of partial mortality (not necessar-
                                           ily recent) in which tissue loss manifests as an outer concentric ring or partial ring which is consistent with
                                           that resulting from previous partial burial of the colony (see Fig. S2 for illustration). Ref, Reference loca-
                                           tion.


                                    sedimentation assessment locations when compared to the reference location with the
                                    200 m and 300 m locations being significantly higher (Fig. 3; one-way ANOVA on ranks
                                    p = 0.011 followed by Dunn’s post-hoc comparisons with reference).

                                    Before/After analysis of coral status
                                    When the sequence of sediment and disease-related conditions are examined across all
                                    colonies, only minor sediment presence (e.g., Fig. 4B) was observed on coral tissues (12
                                    of 52 channel-side and four of 58 reference colonies) prior to June 2014. Major sediment
                                    accumulation including complete burial and several centimeter sediment berm (seemingly
                                    from colony expulsion of sediments, Fig. 4D) and the subsequent burial of colony edges
                                    was observed starting in early June 2014 (half of channel-side colonies compared to 1 of 58
                                    reference colonies; Fig. S1). Bleaching was observed primarily in August–November 2014
                                    (Fig. 4G; Fig. S1) with most of the colonies recovering (Fig. 4H ). Most colonies of Porites
                                    astreoides, which occurred only at the reference reef, also were bleached in July 2015 at
                                    the end of the time series. The predominance of active disease signs and rapid complete
                                    colony mortality among channel-side colonies occurred between late November 2014 and
                                    late February 2015. However, most disease and rapid colony mortality among reference
                                    reef colonies occurred later (February–July 2015; Fig. S1).
                                       Six channel-side colonies (11.5%) displayed complete or almost complete colony mor-
                                    tality directly associated with sediment burial (i.e., directly following in time and tissue re-
                                    gression over similar footprint as previously buried, Fig. S3). Although one reference colony



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                                   9/19


                                                                                                                                            NMFS_00778
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 229 of 350




                                                                           B                                       C
                                        A




                                            10/21/13                              4/25/14                              6/16/14
                                       D                                    E                                   F




                                              6/22/14                            7/17/14                               8/21/14

                                      G                                    H                                   I




                                             9/14/14                             11/13/14                              2/25/15
                                      Figure 4 Example coral time series. Intermittent time series photos for a Pseudodiploria strigosa colony
                                      (designated R2N1 T1 C2) illustrating different conditions including sediment accumulation (B, E), partial
                                      burial (C), sediment ‘berm’ around coral margin (D), bleaching (G), recovery (H), and ‘sudden death’ (I).
                                      Also note the degree of accumulated sediment on the surrounding reef substrate. This colony was located
                                      in the Inner Reef north channel-side permit-monitoring site, within 30 m of the channel. Dates given as
                                      Month/Day/Year. Additional illustrations given in Fig. S3.




Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                       10/19


                                                                                                                                  NMFS_00779
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 230 of 350




                                          Table 1 Partitioning of tagged colonies that experienced substantial sediment burial (complete or par-
                                          tial) and subsequent disease or death. Risk is calculated as the percent of colonies in each category which
                                          manifest disease or death.
                                            Group                    Sediment interaction           Subsequent disease/death           Risk
                                                                                                    Yes 10
                                                                     Yes 26                                                            38%
                                                                                                    No 16
                                          Channel-side 52
                                                                                                    Yes 9
                                                                     No 26                                                             34%
                                                                                                    No 17
                                                                                                    Yes 0
                                                                     Yes 1                                                             0%
                                                                                                    No 1
                                          Reference 59
                                                                                                    Yes 9
                                                                     No 58                                                             15%
                                                                                                    No 49



                                                                0

                                                              90.1
                                     Changeintissuearea
                                        (proportion)




                                                              90.2

                                                              90.3
                                                                                                             ChannelSide
                                                              90.4
                                                                                                             Reference
                                                              90.5

                                                              90.6

                                          Figure 5 Proportional change in coral tissue area (mean ±1 SE) for tagged colonies between the base-
                                          line and post-construction period (∼18 months). N = 55 or 60 colonies (Channel-side, Reference, re-
                                          spectively). Channel-side colonies lost significantly more tissue.


                                    appeared to experience a minor degree of partial sediment burial of its edges, it manifested
                                    only modest partial mortality (Fig. S3C). The occurrence of disease and complete colony
                                    mortality for reference colonies was less than half that observed for channel-side colonies
                                    (Table 1), although disease occurrence was similar between channel-side colonies that were
                                    observed with substantive partial burial (38%) versus those that were not (34%).
                                       The tagged colonies at the channel-side location (n = 55), without regard to particular
                                    conditions or attributions of coral loss, showed over 4× greater tissue loss on average
                                    than the reference colonies (n = 58, Fig. 5). This includes 17/55 (31%) channel-side
                                    colonies versus 6/58 (10%) reference colonies which suffered complete colony mortality.
                                    Meanwhile, 48% of reference colonies displayed positive growth over the course of the
                                    project, compared with only 18% of channel-side colonies.




Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                                             11/19


                                                                                                                                       NMFS_00780
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 231 of 350




                                    DISCUSSION
                                    A severe warm thermal stress (Eakin et al., 2016; Manzello, 2015) and coral bleaching event
                                    affected south Florida coral reefs beginning in autumn 2014 (MW Miller, pers. obs., 2014;
                                    also documented in regional bleaching surveys as 30–55% prevalence of bleaching in the
                                    sub-regions spanning Miami-Dade and Broward county; data available from Florida Reef
                                    Resilience Program at http://frrp.org/temp/JCDM3VBD/CoralDiseaseBySubregion.html;
                                    Fig. S1). As often occurs (Muller et al., 2008; Miller et al., 2009), the coral bleaching event
                                    was followed by severe but patchy coral disease outbreaks and mortality which were
                                    reported anecdotally throughout the region starting in winter 2014–2015 (Fig. S1). Precht
                                    et al. (2016) provide documentation of the origin, high lethality, and spread of this severe
                                    disease outbreak. These authors report the origination of this regional outbreak at the
                                    Inner Reef south reference site (referred to as ‘Virginia Key’, Fig. 1, located ∼1.2 to 1.4 km
                                    south of the channel) in Sept. 2014 and the propagation of the outbreak both to the north
                                    and, more slowly, to the south.
                                       Both bleaching and disease are documented in the time series observations of corals in
                                    both the Inner Reef north channel-side and reference populations (Fig. 4 and Fig. S3C )
                                    examined in the present study. Despite these coincident disturbances, analysis of tagged
                                    coral colony condition during the course of the dredging project shows significant and large
                                    effects in terms of more severe coral tissue loss (almost 5×) and increased risk of disease
                                    and death (>double) in the immediate vicinity of the dredged channel, in comparison with
                                    project-chosen reference reef. The permit-mandated monitoring plan did not, however,
                                    incorporate spatial coverage of potentially impacted reef areas farther than 50 m from the
                                    channel that would aid in determining the spatial extent of impact. We implemented the
                                    post-hoc sampling (i.e., ∼8 mos after dredging was completed) to partially address this
                                    gap. Although the determination of causes of coral mortality or partial mortality is always
                                    problematic, we compared the prevalence of several coral conditions and the persistent
                                    levels of standing sediment on reef substrates at a gradient of potential impact locations
                                    with the reference location to aid in delineation of the extent of sedimentation impact.
                                       This post-hoc survey showed substantial differences between the assessment locations
                                    and the reference location in terms of standing sediment and coral condition. Using the
                                    most objective measures such as sediment depth (almost 10× at the 200 m location) and
                                    prevalence of recent partial mortality (∼double across all assessment locations), significant
                                    contrast is evident with the reference location. This pattern also is consistent with the
                                    less-objective or ephemeral parameters in our survey, such as the attribution of partial
                                    mortality patterns as ‘halos’ or the presence of sediment on live coral tissue. Unfortunately,
                                    there are no directly comparable baseline data for these parameters, raising a potential
                                    concern that high sediment impact, relative to the reference area, may be characteristic
                                    of a reef area adjacent to a high-traffic channel, rather than a direct effect of dredging.
                                    Baseline sampling was conducted by USACE at a gradient of sites out to 450 m in the
                                    Inner Reef North sector in 2010 and recorded a binary score (yes/no) for the presence
                                    of an unspecified ‘sedimentation’ condition and the overall prevalence of coral partial
                                    mortality (not specified whether recent or not). The ‘sedimentation’ score was reported



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                          12/19


                                                                                                                     NMFS_00781
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 232 of 350




                                    as ‘yes’ at all sampled sites except the Inner Reef North site at 200 m where a ‘no’ was
                                    recorded for ‘sedimentation’. The dive site for one of the two sampled in the current study
                                    at 200 m distance (200-RR, Table S1) was overlain with the 2010 transect location (as
                                    described in ‘Methods’) and showed 63% cover of SOHB and a mean sediment depth of
                                    1.7 cm, apparently a very different condition than the absence of ‘sedimentation’ reported
                                    in 2010. Similarly, in 2010, the prevalence of coral partial mortality was reported as 3.1%
                                    and showed no significant relationship with distance from the channel (US Army Corps
                                    of Engineers, 2011). Our survey results record evidence of the severe impacts of regional
                                    coral stressors, such as thermal stress and disease in that the prevalence of recent partial
                                    mortality for reference area corals was 7× higher (21 ± 3.5 %, mean ± 1 SE) than the
                                    2010 baseline assessment; however, the locations in the vicinity of the channel (up to 700
                                    m distant) had values double those at the reference location (44 ± 3.4%, mean ±1 SE).
                                    This pattern is also consistent with the reported results of Pollock et al. (2014) showing that
                                    extended exposure to dredging project-related sediment plumes was a significant driver of
                                    increased occurrence of compromised conditions of reef corals.
                                       Neither the dredging process nor the Port of Miami entrance channel environment was
                                    conducive to a simple sedimentation gradient leading away from the channel and into the
                                    coral reef habitat. While the material dredged from the federal channel was predominantly
                                    limestone and sand below a thin layer of silt, the proportion of silt within material from the
                                    inner harbor was generally higher than from the entrance channel. Three types of dredges
                                    (clamshell, hopper, and pipeline) operated at various times and locations, and the amount
                                    of sediment suspended from these dredges can differ substantially under normal operation
                                    (McLellan et al., 1989). In addition, the pipeline dredges occasionally used a process known
                                    as ‘‘roller chopping’’ (punching the substrate with the cutterhead to pre-treat and fracture
                                    rocky substrate) with the suction deactivated. A spider barge staged at various locations
                                    along the outer entrance channel collected dredged material from the pipeline dredges
                                    and distributed the material to hopper barges for transport to the ocean disposal site. The
                                    permit did not set controls for the overflow of sediment-laden effluent from this process,
                                    and the overflow of sediments may have been substantial and variable. Likely additional
                                    sources of sedimentation from dredging operations include the disposal doors in the hopper
                                    barges not sealing shut properly leading to leakage from the barges. Given the differences
                                    in sediment characteristics and the manner and rate of sediment influx to the water
                                    column coupled with the varying oceanographic conditions along the 8.9 km length of the
                                    project (including inner harbor work) during the many months of dredging, the lack of a
                                    simple linear sedimentation or impact gradient leading from the channel is not surprising.
                                       While sediment movement and deposition is a normal process in a coral reef ecosystem,
                                    offshore coral reefs are not capable of developing or sustaining ecological functions when
                                    substrates are covered by sediment over prolonged periods. The presence of deep sediment
                                    pockets within patchy reef habitats may also be a normal reef habitat feature. However, the
                                    presence of emergent sessile invertebrates (particularly soft corals, but also scleractinian
                                    corals and sponges, Figs. 2C–2D, Fig. S2) in much of the area of observed deep sediment in
                                    our post-hoc surveys clearly indicated recent, extreme levels of accumulation and implies
                                    that additional, uncountable scleractinian corals have been buried in these areas.



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                          13/19


                                                                                                                     NMFS_00782
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 233 of 350




                                        Although our replication was not adequate to discern habitat effects, the post-hoc
                                    survey results suggest differences in the severity of sedimentation impact between the
                                    habitat types. Most survey locations in the vicinity of the channel showed a trend for higher
                                    sediment cover and depth in the Linear Reef than the Ridge-shallow habitat (Table S1).
                                    The Linear Reef habitat 200 m north of the channel appears to have been the most severely
                                    impacted as this location had the highest cover (43%) characterized as DSOHB (4.0 cm
                                    or greater sediment over reef; Table S1), the highest measured maximum sediment depth
                                    (10.0 cm), and the highest prevalence of sediment halo (26%; Table S1). It is possible the
                                    prevalences of recent mortality and sediment accumulation at Linear Reef (200 m) are
                                    underrepresented, when compared to other sites, because many low-lying scleractinian
                                    colonies have been completely buried.
                                        Sedimentation on reefs can reduce coral recruitment, survival, and settlement of coral
                                    larvae (Fabricius, 2005; Erftemeijer et al., 2012b; Jones, Ricardo & Negri, 2015) and suppress
                                    colony growth (Bak, 1978). Our study focused on the reef sector which experienced the
                                    greatest duration of sediment plumes during the dredging project and relies heavily on
                                    the representativeness of the reference reef. This reference area was chosen to provide a
                                    representative comparison, comprising similar reef habitats, prior to initiation of dredging.
                                    Coral disease impacts can be very site specific (e.g., Miller et al., 2014), so a more spatially
                                    comprehensive quantitative analysis of coral disease effects both in potential impact areas
                                    and regionally would be beneficial. However, the increased prevalence of indicators of
                                    sedimentation stress and partial mortality, as well as persistent standing sediment on reef
                                    substrates at the Port of Miami sedimentation assessment areas (Figs. 2 and 3), all suggest
                                    the cumulative sedimentation was much greater across the assessment sites, when compared
                                    to the reference area, and mortality and loss of function of reef organisms resulted. When
                                    considering the findings of this study coupled with the findings of Barnes et al. (2015),
                                    sediment plumes and deposition via multiple pathways derived from dredging activities at
                                    Port of Miami are the most plausible drivers for this pattern.
                                        The implementation of seasonal shutdowns for dredging projects near coral reefs has
                                    largely been based on protecting corals during major spawning events. Unfavorable condi-
                                    tions during a coral spawning period could negate the entire reproductive output for the year
                                    (Harrison et al., 1984). Conducting dredging activities at appropriate times to avoid spawn-
                                    ing periods would constitute a best management practice (Jones, Ricardo & Negri, 2015).
                                    Recommendations for reduced or halted dredging range from one week based on the
                                    known coral spawning period in Singapore (Erftemeijer et al., 2012b) to as many as five
                                    months per year based on known spawning periods in northern Western Australia (Baird et
                                    al., 2011). This best management practice could provide enhanced protection if shutdowns
                                    were also to coincide with increasingly predictable seasonal thermal stress events (Van
                                    Hooidonk et al., 2014; Manzello, 2015) or less predictable cold water stress events. However,
                                    fixed predictable shutdowns are likely more practical especially if they are included in
                                    dredge contract bid specifications. In addition, feedback monitoring to effectively execute
                                    adaptive management may need to also include light attenuation and suspended sediment
                                    concentration. In Florida (USA), this practice has not been well-socialized in the regulatory
                                    context for coral protection with the exception of the Key West Harbor Dredging Project,



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                           14/19


                                                                                                                      NMFS_00783
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 234 of 350




                                    where the contract provided for limited relocation of the dredge when coral health and
                                    sediment accumulation levels exceeded allowable thresholds (US Navy, 2003).
                                       Another port expansion at Port Everglades, located approximately 37 km north of
                                    Port of Miami, is on the horizon for southeast Florida. The construction plans at Port
                                    Everglades are similar in scale with USACE proposing to remove 4.21 million m3 of
                                    material. However, recent thermal stress and disease impacts have rendered the baseline
                                    reef condition as further impaired and less able to tolerate increments of ‘standard’
                                    sedimentation stress associated with dredging activities in the past (e.g., Marzalek,
                                    1982). The proposed Port Everglades monitoring plan is similar to that used for Port
                                    of Miami (US Army Corps of Engineers, 2015), though expected to be modified to capture
                                    lessons learned in Miami. Notable improvements to the monitoring plan would include
                                    monitoring standing sediment depth, sediment-associated stressors (e.g., coral halo),
                                    light attenuation, suspended sediment concentration, near-realtime information feedback
                                    on monitoring outcomes, observations from other parties, and attending to regional
                                    disturbances such as warm-water and coral disease events. It is also crucial that the
                                    monitoring be undertaken at a spatial scale that can capture the indirect effect area
                                    (e.g., 3 km based on Fisher et al., 2015) with near realtime status/extent of sediment
                                    plumes via remote sensing (e.g., Barnes et al., 2015), and local oceanographic conditions
                                    as important guides. Time series analysis of permanently marked corals could be used
                                    in concert with continuous water quality monitoring and sediment depth measurements
                                    to make use of, and possibly contribute to, a rapidly evolving peer-reviewed literature
                                    concerning thresholds for environmental impacts of dredging projects (e.g., Jones et al.,
                                    2016; Nelson et al., 2016; Fisher et al., 2015). Such an approach could provide an early
                                    predictor of when and where sedimentation impacts are occurring to adaptively manage
                                    the dredging. Inclusion of this type of monitoring could help in the development of
                                    no-work windows, including when regional thermal events are ongoing. Even if no-work
                                    windows or seasonal shutdowns are not implemented, monitoring thresholds could still
                                    be identified to serve as a warning that coral impacts will exceed what was predicted
                                    under normal conditions. If lessons learned from Port of Miami expansion are not
                                    memorialized, well-socialized, and fully realized in the monitoring requirements developed
                                    for future projects, such as the Port Everglades expansion, avoidable impacts may recur.

                                    ACKNOWLEDGEMENTS
                                    Field or logistical support was provided by J Javech, J Europe, R Pausch, J Blondeau, S
                                    Meehan and Callaway Marine Technologies. GIS support provided by K Hanson.


                                     ADDITIONAL INFORMATION AND DECLARATIONS

                                    Funding
                                    This work was funded by the NMFS Southeast Regional Office, NMFS Restoration Center,
                                    and NOAA Coral Reef Conservation Program. The funders had no role in study design,
                                    data collection and analysis, decision to publish, or preparation of the manuscript.



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                     15/19


                                                                                                                 NMFS_00784
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 235 of 350




                                     Grant Disclosures
                                     The following grant information was disclosed by the authors:
                                     NMFS Southeast Regional Office.
                                     NMFS Restoration Center.
                                     NOAA Coral Reef Conservation Program.

                                     Competing Interests
                                     The authors declare there are no competing interests.

                                     Author Contributions
                                     • Margaret W. Miller conceived and designed the experiments, performed the experiments,
                                       analyzed the data, wrote the paper, prepared figures and/or tables, reviewed drafts of the
                                       paper.
                                     • Jocelyn Karazsia conceived and designed the experiments, analyzed the data, wrote the
                                       paper, prepared figures and/or tables, reviewed drafts of the paper.
                                     • Carolyn E. Groves analyzed the data, prepared figures and/or tables, reviewed drafts of
                                       the paper.
                                     • Sean Griffin and Tom Moore conceived and designed the experiments, performed the
                                       experiments, reviewed drafts of the paper.
                                     • Pace Wilber conceived and designed the experiments, reviewed drafts of the paper.
                                     • Kurtis Gregg performed the experiments, reviewed drafts of the paper.

                                     Data Availability
                                     The following information was supplied regarding data availability:
                                       The raw data has been supplied in Data S1.

                                     Supplemental Information
                                     Supplemental information for this article can be found online at http://dx.doi.org/10.7717/
                                     peerj.2711#supplemental-information.


                                     REFERENCES
                                     Baird A, Blakeway D, Hurley T, Stoddart J. 2011. Seasonality of coral reproduction in
                                         the Dampier Archipelago, northern Western Australia. Marine Biology 158:275–285
                                         DOI 10.1007/s00227-010-1557-7.
                                     Bak R. 1978. Lethal and sublethal effects of dredging on reef corals. Marine Pollution
                                         Bulletin 9:14–16 DOI 10.1016/0025-326X(78)90275-8.
                                     Barnes BB, Hu C, Kovach C, Silverstein RN. 2015. Sediment plumes induced by the
                                         Port of Miami dredging: analysis and interpretation using Landsat and MODIS data.
                                         Remote Sensing of Environment 170:328–339 DOI 10.1016/j.rse.2015.09.023.
                                     Dodge RE, Vaisnys JR. 1977. Coral populations and growth patterns: responses to
                                         sedimentation and turbidity associated with dredging. Journal of Marine Research
                                         35:715–730.




Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                        16/19


                                                                                                                    NMFS_00785
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 236 of 350




                                     Eakin M, Liu G, Gomez A, De la Cour J, Heron S, Skirving W, Geiger E, Tirak K, Strong
                                         A. 2016. Global coral bleaching 2014–2017? Status and appeal for observations. Reef
                                         Encounter 31:20–26.
                                     Erftemeijer P, Hagedorn M, Laterveer M, Craggs J, Guest JR. 2012b. Effect of sus-
                                         pended sediment on fertilization success in the scleractinian coral Pectinia lactuca.
                                         Journal of the Marine Biological Association of the United Kingdom 92:741–745
                                         DOI 10.1017/S0025315411000944.
                                     Erftemeijer P, Riegl B, Hoeksema B, Todd P. 2012a. Environmental impacts of dredging
                                         and other sediment disturbances on corals: a review. Marine Pollution Bulletin
                                         64:1737–1765 DOI 10.1016/j.marpolbul.2012.05.008.
                                     Fabricius KE. 2005. Effects of terrestrial runoff on the ecology of corals and coral reefs:
                                         review and synthesis. Marine Pollution Bulletin 50:125–146
                                         DOI 10.1016/j.marpolbul.2004.11.028.
                                     Fisher R, Stark C, Ridd P, Jones R. 2015. Spatial patterns in water quality changes
                                         during dredging in tropical environments. PLoS ONE 10(12):e0143309
                                         DOI 10.1371/journal.pone.0143309.
                                     Harrison P, Babcock R, Bull G, Oliver J, Wallace C, Willis B. 1984. Mass spawning in
                                         tropical reef corals. Science 223:1186–1189 DOI 10.1126/science.223.4641.1186.
                                     Jones R, Bessell-Browne P, Fisher R, Klonowski W, Slivkoff M. 2016. Assessing the
                                         impacts of sediments from dredging on corals. Marine Pollution Bulletin 102:9–29
                                         DOI 10.1016/j.marpolbul.2015.10.049.
                                     Jones R, Ricardo GF, Negri AP. 2015. Effects of sediments on the reproductive cycles of
                                         corals. Marine Pollution Bulletin 100:13–33 DOI 10.1016/j.marpolbul.2015.08.021.
                                     Kohler KE, Gill SM. 2006. Coral point count with excel extensions (CPCe): a vi-
                                         sual basic program for the determination of coral and substrate coverage using
                                         random point count methodology. Computers and Geosciences 32:1259–1269
                                         DOI 10.1016/j.cageo.2005.11.009.
                                     Lirman D, Formel N, Schopmeyer S, Ault J, Smith S, Gilliam D, Riegl B. 2014. Percent
                                         recent mortality (PRM) of stony corals as an ecological indicator of coral reef
                                         condition. Ecological Indicators 44:120–127 DOI 10.1016/j.ecolind.2013.10.021.
                                     Manzello DP. 2015. Rapid recent warming of coral reefs in the Florida Keys. Scientific
                                         Reports 5:Article 16762 DOI 10.1038/srep16762.
                                     Martinez-Pedraja JJ, Shay LS, Cook T, Haus BK. 2004. Technical report: very-high
                                         frequency surface current measurement along the inshore boundary of the Florida
                                         current during NRL 2001. Rosenstiel School of Marine and Atmospheric Science
                                         technical report RSMAS-2004-03. University of Miami, Miami, 29 pp. Available at
                                         http:// iwave.rsmas.miami.edu/ wera/ docs/ nrl4.pdf (accessed on 13 October 2015).
                                     Marzalek DS. 1982. Impact of dredging on a subtropical reef community, Southeast
                                         Florida, USA. In: Proceedings of the 4th Int Coral Reefs Symp, vol. 1, 147–154.
                                     McArthur CJ, Stamates SJ, Proni JR. 2006. Review of the real-time current monitoring
                                         requirement for the Miami Ocean Dredged Material Disposal Site (1995–2000).
                                         NOAA Technical Memorandum, OAR AOML-95. Available at http:// www.aoml.
                                         noaa.gov/ general/ lib/ TM/ TM_OAR_AOML_95.pdf (accessed on 13 October 2015).



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                        17/19


                                                                                                                   NMFS_00786
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 237 of 350




                                     McLellan TN, Havis RN, Hayes DF, Raymond GL. 1989. Field studies of sediment
                                         resuspension characteristics of selected dredges. USACE technical report HL-89-9,
                                         Environmental Laboratory, US Army Corps of Engineers, Vicksburg. Available at
                                         http:// acwc.sdp.sirsi.net/ client/ search/ asset/ 1003509 (accessed on 13 October 2015).
                                     Miller MW, Lohr KE, Cameron CM, Williams DE, Peters EC. 2014. Disease dynamics
                                         and potential mitigation among restored and wild staghorn coral, Acropora cervicor-
                                         nis. PeerJ 2:e541 DOI 10.7717/peerj.541.
                                     Miller J, Muller E, Rogers C, Waara R, Atkinson A, Whelan KRT, Patterson M,
                                         Witcher B. 2009. Coral disease following massive bleaching in 2005 causes 60%
                                         decline in coral cover on reefs in the US Virgin Islands. Coral Reefs 28:925–937
                                         DOI 10.1007/s00338-009-0531-7.
                                     Muller EM, Rogers CS, Spitzack AS, Van Woesik R. 2008. Bleaching increases likelihood
                                         of disease on Acropora palmata (Lamarck) in Hawksnest Bay, St John, US Virgin
                                         Islands. Coral Reefs 27:191–195 DOI 10.1007/s00338-007-0310-2.
                                     Nelson D, McManus J, Richmond R, King Jr D, Gailani J, Lackey T, Bryant D. 2016.
                                         Predicting dredging-associated effects to coral reefs in Apra Harbor, Guam—Part
                                         2: potential coral effects. Journal of Environmental Management 168:111–122
                                         DOI 10.1016/j.jenvman.2015.10.025.
                                     PIANC. 2010. Dredging and port construction around coral reefs. The World Associ-
                                         ation for Waterborne Transport Infrastructure. Dredging and port construction
                                         around coral reefs, Report 108, 94 pp. Available at http:// www.unep-wcmc.org/
                                         resources-and-data/ pianc-dredging-and-port-construction-around-coral-reefs
                                         (accessed on 13 October 2015).
                                     Pollock FJ, Lamb JB, Field SN, Heron SF, Schaffelke B, Shedrawi G, Bourne
                                         DG, Willis BL. 2014. Sediment and turbidity associated with offshore dredg-
                                         ing increase coral disease prevalence on nearby Reefs. PLoS ONE 9:e102498
                                         DOI 10.1371/journal.pone.0102498.
                                     Precht WF, Gintert BE, Robbart ML, Fura R, Van Woesik R. 2016. Unprecedented
                                         disease-related coral mortality in Southeastern Florida. Scientific Reports 6:Article
                                         31374 DOI 10.1038/srep31374.
                                     Rogers C. 1990. Responses of coral reefs and reef organisms to sedimentation. Marine
                                         Ecology Progress Series 62:185–202 DOI 10.3354/meps062185.
                                     US Army Corps of Engineers. 2011. Miami harbor baseline study. Dial Cordy and
                                         Associates Inc., US Army Core of Engineers, Washington, D.C. Available at http:
                                         // data.nodc.noaa.gov/ coris/ library/ NOAA/ CRCP/ other/ non_crcp_publications/
                                         Miami_quantitative_FINAL_3-15-11_wFigs_Append.pdf (accessed on 13 October
                                         2015).
                                     US Army Corps of Engineers. 2014. Miami Harbor Phase III quantitative baseline for
                                         middle and outer reef benthic communities. Dial Cordy and Associates Inc., US
                                         Army Core of Engineers, Washington, D.C. Available at http:// data.nodc.noaa.gov/
                                         coris/ library/ NOAA/ CRCP/ other/ non_crcp_publications/ Miami_Harbor_Middle_
                                         Outer_Reef_FINAL_4-16-14_REVISED_wFigs_Append.pdf (accessed on 13 October
                                         2015).



Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                          18/19


                                                                                                                     NMFS_00787
                Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 238 of 350




                                     US Army Corps of Engineers, Jacksonville District. 2004. Final environmental impact
                                         statement for the Miami Harbor. US Army Core of Engineers, Washington, D.C.
                                         Available at http:// cdm16021.contentdm.oclc.org/ cdm/ ref/ collection/ p16021coll7/ id/
                                         2092 (accessed on 13 October 2015).
                                     US Army Corps of Engineers, Jacksonville District. 2010. Miami Harbor Hardbottom
                                         Assessment Pilot Study and Quantitative Study Plan. Final technical memorandum
                                         prepared by Dial Cordy and Associates. US Army Core of Engineers, Washington,
                                         D.C. Available at http:// data.nodc.noaa.gov/ coris/ library/ NOAA/ CRCP/ other/
                                         non_crcp_publications/ Miami_Harbor_Hardbottom_Assessment_Pilot_Study_
                                         Quantitative_Study_Plan-Tech_Memo_Final_7-7-10_wFigsAppends.pdf (accessed
                                         on 13 October 2015).
                                     US Army Corps of Engineers, Jacksonville District. 2015. Final environmental impact
                                         statement for the port everglades harbor navigation study. US Army Core of
                                         Engineers, Washington, D.C. Available at http:// www.saj.usace.army.mi/ Portals/ 44/
                                         docs/ Planning/ EnvironmentalBranch/ EnvironmentalDocs/ PortEvergladesFinalRPT_
                                         01mainr.pdf (accessed on 13 October 2015).
                                     US Environmental Protection Agency. 1995. Final Environmental impact statement
                                         for designation of an ocean dredged material disposal site located offshore Mi-
                                         ami, Florida. Environmental Protection Agency, Washington, D.C. Available at
                                         http:// www.saj.usace.army.mil/ Portals/ 44/ docs/ Planning/ EnvironmentalBranch/
                                         EnvironmentalDocs/ Miami%20ODMDS%20FEIS-NL.pdf (accessed on 13 October
                                         2015).
                                     US Navy. 2003. Key west harbor dredging monitoring and mitigation plan. Continental
                                         Shelf Associates, Inc. for the Department of the Navy Southern Division Naval
                                         Facilities Engineering Command, United States Navy, Washington, D.C. Available at
                                         http:// data.nodc.noaa.gov/ coris/ library/ NOAA/ CRCP/ other/ non_crcp_publications/
                                         Final_MandM_Plan_KWHD.pdf (accessed on 13 October 2015).
                                     Van Hooidonk R, Maynard JA, Manzello D, Planes S. 2014. Opposite latitudinal
                                         gradients in projected ocean acidification and bleaching impacts on coral reefs.
                                         Global Change Biology 20:103–112 DOI 10.1111/gcb.12394.
                                     Walker BK. 2009. Benthic habitat mapping of Miami-Dade County: visual interpretation
                                         of LADS bathymetry and aerial photography. Florida DEP report #RM069. Florida
                                         Department of Environmental Protection, Miami Beach 47. Available at http:// cnso.
                                         nova.edu/ forms/ brian_walker_miami_dade_mapping_2009.pdf .




Miller et al. (2016), PeerJ, DOI 10.7717/peerj.2711                                                                         19/19


                                                                                                                    NMFS_00788
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 239 of 350




                                                                      NMFS_00789
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 240 of 350



    Examination of Sedimentation Impacts to Coral Reef along the Port of Miami Entrance
                                Channel, December 2015

                               NOAA’s National Marine Fisheries Service
                                      Final Report, April 2016


Executive Summary

The NOAA’s National Marine Fisheries Service (NMFS) assessed the damage from sedimentation to
coral reefs adjacent to the Port of Miami Entrance Channel 1 during December 2015. This work was
conducted to assist development of a compensatory mitigation plan for offsetting impacts to coral reefs
from the dredging necessary to expand navigation channels for the Port of Miami. The NMFS focused its
fieldwork on the Middle Reef north of the Entrance Channel, assessing sites as far as 700 meters north of
the channel in addition to control (or reference) sites the USACE established for this portion of the
project. The NMFS surveyed both the Ridge-shallow (western, and referred to in this report as low-relief
or LR) and Linear Reef (eastern, and referred to in this report as high-relief or HR) portions of the Middle
Reef, including areas not assessed previously for sedimentation impacts by the USACE, its contractors,
the Florida Department of Environmental Protection (FDEP), the Miami Dade Department of Regulatory
and Economic Resources Division of Environmental Resources Management (DERM), and groups
sharing their information. The NMFS determined the severity and extent of sedimentation impacts and
associated lost services based on the presence of sediment layers over reef habitat, depth of the sediment
over reef habitat, partial mortality, and presence of sediment-associated stressors on corals (e.g.,
accumulation of sediment and a ring of dead tissue at the base of a colony referred to as a “halo”). The
NMFS observed sedimentation impacts to coral reef at all survey sites on the Middle Reef. The severity
of the damage was generally more severe at sites closer to the channel and along the high-relief portions
of the reef. The NMFS developed assessment areas based on trends in partial mortality and sediment-
associated mortality. The level of severity in each assessment area was determined by examining
sediment depth measured at each site and observations of surface sediment type. The NMFS estimates
very severe impacts to approximately 6.6 acres, severe impacts to 12.6 acres, significant impacts to
approximately 11.8 acres, moderate impacts to approximately 96.0 acres, and low impacts to 31.5 acres of
the Middle Reef north. For the impact areas characterized as very severe, reef habitat has transitioned to
sand bottom and recovery will not begin until the sand is removed. For other areas, the NMFS estimates
the start of natural recovery will begin once the sediment is removed from the system, which may require
several years. Once recovery begins, it is expected to take years before the species richness, densities,
and size class distributions comprising a resilient reef community are reached.

Section 1: Introduction

In November 2015, the NMFS agreed to assist the U.S. Army Corps of Engineers Jacksonville District
(USACE) with development of a compensatory plan to offset sedimentation impacts to coral reef and
hardbottom 2 adjacent to and several hundred meters surrounding the Entrance Channel to the Port of
Miami. To inform development of a general mitigation strategy, the NMFS determined an in-water

1
  NOAA nautical charts refer to the Entrance Channel as the Bar Cut and Outer Bar Cut; reports from USACE
contractors often refer to the Entrance Channel as Cut 1 and Cut 2.
2
  This report uses the terms hardbottom, reef, and coral reef interchangeably.
                                                       1




                                                                                                            NMFS_00790
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 241 of 350



assessment was needed to assess potential impact gradients affecting likelihood of recovery. Results from
the impact assessment will inform a Habitat Equivalency Analysis used to scale compensatory mitigation
requirements. The general strategy will be based on the mitigation plan the NMFS and USACE
developed for expanding the Outer Entrance Channel to Port Everglades (Fort Lauderdale, Florida),
which is summarized in the final Environmental Impact Statement for that project (2015).

The NMFS focused its field efforts on the coral reef feature referred to as Middle Reef north 3 (Figure 1) in
USACE project reports. Although Dial Cordy and Associates, Inc. [DCA] (2015a), a USACE contractor,
reported dredge-induced sedimentation impacts to the Outer Reef north (8.3 acres), Outer Reef south (1.6
acres), and Middle Reef south (64.4 acres) and DCA (2014a) and FDEP (2014) reported impacts to the
Nearshore Ridge Complex north and south (39.0 acres) near the “elbow” of the Entrance Channel, these
earlier assessments suggested Middle Reef north had the more severe sedimentation impacts and
contained the largest impact area (FDEP 2014; DCA 2015a; DCA 2015b; Miami Waterkeeper 2015a;
Miami Waterkeeper 2015b) with approximately 130 acres of impacts to coral reef from sedimentation
(DCA 2015a).




3
  Walker (2009) refers to the Middle Reef as the “Inner Reef.” This portion of the Florida Reef Tract lacks a Middle
Reef, and reports often misidentify the Inner Reef as Middle Reef or Reef 2. For consistency with the USACE and
DCA reports, the NMFS will refer to this feature as the Middle Reef.
                                                         2




                                                                                                                NMFS_00791
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 242 of 350




Figure 1. Coral reef features surrounding the Port of Miami Entrance Channel.

Section 2: Field Methods

Site Selection

Survey sites selected included both Ridge-shallow (referred to as low-relief or LR in this report) and
Linear Reef-Inner (referred to as high-relief or HR in this report) habitats within the western and eastern
portions, respectively, of Middle Reef north as characterized by Walker (2009) 4. Using Google Earth
Pro, channel-parallel bands were drawn 100, 200, 300, 500, and 700 meters from the channel yielding
nine potential assessment areas (Figure 2) 5. To account for habitat transitions (e.g., from LR to HR, from
LR to sand, or from HR into the mapped sand channel within the Middle Reef), a 60-meter buffer was

4
 Walker (2009) is the base map used in DCA (2015a) and DCA (2015b).
5
 A survey site was identified in the low-relief reef at 700 meters north of the channel, but it was not surveyed due
to time limitations. Therefore 9 out of the 10 originally selected assessment areas were surveyed.
                                                         3




                                                                                                                NMFS_00792
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 243 of 350



applied in each assessment area to ensure transect placement was entirely within the targeted reef habitat
based on the maps in Walker (2009). Sixty meters was determined to be the minimum buffer needed
because maximum transect length is 50 meters; however, actual buffer distances ranged from 71 meters at
R2N-300-LR (the distance between the dive site and HR) to 293 meters at R2N-100-LR (the difference
between the dive site and the sand/reef edge to the west). Each assessment area was divided into four
channel-perpendicular cells, and a dive site was randomly selected, using the random number generator in
MicroSoft Excel, within one of the four cells, with the exception of three dive sites: R2N-100-LR, R2N-
200-LR, and R2N-300-LR (Figure 3). For these three sites, the NMFS used the center points of transects
surveyed by DCA (2010 fieldwork, 2011 report). The six other dive sites (R2N-500-LR, R2N-100-HR,
R2N-200-HR, R2N-300-HR, R2N-500-HR, and R2N-700-HR) were selected to be at or near the 100-
meter interval mark. The NMFS visually inspected aerial imagery collected in March 2013 (before
expansion dredging began) with a one-foot resolution [supplied by Dr. Brian Walker, Nova Southeastern
University, and described in Walker and Klug (2014) and Klug (2015)], to ensure previously unmapped
sand channels were not present near the dive sites.




Figure 2. Location of the eleven dive sites the NMFS assessed during December 2015. Green points (top of left
panel) represent the USACE control sites the NMFS also surveyed during December 2015. In the right panel, the red
points show the NMFS dive sites within the low-relief (LR) reef and white points are the NMFS dive sites within the
high-relief (HR) reef.

The two control sites are the controls the FDEP specified for Middle Reef north in Permit #0305721-001-
BI, issued in 2014. This report will refer to these sites as the “USACE control sites” or “USACE” in
                                                        4




                                                                                                               NMFS_00793
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 244 of 350



figures and tables. These sites are approximately 5.5 miles north of the federal channel. Dial Cordy and
Associates, Inc. (DCA), refer to these sites as R2N-C1-LR and R2N-C2-RR in project compliance
monitoring reports 6. The NMFS used shapefiles obtained from the USACE to determine the location of
the NMFS dive sites in these areas, which represent the center point of each site.




Figure 3. Left: The USACE control sites. The USACE had one additional HR control site to the west, which the
NMFS did not survey due to the shallow depth compared to the Middle Reef north sites; this site was not surveyed
during all compliance monitoring events (DCA 2015c). Right: The NMFS survey sites. The Middle Reef north is
referred to as R2N in project monitoring reports, the number is the approximate distance in meters from the federal
channel, and LR and HR refer to low-relief and high-relief areas, respectively, with high-relief habitat generally having
more than 1.0 meter of vertical elevation off the seafloor.

Assessment Methods

Six belt transects (10 meters by 1 meter) and two 50-meter-long line-intercept transects were surveyed at
each site 7. In general, the belt transects were oriented east-west, with the exception of the USACE



6
  This report uses the acronym “LR” differently compared to project compliance monitoring reports prepared by
DCA. In the DCA reports, “LR” refers to “linear reef” and “RR” refers to “ridge reef.” In the NMFS assessment, “LR”
refers to “low-relief” and “HR” refers to “high-relief” habitat. Sites DCA refers to as LR are sites the NMFS refers to
as HR.
7
  At R2N-300-HR seven belt transects were completed.
                                                            5




                                                                                                                     NMFS_00794
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 245 of 350



control sites where the bearing was north-south due to the narrow reef 8. The two line-intercept transects
were run directly from the buoy, which was dropped from the boat according to the dive location. Due to
time constraints, only scleractinian corals (number, species, size class, and condition) were recorded at
four of the belt transects that were run in parallel and adjacent (approximately 10 meters away from the
line-intercept transect). The number of scleractinian corals (species and size class), octocorals (genera
and size class), sponges (morphotype and size class) 9, and condition of each organism were recorded at
the other two belt transects. Conditions assessed included disease, dead 10, bleaching, sediment “halo,”
percent mortality, sediment accumulation11, and healthy if there was no noticeable signs of stress present.
A sediment “halo” refers to a concentric ring of dead coral tissue at the base of the coral colony. This
distinct pattern of mortality results from a coral colony not being able to keep up with sediment removal.
Sediment accumulates in the lower portion of the coral colony which smothers and eventually kills coral
tissue at the base of the colony (Figure 4).




                                                                                                                 .
Figure 4. Example of a great star coral (Montastraea cavernosa) colony with a sediment halo at R2N-200-LR. Note
the margins (or halo) surrounding the live coral tissue are covered in sediment. Left: The colony before a diver
removed the sediment. Right: The colony after a diver fanned away sediment. Note the margins (or halo)
surrounding the live coral tissue indicate dead coral calyx (or the cups within the scleractinian corals that hold
polyps).

The line-intercept transects recorded bottom type every meter. Bottom type classifications included sand
channel, hardbottom, or hardbottom with coral, dead coral, sponge, dead sponge, turf, macroalgae,
palythoa, cyanobacteria, crustose coralline algae (CCA), and sediment over hardbottom. If there was a
visible depth of sediment over hardbottom, this was labelled as “sediment over hardbottom.” For
example, turf normally has sediment embedded within the algae, but if the turfs were completely buried
by sediment and not visible, this would be labelled as “sediment over hardbottom.” If the depth of this
sediment was 4.0 centimeters or more, it was labelled as “deep sediment over hardbottom.” Every 5.0
8
  The east-west length of the USACE Control sites is 77 meters (LR) and 28 meters (HR) and the buffer rules for
avoiding a transition into a different habitat could not be applied.
9
  All sponges were counted, however, in some cases only in a 5-square-meter area due to dive-time constraints. A
subset of Xestospongia muta barrel sponges were identified to the species level.
10
   Not all dead corals were counted.
11
   Defined as the presence of sediment on live coral tissue.
                                                         6




                                                                                                               NMFS_00795
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 246 of 350



meters along the transect, qualitative observations were recorded on surface sediment type (e.g., sand or
fine mud-like sediment) and the depth of the sediment over hardbottom was measured in centimeters 12. If
a point fell on hardbottom where a diver was unable to discern one individual organism at the point, all
organisms at that point were recorded. Video was recorded of each line-intercept transect. Still photos of
representative individual organisms and landscape conditions were made at each site. The line-intercept
transects were generally oriented east-west. In addition, general environmental observations were made
on the presence or absence of fish species and signatures of sediment stress, including burial of erect
forms of octocoral and sponge holdfasts, signs of necrosis at the attachment parts of excavated octocorals,
and direct accumulation of mud-like material in low-lying pockets.

Section 3: Results

Dives Completed

Fieldwork occurred December 7, 9, 10, and 11, 2015, on the Middle Reef north (field conditions were not
suitable for diving on December 8). Each day the dive team was composed of four divers from the NMFS
Restoration Center, Southeast Fisheries Science Center, and Southeast Regional Office. To ensure
consistency in data collection between dives, individual divers were assigned the same task. The dive
platform was a 25-foot Parker supplied by Calloway Marine Technologies through the NMFS Southeast
and Caribbean Coral Support Contract. A reef site near the coral reef referred to as Emerald Reef,
approximately six miles south of the federal channel, was visited on the first day to allow the divers to
calibrate methods for collecting data along belt and line-intercept transects and observations. This site
was also visited by another NOAA dive team during October 2014 (findings described in NMFS 2015a),
allowing the NMFS dive team to qualitatively assess change at the reef that may have occurred over the
14-month interval and after the White Plague disease outbreak during spring to fall 2015.

Nine potential impact sites were assessed in water depths ranging from 23 to 30 feet of water on the
Middle Reef north, in addition to the two USACE control sites (Table 1). Impact sites were assessed at
low-relief and high-relief portions of the reef at 100, 200, 300, and 500 meters from the channel. In
addition, the high-relief reef was assessed at 700 meters from the channel (Figure 3). The USACE
control sites also included one low-relief and one high-relief coral reef.




12
  In 0.25-centimeter increments for measurements less than 2.00 centimeters; however, there was one
measurement of 0.30 centimeters at USACE-HR. Measurements were made to the nearest whole number if depth
was greater than 2.0 centimeters, with the exception of R2N-100-HR and R2N-200-LR where measurements of 3.5
and 2.5 centimeters were recorded, respectively.
                                                     7




                                                                                                       NMFS_00796
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 247 of 350




       Table 1. The NMFS Dive Sites, date surveyed, and water depth recorded on line-intercept and
       belt transects.
        NMFS Dive Site    Survey Date       Water Depth (feet) Line-       Water Depth (feet)
                                              intercept Transects            Belt Transects
          R2N-100-LR       12/10/2015                 28                        27 to 30
         R2N-100-HR        12/10/2015                 30                           30
          R2N-200-LR       12/11/2015                 29                        24 to 27
         R2N-200-HR        12/11/2015                 28                        28 to 30
          R2N-300-LR       12/09/2015                 27                        27 to 28
         R2N-300-HR        12/09/2015                 29                        27 to 28
          R2N-500-LR       12/09/2015                 30                        27 to 28
         R2N-500-HR        12/09/2015                 30                        28 to 30
         R2N-700-HR        12/11/2015                 30                           29
           USACE-LR        12/10/2015                 23                        23 to 28
          USACE-HR         12/10/2015               23 to 25                       28

Qualitative Observations

Overall observations
Sedimentation impacts, such as accumulations of fine white sediments, partial mortality of scleractinian
corals, burial of octocoral holdfasts, and burial of sponges, tunicates, and turf algae was observed at all
survey sites on the Middle Reef. Variation in the extent of these impacts was based on distance from the
channel with sites closest to the channel and sites within the high-relief reef generally having greater
levels of impact from sedimentation. While the HR sites exhibited the highest relief observed, the
changes in relief were more subtle than expected between HR and LR sites. Sedimentation impacts
extended beyond 700 meters north of the channel based on NMFS dive observation at site R2N-700-HR.
Similar observations indicative of sedimentation impacts were not seen at the USACE control sites five
miles northward (Figure 2).

High-relief reef components of the Middle Reef north (greater than one meter of vertical relief) seemed to
be more susceptible to sedimentation impacts due to concentration of sediments at the reef’s base and
interstitial spaces resulting in a reduction of habitat complexity and rugosity. Occurrence of deep
sediment, filling of interstitial spaces of the reef, and downslope movement of sediments was observed
primarily in the high-relief reef. Organisms in downslope locations of the high-relief reef were observed
to be stressed by sediments deposited directly on the colonies and had moved downwards from the
upslope areas of the reef. Partial mortality of scleractinian colonies, in particular, appeared to increase in
these areas. At sites with deep sediment, such as R2N-200-HR, when divers would excavate buried
holdfasts of octocorals, necrosis of the tissue was apparent and dead/buried scleractinian corals were also
present.

Sediment depth at the two USACE control sites ranged from 0.3 to 1.0 centimeters with most
observations being 0.5 centimeters of sediment visually characterized as sand. Coral paling was
commonly observed, in addition to some bleaching and disease. The high-relief reef control sites had
numerous interstitial spaces with greater reef fish abundance and reef fish species diversity than any other
transect location in the Middle Reef north assessment area. When divers descended at the high-relief
control site, a large nurse shark swam up to the anchor. Three spiny lobsters were observed in one
crevice (Figure 22). A large stoplight parrotfish was observed at a cleaning station with gobies providing
                                                      8




                                                                                                          NMFS_00797
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 248 of 350



the services. In contrast, the high-relief reefs affected by sediment within the Middle Reef north have
effectively lost their habitat complexity when these spaces are filled with sediment. No parrotfish or
gobies were observed in the high-relief reef in the impact areas the NMFS assessed.

R2N-100-LR
Sedimentation was apparent on all horizontal surfaces of low-relief reef (less than one meter of vertical
relief) (Figure 5). Accumulations of fine white sediment and coarse sediments were observed generally
ranging from 1 to 5 centimeters over hardbottom and throughout the reef. Greater sediment depths
(including coarser sediments and sand waves) over hardbottom were observed within low-lying reef
areas. Scleractinian colonies had sediment accumulations at their bases with partial mortality of the
colonies apparent. Numerous scleractinian colonies observed with recent mortality (i.e., polyps were
empty and the coral skeleton was white with little to no algal colonization and with sharp edges on the
coral calyx and septa). Nearly all octocoral holdfasts were buried by sediments. Numerous octocorals
and sponges had partial or complete mortality.




Figure 5. Sedimentation impacts at transect R2N-100-LR. Fine white sediments adhere to and smother the algal
turf, benthic animals, and rock framework of the reef (A). Sorted sediments with greater depth in depressions within
the reef (B). Most scleractinian corals show a sediment halo with partial mortality at the base of the colony (C).
Almost all octocoral holdfasts are buried by sediments (D). Numerous octocorals and sponges also have partial or
complete mortality (E).

R2N-100-HR
Sedimentation was apparent on the upper surfaces of the high-relief reef (1 to 2.5 meters of vertical
relief). Accumulation of deep sediment (at least 4.0 centimeters) over reef was observed at the base of
reef structures and in depressions within the reef (Figures 6 and 7). Nearly all scleractinian corals
                                                      9




                                                                                                                 NMFS_00798
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 249 of 350



exhibited partial or complete mortality. Turf algae and small animals (e.g., sponges and scleractinian
corals) covered beneath 1 to 7 centimeters of fine, grayish white sediment over hardbottom.




Figure 6. Extensive burial of octocorals and other reef animals was observed on the R2N-200-HR transect. Deep
sediment (more than 4.0 centimeters) with sand waves in the fine white sediments over hardbottom was observed
throughout this dive.




                                                      10




                                                                                                            NMFS_00799
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 250 of 350




Figure 7. Sedimentation impacts at transect R2N-100-HR. Sediment observed on most horizontal surfaces of this
high-relief reef. Accumulation of deep sediment over hardbottom, often more than 10 centimeters, at the base of the
reef structure has smothered scleractinian corals, sponges, octocorals, and other benthic organisms.



R2N-200-LR
Sedimentation apparent on all horizontal surfaces of the low-relief reef (less than one meter of vertical
relief) (Figure 8). Accumulations of fine white sediment and more coarse sediments observed generally
ranging from 1 to 5 centimeters over hardbottom throughout the reef. Greater sediment depths (including
coarser sediments and sand waves) observed in low-lying hardbottom areas within the reef. Most living
scleractinian colonies had sediment accumulations at the bases with partial mortality of the colonies
apparent (e.g., Figure 9). Numerous scleractinian colonies observed with recent mortality (i.e., polyps
were empty and the coral skeleton was white with little to no algal colonization and with sharp edges on
the coral calyx and septa). Almost all octocoral holdfasts buried by sediments. Numerous octocorals and
sponges show partial or complete mortality.




                                                        11




                                                                                                                NMFS_00800
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 251 of 350




Figure 8. Sedimentation impacts observed on transect R2N-200-LR. Psuedodiploria strigosa shows partial mortality
with a sediment halo in contrast to the same species shown in Figure 20 from the control site USACE-LR. Fine white
sediments adhere to the reef and cover the holdfasts of octocorals (B). The Orbicella faveolata colony in the
background (shown in detail in Figure 9) has a halo of mortality consistent with sediment burial at the base (C).




                                                       12




                                                                                                              NMFS_00801
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 252 of 350




Figure 9. Sedimentation impacts at transect R2N-200-LR. This Orbicella faveolata colony has partial mortality from
the sediment halo (A) and what appears to be old mortality of unknown origin on top that is collecting sediment.

R2N-200-HR
Sedimentation common on the upper surfaces and interstices of the high-relief reef (1 to 2 meters in
vertical relief). Sediment depths of 2 to 7 centimeters over hardbottom observed along the transect.
Sediment movement downslope has filled interstitial spaces of the reef, reducing habitat complexity and
rugosity. Accumulation of deep sediment observed at the base of reef structures and in low-lying
depressions within the reef (Figure 10). Buried scleractinian corals and octocorals observed (Figure 11).
Partial mortality of corals and sponges apparent throughout the transect. This transect has the greatest
impacts observed during the survey due to accumulations of sediment observed on all horizontal, sloping,
and interstitial spaces within this high-relief reef (Figure 12).




                                                        13




                                                                                                               NMFS_00802
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 253 of 350




Figure 10. Deep sediment at transect R2N-200-HR. Extensive burial of the high-relief reef is observed. Note sand
waves indicating continued movement of sediments. Habitat complexity and rugosity was reduced or eliminated due
to the presence of deep sediment. Reef was converted from a hard substrate to a predominantly soft substrate.




Figure 11. Sedimentation impacts at transect R2N-200-HR. Burial of octocoral holdfasts and branches resulted in
partial or complete mortality of the colony (left). Sand filled low-lying reef, covering scleractinian (A) and octocoral (B)
colonies.




                                                            14




                                                                                                                       NMFS_00803
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 254 of 350




Figure 12. Sedimentation impacts at R2N-200-HR. Accumulations of sediment observed on all horizontal, sloping,
and interstitial spaces within this high-relief reef. Sediments on sloping surfaces move down slope (A). Accumulation
of deep sediment fills the natural low-lying areas within the reef (B). Sorting of sediments occurs during movement
down slope resulting in coarser sediments at the base (C) and finer sediments adhering to surfaces like this
Montastrea cavernosa colony (D). Sponges, octocorals, and turf algae are adversely affected (E).



R2N-300-LR
Sedimentation was apparent on all horizontal surfaces of the low-relief portion of the reef (less than one
meter of vertical relief) (Figure 13). Accumulations of fine white sediment and coarse sediments
observed 0.5 to 2 centimeters depth over hardbottom. Greater sediment depths (including coarse
sediments and sand waves) observed in low-lying depressions within the reef. Most living scleractinian
colonies have sediment accumulations at the bases with partial mortality of the colonies apparent.
Numerous scleractinian colonies observed with recent mortality (i.e., polyps were empty and the coral
skeleton was white with little to no algal colonization and with sharp edges on the coral calyx and septa).



                                                         15




                                                                                                                 NMFS_00804
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 255 of 350




Figure 13. Sedimentation impacts at R2N-300-LR. A layer of fine white sediments (0.5 to 2 centimeters thick)
covering the reef (A) and coral colony (B). Sediment coating the turf algae covered with sediments qualitatively
describes as fine and medium grain sediments (C).




                                                         16




                                                                                                                   NMFS_00805
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 256 of 350



R2N-300-HR
Sedimentation on the upper surfaces and interstices of the high-relief reef (1 to 2 meters in vertical relief)
is apparent. Accumulation of deep sediment (at least 4.0 centimeters) over hardbottom observed at the
base of reef structures and in depressions on the reef (Figure 14). Turf algae, small animals (e.g., sponges
and scleractinian corals), and the bases of octocorals are covered with 0.5 to 1 centimeter of fine white
sediment over hardbottom. Sponge and octocoral mortality observed at a reduced frequency compared to
transects closer to the channel.




Figure 14. Sedimentation impacts at R2N-300-HR. Deep sediment accumulation fills the natural hardbottom
channels in the reef framework (A).




                                                      17




                                                                                                          NMFS_00806
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 257 of 350



R2N-500-LR
Sedimentation apparent on horizontal surfaces and interstices of the low-relief reef (less than one meter of
vertical relief). Color of encrusting sponges and other epibenthos more apparent than on transects closer
to the channel. Accumulations of fine white sediment observed generally ranging from 0.5 to 3.0
centimeters deep over hardbottom and throughout the low-relief reef (Figure 15). Greater sediment
depths observed in low-lying depressions within the reef. Sediment accumulation was apparent at the
base of scleractinian colonies with partial mortality of the colonies also apparent Figure 16). Many
octocoral holdfasts were partially buried by sediments. Partial mortality of octocorals and sponges
observed at this transect.




Figure 15. Sedimentation impacts at R2N-500-LR. Fine white sediments adhere to and smother the algal turf,
benthic animals and rock framework of the reef (A). Most octocoral holdfasts partially or completely buried by
sediment (B).




Figure 16. Sedimentation impacts at R2N-500-LR. Octocoral holdfasts partially buried 500 meters from the channel
(A). A halo of dead coral tissue observed at the base of this Stephanocoenia intercepta colony (B). Fine white
sediment on the reef smothers turf algae and inhibits recruitment of benthic animals (C). Color of sponges and other
epibenthos was more apparent on this transect than at transects closer to the channel (D).


                                                         18




                                                                                                                 NMFS_00807
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 258 of 350



R2N-500-HR
Sedimentation apparent on the high-relief reef (1 to 2 meters of vertical relief). Color of encrusting
sponges and other epibenthos more apparent than on transects closer to the channel. Accumulations
observed of fine white sediment generally ranging from 0.5 to 4.0 centimeters deep over the hardbottom
and throughout the low-lying components of the reef (Figure 17). Greater sediment depths observed over
hardbottom and in depressions within the reef. Sediment accumulation at the base of scleractinian
colonies with partial mortality of the colonies was apparent. Many octocoral holdfasts partially buried by
sediments. Partial mortality of octocorals and sponges also observed at this transect. Sediment halos on
scleractinian colonies and fine white sediment covering the reef framework observed. Federally managed
fishery species, including mutton snapper (Figure 18), gray triggerfish, and yellowtail snapper observed
on this transect. Federally managed species were not observed closer to the channel. Abundance and
species diversity of reef fish species was higher at the two control sites than at any of the impact sites.




Figure 17. Sedimentation impacts at R2N-500-HR. Fine white sediments on the outside of this sponge colony are
easily re-suspended with fanning. Native sediments on the reef are larger grain size and less susceptible to
resuspension.




Figure 18. Mutton snapper observed at R2N-500-HR.




                                                      19




                                                                                                            NMFS_00808
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 259 of 350




R2N-700-HR
Sedimentation apparent on the high-relief reef (1 to 2 meters of vertical relief). Color of encrusting
sponges and other epibenthos obscured by grayish white sediment. Accumulations of fine white sediment
covering all the reef surfaces observed ranging from 1 to 6 centimeters deep throughout the high-relief
reef (Figure 19). Greater sediment depths observed in hardbottom depressions within the reef. Interstitial
spaces of the high-relief reef filled with sediment smothering benthic animals and reducing the
complexity and rugosity of the reef. Sediment accumulation at the base of scleractinian colonies with
partial mortality of the colonies apparent. Many octocoral holdfasts partially buried by sediments. Partial
mortality of octocorals and sponges also observed at this transect.




Figure 19. Sedimentation impacts at R2N-700-HR. Low-lying depressions within the reef filled with deep
accumulations of sediment (A). Sediment halos on scleractinian colonies (B) and fine white sediment covering the
reef framework observed (C). Burial of octocoral hold fasts and partial mortality of octocoral colonies is apparent (D).
Recently deposited, highly-mobile fine-white sediments on scleractinian coral and sponge colonies (E).



                                                          20




                                                                                                                    NMFS_00809
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 260 of 350




USACE-LR
Minimal sediment accumulation apparent on the low-relief reef (less than one meter of vertical relief).
Medium-grained to large-grained calcareous sediments with a small amount of fine sediment. Sediment
depth ranging from 0.3 to 0.5 centimeters deep was observed mixed with the turf algae throughout the
low-relief reef. Color of encrusting sponges and other epibenthos more apparent at the control site than
on transects in the impact areas. Absence of sediment accumulation and partial mortality at the base of
scleractinian colonies (halo), compared to the impact sites, noted (Figure 20). Federally managed fishery
species frequently observed at this control site compared to few or none observed at survey sites (Figure
21).




Figure 20. Sediment depth measurements and observations of sediment accumulation are considerably lower at the
USACE control site (USACE-LR) than observed at all impact sites (A). This Psuedodiploria strigosa is not showing
signs of partial mortality or sediment-associated stress (B). Color of benthic organisms (e.g. encrusting sponges,
macroalgae and encrusting octocoral) is more apparent than the grayish white sediments covering the benthos at the
impact sites (C). Burial of octocoral holdfasts seldom observed (D).




                                                       21




                                                                                                              NMFS_00810
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 261 of 350




Figure 21. Numerous hogfish (A) and hogfish prey (crustaceans) observed at the USACE-LR and HR transects.
Very few reef fish or crustaceans were observed in the impact areas.

USACE-HR
Minimal sediment accumulation apparent on the high-relief reef (1 to 1.5 meters of vertical relief).
Medium-grained to large-grained calcareous sand sediments ranging from 0.3 to 1 centimeter deep
observed mixed with the turf algae throughout the transect. Color of encrusting sponges and other
epibenthos more apparent than on transects near the channel. No sediment accumulation or partial
mortality at the base of scleractinian colonies (halo) observed. Burial of octocoral holdfasts on the
control site not observed. Federally managed fishery species frequently observed at this control site
compared to few or none observed at survey sites (Figure 22).




                                                     22




                                                                                                            NMFS_00811
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 262 of 350




Figure 22. Interstitial spaces in the high-relief reef were observed with greater frequency at the USACE control site
(USACE-HR) (A). Interstitial spaces utilized by spiny lobsters as shelter (B) and by cryptic reef fish like this high hat
(C).




                                                            23




                                                                                                                      NMFS_00812
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 263 of 350




Line-Intercept Transect Results

Sediment over Hardbottom

Points along survey transects characterized as “sediment over hardbottom” and “deep sediment over
hardbottom” were more common along the Middle Reef north transects than the USACE control site
transects (Figures 23 and 24). Less than 5 percent of the survey points at the USACE control sites
exhibited sediment over hardbottom. In contrast at Middle Reef north, the percentage ranged from 27 to
63 percent in the low-relief areas and from 43 to 81 percent in the high-relief areas. Notably over 80
percent of the points at R2N-200-HR were characterized as “sediment over hardbottom” compared to one
percent at the USACE high-relief control. R2N-200-HR also had the highest prevalence of points
characterized as “deep sediment over hardbottom” (a subset of sediment over hardbottom) with 43
percent of the points exhibiting 4.0 centimeters or greater sediment over reef (Figure 24). Along the
transects 100, 200, 500, and 700 meters north of the channel, the percentage of points characterized as
“deep sediment over hardbottom” were higher at the high-relief areas compared to the matching low-
relief areas (Figure 24).




Figure 23. Percentage of points characterized as “sediment over hardbottom” from the two pooled line-intercept
transects at the indicated distances from the Entrance Channel edge. The USACE control transects were
approximately five miles northward. ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle Reef
north 700 meters from the channel edge)




                                                         24




                                                                                                                 NMFS_00813
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 264 of 350




Figure 24. Percentage of points characterized as “deep sediment over hardbottom,” which is a subset of “sediment
over hardbottom,” from the two pooled line-intercept transects at the indicated distances from the Entrance Channel
edge. The USACE control transects were approximately five miles northward. ND = No data (i.e., the NMFS did not
survey the low-relief portion of Middle Reef north 700 meters from the channel edge)

Sediment Depth

The average and maximum depth of the sediment layers over hardbottom at Middle Reef north were
higher than at the USACE control sites (Figures 25 and 26). The average depth of the sediment layer
ranged from 0.7 to 4.2 centimeters along transects in the high-relief areas and 0.9 to 1.8 centimeters in the
low-relief areas. In contrast, the average sediment layer depth at the USACE control sites was 0.3 at both
the HR and LR areas. The highest measured maximum sediment depth was 10 centimeters at R2N-200-
HR and the lowest maximum sediment depth measurement was 0.5 centimeters at USACE-LR.




                                                        25




                                                                                                                NMFS_00814
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 265 of 350




Figure 25. Mean sediment depth over hardbottom and +/- one standard error recorded from the line-intercept
transects. Sediment depth was recorded every five meters along the transect for a total of 10 measurements per
transect and 20 measurement total per site. Sediment measurements were independent of where sediment over
hardbottom was recorded (Figure 23). ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle
Reef north 700 meters from the channel edge)




Figure 26. Maximum sediment depth recorded from the line-intercept transects. ND = No data (i.e., the NMFS did
not survey the low-relief portion of Middle Reef north 700 meters from the channel edge)




                                                        26




                                                                                                                NMFS_00815
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 266 of 350



Belt Transect Results

The frequency of scleractinian corals showing signs of stress at Middle Reef north were higher than
observed at the USACE control sites (Table 2). There was up to a 2.5 to 4.1 fold increase in the
prevalence of corals with partial mortality at treatment sites when compared to controls (Figure 27). The
occurrence of sediment accumulation on corals ranged from 4.8 to 21.3 times higher at treatment sites
when compared to control sites (Figure 28). Sediment halos (mortality at the base of colonies due to
elevated levels of sedimentation) on scleractinian corals ranged from 3 to 26 times more frequent at
treatment sites when compared to control sites (Figure 29).

                     Table 2. Percentage of scleractinian corals showing signs of
                     stress in the belt transects at each site.
                     Site            Total Number of       Percent of Corals With One or
                                     Colonies              More Observed Signs of Stress
                                     Observed

                     R2N-100-LR             191                        37%
                     R2N-100-HR             81                         89%
                     R2N-200-LR             140                        66%
                     R2N-200-HR             93                         73%
                     R2N-300-LR             135                        42%
                     R2N-300-HR             76                         62%
                     R2N-500-LR             73                         40%
                     R2N-500-HR             76                         58%
                     R2N-700-HR             82                         52%
                     USACE-LR               135                        19%
                     USACE-HR               156                        21%




                                                     27




                                                                                                      NMFS_00816
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 267 of 350




Figure 27. Proportion of scleractinian corals with partial mortality at Middle Reef north and USACE control sites.
ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle Reef north 700 meters from the channel
edge)




Figure 28. Proportion of scleractinian corals with sediment accumulation at Middle Reef north and USACE control
sites. ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle Reef north 700 meters from the
channel edge). Findings at R2N-100-LR are discussed in the Conclusions Section.




                                                         28




                                                                                                                 NMFS_00817
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 268 of 350




Figure 29. Proportion of scleractinian corals with sediment halos (dead coral tissue at the base of a colony caused by
sedimentation) at Middle Reef north and USACE control sites. Findings at R2N-100-LR are discussed in the
Conclusions Section. ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle Reef north 700
meters from the channel edge)




                                                         29




                                                                                                                 NMFS_00818
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 269 of 350



Table 3 summarizes the partial mortality, sediment accumulation, sediment halo, sediment over
hardbottom, and deep sediment over hardbottom results from the Line and Belt Transects performed in
the impact sites and the USACE control areas.


Table 3. Percentage of scleractinian corals at each site with partial mortality, sediment accumulation, or
sediment halo and number of corals from the belt transects. Percentage of survey points with sediment
over hardbottom and deep sediment from line-intercept transects.

Site            Number of       Percent       Percent         Percent       Percent Survey    Percent
                Scleractinian   Corals with   Corals with     Corals with   Points            Survey Points
                Corals          Partial       Sediment        Sediment      Characterized     Characterized
                                Mortality     Accumulation    Halo          Sediment over     Deep
                                                                            Hardbottom        Sediment over
                                                                                              Hardbottom

R2N-100-LR           191            27%            20%            10%             52%              11%

R2N-200-LR           140            50%            48%            16%             63%               0%

R2N-300-LR           135            36%            22%            14%             40%               0%

R2N-500-LR           73             32%            19%            3%              27%               0%

R2N-100-HR           81             77%            64%            21%             61%              19%

R2N-200-HR           93             42%            37%            26%             81%              43%

R2N-300-HR           76             46%            25%            13%             45%               0%

R2N-500-HR           76             33%            26%            13%             43%               3%

R2N-700-HR           82             39%            15%            11%             53%               3%

USACE-LR             135            20%            4%             1%              3%                0%

USACE-HR             156            19%            3%             1%              1%                0%



Octocorals
The percentages of octocorals showing partial mortality at Middle Reef north were higher than observed
at the USACE control sites, with the exception of R2N-300-LR, R2N-200-HR, and R2N-700-HR where
there was no obvious difference when comparing to the respective control (Figure 30). There was up to a
three fold increase in the prevalence of octocorals with partial mortality at HR survey sites when
compared to the HR control (Figure 30). Colonies from the genus Antillogorgia (formerly
Pseudopterogorgia) appear to be particularly susceptible to sedimentation as up to 29 percent of the
colonies exhibited partial mortality at (R2N-300-HR), whereas 11 percent of colonies showed partial
mortality at the respective control site (Figure 31).


                                                      30




                                                                                                             NMFS_00819
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 270 of 350




Figure 30. Percentage of octocorals with partial mortality. ND = No data (i.e., the NMFS did not survey the low-relief
portion of Middle Reef north 700 meters from the channel edge)




Figure 31. Percentage of Antillogorgia spp. (genus formerly named Pseudopterogorgia) with partial mortality.
ND = No data (i.e., the NMFS did not survey the low-relief portion of Middle Reef north 700 meters from the channel
edge)



                                                          31




                                                                                                                  NMFS_00820
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 271 of 350



Sponges
The percentage of sponges with sediment accumulation was considerably higher 100 meters and 200
meters from the channel when compared to control sites (Figure 32). Notably, 46 percent of sponges had
sediment accumulation at R2N-200-HR, compared to 2 percent at USACE-HR (Figure 32) and 100
percent of barrel sponges had sediment accumulation at R2N-100-LR and R2N-200-LR (Figure 33).
Barrel, ball, and vase sponge morphologies appeared particularly susceptible to sediment accumulation
with 86 percent exhibiting sediment accumulation at R2N-200-HR compared to zero at the respective
control site (Figure 34).




Figure 32. Percentage of sponges with sediment accumulation. ND = No data (i.e., the NMFS did not survey the
low-relief portion of Middle Reef north 700 meters from the channel edge)




                                                      32




                                                                                                               NMFS_00821
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 272 of 350




Figure 33. Percentage of barrel sponges, including the giant barrel sponge (Xestospongia muta), with sediment
accumulation. NO = No barrel sponges observed within the transects at the site. No barrel sponges were recorded
at R2N-300-LR, R2N-500-LR, and USACE-LR. None of the barrel sponges observed at R2N-500-HR, R2N-700-HR,
and USACE-HR exhibited sediment accumulation. ND = No data (i.e., the NMFS did not survey the low-relief portion
of Middle Reef north 700 meters from the channel edge)




Figure 34. Percentage of barrel, vase, and ball sponges with sediment accumulation. No sediment accumulation on
sponges was observed at R2N-500-HR or USACE-HR. ND = No data (i.e., the NMFS did not survey the low-relief
portion of Middle Reef north 700 meters from the channel edge)

                                                      33




                                                                                                            NMFS_00822
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 273 of 350




Section 4: Other Available Data Sets

As detailed below, several groups are examining how the Port of Miami dredging and natural events
(such as White Plague Disease) affected coral reef along the Entrance Channel. The NMFS and USACE
agree each survey provides valuable information and should be considered appropriately to develop a
comprehensive assessment. This section reviews all surveys the NMFS is aware of from the area to help
clarify the extent of coral disease mortality relative to sedimentation mortality and to better understand
the chronology and location of each observation.

Discerning Disease versus Sedimentation Impacts to Scleractinian Corals

Although disease is cited as the primary cause of project-wide colony mortality (DCA 2015a), within the
Middle Reef north, disease was recorded on up to 40 percent of the scleractinian corals at LR channel-
side compliance site, with the USACE Middle Reef control sites exhibiting no white plague mortality
(from Table 5 in DCA 2015b) (Figure 35). This pattern is consistent with the highest plume exposure
area showing increased disease impacts (Pollock et al. 2014; and Barnes et al. 2015).




                                                    34




                                                                                                       NMFS_00823
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 274 of 350




Figure 35. Percentage of White Plague mortality documented along the Middle Reef north (data from DCA 2015a,
Table 5). Yellow numbers indicate the percentage of corals with White Plague mortality at the USACE control sites
(left) and at channel-side compliance sites (right).

The disproportionate decline in scleractinian coral species richness (Table 4) at the channel-side sites is
not consistent with the notion that region-wide disease (independent of interacting dredge stress) accounts
for all scleractinian coral mortality in the project impact area. DCA (2015b, Table 13) presents a
significant decline in scleractinian richness (41 percent compared decline in Middle Reef north
compliance sites compared to a 13 percent decline at USACE control sites based on averages of impact
and control sites).




                                                        35




                                                                                                               NMFS_00824
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 275 of 350



           Table 4. Differences in scleractinian coral species richness at the USACE channel-
           side compliance and control sites between baseline (data collected in 2013) and post-
           construction (data collected in 2015). Data from DCA (2015b).

           Impact Sites                              Baseline    Post           Percent Difference
                                                     (2013)      (2015)
           USACE R2N-RR                                 13          7                  46%
           USACE R2N-LR                                 17         11                  35%
           Reference Sites
           USACE R2N-C1-LR                               13         12                 8%
           USACE R2N-C1-RR                               11         9                  18%


The disproportionate increase in sediment-associated partial mortality (Figure 36) at the channel-side sites
is not consistent with the notion that region-wide disease (independent of interacting sediment/plume
stress) accounts for all scleractinian coral mortality in the project impact area.




Figure 36. Prevalence of partial mortality from sediment stress using data from DCA (2015b) Table 8. Note the low
prevalence of partial mortality at the USACE control sites compared to the channel-side compliance sites and sites
referred to as R2N1-550 (33 percent) and R2N1-850 (19 percent) in DCA (2015a, page 51).




                                                        36




                                                                                                               NMFS_00825
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 276 of 350



Ten Additional Survey Reports from the Middle Reef North

Between July 2014 and December 2015, three government agencies including DERM, the FDEP, and
NMFS, and one non-governmental organization (Miami Waterkeeper) produced ten dive reports
characterizing sedimentation impacts on the Middle Reef north. Locations of all observations conducted
pre-, during, and post-construction 13, including areas assessed by DCA, have been mapped (Figure 37)
and the majority of the observations within these reports are portions of Middle Reef north that have not
been assessed as part of the compliance monitoring required by the FDEP permit.

Pre-dredging surveys were conducted in 2010 (DCA 2011) and 2013 (DCA 2014b) (Figure 38). Pre-
dredging sites surveyed were limited to the low-relief component of the Middle Reef north and did not
include potential impact sites further than 450 meters (DCA 2011) or 70 meters (DCA 2014b) north of the
channel. During construction surveys were completed by the NMFS (2015a); Miami Dade County
DERM in 2014 (DERM 2014) and 2015 (DERM 2015); FDEP in 2014 (FDEP 2014) and 2015 (FDEP
2015); Miami Waterkeeper in 2014 (Miami Waterkeeper 2014a, 2014b) and in 2015 (Miami Waterkeeper
2015a, 2015b, 2015c); and DCA (multiple compliance surveys conducted within two channel-side
compliance sites on the Middle Reef north that extend approximately 70 meters north of the channel)
(Figure 39). Post-dredging surveys have been completed in 2015 by NMFS (NMFS 2015b; and described
in this report) and DCA (2015a, 2015b) (Figure 40).

Notably, for the post-dredging surveys, quantitative data collection by DCA is limited to channel-side
compliance sites and at 550 and 750 meters away from the channel. The NMFS is the only entity
reporting quantitative data between the northern edge of channel-side sites (approximately 70 meters
north of the channel, the center point of the compliance site is used on the map) and 500 meters away
from the channel in both low- and high-relief components of the reef. The sites DCA surveyed at 550 and
750 meters north of the channel did not use buffers (discussed in Methods Section) to ensure dive sites
did not include transitions between reef type (i.e., low- versus high-relief). DCA had one dive site
location where quantitative data were collected on the high-relief portion of the Middle Reef north (the
part of the reef the NMFS identifies as most severely impacted) and this site did not include a buffer
during site selection. Other sites DCA surveyed are limited to qualitative data and would not meet the
buffer rules NMFS applied. Quantitative data have been collected at 13 sedimentation assessment sites
post-construction (Figure 41) and 9 of the 13 sites were surveyed by NMFS.




13
 Post-construction refers to the dredging that was occurring in the outer entrance channel. Additional dredging
may have been occurring in the inner harbor during this time.
                                                       37




                                                                                                            NMFS_00826
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 277 of 350




Figure 37. Locations of pre-construction, during construction, and post-construction surveys completed by DERM,
FDEP, DCA, and the NMFS. Each symbol is a dive site or a start/stop location of a transect (100 meters or longer).
Symbols overlap when sites were visited more than once (i.e., channel-side compliance sites).




                                                        38




                                                                                                                NMFS_00827
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 278 of 350




Figure 38. Locations of pre-dredging surveys on the Middle Reef north. Small squares are locations of the first DCA
baseline survey dive sites in 2010. Larger squares are the channel-side compliance sites surveyed in 2013 by DCA.




                                                        39




                                                                                                               NMFS_00828
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 279 of 350




Figure 39. Locations of during dredging surveys on the Middle Reef north by DCA, FDEP, NMFS, and DERM.




                                                     40




                                                                                                         NMFS_00829
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 280 of 350




Figure 40. Approximate locations of post-dredging surveys on the Middle Reef north by DCA and the NMFS.
Squares are locations DCA surveyed during the sediment delineation survey and immediate post-construction
(channel-side compliance sites). Stars represent the NMFS sites.




                                                      41




                                                                                                            NMFS_00830
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 281 of 350




Figure 41. Locations of dive sites that included in quantitative data collection post-construction. Sites the NMFS
assessed represented by stars and sites DCA assessed represented by squares.




                                                          42




                                                                                                                     NMFS_00831
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 282 of 350



In the ten reports reviewed, sediment accumulation is consistently described as recent on the reef (DERM
2014; FDEP 2014; DERM 2015; FDEP 2015) and distinguishable from natural sediment (DERM 2014;
DERM 2015). Sedimentation on the Middle Reef north is referred to as heavy (DERM 2014), profound
(FDEP 2014), severe (NMFS 2015a), and of variable thickness (FDEP 2014; Miami Waterkeeper 2015a),
with the spatial extent spreading over 200 meters north of the channel on the Middle Reef with no
evidence of the sedimentation receding at this distance away from the channel (FDEP 2014; Miami
Waterkeeper 2015a). The type of sediment is consistently described as “clay-like” in texture (DERM
2014; DERM 2015; FDEP 2015; NMFS 2015a; Miami Waterkeeper 2015a; NMFS 2015a; NMFS 2015b)
and observed to be very mobile (Miami Waterkeeper 2015a). In addition, fish are conspicuously absent
from surveys (FDEP 2015; NMFS 2015b).

The sedimentation “halo” of mortality around the base of the colony (depicted in Figure 29) has been
consistently observed on the Middle Reef north in the last 21 months (FDEP 2014; Miami Waterkeeper
2014a; DERM 2015; Miami Waterkeeper 2015a; Miami Waterkeeper 2015c; NMFS 2015a, NMFS
2015b). The sediment-associated coral stress signatures that ultimately result in the halo of dead tissue at
the base of the colony, such as clay-like sediment on the coral tissue forcing the corals to expend energy
to remove the sediment either through polyp distension, tentacular action, or mucus production has also
been reported (NMFS 2015a; NMFS 2015b). Notably, this type of halo mortality is absent at sites located
several miles south of the channel (NMFS 2015a). Scleractinian coral colonies with 100% mortality
attributed to sedimentation have been observed (DERM 2015) and burial of the base of octocorals is
commonly reported (Miami Waterkeeper 2015a; Miami Waterkeeper 2015c; NMFS 2015b). Only
scleractinian corals growing on steep sides of larger boulders appear to be able to successfully remove
sediments from their surface without accumulation on lower parts of colonies (FDEP 2015; NMFS
2015b).

Images of impacts to staghorn coral (Acropora cervicornis), which is listed as threatened under the
Endangered Species Act, show partial mortality or complete mortality from sedimentation (Miami
Waterkeeper 2014b; Miami Waterkeeper 2015a; NMFS 2015a; FDEP 2015; CSI 2015). Images also
show staghorn coral branch tips dipping into sediment (Miami Waterkeeper 2015a; Miami Waterkeeper
2015c; NMFS 2015a), which is not a normal pattern of growth for staghorn coral. In addition, reports
depict and provide images of sediment covering the base of the staghorn coral colonies (Miami
Waterkeeper 2014b; Miami Waterkeeper 2015c; NMFS 2015a; CSI 2015). The Miami Waterkeeper
(2015a) reported little to no exposed hardbottom and little to no visible crustose coralline algae, which
could be relevant observations for determining the amount of suitable recruitment habitat present and the
time it may take for the reef to return to suitable staghorn coral recruitment habitat.

There is relatively little information available for true pre-dredging conditions. Exceptions include the
first baseline assessment conducted by DCA in 2010 and FDEP pre-dredging observations (summarized
in FDEP 2014). From DCA (2011): “Sedimentation was documented at all sites but R3N [Outer Reef
north] and coincided with an outgoing tide (page 16).” The sediment cover FDEP staff observed in 2014
was noted to be one to 14 centimeters deep and “not characteristic” for the reef surveyed during pre-
dredging surveys completed by FDEP staff (FDEP 2014, page 38). The FDEP (2014) concludes the lost
reproductive output and recruitment resulting from the sedimentation impact will have long-lasting effects
on the impacted areas of reefs and hardbottom and the cohesive nature of fine sediments suggests that the
sediment cover may persist for some time and have even more profound effects on the ecological function
of the communities (FDEP 2014).

                                                    43




                                                                                                        NMFS_00832
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 283 of 350



The Quality of “Baseline” Data

The baseline survey data collected in 2010 (described in DCA 2011) is useful in that it assessed sites up
to 450 meters north of the channel. However, the survey was limited to the low-relief reef and the
amount of area surveyed further than 100 meters north of the channel is low. A total of 15 transects, each
10 square meters, were surveyed in the Middle Reef north; however, 10 of the transects (100 square
meters) were between the channel and 100 meters north of the channel and 5 of the transects were used
for surveying the area between 100 meters and 450 meters. In addition, the video collected from this
survey is generally low in light and resolution and may not be sufficient for analysis.

Use of baseline survey data collected in 2013 (described in DCA 2014a; DCA 2014b) as true pre-project
conditions is problematic. Maintenance dredging was occurring prior to the expansion dredging thereby
transporting sediment-laden waters to the reefs located along the channel twice per day on out-going
tides. It is possible that impacts to the coral reefs positioned outside the channel may have occurred prior
to the commencement of expansion dredging and continued throughout the duration of the project. In
addition, the baseline data collection was not completed until at least 40 days after the expansion dredging
began. Expansion dredging commenced on November 20, 2013, in Cut 2 (USACE, personal
communication via email dated November 19, 2013). Baseline surveys were conducted on the Middle
and Outer Reefs between October 23, 2015, and December 30, 2013 (DCA 2014b, Table 1). The location
of the cuts are depicted in the Port of Miami Final Environmental Impact Statement and show Cut 2 as
located seaward of the Inner Entrance Channel, near the elbow region of the channel within the nearshore
ridge complex, and possibly extending towards the Middle Reef (USACE 2004, Figures 5 and 6).
Therefore, it is likely that impacts to the coral reefs positioned outside the channel may have occurred
during the baseline data collection and continued throughout the duration of the project.




                                                    44




                                                                                                        NMFS_00833
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 284 of 350




Section 5: Conclusions

Overall, the assessed impact sites on Middle Reef north showed considerably more scleractinian partial
mortality, sediment accumulation, and mortality from the halo effect when compared to the USACE
control sites (Figure 42). Of all corals surveyed in the belt transects (n=949), 41 percent exhibited partial
mortality. Partial mortality includes both sediment-associated and other types of mortality. Halo
mortality is a subset of partial mortality. Of all the corals surveyed at the control sites (n=291), 19
percent exhibited partial mortality. Thirty-one percent of the corals in impact sites exhibited sediment
accumulation, compared to three percent at control sites. Fourteen percent of corals at impact sites
exhibited the sediment halo (mortality at the base of the colony indicative of sedimentation impact),
compared to one percent at control sites.

The effects of sedimentation on octocorals is not well-studied. The lower prevalence of partial mortality
among octocoral colonies (Figures 30 and 31) when compared to scleractinian coral colonies (Figure 27)
may be attributed to the ability of octocorals to heal faster after injury. However, healing can only occur
when healthy tissue adjacent to the wound is available to help regeneration (Mezaros and Bigger 1999).
Similar to scleractinian corals, if a portion of the octocoral colony remains buried, it will not be able to
heal. The burial of octocoral holdfasts under a thick layer of sediment can result in the death of tissue
over the holdfast. Without this live tissue, new axis material will not be deposited as the octocoral grows,
and it will not provide the stability necessary to support the colony. In the absence of the live tissue, the
holdfast and axis material, called gorgonin, will erode away and the live portion of the colony will
eventually break off or become dislodged, which results in colony death, especially during normal storm
activity (personal communication, January 29, 2016, Ms. Vanessa Brinkhuis, Florida Fish and Wildlife
Research Institute, Coral Reef Research Group). Similar to scleractinian corals, a healthy octocoral
colony does not have portions of the colony buried in sediment.

Like octocorals, sponges can heal relatively quickly after damage if there is enough remaining healthy
tissue to contribute to regeneration. Sponges heal much faster than their normal rate of growth, and
healing could represent a significant expenditure of energy (Hoppe 1988). Sponges are also unable to
tolerate being buried for extended periods of time. Long-term burial of sponges will lead to mortality.
Greater amounts of sediments trapped among algae on the more horizontal substrata may contribute to the
smothering of young or adult sponges and increased sedimentation rates increase the chances of young
sponges being smothered (Zea 1993). To capture the effects of sedimentation stress on sponges, the
population would need to be surveyed immediately after an event. When sponges die, their tissue quickly
disintegrates, so later monitoring may not detect dead sponges. For the sponges surviving sedimentation,
later monitoring would show sponges having already undergone regeneration to the best of their ability in
the altered environment (personal communication, January 29, 2016, Ms. Vanessa Brinkhuis, Florida Fish
and Wildlife Research Institute, Coral Reef Research Group).

The NMFS used sediment depth and type to determine the level of impact severity from sedimentation
and this information will also help inform recovery lag time for the Habitat Equivalency Analysis.
Assessment areas were then developed based on trends in the partial mortality and sediment-associated
stressors. Each assessment area can have all levels of severity, and this approach is further described
below.
                                                     45




                                                                                                          NMFS_00834
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 285 of 350




Figure 42. Percent of scleractinian corals with partial mortality or sediment-associated stress at pooled impact and
control sites.




                                                          46




                                                                                                                  NMFS_00835
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 286 of 350




Methods for Determining the Severity of Sedimentation Impact Categories and Recovery

While sediment movement and deposition is a normal process in a coral reef ecosystem, offshore coral
reefs are not capable of developing or sustaining ecological functions when covered by sediment over
prolonged periods when measuring in centimeters or greater. Sedimentation on reefs can reduce coral
recruitment, survival, and settlement of coral larval (Erftemeijer et al. 2012) and suppress colony growth
(Bak 1978). The increased prevalence of indicators of sedimentation stress and partial mortality at the
Port of Miami sedimentation assessment areas (Figures 27, 28, 29, and 42) suggests the frequency,
intensity, and duration of sedimentation was much greater at sedimentation assessment sites when
compared to controls and mortality and loss of function of reef organisms resulted. Sediment deposition
from dredging activities at Port of Miami is the most plausible explanation for how the increment of
sediment deposition (i.e., above control) accumulated on the reef.

Sediment deposition threshold criteria have recently been proposed for classifying sediment impacts to
reef habitats based on threshold values in peer-reviewed studies and new modelling approaches (Nelson et
al. 2016). The sediment threshold criteria, termed “stoplight indicators”, are based on active
sedimentation onto reef surfaces and corals during a prescribed period of time (18 to 30 days within a 90
day timeframe). Sediment depth in excess of 1.0 centimeter is classified as red, and corresponds to severe
colony stress resulting in mortality. If depth is less than 1.0 centimeters, but greater than 0.5 centimeters
it is classified as yellow, corresponding to moderate colony stress with some coral colonies expected to
recover. If sediment depth was less than 0.5 centimeters it is classified as green, meaning negligible or
limited impacts to coral colonies (Table 5; Nelson et al. 2016). The standing sediment levels measured at
Port of Miami are cumulative standing sediment levels over a much longer time period than is considered
in Nelson et al. (2016), likely commenced with the beginning of dredging, and are therefore conservative
values when compared to the sediment threshold criteria stoplight indicators.

The presence, type, and depth of sediment over the hardbottom is intended to serve as the proxy for the
severity of sedimentation, and in a parallel effort, to determine the recovery delay in a Habitat
Equivalency Analysis. For the purposes of this assessment, indicators of sedimentation impacts were
evaluated by qualitatively examining the type of sediment at the surface and and measured depths of
sediment over reef in each assessment area (Table 5). The highest level of severity, very severe, is where
deep sediment is present within the HR reef. Based on basic sediment transport principles, observations
in the field, and sediment depth measurements, the sediment in areas characterized as deep sediment over
HR is least likely to dissipate due to natural processes and will take the longest time to dissipate
compared to other categories of severity. Hardbottom in the area characterized as very severe is not
functioning as recruitment habitat for corals, including staghorn corals.

The severe impact category is where 3 to 4 centimeters of sediment was measured over the reef (LR or
HR) and when deep sediment was present in the LR reef. Based on observations in the field and sediment
depth measurements, it appears fast currents from extreme weather events may be able to remove the
deep sediment layers from the LR reef, when compared to the HR reef, but these fast currents and
extreme weather events are relatively uncommon. Hardbottom in the area characterized as severe is not
functioning as recruitment habitat for corals, including staghorn corals.


                                                     47




                                                                                                         NMFS_00836
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 287 of 350



The significant level of severity is where 2 to 3 centimeters of sediment was measured on LR or HR reef.
Hardbottom in the area characterized as significant is not functioning as recruitment habitat for corals,
including staghorn corals.

The moderate impact category is where 1 to 2 centimeters of sediment was measured on the reef in both
LR and HR reef. Most coral species are sensitive to this range of sedimentation which adversely affects
the structure and function of the coral reef ecosystem by altering both physical and biological processes
(Rogers 1990). Sediment deposition on the reef within this depth range is ecologically relevant,
especially considering none of the sediment depth measurements at the USACE control sites exceeded 1
centimeter. Hardbottom in the area characterized as moderate is not functioning as recruitment habitat for
corals, including staghorn corals.

The method to characterize the different levels of severity in low and no impact categories focuses on
sediment type (i.e., fine sediment versus sand) to differentiate level of severity. Sand sediment measures
up to 0.5 centimeters of sand is considered no severity or absence of impact. Hardbottom within the
sedimentation areas characterized as no severity remains potential recruitment habitat for corals,
including staghorn corals. Any measurable amount of fine sediment up to 0.5 centimeters is considered
low severity impact. Hardbottom in the area characterized as low is not functioning as recruitment habitat
for corals, including staghorn corals.

               Table 5. Levels of sedimentation impact severity on the Middle Reef north.
               The hardbottom habitat with sediment severity levels characterized as “Low”
               through “Very Severe” is not suitable substrate for coral recruitment.

               Severity Level   Sediment Description                      Stoplight Indicators
                                                                          from Nelson et al.
                                                                          (2016)

               Very Severe      HR reef: >4 centimeters
                                LR reef: not applied

               Severe           HR reef: 3.01 to 4 centimeters
                                LR reef: >4 centimeters
                                                                          Red: Severe stress
               Significant      HR and LR reef: 2.01 to 3 centimeters     resulting in mortality


               Moderate         HR and LR reef: 1.01 to 2 centimeters


               Low              HR and LR reef: 0.6 to 1 centimeters of   Yellow: Moderate,
                                sand or mixed sand and fines or <1        but expected to
                                centimeter of fine sediment               recover

               No               HR and LR reef: no measurable sand to     Green: Negligible or
                                <0.5 centimeters of sand                  limited



Based on the characterization for no and low severity, the line-intercept data from the USACE control
sites for LR and HR control sites, respectively, exhibited 85 percent and 80 percent of sites measured

                                                     48




                                                                                                         NMFS_00837
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 288 of 350



falling into the no category; and 15 and 20 percent that would fall into the low category. The line-
intercept points in the USACE control sites that fall within the low category include 0.5 centimeters of
fines or mixed sand and fines (n=7), and the remaining points were all zero to 1.0 centimeter of sand and
therefore classified in the no category (n=33). None of the Middle Reef north sedimentation assessment
survey areas exhibited a sediment depth measurement of zero.

Sediment Impact Area Delineation

To delineate sedimentation impact assessment areas, general trends or obvious groupings were examined
for the frequencies of partial mortality, sediment accumulation, and sediment halo. Where a shift or
visual break point in the data appeared (summarized in Table 6), a cut-point was drawn between survey
areas. A cut-point was drawn 250 meters beyond the channel in the LR habitat because partial mortality
decreased and there was also a decrease in points characterized as sediment over hardbottom at R2N-300-
LR when compared to R2N-100-LR and R2N-200-LR. Another cut-point was drawn at R2N-400-LR
because the prevalence of sediment halo decreased from 14 percent at R2N-300-LR to 3 percent at R2N-
500-LR and partial mortality also decreased. In the HR area, a cut-point was drawn at R2N-250-HR
because the prevalence of sediment halo decreased from 21 and 26 percent at R2N-100-HR and R2N-
200-HR to 13, 13, and 11 percent at R2N-300-HR, R2N-500-HR, and R2N-700-HR, respectively.
Another cut-point was drawn at R2N-800 because, while sediment accumulation decreased from 26
percent at R2N-500-HR to 15 percent at R2N-700-HR, the prevalence of partial mortality (33 and 39
percent) increased between R2N-500-HR and R2N-700-HR, and sediment halo (13 and 11 percent)
remained similar, yet higher than controls. It is important to note all levels of sedimentation impact
severity can be present within an assessment area.




                                                    49




                                                                                                      NMFS_00838
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 289 of 350




Table 6. Groupings of partial mortality and sediment associated stress at sedimentation assessment sites.
Data from Table 3.

Assessment     Site            Percent       Percent         Percent       Percent Survey    Percent
Area                           Corals with   Corals with     Corals with   Points            Survey Points
                               Partial       Sediment        Sediment      Characterized     Characterized
                               Mortality     Accumulation    Halo          Sediment over     Deep
                                                                           Hardbottom        Sediment over
                                                                                             Hardbottom

      1        R2N-100-HR          77%            64%            21%             61%              19%


               R2N-200-HR          42%            37%            26%             81%              43%


      2        R2N-100-LR          27%            20%            10%             52%              11%


               R2N-200-LR          50%            48%            16%             63%               0%


      3        R2N-300-HR          46%            25%            13%             45%               0%


               R2N-500-HR          33%            26%            13%             43%               3%


               R2N-700-HR          39%            15%            11%             53%               3%


      4        R2N-300-LR          36%            22%            14%             40%               0%

      5        R2N-500-LR          32%            19%            3%              27%               0%

      6        North of R2N-800-HR. No data, but since impacts persisted at 700-HR, it was assumed impacts
               continued north of this assessment area.


Characterization of Assessment Areas

Delineations of impact assessment areas are based on the groupings of the sedimentation assessment sites
presented in Table 6. The cut-points between impact areas (depicted in Figure 43) are at the midpoint
between assessment sites (e.g., the line drawn at R2N-250-HR is midway between R2N-200-HR and
R2N-300-HR).

Sedimentation Impact Area 1: Channel-side to R2N-250-HR
This area is closest to the channel out to approximately 250 meters north of the channel in the high-relief
reef (Figure 43). The areas assessed in this part of the reef had the highest prevalence of partial mortality
at R2N-100-HR (Figure 27) and high halo mortality (Figure 29), and high sediment accumulation (Figure
28). This area is 21 acres with 4.2 acres characterized as very severe, 3.2 acres of severe, 4.2 acres of
significant, 7.9 acres of moderate, and 1.6 acres of low impact to the Middle Reef north (Table 7).
                                                     50




                                                                                                             NMFS_00839
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 290 of 350




Table 7. Acreage and percent (%) of the level of severity in each assessment area. The level of
severity percentages are based on the sum of the number of sediment depth measurements in each
category of severity as described in Table 5, divided by the total number of line-intercept points for
that transect. Area Number 6 was not assessed by the NMFS (it is from DCA 2015a) and input
parameters are based on trends observed in the data.

Area            Very Severe       Severe        Significant     Moderate         Low            No

Area #1           4.2 (20%)      3.2 (15%)      4.2 (20%)       7.9 (38%)      1.6 (8%)       0.0 (0)

Area #2            0.0 (0)       4.0 (16%)      4.6 (18%)      11.3 (44%)     4.8 (18%)      1.3 (5%)

Area #3           2.4 (5%)       3.4 (7%)        1.0 (2%)      17.3 (36%)     16.8 (35%)    7.2 (15%)

Area #4            0.0 (0)        0.0 (0)         0.0 (0)      10.5 (75%)     3.5 (25%)       0.0 (0)

Area #5            0.0 (0)       2.0 (5%)        2.0 (5%)      34.7 (89%)       0.0 (0)       0.0 (0)

Area #6            0.0 (0)        0.0 (0)         0.0 (0)      14.3 (75%)     4.8 (25%)       0.0 (0)

Total acres       6.6 acres     12.6 acres      11.8 acres     96.0 acres     31.5 acres     8.5 acres



Sedimentation Impact Area 2: Channel-side to R2N-250-LR
This area is closest to the channel out to approximately 250 meters north of the channel in the low-relief
reef (Figure 43). This area also experienced high prevalence of partial mortality, sediment halo, and
sediment accumulation, but not as high as impact area 1. R2N-100-LR requires further examination as
the partial mortality NMFS recorded (27 percent) is notably lower than what was reported in the
immediate post-construction monitoring report for the channel-side site located between 10 and 70 meters
north of the channel (93 of corals had sediment-associated partial mortality; DCA 2015b). NMFS
estimates of partial mortality should be viewed as conservative because methods did not include counting
all dead corals. This area is 26 acres with 4.0 acres characterized as severe, 4.6 acres of significant, 11.3
acres of moderate, 4.8 acres of low, and 1.3 acres of no impact to the Middle Reef north (Table 7).

Sedimentation Impact Area 3: R2N-250-HR to R2N-800-HR
This area is within the high-relief reef between 250 and 800 meters north of the channel (Figure 43).
Partial mortality is consistently higher at R2N-300-HR, R2N-500-HR, and R2N-700-HR, compared to
USACE-HR (Figure 27). The prevalence of partial mortality, sediment halo, and sediment accumulation
is lower than impact areas 1 and 2, but still considerably higher than USACE-HR (Figures 27, 28, and
29). This area is 48 acres with 2.4 acres characterized as very severe, 3.4 acres of severe, 1.0 acres of
significant impact, and 17.3 acres of moderate, 16.8 acres of low, and 7.2 acres of no impact to the
Middle Reef north (Table 7).

Sedimentation Impact Area 4: R2N-250-LR to R2N-400-LR
This area 250 meters north of the channel and approximately 400 meters north of the channel in the low-
relief reef (Figure 43). The prevalence of partial mortality, sediment halo, and sediment accumulation is
similar to Impact Area 3, but still considerably higher than USACE-LR (Figures 27, 28, and 29). This
area is 14 acres with 10.5 acres of moderate and 3.5 acres of low impact to the Middle Reef north (Table
7).
                                                      51




                                                                                                         NMFS_00840
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 291 of 350



Sedimentation Impact Area 5: R2N-400-LR to the northern edge of low-relief portion of the Middle Reef
This area is between 400 meters north of the channel to the northern edge of the low-relief reef in this
area (Figure 43). The prevalence of partial mortality, sediment halo, and sediment accumulation is lower
than Impact Areas 3 and 4, but still higher than USACE-LR (Figures 27, 28, and 29). This area is 39
acres with 2.0 acres characterized as severe, 2.0 acres of significant impact, and 34.7 acres of moderate
impact to the Middle Reef north (Table 7).

Sedimentation Impact Area 6: R2N-800-HR to one kilometer north of the channel
This area is high-relief reef located between 800 meters and 1,000 meters north of the channel (Figure
43). While NMFS did not assess this area, the characterization of this site in an earlier report (DCA
2015a) is more consistent with a description of a site impacted by sedimentation and inconsistent with
visual inspection of aerial imagery available for this site from 2013 (pre-dredging). Dial Cordy and
Associates Inc., (2015a) describes numerous large sand patches and “many of the corals larger than 10
centimeters in diameter were located in large sand patches” (page 50). This finding warrants discussion
as sand does not have the appropriate substrate that is suitable for corals to recruit. Based on NMFS field
observations, the initial appearance of corals within a sand channel was later determined to be buried reef
(e.g. Figure 11A). In addition, the prevalence of partial mortality reported at this site is over 2-fold the
partial mortality reported at controls (DCA 2015a; partial mortality is 0.19 at R2N1-850 and 0.08 at the
respective control R2N1-LR; Table 4). This area is 19 acres with 14.3 acres characterized as moderate,
4.8 acres of low impact to the Middle Reef north (Table 7).




                                                     52




                                                                                                         NMFS_00841
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 292 of 350




Figure 43. Sedimentation assessment areas, cut-points, and acreages.




                                                       53




                                                                            NMFS_00842
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 293 of 350



Reports and Works Cited

Bak, R. 1978. Lethal and sublethal effects of dredging on reef corals. Marine Pollution Bulletin 9:14-16.

Barnes, B., Chuanmin, H., Kovach, C., and Silverstein. 2015 . Sediment plumes induced by the Port of
Miami dredging: Analysis and interpretation using Landsat and MODIS data. Remote Sensing of
Environment 170:328-339.

Coastal Systems International, Inc. Acropora cervicornis One Year Post-relocation Monitoring Report for
the Miami Harbor Phase III Federal Channel Expansion Contract No. E12-SEA-03/Project No. 1999-027.
February 2015, 82pp.

DCA. 2011. Miami Harbor Baseline Study. Prepared by Dial Cordy and Associates Inc. for the U.S.
Army Corps of Engineers Jacksonville District. 96pp.

DCA. 2014a. Miami Harbor Phase III Quantitative Baseline for Hardbottom Benthic Communities.
Prepared by Dial Cordy and Associates Inc. for the U.S. Army Corps of Engineers Jacksonville District.
109pp.

DCA. 2014b. Miami Harbor Phase III Quantitative Baseline for Middle and Outer Reef Benthic
Communities. Prepared by Dial Cordy and Associates Inc. for the U.S. Army Corps of Engineers
Jacksonville District. 322pp.

DCA. 2014c. Monthly [October] Delineation of Potential Sedimentation Effect Area Within Nearshore
Hardbottom. Prepared by Dial Cordy and Associates Inc. for Great Lakes Dredge and Dock Company,
LLC. 16pp.

DCA. 2015a. Delineation of Potential Sedimentation Effect Area within Middle and Outer Reef
Habitats, Port of Miami Phase III Federal Expansion Project (final, August 2015). Prepared by Dial
Cordy and Associates Inc. for Great Lakes Dredge and Dock Company, LLC. 137pp.

DCA. 2015b. Miami Harbor Phase III Federal Channel Expansion Project Quantitative Post-
Construction Middle and Outer Reef Benthic Assessments. Report date: November 19, 2015. 156pp.

Erftemeijer, P., Riegl, B., Hoeksema, B., and Todd, P. 2010. Environmental impacts of dredging and
other sediment disturbances on corals: A review. Marine Pollution Bulletin 64:1737-1765.

FDEP. 2014. Field notes on impacts assessment in Miami Harbor Phase III Federal Channel Expansion
Permit #0305721-001-BI. Report date: August 18, 2014. 39pp.

FDEP. 2015. Report on site visit in Port of Miami Expansion Project. Report date: February 9, 2015.
24pp.

Hoppe, W. 1998. Growth, regeneration, and predation in three species of large coral reef sponges.
Marine Ecology Progress Series 50:117-125.
                                                   54




                                                                                                     NMFS_00843
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 294 of 350




Klug, K. 2015. Cross-shelf and latitudinal benthic community investigation in the nearshore habitats of
the northern Florida Reef Tract. Submitted to the Faculty of Nova Southeastern University Halmos
College of Natural Sciences and Oceanography in partial fulfillment of the requirements for the degree of
Master of Science with a specialty in: Marine Biology & Coastal Zone Management. 127pp.

Mezaros, A., and Bigger, C. 1999. Qualitative and quantitative study of wound healing processes in the
Coelenterate, Plexaurella fusifera: spatial, temporal, and environmental (light attenuation) influences.
Journal of Invertebrate Pathology 73:321-331.

Miami-Dade Department of Regulatory and Economic Resources Division of Environmental Resources
Management. 2014. Field report titled: U.S. Army Corps of Engineers Port of Miami Channel
Deepening Project Report on Opportunistic Hardbottom/Reef Inspections. July 2014, 10pp.

Miami-Dade Department of Regulatory and Economic Resources Division of Environmental Resources
Management. 2015. Field report titled: U.S. Army Corps of Engineers Port of Miami Channel
Deepening Project Report on Opportunistic Hardbottom/Reef Inspections. July 2015, 13pp.

Miami Waterkeeper. 2014a. Email to David Bernhart dated October 1, 2014 with photos of
sedimentation on corals.

Miami Waterkeeper. 2014b. Email to David Bernhardt dated October 9, 2014 with photos of
sedimentation on corals.

Miami Waterkeeper. 2015a. Dive report from the Middle Reef approximately 100 to 250 meters north of
the Port of Miami Channel. January 14, 2015, 48pp.

Miami Waterkeeper. 2015b. Dive report from the Middle Reef approximately 100 to 250 meters north of
the Port of Miami Channel. January 30, 2015, 44pp. [Note this appears to be version 2 of 2015a]

Miami Waterkeeper. 2015c. Dive report from the Middle Reef approximately 0 to 150 meters north of
the Port of Miami channel. June 23, 2015, 49pp.

Nelson, D., McManus, J., Richmond, R., King Jr., D., Gailani, J., Lackey, T., and Bryant, D. 2016.
Predicting dredging-associated effects to coral reefs in Apra Harbor, Guam - Part 2: Potential coral
effects. Journal of Environmental Management 168:111-122.

NMFS. 2015a. Port of Miami Acropora cervicornis relocation report. 15pp.

NMFS. 2015b. Port of Miami Field Observations from May 19, 2015. Prepared by NOAA National
Marine Fisheries Service, Southeast Region, West Palm Beach Field Office staff. 19pp.

Pollock, J., Lamb, J., Field, S., Heron, S., Schaffelke, B., Shedrawl, G., Bourne, D., and Willis, B. 2014.
Sediment and turbidity associated with offshore dredging increase coral disease prevalence on nearby
reefs. PLOS one 9: 1-9.
                                                      55




                                                                                                        NMFS_00844
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 295 of 350




Rogers, C. 1990. Responses of coral reefs and reef organisms to sedimentation. Marine Ecology
Progress Series 62:185-202.

U.S. Army Corps of Engineers, Jacksonville District. 2004. Final Environmental Impact Statement for
the Miami Harbor. 134pp, plus appendices.

U.S. Army Corps of Engineers, Jacksonville District. 2015. Final Environmental Impact Statement for
the Port Everglades Harbor Navigation Study. 346pp, plus appendices.

Walker, B.K. 2009. Benthic Habitat Mapping of Miami-Dade County: Visual Interpretation of LADS
Bathymetry and Aerial Photography. Florida DEP report #RM069. Miami Beach, FL. 47pp.

Walker, B.K., and Klug, K. 2014. Southeast Florida shallow-water habitat mapping & coral reef
community characterization. Florida Department of Environmental Protection Coral Reef Conservation
Program report. Miami Beach, FL. 83pp.

Zea, S. 1993. Cover of sponges and other sessile organisms in rocky and coral reef habitats of Santa
Marta, Colombian Caribbean Sea. Caribbean Journal of Science 29:75-88.




                                                   56




                                                                                                       NMFS_00845
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 296 of 350




                                      Additional Example Photographs




Photos of two colonies of Montasraea cavernosa showing “Halo” effects, mortality at the base of the colony due to
sedimentation from the dredging. Both corals have mortality from sedimentation. The colony on the left in also is
showing mortality from disease. The photo on the left is before sediment was removed from the base of the colony.
The photo on the right is after the sediment was brushed away, showing white skeleton with clean septae and calices
showing that this mortality was recent.




Photos from R2N-200-HR. Image on the right is of the buried corals in the left image after the NMFS diver used his
hand to winnow away the sediment revealing the buried octocoral holdfast, dead coral halo, and buried reef.

                                                        57




                                                                                                                NMFS_00846
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 297 of 350




Photos from R2N-200-HR. Image on the left is the normal pattern of growth of octocorals on a high-relief portion of
the reef with moderate to low sedimentation impacts. Image on the right shows octocorals buried by a deep layer of
sediment at a location characterized as very severe to severe sedimentation impacts.




                                                        58




                                                                                                                NMFS_00847
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 298 of 350




                                                                                                       

                
               
                   

                                             !"#$%"& # '"
    ¡¢£¤¤¥¦¤§¤¨¥©ª¤§«ª¬ª­«¥®¨¥­¥® ¥­¯°¥ª«¦¤¨¥±²³¥´ª­¤£¥«¤§µ©ª¤¡­ªª«¦«¯­§«£¥«¤ª²¥®§¡­°¥®

                                                              
                      #*&%+-).)/' " "-

                                        -  
      ." $     !  Ȃ $" 
                          /" $ !  Ȃ  $

                                                    
                                          !) !  
                                                              




                                    !$-1).,-0           




                                                                                                            NMFS_00881
               Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 299 of 350
                                                                                                                                    

                 



                             
                                
                                         
    

                                                  Edwin A. Hernández-Delgado1,2,3*, Ivangs Rivera1


                                         1
                                            Sociedad Ambiente Marino, PO Box 22158, San Juan, PR 00931-2158
                      2
                       University of Puerto Rico, Center for Applied Tropical Ecology and Conservation, Coral Reef Research Group,
                                                              San Juan, Puerto Rico 00931-3360
                                   3
                                     University of Puerto Rico, Department of Biology, San Juan, Puerto Rico 00931-3360
    

                                             *Corresponding author: edwin.hernandezdelgado@gmail.com


                                                                February 16, 2015
    

        Abstract$ The objective of this preliminary assessment of Puerta de Tierra marine natural systems was to:
           1) Provide a rapid qualitative assessment of adjacent benthic communities across the potentially impacted
           zone " %& ' *    +  ; 2) Determine if there were ESA-listed coral
           species across adjacent coral reefs; 3) Determine the spatial extension of Acroporid coral designated critical
           habitats (DCH) across the zone; and 4) Determine the spatial extension of essential fish habitats (EFH)
           across the zone. Surveyed benthic habitats showed the common presence of Endanged Species Act (ESA)-
           listed Elkhorn coral (Acropora palmata) and a very low abundance of the Laminar star coral (Orbicella
           faveolata) within less than 200 m from the shoreline. There were also multiple colonies of A. palmata located
           within 50 m or less from the shoreline. Preliminary observations suggested that, nearly the entire surveyed
           segment dominated by colonized pavement and patch reefs constituted part of the Acroporid corals DCH.
           Though only one colony of O. faveolata was observed during the preliminary inspection, and though no
           DCH has been officially designated yet for this species, this habitat represents also critical habitats for its
           presence. The existing coral biodiversity preliminarily documented in this survey showed a total of 26
           species within 700 linear meters of reefs along the shoreline, including 3 hydrocorals, 11 octocorals and 12
           scleractians or hard corals. A preliminary survey of fish fauna also showed a total of 59 species, belonging
           to 37 genera and 25 families. This is only a preliminary list and future surveys may guarantee that this list
           is likely to grow. The surveyed reef segment constitutes a very important essential fish habitat (EFH) for
           multiple reef fish species, including species managed by the Commonwealth of Puerto Rico and the
           National Marine Fisheries Service (NMFS). There was also presence of submerged aquatic vegetation
           (SAV) across the adjacent benthic systems, but environmental impacts of the project to any of these marine
           ecosystems were not addressed. A massive landslide is significantly impacting the shoreline and adjacent
           coral reefs ecosystems. There is a need to immediately stabilize this active landslide to reduce further
           impacts to adjacent coral reefs and SAV, including DCH of Acroporid corals. There is a need to: 1)
           Determine the spatial extent of Acroporid coral DCH across adjacent reef bottoms; 2) Determine the
           presence of any of the seven ESA-listed coral species across adjacent reef bottoms; 3) Address impacts to
           EFH; and 4) Initiate consultation with NMFS under section 7 of ESA; and 5) Prepare an Environmental
           Impact Statement in full compliance with Law 147. There is no evidence in the available public record of
           this project that the construction of an abandoned breakwater in navigable waters of the Atlantic Ocean
           was permitted by the US Army Corps of Engineers. This should also be addressed. According to the
           available public record, potential environmental impacts of this project on coral reef ecosystems were not
           addressed. Though this project will not be constructed within navigable waters, there is significant
           potential for permanent adverse impacts on coral reefs associated to the construction of this project could
           be significant and permanent and must be immediately addressed.
                                                                  1


                                                                                                                                 NMFS_00882
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 300 of 350
                                                                                                        

              

!"#$&'*+<=


¶·¸¹·»·¹¼½¾&·¿¹¼/¿ÀÁ/¶ÂÃ¶/ÁÁ¹¼&ÂÁ'Á/¸Á·¹¾Á/¼¿·¿Ä·¼Ã·¹&¿&¿''¾¹·¼·Á¶

¿»&¹ ¾¹>¾Á/¼Á·Á//¹&¿¹¿Ä·¼Ã/Á¸/¶¼¿¼ÃÁ¾¹Á/¸¿·¹¸¿¹¶¼/¾¼·¿¹

      Å6    ¹ ¾¹Æ  ,  Ç  , '   (¼·½&Á ¿'½¿¹Á¹¼¶> Ä·&&

·¹À¿&ÀÁ ¼ÃÁ ¿¹¶¼/¾¼·¿¹ ¿»  ¿/Ä&È> ¿¶Á/À¼·¿¹ ½¿·¹¼¶ ¹ ¿¼ÃÁ/ ·¹»/¶¼/¾¼¾/Á &¿¹¸ 

¶'&&&·»»»·¹¸¼ÃÁ¼&¹¼·Á¹&¿¹¸ ¾É¿Ê·ÀÁ/ÀÁ¹¾Á>¶ÄÁ&&¶¼ÃÁ¶¼·&·Ê¼·¿¹¿»

¼ &Á¶¼ ¿¹Á ¶Á¸'Á¹¼ ¿» ¼ÃÁ ½/¿½¿¶Á ¿/Ä&È ¾//Á¹¼&Â ÁË½¿¶Á ¼¿ ¶ÁÀÁ/Á Á/¿¶·¿¹Ì 

/ÁÈÄ¼Á/ Ä¶ &/ÁÂ ¿¹¶¼/¾¼Á ¼¿½  ½/¼·&&ÂÍ¶¾'Á/¸Á Á¿&·¹·¼Á ½&¼»¿/' &¿¹¸

¹À·¸&Á Ä¼Á/¶ ¿» ¼ÃÁ ¼&¹¼· Á¹ E       Î> ¾¼ ¹¿ 'Á¹¼·¿¹ ¿» ¼Ã·¶ /ÁÈÄ¼Á/ Ä¶

'Á ¿¹ ¹Â¿»¼ÃÁ¿¾'Á¹¼¶ À·&&Á »¿/ ¼ÃÁ ½¾&· /Á¿/Ì ÃÁ½/¿½¿¶Á ¿¹¶¼/¾¼·¿¹¿»

¼ÃÁ Á¹¼·/Á ½/¿ÏÁ¼ Ä·&& &¶¿ ·¹À¿&ÀÁ ¼ÃÁ ¿¹¶¼/¾¼·¿¹ ¿» ¹ ¾¹È¹¿Ä¹ ¹¾'Á/ ¿» ¶ÁÄÁ/ ¿¾¼»&&¶

¼Ã¼Ä·&&Á'½¼Â¶¼¿/'ÍÄ¼Á//¾¹¿»»¹ ½¿¼Á¹¼·&&Â¿¼ÃÁ/¼Â½Á¶¿»Ä¶¼ÁÄ¼Á/¶»/¿'ÏÁ¹¼

¶¼/¾¼¾/Á¶¼¿¼ÃÁÁÃ&¿¹¸¼ÃÁ¼&¹¼·Á¹¹¼¿ÏÁ¹¼¿/&/ÁÁ»Á¿¶Â¶¼Á'¶Ì ¹¶½·¼Á

¿» ¶¾Ã ·'½¼¶'  , Ð           Ñ (     ¿ Á & ¹»/Á¶¼/¾¼¾/>

 Î¹¼ÃÁ·/¿¹¶¾&¼¹¼¶»·&Á¼¿¿'½&ÂÄ·¼ÃÁË·¶¼·¹¸¼¼Á/Á¸¾&¼·¿¹¹Ä·¼ÃÁÁ/&

/Á¸¾&¼·¿¹¶ Â ¹¿¼ ·¹&¾·¹¸ ¹ ÁÀ&¾¼·¿¹ ¿» ½¿¼Á¹¼·& ¼Á'½¿//Â ¹ ½Á/'¹Á¹¼ ·'½¼¶ ¼¿

ÏÁ¹¼'/·¹ÁÁ¿¶Â¶¼Á'¶¿¹¼ÃÁ·/¹À·/¿¹'Á¹¼&¶¶Á¶¶'Á¹¼¿¾'Á¹¼Ì




                                                                                                          2


                                                                                                         NMFS_00883
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 301 of 350
                                                                                                       

              






 KÌ         /ÁÈÄ¼Á/ &/ÁÂ ¿¹¶¼/¾¼Á &¿¹¸ ¼ÃÁ ¶Ã¿/Á&·¹Á ·¹  ¶Á¸'Á¹¼ ÁË½¿¶Á ¼¿
                   ¶ÁÀÁ/Á Á/¿¶·¿¹Ì ÃÁ/Á ·¶ ¹¿ ÁÀ·Á¹Á ·¹ ¹Â ¿» ¼ÃÁ Á¹À·/¿¹'Á¹¼& ¶¶Á¶¶'Á¹¼
                    (   Å6 Æ  ,         ,    
                   ¿¹Í&·¶¼Á¿/&¶½Á·Á¶¹¿¹/¿½¿/·¿/&Á¶·¸¹¼Á/·¼·&Ã·¼¼Ì




                                                                                                        3


                                                                                                       NMFS_00884
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 302 of 350
                                                                                                      

              




                   

 ÒÌ         ¶¼ ¼¿ ÄÁ¶¼ À·ÁÄ ¿» ¼ÃÁ /ÁÁ¹¼&Â ¿¹¶¼/¾¼Á /ÁÈÄ¼Á/ &¿¹¸  ¶Ã¿/Á&·¹Á
                   ¶Á¸'Á¹¼Ì




                                  




                                                                                                       4


                                                                                                      NMFS_00885
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 303 of 350
                                                                                                           

              

Ç (   Å6 *(4!(Ó " Æ>½/Á¶Á¹¼Á·¹ÒÔKÕÂ

 > ¹ ½/Á½/Á Â ¿//Á¶Í¿¶ ¿¹¶¾&¼·¹¸ ¹¸·¹ÁÁ/¶> ¿¹&¾Á ·¹ ½¸Á KÔ ¿» ¼ÃÁ Á¼·¿¹

¿¾¼ ¹À·/¿¹'Á¹¼ Á¶/·½¼·¿¹   Å<=> ?@[\]@^> `{`[|}`> |`[> ?> [|> ]=|[> @]|@> ?@[\]@^>

`{`[|}`> @@|?[> [=> [|> ]=|[> @]|@> @]|> ]|^@[|> [=> @\@[> |=`{`[|}`> > @]|> `|@]@[|>

]=}>[|>]=|[>@]|@>{>\]@?>||^=}|?[>=]>]|=\`^{>}@[|>@]|@`>|>@\?@>@?>^=]@>

[\{>?@[|`>[@[>[|]|>@]|>=?^{>=}}=?>^@?[`>@?>@?}@^`>?>[|>]=|[>@]|@>@?>[|]|>

@]|>?=>|?@?|]|>`||`>@`|>=?>[|>`[\|`>@?>|@^\@[=?`>=?\[|>=]>[|>]=|[>|>

|[|]}?|> [@[> [|]|> `> ?=> ]|[> ]|^@[=?> |[||?> ?@[\]@^> @?> @][@^> `{`[|}`> [?> [|>

]=|[> `[|> @?> [`> `\]]=\??`Æ &¶¿> ·¹ ·¼¶ Á¼·¿¹ ¿¾¼ ¹À·/¿¹'Á¹¼& '½¼¶ ¹

    ·¼·¸¼·¿¹>   (   (   0     ,  Å^^> ?=[> @|> @> `?@?[>

}@[> ?> [|> @\?@> => [|> \|][@> |> |]]@> @]|@> @`|> =?> [|> @]@[|]`[`> => [|> |`[?>

@\?@>@?>[@[>[|>]=|[>^^>?=[>@|>@>`?@?[>}@[>|>|[|]}?|>[@[>?=>}[@[=?>

}|@`\]|`>^^>|>?||``@]{Æ< (  (        Å[|>]=|[>^^>

?=[>}@[>?@[\]@^>`{`[|}`>[|]|=]|>?=>}[@[=?>}|@`\]|`>^^>|>]|\]|Æ


Ã·¶ ¿¾'Á¹¼ »¾/¼ÃÁ/ Á¶¼&·¶ÃÁ ¿¹ ¼ÃÁ ¶'Á Á¼·¿¹ ¿¾¼ ¹À·/¿¹'Á¹¼& '½¼¶ ¹

7   '  3'  Å[>^^>|>?||``@]{>[=>]|^=@[|>|`[?>`[=]}>`||]`>@?>]|[|?[=?>

=?`>@?>=?`[]\[>?|>|^?|`>@?>=?`Æ'"(   " &     

·¹»/¶¼/¾¼¾/Á>¼ÃÁ¹¾'Á/¹&¿¼·¿¹¿»¶ÁÄÁ/¿¾¼»&&¶>¹¼ÃÁ·/·'½¼¼¿ÏÁ¹¼'/·¹Á

Á¿¶Â¶¼Á'¶Ì


ÃÁ¿ÀÁ¿¹&¾¶·¿¹¶¹Á¸&Á¼Á¼ÃÁÁË·¶¼Á¹Á¿»¹ÁË¼Á¹¶·ÀÁ¶Â¶¼Á'¿»¿/&/ÁÁ»¶&¿¹¸¼ÃÁ

¼&¹¼·Á¹Ä¼Á/¶¹ÏÁ¹¼¼¿¼ÃÁ¶Ã¿/Á&·¹ÁÌÃÁ¾Á/¼¿·¿¿/&ÁÁ» ÄE ÄKÕÖ>



                                                                                                             5


                                                                                                            NMFS_00886
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 304 of 350
                                                                                                             

              

    ¾&Â K×>KØØØÎ/ÁÙ¾·/Á¶¹ Á¹À·/¿¹'Á¹¼& ·'½¼ ¹&Â¶·¶»¿/ ¹Â½/¿ÏÁ¼ ¼Ã¼ 'Â ½¿¼Á¹¼·&&Â

ÀÁ/¶Á&Â ·'½¼ ¿/& /ÁÁ»¶Ì Ç &   Å|^@]|`> @?> ]|[|]@[|`> [@[> [> `> [|> \^>

=^{> => [|> =}}=?|@^[> => \|][=> => [|> ]=[|[=?> ]|`|]@[=?> @?> =?`|]@[=?> =>

=]@^> ]||`> ?> [|> [|]][=]@^> @[|]`> => \|][=> => =]> [|> |?|[> @?> |?={}|?[> => [`> @?>

\[\]|> |?|]@[=?`Æ /¼·&Á × Á¶¼&·¶ÃÁ ¼Ã¼¼ÃÁ Á/Á¼/Â ¿» ¼ÃÁ Á½/¼'Á¹¼ ¿»¼¾/&

¹ ¹À·/¿¹'Á¹¼& Á¶¿¾/Á¶ EÎ Ä·&& Á¶¼&·¶Ã  /¿¸/' »¿/ ¼ÃÁ ½/¿¼Á¼·¿¹>

 !     '   6 Å^^>|?[{>@^^>`=\]|`>=>

|?]=?}|?[@^>=^^\[=?>[@[>}[>@\`|>@}@|>[=>=]@^>]||`>@?>=]@^^?|>=}}\?[|`>@?>

^^> ]|=}}|?> ?||``@]{> =?[]=^> }|@`\]|`> [=> ]||?[> =^^\[=?> @?> @?{> @|]`|> }@[> [=>

[|`|> ]|`=\]|`Æ   3    ( Å@?> ?]=?}|?[@^> }@[> [@[|}|?[> =]> @?{>

]=|[> [@[> }@{> @\`|> ?|@[|> }@[`> [=> =]@^> ]||`> =]@^^?|> =}}\?[|`> @?> [|]>

@``=@[|>}@]?|>`{`[|}`Æ


ÃÁ/Á·¶¹¿ÁÀ·Á¹Á»/¿'¼ÃÁÀ·&&Á½¾&·/Á¿/¿»¼Ã·¶½/¿ÏÁ¼¼Ã¼¼ÃÁ½/¿½¿¹Á¹¼¸Á¹Â

¿'½&·ÁÄ·¼Ã ÄKÕÖÌ¾/¼ÃÁ/>¼ÃÁ/Á·¶¹¿ÁÀ·Á¹ÁÁ·¼ÃÁ/¼Ã¼¼ÃÁ½/¿À·Á ¼ÃÁ

/ÁÙ¾·/Á Á/¼·»·¼·¿¹ »¿/ ·¼¼ ¼Á¸¿/·Ê¼·¿¹Ì ¾¼ ·» ¼ÃÁÂ ·> ¼ÃÁ¹  Ä¿¾& ÃÀÁ

Á/¼·»·Á ¼Ã·¶ ½/¿ÏÁ¼ »·&·¹¸ ¼¿ /ÁÙ¾·/Á   ¼¿ ¿'½&Â Ä·¼Ã Ä KÕÖÌ Ã·¶ ¶½Á¼ ¹ÁÁ¶ ¼¿ Á

/Á¶¶ÁÌ



    ¹ ·¼·¿¹> ¼ÃÁ ÌÌ ¹¹¸Á/Á ½Á·Á¶ ¼ EÎ /ÁÙ¾·/Á¶ ¹Â ¶¾Ã ½/¿ÏÁ¼> ¹¿¼ ¿¹&Â ¼¿

/Á¶¶ Á¹À·/¿¹'Á¹¼& ·'½¼¶> ¾¼ ¼¿ ·¹·¼·¼Á »¿/'& ¿¹¶¾&¼¼·¿¹ ¾¹Á/  Á¼·¿¹ Ö ¼¿

/Á¶¶ ½¿¼Á¹¼·& ·'½¼¶ ¼¿ '/·¹Á ¼Ã/Á¼Á¹Á ¹ Á¹¹¸Á/Á ¶½Á·Á¶Ì &ÈÃ¿/¹ E]==]@>




                                                                                                               6


                                                                                                              NMFS_00887
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 305 of 350
                                                                                                          

              

@^}@[@Î ¹ ¼¸Ã¿/¹ ¿/& E> |]=]?`Ú &    Å  Æ (  Ì

¹¹¸Á/Á ½Á·Á¶ ¼ EÎ EÖK  ÒÛÜ×ÒÝ         Â Ø> ÒÔÔÛÎÌ ÃÁ¹ ¼ÃÁ·/ Á¶·¸¹¼Á /·¼·&

Ã·¼¼E ÎÄ¶Á¶¼&·¶ÃÁE×Ô>½/¼¶ÒÒÞ¹ÒÒÛ>¿ÀÁ'Á/ÒÛ>ÒÔÔÜÎÌ


     ÅßÑÚ (Æ             ( &              ¶

Å  Æ Ç (           ßÑÚ    ' &   $#          Ð

$  7!Ñ$7Ú ((  Å?||``@]{>@?>@`@^|>

[=>]=|>=]>[|>=?`|]@[=?>=>[]|@[|?|>`||`Æ  ( ßÑÚ/¾&Á>¼Ã/Á¼Á¹Á¶½Á·Á¶

¿¹¿¼¸Á¼&&¿»¼ÃÁ½/¿¼Á¼·¿¹¶¼Ã¼Á¹¹¸Á/Á¶½Á·Á¶¾¼¿'¼·&&Â¸Á¼¼Ã/¿¾¸ÃÁ¼·¿¹

ØÌÃÁÕEÎ/¾&Á»¿/¼Ã/Á¼Á¹Á¶½Á·Á¶'Â½½&Â¹Â¿/&&¿»¼ÃÁ¶Á¼·¿¹Ø½/¿¼Á¼·¿¹¶

¼Ã¼¾¼¿'¼·&&Â½½&Â¼¿¶½Á·Á¶&·¶¼Á¶Á¹¹¸Á/ÁÌ¹Á/Á¼·¿¹Ø·¼·¶·&&Á¸&>Ä·¼Ã

/Á¶½Á¼¼¿¹ÂÁ¹¹¸Á/Á¶½Á·Á¶¼¿à '½¿/¼¹Â¶¾Ã¶½Á·Á¶·¹¼¿>¿/ÁË½¿/¼¹Â¶¾Ã¶½Á·Á¶

»/¿'¼ÃÁ¹·¼Á¼¼Á¶ÝÈÁ¹Â¶¾Ã¶½Á·Á¶Ä·¼Ã·¹¼ÃÁÌÌ¿/¼ÃÁ¼Á//·¼¿/·&¶Á¿»¼ÃÁÌÌÝ

ÈÁ¹Â¶¾Ã¶½Á·Á¶¿¹¼ÃÁÃ·¸Ã¶Á¶Ý ¿¶¶Á¶¶>¶Á&&>Á&·ÀÁ/>//Â>¼/¹¶½¿/¼>¿/¶Ã·½>Â¹Â

'Á¹¶ÄÃ¼¶¿ÁÀÁ/¹Â¶¾Ã¶½Á·Á¶¼ÈÁ¹ÝÁ&·ÀÁ/>/ÁÁ·ÀÁ>//Â¼/¹¶½¿/¼>¿/¶Ã·½·¹·¹¼Á/¶¼¼Á

¿/»¿/Á·¸¹¿''Á/Á¹·¹¼ÃÁ¿¾/¶Á¿»¿''Á/·&¼·À·¼ÂÝÁ&&¿/¿»»Á/»¿/¶&Á·¹·¹¼Á/¶¼¼Á

¿/ »¿/Á·¸¹ ¿''Á/Á ¹Â ¶¾Ã ¶½Á·Á¶ ÅÇ%Æ 'Á¹¶ ¼¿ Ã/¶¶> Ã/'> ½¾/¶¾Á> Ã¾¹¼> ¶Ã¿¿¼>

Ä¿¾¹>È·&&>¼/½>½¼¾/Á>¿/¿&&Á¼>¿/¼¼Á'½¼¼¿Á¹¸¸Á·¹¹Â¶¾Ã¿¹¾¼Ì¿&&¾¼·¿¹·¶

   Å %Æ'  '  ¼·À·¼Â ¼Ã¼ 'Â ½¿&&¾¼Á> Ã/'> ·¹Ï¾/Á ¿/ È·&& ¹Â Í&·¶¼Á

     (   Å %Æ' (  ß ( ¾¼ ¼ÃÁ ½/¿½¿¹Á¹¼ ¸Á¹Â ¿» ¼Ã·¶ ½/¿ÏÁ¼

»·&Á ¼¿ /Á¶¶ ¶¾Ã ·'½¼¶Ì ¿ ·¹»¿/'¼·¿¹ ¼ && ÁË·¶¼¶ ¿¾¼ ¼ÃÁ ¼¾& ¿¹·¼·¿¹ ¿»

ÏÁ¹¼ ¿/& /ÁÁ»¶ ¹ ¶¾'Á/¸Á Ù¾¼· ÀÁ¸Á¼¼·¿¹ /¿¶¶ ¼ÃÁ ÏÁ¹¼ Á¹¼Ã·



                                                                                                           7


                                                                                                          NMFS_00888
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 306 of 350
                                                                                                         

              

¿''¾¹·¼·Á¶Ì ÃÁ/Á ·¶ ¹¿ ·¹»¿/'¼·¿¹ Á·¼ÃÁ/ /Á¸/·¹¸ ¼ÃÁ ½/Á¶Á¹Á ¿» Í&·¶¼Á ¿/&¶

¿¾//·¹¸/¿¶¶¼ÃÁÊ¿¹ÁÌ


ÃÁ¿ÏÁ¼·ÀÁ¿»¼Ã·¶½/Á&·'·¹/Â¶¶Á¶¶'Á¹¼¿¹¾¼Á¿¹Á/¾/ÂKK>ÒÔK×Ä¶¼¿àKÎ/¿À·Á

/½·Ù¾&·¼¼·ÀÁ¶¶Á¶¶'Á¹¼¿»ÏÁ¹¼Á¹¼Ã·¿''¾¹·¼·Á¶/¿¶¶¼ÃÁ½¿¼Á¹¼·&&Â·'½¼Á

Ê¿¹ÁÝ ÒÎ Á¼Á/'·¹Á ·» ¼ÃÁ/Á ÄÁ/Á Í&·¶¼Á ¿/& ¶½Á·Á¶ /¿¶¶ ÏÁ¹¼ ¿/& /ÁÁ»¶Ý ÞÎ

Á¼Á/'·¹Á¼ÃÁ¶½¼·&ÁË¼Á¹¶·¿¹¿»/¿½¿/·¿/&Á¶·¸¹¼Á/·¼·&Ã·¼¼¶E Î/¿¶¶¼ÃÁ

Ê¿¹ÁÝ¹ÕÎÁ¼Á/'·¹Á¼ÃÁ¶½¼·&ÁË¼Á¹¶·¿¹¿»Á¶¶Á¹¼·&»·¶ÃÃ·¼¼¶E Î/¿¶¶¼ÃÁÊ¿¹ÁÌ




                                                                                                              
 ÞÌ         /¼·& À·ÁÄ ¿» ¼ÃÁ ½/Á&·'·¹/Â ¸Á¿Í/Á»Á/Á¹·¹¸ ¿» ×Ü ¼Ã/Á¼Á¹Á &ÈÃ¿/¹ ¿/&
                   E]==]@>@^}@[@Î¿&¿¹·Á¶¹¼ÃÁ/¿½¿/·¿/&Á¶·¸¹¼Á/·¼·&Ã·¼¼
                   /¿¶¶¼ÃÁ¶¾/ÀÁÂÁ¶Á¸'Á¹¼Ì


                                                                                                          8


                                                                                                         NMFS_00889
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 307 of 350
                                                                                                       

              

>"&''&?<="'&!@=KQ<Q&!@@X=<QZ?$+![Q<="&?[?"!@=\!]?[![Z=


ÃÁ×Ô>½/¼¶ÒÒÞ¹ÒÒÛE¿ÀÁ'Á/ÒÛ>ÒÔÔÜÎÁ¶¼&·¶ÃÁ¼Ã¼&&¹¼¾/&¿¹¶¿&·¼Á

Ã/ ¶¾¶¼/¼Á> ·¹&¾·¹¸ Á ¿/& ¶ÈÁ&Á¼¿¹¶> »/¿' ¼ÃÁ ¶¾/»Á ¿Ä¹ ¼¿ ÒÔ 'Á¼Á/¶ /Á

¿¹¶·Á/Á½/¼¿»¼ÃÁÁÁ/&&ÂÍÁ¶·¸¹¼Á/·¼·&Ã·¼¼E Î»¿/¼Ã/Á¼Á¹Á&ÈÃ¿/¹¿/&

E]==]@> @^}@[@Î ¹ ¼¸Ã¿/¹ ¿/& E> |]=]?`ÎÌ ÃÁ  Í¶Á ½½/¿Ë·'¼Á ÁË¼Á¹¶·¿¹

¿» /¿½¿/· ¿/&   ·¹ Ä¼Á/¶ ÏÁ¹¼ ¼¿ ¼ÃÁ ¶¾/ÀÁÂÁ ¶Á¸'Á¹¼ ¿» Á¹¼Ã· ¿''¾¹·¼·Á¶

ÏÁ¹¼¼¿¶Á¸'Á¹¼¿»¼ÃÁ½/¿ÏÁ¼ÁË¼Á¹Á¼&Á¶¼»¿/¿ÀÁ/ÖÔÔ&·¹Á/'Á¼Á/¶Ë¼&Á¶¼ÒÔÔ

'¿»»¶Ã¿/ÁÌ¾/·¹¶½Á¼·¿¹·¹¿¼ÁË¼Á¹¿ÀÁ/¼ÃÁÒÔÔ'&·'·¼E            ÎÌ


¾/½/Á&·'·¹/Â/ÁÁ»¶¶Á¶¶'Á¹¼·¹¿¼·¹&¾Á¿'½&Á¼ÁÁÀ&¾¼·¿¹¿»¼ÃÁÁË¼Á¹¶·¿¹¹á¿/

¿¹·¼·¿¹¿»¼ÃÁ/¿½¿/·¿/&¶ ÌÃ·¶'½·¶¶Á¶¿&Á¿¹ Í¶Á¼¿¿&¶¹½/¿À·Á¶

¹ ½½/¿Ë·'¼·¿¹ ¿» ·¼¶ ÁË¼Á¹¶·¿¹Ì &¶¿> ¿¾/ ½/Á&·'·¹/Â ¶¾/ÀÁÂ »¿/ /¿½¿/· ¿/&¶ Ä¶

¸Á¹Á/&&Â ¼¿ Ä¼Á/¶ Ä·¼Ã·¹ &Á¶¶ ¼Ã¹ ÒÔÔ ' »/¿' ¼ÃÁ ¶Ã¿/Á&·¹ÁÌ ÁÀÁ/¼ÃÁ&Á¶¶> ¼Ã·¶ Ù¾&·¼¼·ÀÁ

Ã/¼Á/·Ê¼·¿¹¶·&&Â½/¿À·Á¾¹ÁÙ¾·À¿&ÁÀ·Á¹Á¼Ã¼à


     KÌ ¶¶Á¶¶ÁÁ¹¼Ã·Ã·¼¼¶¶¾½½¿/¼¿''¿¹Í&·¶¼Á&ÈÃ¿/¹¿/&E]==]@>@^}@[@Î

            ¿&¿¹·Á¶>·¹&¾·¹¸¾&¼¿&¿¹·Á¶E¾½¼¿ÛÍØ'ÒÎ>¶'&&/Á¼¼ÃÁ»/¸'Á¹¼¶EâKÌ×'ÒÎ>

            ¹¶'&&Á//¾¶¼EâÔÌÖ×'Ò¶ÁË¾&/Á/¾·¼¶ÎÌ

     ÒÌ       ¿¶¼¿»¼ÃÁ¶¶Á¶¶ÁÁ¹¼Ã·¿''¾¹·¼·Á¶¿¹¶¼·¼¾¼Á½/¼¿»¼ÃÁ/¿½¿/·¿/&¶ Ì

     ÞÌ ÃÁ/Á Ä¶ &¶¿ ¿¹Á ¿&¿¹Â ¿» ¼ÃÁ Í&·¶¼Á '·¹/ ¶¼/ ¿/& E]|^^@> @|=^@[@Î

            ½/Á¶Á¹¼&¿¹¸¼ÃÁ·¹¶½Á¼Á¶Á¸'Á¹¼Ì

     ÕÌ /·¹¿/&E`|\=^=]@>`[]=`@ÎÄ¶¼ÃÁ'¿¶¼¿'·¹¹¼/ÁÁ»Í¾&·¹¸¿/&¶½Á·Á¶

            &¿¹¸¼ÃÁ·¹¶½Á¼Á¶Á¸'Á¹¼Ì


                                                                                                         9


                                                                                                        NMFS_00890
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 308 of 350
                                                                                                        

              




                                                                                                              

 ÞÌ         /¼·& À·ÁÄ ¿» ¼ÃÁ ½/Á&·'·¹/Â ¸Á¿Í/Á»Á/Á¹·¹¸ ¿» ×Ü ¼Ã/Á¼Á¹Á &ÈÃ¿/¹ ¿/&
                   E]==]@> @^}@[@Î ¿&¿¹·Á¶ /¿¶¶ ¼ÃÁ ¶¾/ÀÁÂÁ ¶Á¸'Á¹¼Ì Á ¿¼¶W &ÈÃ¿/¹
                   ¿/& E]==]@> @^}@[@Î ¿&¿¹·Á¶Ì /ÁÁ¹ ¿¼ W '·¹/ ¶¼/ ¿/& E]|^^@>
                   @|=^@[@Î¿&¿¹ÂÝ&¾Á¼/·¹¸&ÁW ·¸ÃÁ¹¶·¼Â/Á¿»/·¹¿/&E`|\=^=]@>
                   `[]=`@ÎÝ /ÁÁ¹ ¼/·¹¸&ÁW ¹Á ¿» ¼ÃÁ Á¹¶Á ¾/¼&Á ¸/¶¶ ½¼ÃÁ¶ E@^@``@>
                   [|`[\?\}ÎÌ/ÁÁ¹½·¹WÁÁ»¿ÀÁ/Ã¹¸Ä·¼ÃÃ·¸ÃÁ¹¶·¼Â¿»»·¶ÃÁ¶Ì
                                  




                                                                                                         10


                                                                                                         NMFS_00891
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 309 of 350
                                                                                                             

              






 ×Ì         Ë'½&Á ¿»¿&¿¹Â¿»&ÈÃ¿/¹¿/&E]==]@>@^}@[@ÎÌ Ã·¶¿/&Ä¶ &·¶¼Á·¹ Â
                   ÒÔÔÛ ¶  ¼Ã/Á¼Á¹Á ¶½Á·Á¶ ¾¹Á/ ¼ÃÁ ÌÌ ¹¹¸Á/Á ¶½Á·Á¶ ¼Ì ¼¶ Á¶·¸¹¼Á
                   /·¼·&Ã·¼¼Ä¶·Á¹¼·»·Á·¹¿ÀÁ'Á/ÒÔÔÜÌÃÁ/Á·¶¹¿¾¼¶¼¹·¹¸/Á'¹¹¼½¼Ã
                       ,(   (  Å  # Æ "Ó":(  
                   ÄÁ/Á ¾¹¹¼ ¿&¿¹·Á¶ &¿¹¸ ¼ÃÁ ÖÔÔ 'Í&¿¹¸ ·¹¶½Á¼Á ¶Á¸'Á¹¼ ½/&&Á& ¼¿ ¼ÃÁ
                   ¶Ã¿/Á&·¹Á>·'½&Â·¹¸¼Ã¼¹Á/&Â¼ÃÁÁ¹¼·/Á¶Á¸'Á¹¼¿¹¶¼·¼¾¼Á½/¼¿»·¼¶ Ì






                                                                                                              11


                                                                                                              NMFS_00892
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 310 of 350
                                                                                              

              




                   

 ÛÌ         Ë'½&Á¿»¿&¿¹Â¿»&ÈÃ¿/¹¿/&E]==]@>@^}@[@ÎÌ




                                                                                               12


                                                                                               NMFS_00893
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 311 of 350
                                                                                                                    

              




                   

 ÖÌ         Ë'½&Á ¿» ¹ &ÈÃ¿/¹ ¿/& E]==]@> @^}@[@Ú ,(!    % &   Å( Æ
                   /¾¶¼¶ /Á ¶ÁË¾& /Á/¾·¼¶ ¹ ¿»¼Á¹ /Á'·¹ ¶  »&¼ ¿&¿¹Â ¼¼ÃÁ ¼¿ ¼ÃÁ ¶¾¶¼/¼Á
                   ¾¹Á/ ÀÁ/Â ¶¼/¿¹¸ ½/ÁÀ&Á¹¼ ÄÀÁ /Á¸·'Á¶ ¹ ¾//Á¹¼Ì ÃÁ ¹¿/¼ÃÁ/¹ ¿¶¼ ¿» ¾Á/¼¿
                   ·¿ ·¶ ¿»¼Á¹ Ã/¼Á/·ÊÁ Â ÀÁ/Â ¶¼/¿¹¸ ¶¾/¸Á ¹ ¶¾/»Á ¾//Á¹¼¶> ¹ '¿¶¼ ¿/&
                   /ÁÁ»¿''¾¹·¼·Á¶/Á¿»¼Á¹¿'·¹¼ÁÂ¿&¿¹·ÊÁ½ÀÁ'Á¹¼¶¹Á'Á/¸Á¹¼Á¿&·¹·¼Á
                   ½&¼»¿/'¶ Ä·¼Ã Á¹/¾¶¼Á &Á/¼·¹·¹ ¿/& ¶¶Á'&¸Á¶Ì ¹ ¼Ã·¶ ¶Á> ¶ÁÀÁ/& »&¼
                   ¶Ã½Á¿&¿¹·Á¶¿»/·¹¿/&E`|\=^=]@>`[]=`@Î¶ÄÁ&&¶¿» ¾¶¼/Ã·&&¿/&
                   E=][|`>@`[]|=|`Î¹Á¿¶Á/ÀÁ·¹¼ÃÁ·'¸ÁÌ¾/¼ÃÁ/>¼ÃÁ/Á·¶ÁÀ·Á¹Á¼Ã¼ ¿¹¸Í
                   ¶½·¹Á ¶Á ¾/Ã·¹ E@|}@> @?[^^@]\}Î ½¿½¾&¼·¿¹¶ /Á ¶Ã¿Ä·¹¸ ¶·¸¹·»·¹¼ ¶·¸¹¶ ¿»
                   /Á¿ÀÁ/Â/¿¶¶¼ÃÁÊ¿¹ÁÌ






                                                                                                                    13


                                                                                                                     NMFS_00894
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 312 of 350
                                                                                                      

              




                   

 ÜÌ         Ë'½&Á¿»¹&ÈÃ¿/¹¿/&E]==]@>@^}@[@ÎÁ¹/¾¶¼·¹¸¿&¿¹Â¶Ã¿Ä·¹¸/½·/¹Ã
                   ¸/¿Ä¼ÃÌÃÁ¶Á¼Â½Á¶¿»¿&¿¹·Á¶/Á»·/&Â¿''¿¹/¿¶¶¼ÃÁ·¹¶½Á¼Á¶Á¸'Á¹¼Ì




                                                                                                      14


                                                                                                      NMFS_00895
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 313 of 350
                                                                                                                 

              




                   

 ØÌ         Ë'½&Á ¿» /ÁÁ¹¼ ¶¼¿/' ¶ÄÁ&&Í¸Á¹Á/¼Á »/¸'Á¹¼¶ ¿» ¹ ÏÁ¹¼ ¾&¼ ¿&¿¹Â ¿»
                   &ÈÃ¿/¹ ¿/& E]==]@> @^}@[@ÎÌ ¾//·¹Á ¹ Ä·¹¼Á/ ¶¼¿/' ¶ÄÁ&&¶ /Á ·'½¿/¼¹¼
                   »¼¿/¶ ¿¹¼/·¾¼·¹¸ ¼¿ ¼ÃÁ ¹¼¾/& ·¶½Á/¶·¿¹ ¿» ¼Ã·¶ ¶½Á·Á¶ ¶ ¼ÃÁÂ Á¿'Á ¹¼¾/&
                   ¸Á¹¼¶¿»¿&¿¹Â»/¸'Á¹¼¼·¿¹¹·¶½Á/¶·¿¹/¿¶¶¼ÃÁ/ÁÁ»Ì






                                                                                                                 15


                                                                                                                  NMFS_00896
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 314 of 350
                                                                                                                

              




                   

 KÔÌ        Ë'½&Á ¿»  /Á¼¼ÃÁ ¶¼¿/' ¶ÄÁ&&Í¸Á¹Á/¼Á »/¸'Á¹¼ ¿» &ÈÃ¿/¹ ¿/& E]==]@>
                   @^}@[@ÎÌ /¸'Á¹¼ /Á¼¼Ã'Á¹¼ ·¶  /·¼·& ¶¼Á½ ·¹ ¼ÃÁ ½/¿Á¶¶ ¿» ¶ÁË¾&
                   /Á½/¿¾¼·¿¹·¹>@^}@[@>¾¼¶¾Á¶¶Ä·&&&/¸Á&ÂÁ½Á¹¿¹ÄÃ·Ã¶¾¶¼/¼ÁÄ·&&¼ÃÁ
                   »/¸'Á¹¼ &¹> ·¹ ¼ÃÁ '¿¾¹¼ ¿» ¿&¿¹Â /¶·¿¹ ¹ ¼·¶¶¾Á &Á¶·¿¹¶ ¶¶¿·¼Á ¼¿
                   ·¶½&Á'Á¹¼ÂÄÀÁ¶¹¾//Á¹¼¶Ì¾Á¶¶»¾&/Á¼¼Ã'Á¹¼¼¿¿½Á¹¶¿&·¶¾¶¼/¼Á¶
                   ¶¾Ã ¶ ·¹ ¼Ã·¶ ¿&¿¹Â Ä·&& /½·&Â ½/¿'¿¼Á ¹ÁÄ /¹Ã ¸/¿Ä¼Ã ¹ Ä·&& »¿/'  ¹ÁÄ
                   ¿&¿¹ÂÌ






                                                                                                                16


                                                                                                                 NMFS_00897
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 315 of 350
                                                                                                               

              




                   

 KKÌ        Ë'½&Á¿»&/¸Á¿&¿¹Â¿»&ÈÃ¿/¹¿/&E]==]@>@^}@[@ÎÌÃÁ/ÁÄÁ/Á¶ÁÀÁ/&ÀÁ/Â
                   &/¸Á EÛÍØ 'ÒÎ ¿&¿¹·Á¶ /¿¶¶ ¼ÃÁ ¶¾/ÀÁÂÁ ¶·¼Á> ½/¼·¾&/&Â /¿¶¶ /ÁÁ» ¶Á¸'Á¹¼¶
                   &¿¼ÁÄ·¼Ã·¹KÔÔ'»/¿'¼ÃÁ¶Ã¿/Á&·¹Á¿/&Á¶¶ÌÃÁ¶Á¿/&¶/ÁÃ·¸Ã&Â/·¼·&¶¼ÃÁÂ
                   /Á ¼ÃÁ '¿¶¼ »Á¾¹Ì ÃÁÂ &¶¿ ½/¿À·Á ¶·¸¹·»·¹¼ &¿&·ÊÁ '·/¿ÍÃ·¼¼ ·ÀÁ/¶·¼Â>
                   ½/¼·¾&/&Â»¿/Ï¾ÀÁ¹·&Á»·¶ÃÁ¶Ì




                                                                                                               17


                                                                                                                NMFS_00898
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 316 of 350
                                                                                                              

              




                   

 KÒÌ        Ë'½&Á¿»¹¿¼ÃÁ/&/¸Á¿&¿¹Â¿»&ÈÃ¿/¹¿/&E]==]@>@^}@[@ÎÌÃÁ½/Á¶Á¹Á¿»
                   ¶¾ÃÄ·Á·ÀÁ/¶·¼Â¿»¿&¿¹Â¶·ÊÁ¶¶Ã¿Ä¼Ã¼¼ÃÁÀ¶¼'Ï¿/·¼Â¿»¼ÃÁ¶¾/ÀÁÂÁ¿¶¼&
                   Á¹¼Ã· ¿''¾¹·¼·Á¶ ¿¹¶¼·¼¾¼Á ½/¼ ¿» ¼ÃÁ Á¶·¸¹¼Á /·¼·& Ã·¼¼ E Î »¿/ >
                   @^}@[@Ì ÃÁ/Á»¿/Á> ¹Â ¿¹¶¼/¾¼·¿¹ ½/¿ÏÁ¼ Ä·¼Ã  ½¿¼Á¹¼·& ¿» ¶·¸¹·»·¹¼ ÀÁ/¶Á
                   Á¹À·/¿¹'Á¹¼& ·'½¼¶ ¿¹ ÏÁ¹¼ ¿/& /ÁÁ»¶ ¼Ã¼ ¿¹¶¼·¼¾¼Á ½/¼ ¿» ¼ÃÁ /¿½¿/·
                    Ð;(   &   !    (  

                  




                                                                                                               18


                                                                                                               NMFS_00899
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 317 of 350
                                                                                                             

              




                   

 KÞÌ        Ë'½&Á ¿»  ¼Â½·& Ã·¸ÃÍ·ÀÁ/¶·¼Â ¶Á¶½Á /¿¶¶ ¼ÃÁ ¶¾/ÀÁÂÁ /ÁÌ ¹Á ¿» ¼ÃÁ
                   ¿'·¹¹¼/ÁÁ»Í¾·&·¹¸¿/&¶½Á·Á¶·¶/¹¿/&E`|\=^=]@>`[]=`@ÎÌÃ/Á¼Á¹Á
                   &ÈÃ¿/¹¿/&E]==]@>@^}@[@Î¿»¼Á¹¸/¿Ä·¹¼Á/'·¹¸&ÁÄ·¼Ã/·¹¿/&¶Ì






                                                                                                              19


                                                                                                              NMFS_00900
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 318 of 350
                                                                                                               

              






 KÕÌ        Ë'½&Á ¿»  ¼Ã/Á¼Á¹Á &ÈÃ¿/¹ ¿/& E]==]@> @^}@[@Î ¿&¿¹Â &¿¼Á Ä·¼Ã·¹ &Á¶¶
                   ¼Ã¹ KÔÔ' »/¿' ¼ÃÁ ¶Ã¿/Á&·¹Á ¶Ã¿Ä·¹¸ /ÁÁ¹¼ ¼·¶¶¾Á '¿/¼&·¼Â E¾½½Á/ ¸/ÁÁ¹·¶ÃÍÄÃ·¼Á
                   ½¼ÃÎ¶¶¿·¼Á¼¿½¼ÃÂ¹Á/¿¶·¶·¹»Á¼·¿¹Ì¼ÃÂ¹Á/¿¶·¶Ã¶ÁÁ¹¶¶¿·¼Á¼¿
                   ¼Á/·& ·¹»Á¼·¿¹¶ ¶¶¿·¼Á ¼¿ »Á& ½¿&&¾¼·¿¹Ì ¹/Á¶Á ½/Á¶Á¹Á ¿» ¼¾/· ¶¼¿/'
                   Ä¼Á/ /¾¹¿»» '·ËÁ Ä·¼Ã ¶ÁÄ¸Á 'Â ·¹/Á¶Á¼ÃÁ ½/ÁÀ&Á¹Á ¿»¼Ã·¶ ¿¹·¼·¿¹ /¿¶¶
                   &¿&¿/&/ÁÁ»¿''¾¹·¼·Á¶Ì






                                                                                                               20


                                                                                                                NMFS_00901
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 319 of 350
                                                                                                                   

              




                   

 K×Ì        Ë'½&Á ¿»  ¼Ã/Á¼Á¹Á &ÈÃ¿/¹ ¿/& E]==]@> @^}@[@Î ¿&¿¹Â &¿¼Á Ä·¼Ã·¹ &Á¶¶
                   ¼Ã¹KÔÔ'»/¿'¼ÃÁ¶Ã¿/Á&·¹Á¶Ã¿Ä·¹¸·'½¼¶Â¹Á¹¼¹¸&Á¹Â&¿¹/¿½Á¼Ã¼¾¶Á¼¿
                   Ã¿&'/ÈÁ/¾¿ÂÌ &&Á¸&'/ÈÁ/¾¿Â¶/Á¿''¿¹&Â¼·Á¾½¼¿&·À·¹¸¿/&¿&¿¹·Á¶
                   Â/¼·¶¹&»·¶ÃÁ/¶¼¿·Á¹¼·»Â½/¼·¾&/»·¶Ã·¹¸¶½¿¼¶¿/'/È·¹¸·»»·¾&¼Á¶¶¿/ÁË·¼
                   ½¿·¹¼¶ ¼¿ ¿/ »/¿' ¶Ã&&¿Ä /ÁÁ»¶Ì ÃÁ/Á ·¶ ÁÀ·Á¹Á ¿» '¾&¼·½&Á ¿&¿¹·Á¶ ¿/ Á ¿/&
                   ¿&¿¹·Á¶¼Ã¼¶Ã¿Ä/ÁÁ¹¼·'½¼¶Â¼Ã·¶¼Â½Á¿»¼·À·¼Â/¿¶¶¼ÃÁ¶¾/ÀÁÂÁ¶·¼ÁÄÃ·Ã
                   ½¿·¹¼¿¾¼¼¼ÃÁ¹ÁÁ¼¿Á¾¼Á/Á¶¿¾/Á¾¶Á/¶/Á¸/·¹¸¼ÃÁ¹Á¸¼·ÀÁ·'½¼¶¿»¼Ã·¶
                   ½/¼·ÁÌ






                                                                                                                   21


                                                                                                                    NMFS_00902
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 320 of 350
                                                                                                            

              




                   

 KÛÌ        /·¹ ¿/& E`|\=^=]@> `[]=`@Î ¿ÀÁ/¶ ÁË¼Á¹¶·ÀÁ /Á¶ ¿» ¶Ã&&¿Ä ¿/& /ÁÁ»
                   ¿¼¼¿'¶ ÏÁ¹¼ ¼¿ ¼ÃÁ ¶Ã¿/Á&·¹ÁÌ Ã·¶ ¶½Á·Á¶ ·¶ ¿'·¹¹¼ /¿¶¶ Ã·¸Ã Á¹Á/¸Â
                   ¿¹·¼·¿¹¶¼Â½·&¿»¼ÃÁ¹¿/¼ÃÁ/¹¿¶¼¿»¾Á/¼¿·¿Ì




                                                                                                             22


                                                                                                             NMFS_00903
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 321 of 350
                                                                                                                

              




                                                                                           

 KÖÌ        /·¹ ¿/& E`|\=^=]@> `[]=`@Î ¿¹¶¼·¼¾¼Á¶  /·¼·& Á¶¶Á¹¼·& »·¶Ã Ã·¼¼ Â
                   ½/¿À··¹¸¶¿'ÁÁ¸/ÁÁ¿»Á¹¼Ã·¶½¼·&ÃÁ¼Á/¿¸Á¹Á·¼ÂÌ






                                                                                                                23


                                                                                                                 NMFS_00904
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 322 of 350
                                                                                                                 

              




                                                                                            

 KÜÌ        /·¹ ¿/& E`|\=^=]@> `[]=`@Î &¶¿ ¿¹¶¼·¼¾¼Á¶ ¼ÃÁ ¿'·¹¹¼ ¿/& ¶½Á·Á¶ &¿¹¸
                   »¿/Á/ÁÁ»Ä&&¶¿»·¹¶Ã¿/Á/ÁÁ»½¼ÃÁ¶>/¿¶¶Á½¼Ã¶¿»Þ¼¿Ü'Ì






                                                                                                                 24


                                                                                                                  NMFS_00905
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 323 of 350
                                                                                                                   

              




                   

 KØÌ        /·¹ ¿/& E`|\=^=]@> `[]=`@Î ¿&¿¹·Á¶ &¿¹¸ ¼ÃÁ ¶Á ¿» ¼ÃÁ »¿/Á/ÁÁ» Ä&&¶ ¿»
                   ·¹¶Ã¿/Á/ÁÁ»½¼ÃÁ¶¿»¼Á¹¶Ã¿Ä»&¼Í¶Ã½Á'¿/½Ã¿¼Â½Á¶¾Á¼¿&·'·¼Á·&&¾'·¹¼·¿¹Ì






                                                                                                                   25


                                                                                                                    NMFS_00906
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 324 of 350
                                                                                                                 

              




                   

 ÒÔÌ        Ã&&¿Ä ¿&¿¹·ÊÁ ½ÀÁ'Á¹¼¶ &¿¼Á Á¼ÄÁÁ¹ KÔÔ ¹ ÞÔÔ ' »/¿' ¼ÃÁ ¶Ã¿/Á&·¹Á>
                   ÁË½¿¶Á¼¿¶¼/¿¹¸ÄÀÁ¼·¿¹>/Á¿'·¹¼ÁÂ¿¼¿¿/&¶¶Á'&¸Á¶ÌÃÁ¿'·¹¹¼
                   ¶½Á·Á¶ /Á Á»¹¶E=]=?@>^@|^^\}ÎÌÃ·¶·'¸Á ·&&¾¶¼/¼Á¶ ¹Á»»Á¼¿»¼ÃÁ Ã/¶Ã
                   ÄÀÁ ¿¹·¼·¿¹¶ ½/ÁÀ&Á¹¼ ¿» ¼ÃÁ ¶¾/ÀÁÂÁ ¶·¼ÁÌ ¿¶¼ ¶Á »¹ ¿&¿¹·Á¶ /Á //Á¶¼Á ¼¿
                   ¶'&& ¶·ÊÁ &¶¶Á¶Ì /¸Á/ ¿&¿¹·Á¶ ¹ Á ·¶&¿¸Á Â ¶¼/¿¹¸ ÄÀÁ ¼·¿¹> ÄÃ·Ã
                   '·¹¼·¹¶¹Á/&Â¼ÃÁÁ¹¼·/Á½¿½¾&¼·¿¹·¹¶'&&¶·ÊÁ&¶¶Á¶Ì






                                                                                                                 26


                                                                                                                  NMFS_00907
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 325 of 350
                                                                                                          

              




                                                                                                   

 ÒKÌ       ¼ÃÁ/¿''¿¹¿/&¶½Á·Á¶/¿¶¶¼ÃÁÊ¿¹Á·¹&¾Á¼ÃÁÃ·¸ÃÍÁ¹Á/¸ÂÁ»¹E=]=?@>
                   }@]@|Î> /·¹ ¿/& E`|\=^=]@> ^=`@Î ¹ ¼ÃÁ ¾¶¼/ Ã·&& ¿/& E=][|`>
                   @`[]|=|`ÎÌ






                                                                                                           27


                                                                                                           NMFS_00908
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 326 of 350
                                                                                                             

              




                                                                                         

 ÒÒÌ         ¿&¿¹Â ¿» ¼ÃÁ '·¹/ ¶¼/ ¿/& E]|^^@> @|=^@[@Î Ä¶ ¿¾'Á¹¼Á /¿¶¶ ¼ÃÁ
                   ¶¾/ÀÁÂÁÊ¿¹ÁÌÃ·¶¿/&Ä¶&·¶¼Á·¹Á½¼Á'Á/ÒÔKÕ¶¼Ã/Á¼Á¹Á¶½Á·Á¶¾¹Á/
                   ¼ÃÁÌÌ¹¹¸Á/Á¶½Á·Á¶¼Ì ¼Ã¶¹¿Á¶·¸¹¼Á/·¼·&Ã·¼¼ÂÁ¼>¼Ã¿¾¸Ã¼Ã·¶·¶
                   ¾//Á¹¼&Â¾¹Á/½¾&·ÁÀ&¾¼·¿¹Ì

                                  




                                                                                                              28


                                                                                                              NMFS_00909
     Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 327 of 350
                                                                                              

             

 KÌ         /Á&·'·¹/Â¿/&¶½Á·Á¶ÃÁÈ&·¶¼

DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD

ÃÂ&¾'¹·/·
&¶¶ Â/¿Ê¿= =
/Á/ ·&&Á½¿/·¹>
>        >        >        ^^|=]@>=}^@?@[@ ·¹¹Á¾¶
                        ^^|=]@>`\@]]=`@ ·¹¹Á¾¶>
>        >        >        ^^|=]@>`[]@[@ ·¹¹Á¾¶
>
&¶¶¹¼Ã¿Ê¿
¾&¶¶¼¿¿/&&·
        /Á/¿/¸¿¹Á
        ¾/Á/&Á/Ë¿¹·
                '·&Â/·/Á·Á
                        ]@]|\}>@`|`[?\}E&&¶Î
                '·&Â¹¼Ã¿¼ÃÁ&·Á
>        >        >        ]{[]==\}>@]@|=]\}>E¾Ã¶¶·¹¸ã ·ÃÁ&¿¼¼·Î>
>        ¾/Á/ ¿&Ë¿¹·
                '·&Â&ÁË¾/·Á
                        ^|@\]@>=}=}@^^@E¶½Á/Î
>        >        >        ^|@\]@>^|\=`@ '¿¾/¿¾Ë>
>        >        >        \?|@>}@}}=`@ '¿¾/¿¾Ë
                        \?|@>¶½½Ì
>        >        >        \]|@>}\]@[@E&&¶Î>
'·&Â¿/¸¿¹··Á>
>        >        >        =]=?@>^@|^^\} ·¹¹Á¾¶>
                        =]=?@>|?[@^?@> ·¹¹Á¾¶>
>        >        >        =]=?@>}@]@|ÂÁ/>
>        >        >        [|]==]@>[]?@E¶½Á/Î>
>        /Á/&Á/¼·¹·
        ¾/Á/¶¼/¿¿Á¹··
                '·&Â/¿½¿/·Á
>        >        >        ]==]@>@^}@[@E '/ÈÎ>
        ¾/Á/¾¹¸··
                '·&Â¸/···Á
>        >        >        ?@]@>\}^`>
>        >        '·&Â·Á/¶¼/Á·Á>
>        >        >        |]@`[]|@>]@@?`E&&¶Î>
>        >        >        |]@`[]|@>`|]|@E&&·¶ã¿&¹Á/Î>
                  '·&Â¿/·¼·Á>
>        >        >        =][|`>@`[]|=|` '/È>
>        >        >        =][|`>=][|`&&¶>
>        >        >        =][|`\]@[@ '/È
¾/Á/À··
                '·&ÂÀ··Á
                           @@>]@\}E¶½Á/Î>
>        >        >        `|\=^=]@>^=`@E&&·¶ã¿&¹Á/Î>
>        >        >        `|\=^=]@>`[]=`@E¹Î>
>        >        >        =^={^^@>?@[@?`E ¿¾¼¼¾Â¹Î>
                        ]|^^@>@|=^@[@E&&·¶ã¿&¹Á/


                                                                                               29


                                                                                              NMFS_00910
       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 328 of 350
                                                                                            

            

DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
 Â/¿¿/&¶½Á·Á¶W     Þ
¼¿¿/&¶½Á·Á¶W      KK
&Á/¼·¹·¹¶½Á·Á¶W KÒ
DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD




                                                                                             30


                                                                                             NMFS_00911
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 329 of 350
                                                                                                     

              






                   

 ÒÞÌ        ¿&¿¹·&'¼¼¾¹·¼ÁE@^{[=@>@]@|=]\}Î·¶&¶¿ÈÁÂ¿'½¿¹Á¹¼¿»Ã·¸ÃÍÁ¹Á/¸Â
                   ¶Ã&&¿Ä¿/&/ÁÁ»Ã·¼¼¶Ì




                                                                                                     31


                                                                                                     NMFS_00912
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 330 of 350
                                                                                                      

              




                   

 ÒÕÌ        Ë'½&Á¿»ÖÔÍØÔä&¸&½&·¹¿''¾¹·¼ÂÄÃ·Ã·¶&¶¿¿''¿¹/¿¶¶¶¿'Á/Á¶¿»
                   ¾¹¿&¿¹·ÊÁ½ÀÁ'Á¹¼ÌÃ·¶¼Â½Á¿»¿¼¼¿'·¶&¶¿»¾¹'Á¹¼&Ï¾ÀÁ¹·&Á»·¶Ã¹¾/¶Á/Â
                   ¸/¿¾¹Ì






                                                                                                      32


                                                                                                      NMFS_00913
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 331 of 350
                                                                                                                

              




                   

 Ò×Ì        Ë'½&Á¿»¾/¼&Á¸/¶¶E@^@``@>[|`[\?\}Î½¼ÃÌÃÁ/Á·¶&·'·¼ÁÁË¼Á¹¶·¿¹¿»
                   ¶¾'Á/¸ÁÙ¾¼·ÀÁ¸Á¼¼·¿¹EÎ¿''¾¹·¼·Á¶/¿¶¶&¿&Ã·¸ÃÁ¹Á/¸Â¿¼¼¿'¶>¾¼
                   '¾&¼·½&Á ½¼ÃÁ¶ ¿» À/·&Á ¶·ÊÁ¶ ¹ Á¹¶·¼Â ¿¾/ Á¼ÄÁÁ¹ /ÁÁ» ½¼ÃÁ¶ /¿¶¶ ¼ÃÁ
                   ¶¾/ÀÁÂÁ /ÁÌ ÃÁ¶Á ¿¼¼¿'¶ ¿¹¶¼·¼¾¼Á ·'½¿/¼¹¼ ¹¾/¶Á/Â ¸/¿¾¹ ¿» Ï¾ÀÁ¹·&Á /ÁÁ»
                   »·¶ÃÁ¶Ì




                                                                                                                33


                                                                                                                 NMFS_00914
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 332 of 350
                                                                                                            

              




                   

 ÒÛÌ        Ë'½&Á¶ ¿» ¿''¿¹ »·¶Ã ¶½Á·Á¶ /¿¶¶ ¼ÃÁ ¶¾/ÀÁÂÁ /Áà ¼/·½Á ¸/¾¹¼ E @|}\^=?>
                   `[]@[\}Î &¿¹¸  ¶Ã&&¿Ä /ÁÁ» ¿ÀÁ/Ã¹¸ ¿'·¹¼Á Â ¿¼¿¿/& ¿&¿¹·Á¶ ¿» ¼ÃÁ
                   Á'¹»·¹¸Á/¶E]@]|\}>@`|`[?\}ÎÌ






                                                                                                             34


                                                                                                             NMFS_00915
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 333 of 350
                                                                                                             

              




                                                                                         
 ÒÖÌ        Ë'½&Á ¿» »·¶Ã ¶¶Á'&¸Á¶ ¶¶¿·¼Á ¼¿ /ÁÁ» &Á¸Á¶ ¹ ¿ÀÁ/Ã¹¸¶Ì '¸Á ·¹&¾Á¶
                   ¿/È»·¶ÃE?`=[]|}\`>]?\`Î¹&¾Á¹¸E@?[\]\`>=|]\^|\`ÎÌ






                                                                                                              35


                                                                                                              NMFS_00916
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 334 of 350
                                                                                                            

              




                   

 ÒÜÌ        Á'·Í¾&¼ ·¹·À·¾& ¿»  ¿¹ÁÂ E|@^==^`> \^@ÎÌ ¿¹ÁÂ¶ ·¶ ¼ÃÁ '¿¶¼ ¿''¿¹
                   ¸/¿¾½Á/ EÁ//¹·ÁÎ ¶½Á·Á¶ /¿¶¶ ¼ÃÁ ¶¾/ÀÁÂÁ ¶Á¸'Á¹¼ ¹ ¹ Á »/ÁÙ¾Á¹¼&Â
                   ¿¶Á/ÀÁ>½/¼·¾&/&ÂÃ·Á¹¾¹Á//ÁÁ»&Á¸Á¶>/ÁÀ·Á¶¹¿ÀÁ/Ã¹¸¶Ì




                                                                                                             36


                                                                                                             NMFS_00917
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 335 of 350
                                                                                                         

              




                   

 ÒØÌ        //¾ E{]@|?@> @]]@\@Î> Ä·¼Ã ¶ÁÀÁ/& / ÏÈ¶ E@]@?=|`> ]\|]Î ¹
                   ¿/È»·¶ÃE?`=[]|}\`>]?\`ÎÏÁ¹¼¼¿/ÁÁ»¿ÀÁ/Ã¹¸Ì

                                  




                                                                                                         37


                                                                                                         NMFS_00918
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 336 of 350
                                                                                                              

              






 ÞÔÌ         /¸Á ÃÁ¼Á/¿¶½Á·»· »·¶Ã ¶Ã¿¿&¶ ¿»¼Á¹ Ã¿ÀÁ/ /¿¾¹ ÏÁ¹¼ ¶Ã&&¿Ä /ÁÁ»¶Ì ¹ ¼Ã·¶
                   ·'¸Á ¼ÃÁ »·¶Ã ¶Ã¿¿& Ä¶ ¿'·¹¼Á Â &¿'Á¼¶ E]@?=[\`> ==|Î ¹ Â &¾Á
                   ¼¹¸¶E@?[\]\`>=|]\^|\`ÎÌ

=

                                   




                                                                                                               38


                                                                                                               NMFS_00919
                                                                                                                               

             

 ÒÌ         /Á&·'·¹/Â»·¶Ã¶½Á·Á¶ÃÁÈ&·¶¼


^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^
'·&Â                   ¶½Á·Á¶                              ¿''¿¹¹'Á                 ¿'/Á¿'å¹
^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^

&¶Á¶¼Á·Ã¼ÃÂÁ¶
Á&¿¹·Á                 {^=`\]\`>]==^\`EÁ/¿¹ã Á¾Á¾/Î      ¿¾¹»·¶Ã                  ¸¾Ïæ¹·'¹
  Á'·/'½Ã·Á              |}]@}\`>]@`^|?``E ·¹¹Á¾¶Î      &&ÂÃ¿¿                   &Ïå
  ¿&¿Á¹¼/·Á              =^=|?[]\`>@`|?`=?`E¶ÁÈÎ         ¿¸ÏÄÙ¾·//Á&»·¶Ã          &&¿¹·&
>          >     >    >       =^=|?[]\`>]\\`E&¾'Î              Ù¾·//Á&»·¶Ã                ¹·&Á/¿
¿/½Á¹·Á              =]@|?@>^\}|]&¿Ã                ½¿¼¼Á¿/½·¿¹»·¶Ã         ¶¹ÀÁ¹Á¹¿¶
Á//¹·Á                |@^==^`>\^@E ·¹¹Á¾¶Î           ¿¹ÁÂ                        ¹¼ÁÙ¾·&&
>          >     >    >      ?||^\`>@`|?`=?`E¶ÁÈÎ        ¿È ·¹                   /'¿/
>          >     >    >       {=^|[]\`>?]@?`E¿ÁÂÎ            &È '&Á¼                ¹Á¸/
/·¹¼Ã·Á              |[|]=]@@?[\`>]\|?[@[\`E Á½çÁÎ   &¶¶ÁÂÁ                   ¼&¾»
½ÃÂ/Á¹·Á              {]@|?@>@]]@\@&¾'              /Á¼//¾             ·å
/¹¸·Á      >    >      @]@?=|`>]\|]E&¿ÃÎ               / È                   ¿Ï·¹å&¹
                             ]@?=[\`>>==|E ¿/¹ãÀÁ/'¹¹Î   &¿'Á¼                    &¿'Á¼>
¿'/·Á      >    >      =}|]=}=]\`>]|@^`E&¿ÃÎ            Á/¿                       ·Á//&¶¹
  ¾¼Ï¹·Á               ¡\[@?\`>@?@^`E¾À·Á/Î                  ¾¼¼¿¹¹½½Á/             '
                             ¡\[@?\`>}@==?E¾À·Á/Î                 Ã¿¸¹Â¹½½Á/            /¸¿¿Ïæ¹
  Á'¾&·Á               ?`=[]|}\`>`\]?@}|?``E&¿ÃÎ         &È /¸¼Á               ·ÁÏ
>          >     >    >      ?`=[]|}\`>]?\`E ·¹¹Á¾¶Î        ¿/È»·¶Ã                   ¹/·¿
>          >     >    >       @|}\^=?>]{`@]{]|\}è¹¼ÃÁ/           '&&'¿¾¼Ã/¾¹¼             ¿¸
>          >     >    >       @|}\^=?>^@=^?|@[\}Á¶'/Á¶¼          /Á¹Ã/¾¹¼                Ã·¼
>          >     >    >       @|}\^=?>`[]@[\}E ·¹¹Á¾¶Î             ¼/·½Á/¾¹¼               ¿¹¿&·¶¼¿
   ¾&&·Á               \^^=[{`>}@][?\`E¾À·Á/Î       Á&&¿Ä¿¼»·¶Ã             &'¿¹Á¼Á'/·&&¿
>          >     >    >      `|\=|?|\`>}@\^@[|`E&¿ÃÎ           ½¿¼¼Á¿¼»·¶Ã            &'¿¹Á¼Á/¿Ï¿
Á'½ÃÁ/·Á               |}|]`>`=}\]¢E è&&Á/ã/¿¶ÃÁ&Î ¿½½Á/ÄÁÁ½Á/              //·¸æ¹
ÃÁ¼¿¿¹¼·Á            @|[==?>@`[]@[\` ·¹¹Á¾¶           ¿¾/ÁÂÁ¾¼¼Á/»&Â»·¶Ã          /·½¿¶ÁÕ¿Ï¿¶
>          >     >    >      @|[==?>>`[]@[\` ·¹¹Á¾¶             ¹Á¾¼¼Á/»&Â»·¶Ã           /·½¿¶Á¹¶
¿'¹¼Ã·Á       >      =}@@?[\`>@]\E&¿ÃÎ                /Á¹Ã¹¸Á&»·¶Ã            ÁÊ¹¸Á&»/¹Á¶>
                                                                                                                                       Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 337 of 350




¿'Á¹¼/·Á             \|\>`@@[^`E ·¹¹Á¾¶Î           Á/¸Á¹¼ Ï¿/              /¸Á¹¼¿
>          >     >    >      \|\>>[@\]\`E è&&Á/ã/¿¶ÃÁ&Î     ·¸Ã¼Á/¸Á¹¼              /¸Á¹¼¿¹¿¼¾/¹¿
>          >     >    >      ]=`@[==?>]{`\]\`E¾À·Á/Î         Á&&¿Ä¼·&'¶Á&»·¶Ã'·¶Á&¿&·'/·&&


                                                                                                                                39


                                                                                                                                NMFS_00920
                                                                                                                           

            

>         >       >   >      [|@`[|`>|?@|\`E ¿/¹ã¾¼¼Á/Î        ¿¹¸»·¹'¶Á&»·¶Ã      '·¶Á&&Á¼·&/¸
>         >       >   >      [|@`[|`>@\`[\`E¿ÁÂ                   ¾¶ÈÂ'¶Á»·¶Ã        '·¶Á&&Á¿½¿&·¼¿
>         >       >   >      [|@`[|`>^|\=`[[\`E è&&Á/ã/¿¶ÃÁ&Î  Á¾/Á¸¿/Â           '·¶Á&¸/Á¸¿/·¿
>         >       >   >      [|@`[|`>^@?]=?`E¾À·Á/Î              Ã/ÁÁÍ½¿¼'¶Á&»·¶Ã   '·¶Á&'/·&&
>         >       >   >      [|@`[|`>@]@^`E¶¼&Á¹¾Î           ¿¿'¶Á&»·¶Ã       '·¶Á&Ã¿¿&¼Á
  /·Á                =@?\`>\^|^^\`E¿ÁÂÎ                 ½¿¼»·¹ ¿¸»·¶Ã        ½·¼¹¹Á¸/¿
>         >       >   >      =@?\`>]\\`E ·¹¹Á¾¶Î                 ½¹·¶Ã ¿¸»·¶Ã         ¿/¿½·¼¹
>         >       >   >       @^=|]|`>[[@[\`E&¿ÃÎ             &·½½Á/Â·È          ¿¹Á&&
>         >       >   >       @^=|]|`>>@]?=[E&Á¹·Á¹¹Á¶Î        Á&&¿ÄÃÁ/¶¶Á       ÁÊ'/·&&
>         >       >   >       @^=|]|`>>}@\^??@E è&&Á/ã/¿¶ÃÁ&Î &¿Ä¹/¶¶Á           ¿¹Á&&½Â¶
>         >       >   >       @^=|]|`>=|{E¼Á·¹Ã¹Á/Î           &ÈÍ//¶¶Á       ¿¹Á&&¿Ï·¹Á¸/
>         >       >   >      @^@``=}@>@`@[\}E&¿ÃÎ             &¾ÁÃÁ               ÁÊÊ¾&
/·Á           >      @]`=}@>]{`=[|]\}E&¿ÃãÃ¹Á·Á/Î   Á¼·&//¿¼»·¶Ã      ¿/¿¿&·//¿Ï¿>
>         >       >   >      @]`=}@>]@@?`E&Á¹·Á¹¹Á¶Î           ¾È¼¿¿¼Ã//¿¼»·¶Ã     ¿/¿·Á¹¼æ¹
>         >       >   >      @]`=}@>]\]??|E&Á¹·Á¹¹Á¶Î         Á&&¿Ä¼·&//¿¼»·¶Ã    ¿/¿&Á¼·//¿Ï¿
>         >       >   >      @]`=}@>]|E¿¹¹¼Á//ÁÎ              ¼¿½&·¸Ã¼//¿¼»·¶Ã     ¿/¿ÀÁ/Á
>         >       >   >      @]\`>`|][E&¿ÃÎ                     ¼/·½Á//¿¼»·¶Ã      ¿/¿/Â¿
>         >       >   >      @]\`>[@|?=[|]\`Á¶'/Á¶¼              /·¹Á¶¶//¿¼»·¶Ã      ¿/¿½/·¹Á¶
&Á¹··Á                 =^|??\`>@[^@?[\`E&Á¹·Á¹¹Á¶Î     Á&·½&Á¹¹Â          &Á¹·Á&·¿/¿Ï¿
ÃÁ¹¿½¶·Á             @?[|}^|}@]@>`?=`@ Á¼ÊÁ&/          ½·¹ÂÃÁ&Á¹¹Â        ·ÁÏÁ¶½·¹¿¶
                         ÃÁ¹¿½¶·Á¶½½Ì                         ¾Á&Á¹¹·Á¶          &Á¹·¿¶Á¼¾¿
¿··Á                  @[{=\`>`==]@[=]E&Á¹·Á¹¹Á¶Î        /·&&»·¹¿Â             ¿/¿¹·&&¿
>        >        >   >      ==`=}@>|?|,Ã&ÈÁã¿·¹¶            Ð "   ¿·¿&·'½·¿/
>        >        >   >      ==`=}@>=|@?=` ¿/¹                  Á¿¹¿Â              ¿·¿¹Á¿¹
  /·¶¿'·Á             ¡@]`=}\`>\{                           ·'·¸¿Â            ¿·¿'·'¿
¹¼Ã¾/·Á              @?[\]\`>@@?\`¶¼Á&¹¾              Á¹¾/¸Á¿¹          ·/¾Ï¹¿
>         >       >   >      @?[\]\`>]\]\`&¿Ã                 ¿¼¿/»·¶Ã                ê·¿
>         >       >   >      @?[\]\`>=|]\^|\`&¿ÃãÃ¹Á·Á/      &¾Á¹¸                 ê·¿Ê¾&
   ¿¹¹¼Ã·Á     >      =?@@?[\`>[\¢|]Á¹                   &Á¹Á/·&Á»·¶Ã        ·ÏÁ&¸>
·¿¿¹¼·Á               ==?>{`[] ·¹¹Á¾¶                   ¿/¾½·¹Á»·¶Ã          ¾¹¹¿>
DDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDDD
'·&Â/·Ã¹Á¶¶W   Ò×
Á¹Á//·Ã¹Á¶¶W    ÞÖ
½Á·Á¶/·Ã¹Á¶¶W   ×Ø
                                                                                                                                   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 338 of 350




^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^^




                                                                                                                            40


                                                                                                                            NMFS_00921
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 339 of 350
                                                                                                          

                 

_'+"@*Z?'+Z


     KÌ ¾/ÀÁÂÁ Á¹¼Ã· Ã·¼¼¶ ¶Ã¿ÄÁ ¼ÃÁ ¿''¿¹ ½/Á¶Á¹Á ¿» Í&·¶¼Á &ÈÃ¿/¹ ¿/&

            E]==]@> @^}@[@Î ¹  ÀÁ/Â &¿Ä ¾¹¹Á ¿» ¼ÃÁ '·¹/ ¶¼/ ¿/& E]|^^@>

            @|=^@[@ÎÄ·¼Ã·¹&Á¶¶¼Ã¹ÒÔÔ'»/¿'¼ÃÁ¶Ã¿/Á&·¹ÁÌÃÁ/Á/Á&¶¿'¾&¼·½&Á¿&¿¹·Á¶¿»

            >@^}@[@&¿¼ÁÄ·¼Ã·¹×Ô'¿/&Á¶¶»/¿'¼ÃÁ¶Ã¿/Á&·¹ÁÌ

            

     ÒÌ /Á&·'·¹/Â¿¶Á/À¼·¿¹¶¶¾¸¸Á¶¼Á¼Ã¼>Ä·¼Ã¼ÃÁÁËÁ½¼·¿¹¿»¶¹Â¿¼¼¿'¶>¶Á¸/¶¶

            ½¼ÃÁ¶> ¹ &¸& ½&·¹¶> ¹Á/&Â ¼ÃÁ Á¹¼·/Á ¶¾/ÀÁÂÁ ¶Á¸'Á¹¼ ¿'·¹¼Á Â ¿&¿¹·ÊÁ

            ½ÀÁ'Á¹¼ ¹ ½¼Ã /ÁÁ»¶ ¿¹¶¼·¼¾¼Á ½/¼ ¿» ¼ÃÁ /¿½¿/· ¿/&¶ Á¶·¸¹¼Á /·¼·&

            Ã·¼¼¶E ÎÌ

        
     ÞÌ Ã¿¾¸Ã¿¹&Â¿¹Á¿&¿¹Â¿»>@|=^@[@Ä¶¿¶Á/ÀÁ¾/·¹¸¼ÃÁ½/Á&·'·¹/Â·¹¶½Á¼·¿¹>

            ¹ ¼Ã¿¾¸Ã ¹¿   Ã¶ ÁÁ¹ ¿»»··&&Â Á¶·¸¹¼Á ÂÁ¼ »¿/ ¼Ã·¶ ¶½Á·Á¶> ¼Ã·¶ Ã·¼¼

            /Á½/Á¶Á¹¼Á&¶¿/·¼·&Ã·¼¼¶»¿/·¼¶½/Á¶Á¹ÁÌ

        
     ÕÌ ÃÁÁË·¶¼·¹¸¿/&·¿·ÀÁ/¶·¼Â½/Á&·'·¹/·&Â¿¾'Á¹¼Á·¹¼Ã·¶¶¾/ÀÁÂ¶Ã¿ÄÁ¼¿¼&¿»

            ÒÛ¶½Á·Á¶Ä·¼Ã·¹ÖÔÔ&·¹Á/'Á¼Á/¶¿»/ÁÁ»¶&¿¹¸¼ÃÁ¶Ã¿/Á&·¹Á>·¹&¾·¹¸ÞÃÂ/¿¿/&¶>

            KK¿¼¿¿/&¶¹KÒ¶&Á/¼·¹¶¿/Ã/¿/&¶E ÎÌ

        
     ×Ì  ½/Á&·'·¹/Â ¶¾/ÀÁÂ ¿» »·¶Ã »¾¹ &¶¿ ¶Ã¿ÄÁ  ¼¿¼& ¿» ×Ø ¶½Á·Á¶> Á&¿¹¸·¹¸ ¼¿ ÞÖ

            ¸Á¹Á/¹Ò×»'·&·Á¶ÌÃ·¶·¶¿¹&Â½/Á&·'·¹/Â&·¶¼¹»¾¼¾/Á¶¾/ÀÁÂ¶'Â¸¾/¹¼ÁÁ

            ¼Ã¼¼Ã·¶&·¶¼·¶&·ÈÁ&Â¼¿¸/¿ÄE ÎÌ

            


                                                                                                          41


                                                                                                          NMFS_00922
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 340 of 350
                                                                                                                  

                 







 ÞKÌ           ¼·ÀÁ &¹¶&·Á ¼Ã¼ Ã¶ ÁÁ¹ ¶·¸¹·»·¹¼&Â '¸¹·»·Á Â 'Ã·¹Á/Â ¿½Á/¼·¿¹¶ ¾/·¹¸
                      ¼ÃÁ /ÁÁ¹¼ ¿¹¶¼/¾¼·¿¹ ¿»  /ÁÈÄ¼Á/> ¹ ¼Ã¼ Ä¶ ÁÀÁ¹¼¾&&Â ¹¿¹Á Ä·¼Ã¿¾¼
                      ½/¿½Á/ ¶¼·&·Ê¼·¿¹Ì Ã·¶ Ã¶ /Á¶¾&¼Á ·¹ ¶·¸¹·»·¹¼ ¼¾/·> ¶Á·'Á¹¼Í&Á¹ /¾¹¿»»
                      Á¶¶·¹¸¼ÃÁ¼&¹¼·Á¹¹ÏÁ¹¼¿/&/ÁÁ»Á¿¶Â¶¼Á'¶Ì



     ÛÌ ÃÁ¶¾/ÀÁÂÁ/ÁÁ»¶Á¸'Á¹¼¿¹¶¼·¼¾¼ÁÀÁ/Â·'½¿/¼¹¼Á¶¶Á¹¼·&»·¶ÃÃ·¼¼E Î»¿/

            '¾&¼·½&Á/ÁÁ»»·¶Ã¶½Á·Á¶>·¹&¾·¹¸¶½Á·Á¶'¹¸ÁÂ¼ÃÁ¿''¿¹ÄÁ&¼Ã¿»¾Á/¼¿

            ·¿¹ Ì

            




                                                                                                                  42


                                                                                                                   NMFS_00923
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 341 of 350
                                                                                                         

                 

     ÖÌ ÃÁ/ÁÄ¶½/Á¶Á¹Á¿»¶¾'Á/¸ÁÙ¾¼·ÀÁ¸Á¼¼·¿¹EÎ/¿¶¶¼ÃÁÏÁ¹¼Á¹¼Ã·

            ¶Â¶¼Á'¶>¾¼Á¹À·/¿¹'Á¹¼&·'½¼¶¿»¼ÃÁ½/¿ÏÁ¼¼¿¼ÃÁ¶Á¶Â¶¼Á'¶ÄÁ/Á¹¿¼/Á¶¶Á

            Á·¼ÃÁ/Ì

        
     ÜÌ  '¶¶·ÀÁ &¹¶&·Á Ä¶ ¶·¸¹·»·¹¼&Â ·'½¼·¹¸ ¼ÃÁ ¶Ã¿/Á&·¹Á ¹ ÏÁ¹¼ ¿/& /ÁÁ»¶

            Á¿¶Â¶¼Á'¶E         ÎÌÃÁ/Á·¶¹ÁÁ¼¿·''Á·¼Á&Â¶¼·&·ÊÁ¼Ã·¶¼·ÀÁ&¹¶&·Á¼¿

            /Á¾Á »¾/¼ÃÁ/ ·'½¼¶ ¼¿ ÏÁ¹¼ ¿/& /ÁÁ»¶ ¹ > ·¹&¾·¹¸   ¿» /¿½¿/·

            ¿/&¶Ì

        
     ØÌ ÃÁ/Á·¶¹ÁÁ¼¿Á¼Á/'·¹Á¼ÃÁ¶½¼·&ÁË¼Á¹¼¿»/¿½¿/·¿/& /¿¶¶ÏÁ¹¼

            /ÁÁ»¿¼¼¿'¶Ì

         
     KÔÌ ÃÁ/Á·¶¹ÁÁ¼¿Á¼Á/'·¹Á¼ÃÁ½/Á¶Á¹Á¿»¹Â¿»¼ÃÁ¶ÁÀÁ¹Í&·¶¼Á¿/&¶½Á·Á¶

            /¿¶¶ÏÁ¹¼/ÁÁ»¿¼¼¿'¶Ì

         
     KKÌ ÃÁ/Á·¶¹ÁÁ¼¿/Á¶¶·'½¼¶¼¿ ·¹¿'½&·¹ÁÄ·¼Ã¶Á¼·¿¹ÞÔ×EÎEÒÎ¼Ã/¿¾¸Ã

            EÕÎ¿»¼ÃÁ ¸¹¾¶¿¹Í¼ÁÀÁ¹¶¼Ì

         
     KÒÌ ÃÁ/Á·¶¹ÁÁ¼¿·¹·¼·¼Á¿¹¶¾&¼¼·¿¹Ä·¼Ã ¾¹Á/¶Á¼·¿¹Ö¿»Ì

         
     KÞÌ ÃÁ/Á·¶¹¿ÁÀ·Á¹Á·¹¼ÃÁÀ·&&Á½¾&·/Á¿/¿»¼Ã·¶½/¿ÏÁ¼¼Ã¼¼ÃÁ¿¹¶¼/¾¼·¿¹

            ¿»¹¹¿¹Á/ÁÈÄ¼Á/·¹¹À·¸&ÁÄ¼Á/¶¿»¼ÃÁ ¼&¹¼·Á¹Ä¶½Á/'·¼¼Á

            Â¼ÃÁ/'Â¿/½¶¿»¹¸·¹ÁÁ/¶ÌÃ·¶¶Ã¿¾&Á/Á¶¶ÁÌ

            



                                                                                                         43


                                                                                                         NMFS_00924
           Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 342 of 350
                                                                                                       

              

     KÕÌ ÃÁ/Á ·¶  ¹ÁÁ ¼¿ ¿'½&Á¼Á  »¾&& ¹À·/¿¹'Á¹¼& '½¼ ¼¼Á'Á¹¼ ¹&Â¶·¶ ·¹

            ¿'½&·¹ÁÄ·¼Ã ÄKÕÖÌ


=

¿/·¹¸ ¼¿ ¼ÃÁ À·&&Á ½¾&· /Á¿/> ½¿¼Á¹¼·& Á¹À·/¿¹'Á¹¼& ·'½¼¶ ¿» ¼Ã·¶ ½/¿ÏÁ¼ ¿¹

¿/&/ÁÁ»Á¿¶Â¶¼Á'¶ÄÁ/Á¹¿¼/Á¶¶ÁÌÃ¿¾¸Ã¼Ã·¶½/¿ÏÁ¼Ä·&&¹¿¼Á¿¹¶¼/¾¼ÁÄ·¼Ã·¹

¹À·¸&Á Ä¼Á/¶> ¼ÃÁ/Á ·¶ ¶·¸¹·»·¹¼ ½¿¼Á¹¼·& »¿/ ½Á/'¹Á¹¼ ÀÁ/¶Á ·'½¼¶ ¿¹ ¿/& /ÁÁ»¶

¶¶¿·¼Á¼¿¼ÃÁ¿¹¶¼/¾¼·¿¹¿»¼Ã·¶½/¿ÏÁ¼¿¾&Á¶·¸¹·»·¹¼¹½Á/'¹Á¹¼¹'¾¶¼Á

·''Á·¼Á&Â/Á¶¶ÁÌ




                                                                                                       44


                                                                                                       NMFS_00925
               Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 343 of 350

                                          > > =  =`= =>q=   x >=
            -&7 34&5:/#               
                                               ë! " # !!$ %& ë!
                                  '(() * )(+ ,  ì '((  ))
                                + )  ì-* ) *.+ )  ì% -)

{|}~|={~{|=

=%&=?*>?%&&'&=?               
)" )í/   0   &,* î%$11ï
/)" )í   * / 2  0   &3 î%$$ï
)4)í  î  ï 0   &3 î!!!ï
&4 )í4  / / 2  0   &3 î!!5&!!ðï
=
>|~=
 6+           0& !!7& 
   (8  4*   0& !!ð& 
8  4*   0& !!5& 
&4   &9"6&" *    "  :    0 !!5&!ð
        * 4  / * 68 !! &!!5
      2     4*    2  !! &!!5
  )4*   0& !!%&!! 
     0)") ;    4)9    *   " #  !!!&!! 
  (8 )4*   0& %$$$&!!!
8  0  2 4* "      2  %$$7&!!!

~~=&|==|=
=
    ~{~=~|=q>) )/ <ì& < )<& ì :"))" *= &*)!%5)*2&     
        2 2 '6*    ** &2  2    )(,>=^,>$=,ëî")
        ï'%1 &!!)'(() )(%!)%ðð%7(2)ë !)%ð$% 

    ~{~x~|=q>q  )/) ì=ì&* :)#)> & * )!%5)8&    *   / ;  
        '      ** > * 2   * )(,>=^,>$=,ëî") ï'5$&ë5)
       '(() )(%!)%ðð%7(2)ë !)%ð$!%

" ?&0*  /) 4)/&/  ) ;)>  q>q= ~{~x~| )9* /)9* /)@A& ìì           :
    )"* )!%5)/ *      0"  22 )(,>$,>=^)ë$'%$&%ð)
    '(() )(%!)%!%ë($71&!&%&1!!%5&1)!!!!5&$

    ~{~x~|=q>) /)"  :)/)"2)!%5) *&2  ** &2*      &B
       *  ' * )<&'$^>%='$%ðî%!ï'ð 1&ðë!)'(() )(%!)5 ë( )!%5)ð%!!5$

    ~{~x~|=q>) )#)&/3 :)/)"2)!!ë)/ *           
          8 <  9&B9  2;  )$=,>'^>$,>%,>?%&)ð7'ð77&ë!ð)
       '((C ** )(% 1$1(%(  Dð7&5%)

    ~{~x~|=q>q ))/ &/  )#)> & *  6)  &"= ì #)")6  &/    )/) ì=ì&* )
       ì*= &3ì )/E ))/ <ì& < ;) &/  )<& ì :"))" *= &*)!%5) ** &
       2 2          *'8  *   *       
       * )?> ,>=^,5î%5ï'$%1&$55)'(() )(%!)5 ë(>)!%5)5%5!77

    ~{~x~|=q>q :"))" *= &*)=!%5)=)"))    '2 B ** &2 *   
            2     0)")  22 F>?='?&$$î%ï'%%&%ð)
       '((+++)*) *( (**2 ( (&  &$&%&2!%5)Gñ%%

 ì&* 4)@) q>q= ~{~x~| :9)"  ì)!%%)   &   }>?&^^$'}   
       !**  )'^^,>$,>,17î%ï'%% &%7)'(() )(%!)ð 5 (2*)!%!)%! 1


!                                                                     "!


                                                                                                                                  NMFS_00926
               Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 344 of 350

   4)8) )") )H B )I  )*  #)) 3 ) 6)=  )"* q>q= ~{~x~| )
      B  : )8 *)!!1)      ) 7ð&5!ë); )/) :))4î)ï =$^>
     %>=>&>=$^*>=^,>,>=$^>%>=>&> " &"  ò / )@)1! )
     '(( B) ) *( (%!)%!!7($71&%&5!!&ë157&1D$

 3&"  #)) ) )  8) ) B   ) + 8)/) 2 #)  )43ì  )8 * ) 3&
     /  q= ~{~x~|)!!1)  *  ))7ð&%%ë); #))I:)/)
      Bî)ï >&&>=>=$^>>=%)%&}%>=>&>?&>&&%>?>>$^)>%%=&>&&%+>£..¤)9 )/*)
     $#$#3$# ô$#    7    Ð:   Ç! '74)ðë$)
     '(( )2  )( ( (    (  ( (2   (õ!õ! õ!!!1)
     

*&" J  ) 4)& ì :q>q= ~{~x~|)!%ð)I&   &       
   î%$ !&!!5ï        *)?>=>&>=&^>?($=?}?&ð!ë&ð!7'5%&ð%)

*&" J  )) #)/)* :q>q= ~{~x~|)!%)       *      
      í *   22 )%7&%ë!); ) ìî)ï $?>=%)%&}% ;"9'$71&$ð &ð%&!%7ë&ð 
   ;    2*''((+++)   ) *( (+( ( &    &  &*    & && &
   &   && &&*&&

43ì& ) :q>q= ~{~x~|)!%5)8 &2      *  '2 B     
      B  $==$>^}&î8* B%1%ëï)<&'$^>%='$%ðî%!ï'ðë%&ð1%)
     '(() )(%!)5 ë( )!%5)ð%!!ð!

"* ) )@ C &3 8)/& * q>q= ~{~x~|  ) ì=ì&* )/ <ì& < :)<& ì)!%5)
     2 ** I    IK   )  2* 9 " "  /4)
    7ë)

    ~{~x~|=q>) H)/),   &4 )8  ), = ì&   )/) ì&/  #)* :)8)43ì)!%%)
       " *  +2   + *   B  î$==$>^}&ï @> 
        )$=,>'^>$,>%,>?%&)ë '1 &$)'(( )  )(( 6;Dë &% )

    ~{~x~|=q>) )" ì /) BB ,)/ :#)9)!%!);*   &  +   B 
                                                                                                    &
         $==$>^}&î8* Bï *2+  )$=,>¥¥ >?&,>=$^>%>)})757&7ð%)
       '((+++) )(  (%% (  ( (*%1&%ë)

    ~{~x~|=q>)  ))*&" J  ) /))8 B  )8  ))/A ì&8=ì :#))/A ì&43ì)!%)
       8 &* *  * 2 *    2       *'8  *
        ) ð7& $1); /)L *î)ï %=?%>$=}>^=^>='$%}>?'%&$)-$&?>?>'%&??>=}&&(>&$&%);  
       2   );"9$7$&$ð & !7&ð &ë 2*''((+++)   ) *(2B(   &&2& *& &
         & &     & *  & ( &*& * &&  & 2& *& &2 &* & & &
        &2 & &

B       )/) #))/ ))"*  )8  8)ì&6   )   )  /)  ) B  ) * 8)  /)    
       /)#*  ) 22 )4 ) &8  4)4  4)  * ) 2 ") ,)ì*= q>q= ~{~x~|
       )!%!)  22      ' * 2   *  !!ð)^=%>?>ðî%%ï'% $ë$)
       '(() )(%!)% 7%(> ) )!!% $ë$

, = ì&   q=q>q= ~{~x~| :)/)"2)!%%)4* 2     22 &2   
    =?&%&$>??'^$%)=%$î%ï'$)%&% )'(() )(%!)%1$!("%!&!!!ëð)%

    ~{~x~|=q>)!!ð),       ì J   2 J     )1%& ðë)
       ? )8)#î)ï =($%>>'$&=>=+>$&$=%>$$%&$%>)>=%%&}%,>$> %&=$><&'$^)  ;  
          C< " # )ðë )

 BB /) q>q= ~{~x~| )" ì ;))2 #)9&*3ì :,)/ )!!$)4       
      &         + +    &2)$,>=^^,>'^^,
    ð1î%ï'5ð&ð5)'(() )(%!)%!%ë(>)*2)!!1)!$)!!1

69 "'==0 C


!                                                                       !


                                                                                                                                       NMFS_00927
      Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 345 of 350




                                                                                                    
                                                                                                                                       
23$%-29%1%1!-$)11%02!2).-1                                                                           23$%-2.0*



    

     
       
    

    8 -.4!%$3




.++.52()1!-$!$$)2).-!+5.0*1!2 (:/1-135.0*1-.4!%$3.## 123%2$
  !02.&2(% !0)-%).+.'6.,,.-1!-$2(% #%!-.'0!/(6!-$2,.1/(%0)##)%-#%1!-$
%2%.0.+.'6.,,.-1

(!0%%%$"!#*".329)12%,
.0*1)2!2).-
0!-#%1#!.30-%6             
 !12%012(%1)1.4!.32(%!12%0--)4%01)26%20)%4%$&0.,.0*1 
(:/1-135.0*1-.4!%$3.## 123%2$ 


9)19%1)1)1"0.3'(22.6.3"62(%23$%-2.0*!2.0*12(!1"%%-!##%/2%$&.0)-#+31).-)-23$%-29%1%1!-$
)11%02!2).-1"6!-!32(.0)7%$!$,)-)120!2.0.&.0*1.0,.0%)-&.0,!2).-/+%!1%#.-2!#2 -135.0*1-.4!%$3




                                                                                                                                          NMFS_00928
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 346 of 350




 ABSTRACT
 Corals face serious worldwide population declines due to global climate change in
 combination with direct anthropogenic impacts. Global climate change is difficult to
 manage locally, but policy makers can regulate the magnitude of local stressors affecting
 reefs. The objective of this experiment is to investigate if reducing sedimentation will
 enable reef corals to better endure global climate change. It has been shown that some
 coral species can handle climate change stress when provided with additional energy
 resources. Here I tested if the capacity of corals to cope with climate change can be
 improved when their ability to feed and photosynthesize was not compromised by
 increased sedimentation. Sedimentation can impede coral feeding and their ability to
 photosynthesize due to direct polyp blocking and increased turbidity, which reduces light
 availability. To evaluate the potential of enhancing coral ability to tolerate climate change
 by reducing a local stressor, I examined the survival and growth of brooding coral Porites
 astreoides juveniles when exposed to ambient and elevated water temperatures under
 differing sedimentation rates. I also assessed if sediment composition has significant
 impacts on these results. I used sediment from a reef and sediment from a boat basin
 within a port to mimic natural and anthropogenic sediment types and processes (e.g.
 dredging). Experiments were conducted to quantitatively assess the synergistic effects of
 sediment concentration and composition, along with increased temperature on the
 survival and growth of juvenile P. astreoides. The most detrimental effects were
 observed with anthropogenic sediment, when both sediment concentration and water
 temperatures were high. However, increased natural reef sediment was found to be
 beneficial to juvenile corals. More interestingly, I found that corals capacity to deal with
 higher temperatures is improved when anthropogenic sedimentation is maintained at
 minimal levels and turbidity resulting from sedimentation was low. Therefore, this
 information will aid managers in making decisions that regulate dredging and
 construction activities to minimize sedimentation, which will contribute to increase coral
 survival under climate change.



 Keywords: dredging, ocean warming, juvenile corals, survival, growth



                                             

                                                                                            NMFS_00934
Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 347 of 350




 1.     INTRODUCTION
 1.1.   Importance and Status of Coral Reefs Globally
        Coral reefs are one of the most important and biologically diverse ecosystems on
 Earth. These habitats provide several essential ecosystem services and have significant
 economic value. Scleractinian corals construct the foundation of the reef by excreting
 calcium carbonate skeletons. These skeletons provide habitat, shelter, nursery areas, and
 food for over 9 million species of animals and plants (Knowlton, 2001). Coral reef
 ecosystems span only 0.2% of the ocean floor but support an estimated 25% of all marine
 life (Spalding et al., 2001). Coral reefs are also vital to the human population. An
 estimated $375 billion of net benefits in goods and services are derived globally from
 coral reefs each year (Veron et al., 2009). For example, some of the ecological
 commodities supplied by coral reefs include: seafood products, raw materials for
 medicines, mineral oil, and petroleum gas (Carté, 1996; Moberg & Folke, 1999). Coral
 reefs also provide important ecosystem services such as physical shoreline stabilization,
 carbon dioxide-calcium budget control, tourism and recreational services, and biotic
 maintenance of these aesthetically pleasing habitats (Carté, 1996; Moberg & Folke,
 1999). These goods and services are essential in sustaining the livelihood of many coastal
 communities.
        Corals face natural stressors such as predation, competition, and physical
 disturbances. Predation occurs at all stages of their life cycle. Coral larvae can be eaten
 while in the water column where predation intensity is generally high (Pechenik, 1999).
 Parrotfish or other corallivores such as Crown-of-Thorns starfish will directly eat adult
 corals (De’ath & Moran, 1998). Corals are also vulnerable to competition for space and
 light among conspecifics, as well as between other benthic organisms. Corals obtain
 much of their energy through photosynthesis via a symbiotic relationship with algae of
 the genus Symbiodinium, so there exists competition for space and light. Disturbances
 due to weather phenomena such as severe storms also occur naturally in tropical marine
 areas. Even though storms cause direct physical destruction to reefs, corals normally
 recover through biological processes and because they have evolved in storm prone
 locations (Sheppard et al., 2009). Recovery is dependent on the growth of the surviving
 coral population through asexual reproduction and recruitment during sexual



                                              

                                                                                           NMFS_00935
                   Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 348 of 350
                                                                         Marine Pollution Bulletin 100 (2015) 13–33



                                                                       Contents lists available at ScienceDirect


                                                                    Marine Pollution Bulletin

                                                   journal homepage: www.elsevier.com/locate/marpolbul


Review

Effects of sediments on the reproductive cycle of corals
R. Jones a,b,d,⁎, G.F. Ricardo a,b,c, A.P. Negri a,b
a
  Australian Institute of Marine Science (AIMS), Perth, Australia
b
  Western Australian Marine Science Institution (WAMSI), Perth, Australia
c
  Centre of Microscopy, Charaterisation and Analysis, The University of Western Australia, Perth, Australia
d
  Oceans Institute, University of Western Australia, Perth, Australia



a r t i c l e            i n f o                             a b s t r a c t

Article history:                                             Dredging, river plumes and natural resuspension events can release sediments into the water column where they
Received 29 May 2015                                         exert a range of effects on underlying communities. In this review we examine possible cause–effect pathways
Received in revised form 29 July 2015                        whereby light reduction, elevated suspended sediments and sediment deposition could affect the reproductive
Accepted 2 August 2015
                                                             cycle and early life histories of corals. The majority of reported or likely effects (30+) were negative, including
Available online 16 September 2015
                                                             a suite of previously unrecognized effects on gametes. The length of each phase of the life-cycle was also exam-
Keywords:
                                                             ined together with analysis of water quality conditions that can occur during a dredging project over equivalent
Sediment                                                     durations, providing a range of environmentally relevant exposure scenarios for future testing. The review em-
Dredging                                                     phasizes the need to: (a) accurately quantify exposure conditions, (b) identify the mechanism of any effects in
Coral spawning                                               future studies, and (c) recognize the close interlinking of proximate factors which could confound interpretation
Reproduction                                                 of studies.
Fertilization                                                            © 2015 The Authors. Published by Elsevier Ltd. This is an open access article under the CC BY license
Settlement                                                                                                                       (http://creativecommons.org/licenses/by/4.0/).




Contents

    1.   Introduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   14
    2.   Example of water quality conditions during a large dredging program        . . . .                   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   15
    3.   Gametogenesis and reproductive synchrony . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   15
         3.1.    Effects of sediment on gametogenesis and reproductive synchrony . . . .                      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   15
    4.   Spawning synchrony and egg–sperm bundle release . . . . . . . . . . . . . .                          .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   16
         4.1.    Effects of sediment on spawning synchrony and egg–sperm bundle release                       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   18
    5.   Fertilization . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   18
         5.1.    Effects of sediment on fertilization . . . . . . . . . . . . . . . . . . .                   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   19
    6.   Embryogenesis and larval development . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   21
         6.1.    Effects of sediment on embryogenesis and larval development . . . . . .                      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   21
    7.   Settlement and metamorphosis . . . . . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   24
         7.1.    Effects of sediment on settlement    . . . . . . . . . . . . . . . . . . .                   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   25
    8.   New recruits . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   25
         8.1.    Effects of sediment on metamorphosis and new recruits . . . . . . . . .                      .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   26
    9.   Conceptual models and cause–effect pathways . . . . . . . . . . . . . . . . .                        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   26
    10.   Discussion and conclusions . . . . . . . . . . . . . . . . . . . . . . . . .                        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   27
    Funding sources . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   29
    Author contributions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   29
    Competing interests . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   29
    References . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   29




    ⁎ Corresponding author.
      E-mail addresses: r.jones@aims.gov.au (R. Jones), g.ricardo@aims.gov.au (G.F. Ricardo), a.negri@aims.gov.au (A.P. Negri).



http://dx.doi.org/10.1016/j.marpolbul.2015.08.021
0025-326X/© 2015 The Authors. Published by Elsevier Ltd. This is an open access article under the CC BY license (http://creativecommons.org/licenses/by/4.0/).




                                                                                                                                                                                                              NMFS_00968
                    Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 349 of 350
14                                                             R. Jones et al. / Marine Pollution Bulletin 100 (2015) 13–33


1. Introduction                                                                                 2004; Verspecht and Pattiaratchi, 2010). In the shallow inshore turbid
                                                                                                zone of the Great Barrier Reef, resuspension of bottom sediment by
    Natural resuspension events, terrestrial run-off and dredging-                              waves affects coral communities on an estimated 110 days year− 1
related activities can temporarily increase suspended sediment con-                             (Orpin et al., 1999). During predicted coral spawning periods wind
centrations (SSCs) in the water column. The effects of suspended                                speeds have averaged 8–10 m s−1 (or 15–20 knots) on six out of eleven
sediments on adult corals are well known (Erftemeijer et al., 2012a;                            years from 2000–2010 (AIMS, 2011). At these wind speeds natural re-
Rogers, 1990) but nevertheless constitute only part of the demographic                          suspension and wind-wave induced turbidity would occur in the in-
equation (Hughes et al., 2000, 2011). The sensitivity of the early life-                        shore turbid zones (Larcombe et al., 1995; Orpin et al., 2004; Orpin
history stages of corals has also been recognized for over a century                            and Ridd, 2012) with possible implications for spawning and recruit-
(Stephenson, 1931; Wood-Jones, 1910), but even before fertilization,                            ment success of local corals.
embryogenesis and the establishment of the sessile, and benthic juvenile                            In addition to natural events, anthropogenic activities can also re-
form, sediments could exert a range of effects on the reproductive cycle                        lease sediment into the water column, and dredging and disposal of
including gametogenesis, spawning synchrony and on gametes in the                               dredged material (spoil) are the most well-known sources and are
water column.                                                                                   also the most amenable to management. In recognition of the sensitivity
    This review examines the effects of turbidity on all aspects of the                         of the early life-cycle stages of corals, and since reproduction and
coral life cycle of corals from gamete development to the early post-                           recruitment processes underpin the maintenance and resilience of com-
settlement stage. The focus is on the effects of sediments on broadcast                         munities to disturbance, policy makers have attempted to protect coral
spawning species which usually dominate the tropical coral reef envi-                           spawning periods from sediments generated by dredging-related activ-
ronment. Their life cycle is complex involving gametogenesis, reproduc-                         ities. Since 1993 dredging projects in Western Australia that are close to
tive synchronization, fertilization at the surface and larval development                       reefs are required to temporarily stop when corals are spawning (Baird
in the water column, leading ﬁnally to settlement and metamorphosis                             et al., 2011; EPA, 2011). This regulatory condition is currently set as
into a sessile polyp. Their life-cycle is stylized in Fig. 1 and based on                       5 days before spawning to 7 days afterwards. This is referred to as the
Acropora spp.                                                                                   coral spawning environmental window (EW) and is associated with
    Natural resuspension events regularly occur in the shallow, tropical                        the well-known synchronous, multi-speciﬁc release of gametes by
marine environment (Anthony et al., 2004) and although resuspension                             broadcasting spawning coral species that can occur in WA in single
and transport of suspended material may be strongly inﬂuenced by                                epidemic events of relatively short duration (EPA, 2011; Simpson, 1985;
unidirectional currents, wind-driven waves are the primary mechanism                            Styan and Rosser, 2012). Unfavorable conditions during a spawning
of turbidity generation in the shallow reef environment (Jing and Ridd,                         period could result in loss of the entire reproductive output for the year
1996; Larcombe et al., 1995, 2001; Lawrence et al., 2004; Ogston et al.,                        (Harrison et al., 1984). This management approach has also been adopted




Fig. 1. A stylized depiction of the reproductive cycle of the broadcast spawning Acropora species with indicative timings based on the studies of Hayashibara et al. (1997), Okubo and
Motokawa (2007), Okubo et al. (2008) and Ball et al. (2002). The cycle begins and ends with gametogenesis in the adult colonies on the reef, but in between there are a complex sequence
of phases which are spatially and temporally separated. Spawning occurs through the release of positively buoyant membrane-less, mucous bound egg and sperm bundles which disso-
ciate at the surface and upper water column releasing the eggs and sperm. Fertilization occurs at the surface and upper water column where the initial stages of embryogenesis occur.
Cleavage takes place by progressive furrow formation and the embryos of most Acropora species undergo an relatively unordered, irregular division cycle after the 8-cell stage eventually
and after the morula stage becomes a convex-concave cellular bi-layer stage (the prawn-chip stage sensu Hayashibara et al., 1997) then bowl stage. The embryos then fatten to become a
roughly spherical shape and by 36 h develop cilia over the epidermis, which beat synchronously imparting mobility to the planulae larvae. The larvae then become progressively elongated
and begin searching substrata and eventually settle and undergo metamorphosis into juvenile polyps.




                                                                                                                                                                        NMFS_00969
              Case 1:22-cv-02430-CJN Document 30-2 Filed 05/05/23 Page 350 of 350
                                                    R. Jones et al. / Marine Pollution Bulletin 100 (2015) 13–33                                               27


genotoxic (mutagenic, teratogenic and carcinogenic) effects (Fig. 4), as             et al., 2012; Yakovleva et al., 2009), a reduction in predation rates by re-
well as bioaccumulative effects through uptake and ingestion of con-                 duced visibility and increased encounter rates of aposymbiotic larvae
taminants (see for example Hedge et al., 2009). Prior to dredging sedi-              with sediment-associated free-living Symbiodinium released into the
ments are normally examined for contaminant concentrations and if                    water column. Suspended and deposited sediments can act as an energy
levels exceed screening guidelines (see for example DEWHA (2009))                    source for adult corals if it contains organic material (Anthony, 1999;
are landﬁlled. Many capital dredging projects in the tropics are also                Mills et al., 2004), and possibly recently settled corals—although this
green-ﬁeld sites without historical pollution, and sediment contamina-               has yet to be examined. However, there are overwhelmingly more
tion is a more signiﬁcant issue for the marine environment of industri-              (30+) possible causal pathways whereby turbidity-generating activi-
alized and typically temperate countries than for tropical benthic coral             ties can negatively affect reproduction.
reef environments (with a few notable exceptions—see Jones (2011)).                      Most studies of the effects of sediments have been associated with
For these reasons the chemical effects are not considered further here.              fertilization and subsequent larval development and settlement, but
    The model graphically highlights some of the complexities associat-              there is a suite of biologically plausible cause–effect pathways associat-
ed with understanding the effect of sediments on the early life-history              ed with turbidity-generation prior to these stages. The predictability of
stages of corals. While some proximal stressors such as the effects of               broadcast spawning corals in some species (to within a few minutes
sound are isolated and distinct, most of the proximate stressors are as-             from year-to-year, Vize et al. (2005) and Babcock and Heyward
sociated with the release of sediment into the water column and once                 (1986)) and subtle differences when gametes are released by different
turbidity has been generated, the proximal stressors then become high-               species, and even factors such as egg–sperm bundle dissociation rates
ly interlinked. Individual stressors become part of a causal pathway to              (Wolstenholme, 2004), highlight the signiﬁcance of timing and the syn-
other stressors (the inner triangle of Fig. 4).                                      chronization process for successful fertilization. The time-window for
    This model highlights the multifaceted interactions of sediments                 fertilization could perhaps be less than an hour in vivo where sperm di-
with coral reproductive processes and early life history stages. Part of             lution and advection occurs (Omori et al., 2001). The available evidence
this complexity is due to multiple ways in which corals are affected                 also suggests that it is only very subtle changes in light quantity and
(e.g. light reduction, physical interactions in the water column and                 quality (i.e. falling light intensities, the length of a period of darkness
smothering). The model also highlights that dredging and natural resus-              and the intensity and color of downwelling irradiance during twilight)
pension may affect more than one step in the reproductive sequence of                (Babcock, 1984; Boch et al., 2011; Hunter, 1988; Knowlton et al.,
corals. When the impacts on each step are documented then this should                1997; Sweeney et al., 2011) that are amongst the ﬁnal discrete, proxi-
be accounted for in risk assessment modeling. Although this model re-                mate triggers for the spawning. This needs to be contrasted with the
veals multiple stressor pathways, many of which have not been docu-                  profound effects of high SSCs on light including producing extended
mented previously, it has not considered that other simultaneous                     darkness and semi-dark, caliginous, twilight periods. Altering the ﬁnal
stressors such as high sea surface temperature can increase the sensitiv-            cues could result in asynchronous spawning. The extended twilight pe-
ity of coral reproduction in an additive or synergistic way (Negri and               riods could also affect gametogenic synchrony in the weeks and months
Hoogenboom, 2011).                                                                   leading up to spawning. Such a loss synchrony could ultimately affect
                                                                                     the arrival of the gametes at the surface, blurring the temporal separa-
10. Discussion and conclusions                                                       tion for each species which is believed to be an important pre-zygotic
                                                                                     isolating barrier that prevents or reduces hybridization between
    Turbidity and sedimentation are two of the most widely recognized                closely-related species spawning at slightly different times (Fukami
threats to coral reefs (Johannes, 1970; Risk and Edinger, 2011; Rogers,              et al., 2003; Knowlton et al., 1997; Levitan et al., 2004; van Oppen
1990). There have been many studies of the effects of typically very                 et al., 2002; Willis et al., 2006; Wolstenholme, 2004).
high SSCs and sedimentation rates on adult corals, but the effects on                    A second suite of cause–effect pathways occurring before fertiliza-
coral communities may equally manifest themselves over longer pe-                    tion include the binding of sediments to egg–sperm bundles reducing
riods and associated with changes at the population level via effects                ascent rates from the seabed and even cause ascent failure at very
on reproduction and recruitment. This review was partly motivated by                 high SSCs (Ricardo et al., submitted). Even if not bound to the bundles,
a recent resources boom in tropical Australia, the need for dredging                 settling of silt-sized sediments could affect bundle rise rates, especially
for coastal infrastructure and shipping channels to export mineral and               for deeper corals, also impacting the timely appearance at the surface.
petroleum products, and current environmental regulations around                     Sedimenting silt-sized particles, which are about the same size as
protecting coral spawning events during dredging campaigns. However,                 coral sperm, could increase the sinking rates of the already negatively
the ﬁndings are equally as applicable to natural events in turbid-zone               buoyant sperm from the upper-surface where fertilization occurs. As
communities driven by wind-wave induced resuspension (Anthony                        with the effects of light quality and quantity, collectively these mecha-
et al., 2004; Jing and Ridd, 1996; Larcombe et al., 1995, 2001;                      nisms could also affect the temporal separation resulting in asynchrony
Lawrence et al., 2004; Ogston et al., 2004; Verspecht and Pattiaratchi,              and reducing the chances of egg–sperm encounter (Ricardo unpub-
2010).                                                                               lished data).
    When the regulations were introduced in Western Australia, shortly                   Several studies have examined the effects of sediment on fertiliza-
after the discovery of co-ordinated spawning of corals comparatively lit-            tion but with wide ranging effects, and it is clear that there is a need
tle was known about the effects of sediments, hence the approach was                 for greater standardization of approaches and consideration of experi-
precautionary (Kriebel et al., 2001). Since then an improved under-                  mental conditions such as egg and sperm concentrations and sperm
standing of the biology of the early life-history stages of corals and               contact times. Attention to these factors may also optimize the sensitiv-
also their response to sediments, coupled with a growing understand-                 ity of the assays for further use in risk models. As a generalization, em-
ing of the water quality conditions that can occur during dredging pro-              bryogenesis appears to be relatively less sensitive to the suspended
grams, has allowed a more thorough analysis of the potential risks                   sediment concentration but more studies are needed on the effects on
associated with turbidity generation on the early stages of the coral re-            embryogenesis and early larval development to better understand the
productive cycle.                                                                    impacts on the planktonic phase. Early embryos are known to be very
    The conceptual model (Fig. 4) highlights known and also biologically             sensitive to turbulence, resulting in disintegration of embryos of
plausible cause–effect pathways including some potentially beneﬁcial                 A. millepora at the 2–16 cell stage creating irregular groups of cells or in-
effects of turbidity. Beneﬁts include a reduction in UV light penetration            dividual blastomeres (Heyward and Negri, 2012). To assess the effects
potentially reducing damage to gametes and embryos at the surface, a                 in the water column alternative experimental approaches may be need-
reduction in oxidative stress in symbiotic larvae and recruits (Abrego               ed to keep the delicate embryos and larvae in suspension together with




                                                                                                                                                 NMFS_00982
